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                                                                                     2025 May-08 PM 12:19
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


BOBBY SINGLETON, et al.,

              Plaintiffs,

               v.                                 Case No. 2:21-cv-01291-AMM

WES ALLEN, in his official capacity                 THREE-JUDGE COURT
as Alabama Secretary of State, et al.,

              Defendants.

EVAN MILLIGAN, et al.,

              Plaintiffs,

               v.                                 Case No. 2:21-cv-01530-AMM

WES ALLEN, in his official capacity                 THREE-JUDGE COURT
as Alabama Secretary of State, et al.,

              Defendants.

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

PER CURIAM:

                      INJUNCTION AND ORDER
            FINDINGS OF FACT AND CONCLUSIONS OF LAW

      These congressional redistricting cases returned to this Court for trial after the

Supreme Court of the United States affirmed a preliminary injunction we entered.

See Allen v. Milligan, 599 U.S. 1, 10, 17 (2023). These cases are three of four cases

pending in the Northern District of Alabama that allege that Alabama’s electoral
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maps are racially discriminatory in violation of the United States Constitution and/or

dilute the votes of Black Alabamians in violation of the Voting Rights Act of 1965,

52 U.S.C. § 10301: Singleton v. Allen, Case No. 2:21-cv-1291-AMM (challenges

the congressional map on constitutional and statutory grounds), Milligan v. Allen,

Case No. 2:21-cv-1530-AMM (challenges the congressional map on constitutional

and statutory grounds), and Caster v. Allen, Case No. 2:21-cv-1536-AMM

(challenges the congressional map on statutory grounds).1

      Singleton and Milligan are before this three-judge Court, and Caster is before

Judge Manasco sitting alone. Although there are differences in the Plaintiffs’

theories of liability, all Plaintiffs challenge districts in South and Central Alabama,

with a focus on Alabama’s Black Belt and Gulf Coast regions. Likewise, all

Plaintiffs request an injunction barring Alabama Secretary of State Wes Allen from

conducting elections according to the electoral map for Alabama’s seven seats in the

United States House of Representatives that the Alabama Legislature (“the

Legislature”) passed after the Supreme Court’s ruling in Allen (“the 2023 Plan”).

      The preliminary injunction that the Supreme Court affirmed prohibited the

use of Alabama’s previous districting plan (“the 2021 Plan”). Milligan Doc. 107.2


1
  The fourth case is Alabama State Conference of the NAACP v. Allen, Case No.
2:21-cv-1531-AMM which challenges the state Senate map on statutory grounds.
2
 When we cite a document that appears in more than one of these cases, we cite
only the document filed in Milligan.

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The 2021 Plan included only one majority-Black congressional district — District

7, which became a majority-Black district in 1992 when a federal court drew it that

way in a ruling that was affirmed by the Supreme Court of the United States. Wesch

v. Hunt, 785 F. Supp. 1491, 1497–1500 (S.D. Ala. 1992) (three-judge court), aff’d

sub nom. Camp v. Wesch, 504 U.S. 902 (1992), and aff’d sub nom. Figures v. Hunt,

507 U.S. 901 (1993). In the 1992 election under the court-ordered map, District 7

elected Alabama’s first Black Congressman in over 90 years. District 7 remains

majority-Black to this day and in every election since 1992 has elected a Black

Democrat. No other Alabama congressional district has elected a Black candidate in

approximately 150 years, until District 2 elected Shomari Figures in 2024 under a

court-ordered map that we imposed after the Legislature failed to remedy a likely

violation of Section Two of the Voting Rights Act.

      We issued that preliminary injunction with the benefit of a seven-day hearing

and an extensive record: we heard live testimony from seventeen witnesses

(including eleven experts); received more than 1,000 pages of briefing; reviewed

more than 350 exhibits (including reports and rebuttal reports from every expert);

and considered joint stipulations of fact that spanned seventy-five pages. Milligan

Doc. 107 at 4. 3 Forty-three able lawyers appeared in those proceedings, and the



3
 Page number pincites are to the CM/ECF page number that appears in the top right-
hand corner of each page, if available.

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hearing transcript spanned nearly 2,000 pages. Id.

      We found that the Milligan Plaintiffs were substantially likely to establish that

the 2021 Plan violated Section Two of the Voting Rights Act (“Section Two”) by

unlawfully diluting the votes of Black Alabamians, Judge Manasco found the same

for the Caster Plaintiffs, and we said that the issue was not a close call. Milligan

Doc. 107 at 4, Part V.B, 195; Caster Doc. 101 at 5. Because we granted relief under

Section Two, we reserved ruling on the constitutional claims in Milligan and

Singleton, invoking the longstanding canon of constitutional avoidance. Milligan

Doc. 107 at 7; Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S. 439 (1988).

      We ordered that under the Voting Rights Act and Supreme Court precedent,

“the appropriate remedy [wa]s a congressional redistricting plan that includes either

an additional majority-Black congressional district, or an additional district in which

Black voters otherwise have an opportunity to elect a representative of their choice.”

Milligan Doc. 107 at 5. And we ordered that as a practical reality, based on extensive

evidence of intensely racially polarized voting in Alabama, any remedial plan would

“need to include two districts in which Black voters either comprise a voting-age

majority or something quite close to it.” Milligan Doc. 107 at 6.

      The Secretary and legislative defendants, Senator Jim McClendon and

Representative Chris Pringle, who co-chaired Alabama’s Permanent Legislative

Committee on Reapportionment (“the Legislators” and “the Committee”), appealed


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to the Supreme Court. Allen, 599 U.S. at 16–17. The Supreme Court stayed our

injunction, so Alabama used the 2021 Plan for the 2022 congressional election.

       In June 2023, the Supreme Court affirmed the preliminary injunction. See id.

at 17. The Supreme Court “s[aw] no reason to disturb [our] careful factual findings”

and found no “basis to upset [our] legal conclusions” because we “faithfully applied

[Supreme Court] precedents and correctly determined that, under existing law, [the

2021 Plan] violated” Section Two. Id. at 23. And the Supreme Court rejected the

State’s request to overturn the legal standard for Section Two claims that the

Supreme Court announced nearly forty years ago in Thornburg v. Gingles, 478 U.S.

30 (1986) and that federal courts have applied continuously since. Id. at 23–24.

      Milligan and Caster thus returned to us for remedial proceedings. The

Secretary and Legislators (together, “the State”) asked us to delay proceedings to

allow the Legislature time to enact a new congressional districting plan. Milligan

Doc. 166. The Court granted the State’s request in deference to the role state

legislatures play in redistricting. In July 2023, the Legislature passed and Governor

Kay Ivey signed into law the 2023 Plan.

      Just like the 2021 Plan that we enjoined, the 2023 Plan includes only one

majority-Black district: District 7. The congressional district with the next highest

Black share of the voting-age population (“BVAP”) in the 2023 Plan is District 2,

with a BVAP of just 39.9%. All Plaintiffs requested another injunction, so we held


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another hearing. Singleton Doc. 147; Milligan Docs. 200, 265; Caster Doc. 179.

       At that hearing, the State conceded that the 2023 Plan does not include an

additional opportunity district. The State asserted that notwithstanding our order and

the Supreme Court’s affirmance, the Legislature was not required to include an

additional opportunity district in the 2023 Plan. Aug. 14, 2023 Tr. 159–64. The

Alabama Solicitor General argued that our statement in our order “that the

appropriate remedy for the . . . likely violation that we found would be an additional

opportunity district” did not have any relevance to the 2023 Plan. Id. at 75. Rather,

the Solicitor General asserted that “the Legislature could enact a new map that was

consistent with [our] findings and conclusions without adding a second opportunity

district.” Id.

       The Legislature’s conduct and that concession thrust this case into an unusual

posture: we are not aware of any other case in which a state legislature — faced with

a federal court order declaring that its electoral plan unlawfully dilutes minority

votes and requiring a remedial plan that provides an additional opportunity district

— responded with a plan that the state concedes does not provide that district.

       Based on that concession and the ample evidentiary record, we issued a

second preliminary injunction. Milligan Doc. 272. We enjoined the Secretary from

using the 2023 Plan because it does not remedy the likely Section Two violation that

we found and the Supreme Court affirmed, and in the alternative, because we found


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the Milligan Plaintiffs were substantially likely to establish anew that the 2023 Plan

violates Section Two, just as the 2021 Plan did. See generally id. Judge Manasco

again ordered the same relief for the Caster Plaintiffs. Caster Doc. 223 at 4.

      We again ordered that under the Voting Rights Act and Supreme Court

precedent, the appropriate remedy is an additional district in which Black voters

have an opportunity to elect a representative of their choice. Milligan Doc. 272 at 6–

7. And we again invoked the canon of constitutional avoidance and reserved ruling

on the constitutional claims. Id. at 8.

      We directed the Special Master we had appointed to prepare and propose three

remedial maps for us to consider. Milligan Doc. 273 at 6. We explained that we were

“deeply troubled” that the State enacted a map that it readily admits does not provide

the remedy we said the law requires, and “disturbed by the evidence that the State

delayed remedial proceedings but ultimately did not even nurture the ambition to

provide that remedy.” Milligan Doc. 272 at 8.

      The Secretary (but not the Legislators 4) again appealed to the Supreme Court

and sought a stay. Milligan Docs. 274, 275, 276, 281. We denied a stay because

federal law required the creation of an additional opportunity district without further

delay. Milligan Doc. 289 at 5. The Secretary sought a stay from the Supreme Court,



4
 In August 2023, Senator Steve Livingston (the new Senate chair of the Committee)
was substituted for Senator McClendon as a defendant. Milligan Doc. 269 at 2.

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which summarily denied the request with no noted dissents. See Allen v. Milligan,

144 S. Ct. 476 (2023) (mem.). The Secretary dismissed his appeals.5

      The Special Master solicited proposals, prepared plans, and recommended

three plans to us. See generally In re Redistricting 2023, No. 2:23-mc-01181-AMM

(N.D. Ala.) (“Redistricting”); Milligan Docs. 295–96, 301–05; Caster Doc. 248;

Redistricting Docs. 48–49. After another hearing, we ordered Secretary Allen to

administer Alabama’s 2024 election using the plan the Special Master recommended

called “Remedial Plan 3” (“the Special Master Plan”). Milligan Doc. 311. The

Special Master Plan satisfied all constitutional and statutory requirements while

hewing as closely as possible to the Legislature’s 2023 Plan. See id.

      The Special Master Plan includes two districts in which Black Alabamians

have a fair opportunity to elect a representative of their choice: District 7, where

51.9% of the voting-age population is Black, and District 2, where 48.7% of the

voting-age population is Black. Id. at 41. In the 2024 election, District 7 voters re-

elected Congresswoman Terri Sewell, and District 2 voters elected Congressman

Figures, both of whom are Black.

      Additionally, the Special Master Plan, which was prepared race-blind,

provides compelling evidence that two reasonably configured Black-opportunity



5
 The Secretary had appealed Caster to the United States Court of Appeals for the
Eleventh Circuit. See Allen v. Caster, No. 23-12923.

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districts easily can be drawn in Alabama. The Special Master explained clearly that

the Court’s appointed cartographer, Mr. David Ely, did not consider race when he

prepared plans:

       The Special Master’s proposed remedial plans are neither prohibited
       racial gerrymanders nor intentionally discriminatory. . . . [W]hile the
       Special Master confirmed that Black residents had an opportunity to
       elect candidates of their choice through an election performance
       analysis, the boundaries within the recommended remedial plans were
       not drawn on the basis of race. In fact, the Special Master’s
       cartographer, Mr. Ely, did not display racial demographic data while
       drawing districts or examining others’ proposed remedial plans within
       the mapping software, Maptitude. Instead, Mr. Ely relied on other
       characteristics and criteria, such as preserving the Black Belt
       community of interest, restoring counties that had been split, and
       preserving precincts and municipalities to the extent possible.

Milligan Doc. 295 at 36.

       The Plaintiffs now request a judgment that the 2023 Plan violates federal law

and a permanent injunction barring Secretary Allen from conducting elections with

that Plan and requiring him to conduct them with a court-ordered plan. Singleton

Doc. 229 at 46; Milligan Doc. 329 ¶ 206; Caster Doc. 271 at 43; Milligan Doc. 485

at 425–27, ¶¶ 1150–52. Additionally, the Milligan Plaintiffs request under Section

3(c) of the Voting Rights Act that the Court bail Alabama back into federal

preclearance for congressional redistricting “until 60 days after the Alabama

Legislature enacts a congressional plan under the 2030 census or a period of

approximately seven years.” Milligan Doc. 485 at 436, ¶ 1173; Milligan Doc. 329 at

77.

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      We again consider an extensive record. The coordinated trial of these cases

consumed eleven trial days, and the transcript spans more than 2,600 pages. We

heard live testimony from twenty-three witnesses (including thirteen experts);

received reports and rebuttal reports from every expert; received testimony by

designation for twenty-eight additional witnesses (either from depositions in these

cases, or from live testimony in the state Senate redistricting trial that occurred

before Judge Manasco in November 2024); considered stipulated facts spanning

thirty-nine pages; processed more than 790 putative exhibits; and received more than

840 pages of proposed findings and conclusions after trial. We again have the

assistance of numerous able counsel, with forty lawyers and eleven support staff

participating in trial. And under Federal Rule of Civil Procedure 65(a)(2), we

continue to have the benefit of evidence adduced in the first two preliminary

injunction proceedings. It is difficult for us to imagine a more comprehensive record.

      Based on the findings of fact and conclusions of law explained at length

below, we see the same clear result on the Section Two claims now that we saw in

2022 and again in 2023. More particularly, we conclude that the Plaintiffs

established that the 2023 Plan violates Section Two, and that they have established

each part of the controlling legal standard, including that: (1) as a group, Black

Alabamians are sufficiently numerous and geographically compact to constitute a

voting-age majority in a second reasonably configured district; (2) voting in the


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challenged districts is intensely and extremely racially polarized, such that Black

voters are (nearly always) politically cohesive and (3) White voters ordinarily

(nearly invariably) vote as a bloc to defeat Black-preferred candidates; and (4) under

the totality of the circumstances in Alabama today, including the factors that the

Supreme Court has instructed us to consider, Black voters have less opportunity than

other Alabamians to elect candidates of their choice to Congress. The long and short

of it is that the 2023 Plan unlawfully dilutes Black voting strength by consigning it

to one majority-Black district despite Alabama’s Black population plainly being

numerous and compact enough, and voting in Alabama racially polarized enough,

to readily support an additional opportunity district under all the circumstances in

Alabama today.

      We repeat — now for the third time — that these Section Two claims are not

a close call. Numerosity is undisputed, extensive evidence establishes reasonable

compactness, and there is no serious dispute that voting is intensely racially

polarized with extreme consequences: Black candidates have enjoyed zero success

in statewide elections in Alabama since 1994 (when a single Black person was

elected to the Alabama Supreme Court after a previous appointment), and only three

Black candidates have ever been elected to any statewide office since

Reconstruction. Similarly, Black candidates have enjoyed near-zero success in

legislative elections outside of opportunity districts: thirty-two of the thirty-three


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Black Alabamians currently serving in the 140-person Legislature were elected from

majority-Black districts created to comply with federal law. And as we explain

below, substantial evidence establishes that under all the circumstances in Alabama

today, Black Alabamians have less opportunity than other Alabamians to elect

representatives of their choice.

      We also repeat — for the third time — that because the Plaintiffs prevail under

the Voting Rights Act, the appropriate remedy is a districting plan that includes

either an additional majority-Black district, or an additional district in which Black

voters otherwise have an opportunity to elect a representative of their choice. As the

record makes abundantly clear, the necessary remedial district is not difficult to draw

– it just requires splitting one of Alabama’s 67 counties (Mobile County) that the

Legislature would prefer to keep whole.

      As we said once before in this litigation, “[t]he Voting Rights Act does not

provide a leg up for Black voters — it merely prevents them from being kept down

with regard to what is arguably the most ‘fundamental political right,’ in that it is

‘preservative of all rights’ — the right to vote.” Milligan Doc. 272 at 187 (quoting

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1315 (11th Cir. 2019)).

      Additionally, this time we decide the Milligan Plaintiffs’ constitutional claim

that the Legislature intentionally discriminated against Black Alabamians when it

passed the 2023 Plan. The canon of constitutional avoidance that previously


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compelled us to reserve on the claim of intentional discrimination now requires us

to decide it: because the Milligan Plaintiffs request bail-in under Section 3(c) of the

Voting Rights Act, and because that relief would be available only in connection

with their constitutional claim, a decision on that claim could entitle them to relief

beyond the relief to which they are entitled under Section Two. See Lyng, 485 U.S.

at 446.

      As we explain below, despite our searching review of all the evidence before

us — much of it directly from the Legislators and Legislature, none of it in dispute

— try as we might, we cannot understand the 2023 Plan as anything other than an

intentional effort to dilute Black Alabamians’ voting strength and evade the

unambiguous requirements of court orders standing in the way. After we and the

Supreme Court ruled that the 2021 Plan, with only one majority-Black district, likely

had the unlawful discriminatory effect of diluting Black Alabamians’ votes, the

Legislature deliberately enacted another Plan that it concedes lacks the second

Black-opportunity district we said was required. This amounted to intentional racial

discrimination in violation of the Fourteenth Amendment’s Equal Protection

guarantee.

      We are struck by the unusual corpus of undisputed evidence that confirms the

obvious inference from the Legislature’s conduct. We have found no other case that

involves not only (1) a Legislature’s admission that its remedial plan purposefully


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lacks the remedial district the court plainly required, but also (2) novel legislative

findings enumerated in that plan that (a) are mathematically impossible to satisfy if

the remedial district is drawn, (b) define and exalt one community of interest (the

Gulf Coast) that plan serves at the expense of that remedial district and other

longstanding communities of interest, (c) do not mention, let alone describe, any

communities of interest in areas of the state that are not at issue in pending litigation,

and (d) eliminate the express requirement that a plan not dilute minority voting

strength; as well as (3) contemporaneous public statements by legislative leadership

about their strategy to persuade the Supreme Court to change its view about the

Legislature’s Section Two violation, and (4) testimony by key legislators that the

legislative findings were drafted surreptitiously, in the dead of night, at the very last

minute, and without any input from either the Senate Co-Chair or House Co-Chair

of the Legislature’s Reapportionment Committee.

      We also are struck by the candid admission at trial by diligent counsel for the

State that when the Legislature passed the 2023 Plan without adding a second

opportunity district, the Legislature “may have been hoping” to “find another

argument” to persuade this Court and/or the Supreme Court that our orders were

wrong. Tr. 2649. If we harbored any concern or doubt that we had misunderstood

that the Legislature deliberately ignored our order because it wanted another bite at

the apple in the Supreme Court, that acknowledgment resolved it.


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      This record thus leaves us in no doubt that the purpose of the design of the

2023 Plan was to crack Black voters across congressional districts in a manner that

makes it impossible to create two districts in which they have an opportunity to elect

candidates of their choice, and thereby intentionally perpetuate the discriminatory

effects of the 2021 Plan. So we observe that although the success of the Milligan

Plaintiffs’ claim of intentional discrimination is unusual, we also do not regard it as

a particularly close call.

      The Legislature protests that it acted in good faith, but if this record is

insufficient to rebut the strong presumption of legislative good faith, then we doubt

that the presumption is ever rebuttable. The Legislature knew what federal law

required and purposefully refused to provide it, in a strategic attempt to checkmate

the injunction that ordered it. It would be remarkable — indeed, unprecedented —

for us to hold that a state legislature that purposefully ignored a federal court order

acted in good faith. It would be shocking for us to hold that a state legislature that

intentionally ignored a federal court order for the purpose of (again) diluting

minority votes acted in good faith. And it would be unthinkable for us to hold that a

state legislature that purposefully took calculated steps to make a court-required

remedy impossible to provide, for the purpose of entrenching minority vote dilution,

acted in good faith. Although it is robust, the legal presumption of legislative good

faith cannot give the Legislature a free pass for its purposeful attempt to rob Black


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Alabamians of an equal opportunity under the law to elect candidates of their choice.

      Because the Singleton Plaintiffs do not request bail-in, no decision is

necessary on the constitutional claims of the Singleton Plaintiffs, so we apply the

canon of constitutional avoidance and do not decide those claims. See Lyng, 485

U.S. at 446.

      Accordingly, we ENJOIN Secretary Allen, and his successors in office, from

conducting any elections according to Alabama’s 2023 Plan, and we DECLARE

that the 2023 Plan violates both Section Two of the Voting Rights Act and the

Fourteenth Amendment to the United States Constitution.

      Although we do not face the same time exigencies we did in 2022 and 2023,

this Court must conduct remedial proceedings expeditiously in light of state-law

deadlines applicable to Alabama’s next congressional election — Alabama Code

Section 17-13-5(a) effectively establishes a deadline of January 30, 2026 for

candidates to qualify with major political parties to participate in the 2026 primary

election for the United States Congress. We will address during remedial

proceedings the Milligan Plaintiffs’ application to bail Alabama back into federal

preclearance for future congressional districting under Section 3(c) of the Voting

Rights Act. To facilitate the timely scheduling of remedial proceedings, a status

conference is SET for all parties on Wednesday, May 28, 2025 at 12:00 p.m.

Central Daylight Time. The conference will occur by Zoom and login information


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will be sent to the parties closer to that time.

                                           ***

        We reach these conclusions with great reluctance and dismay and even greater

restraint — only after another exhaustive analysis of another extensive record under

well-developed legal standards, as Supreme Court precedent in these very cases

instructs. We do not intrude lightly into a process ordinarily and properly reserved

for the Alabama Legislature, but forty years’ worth of Supreme Court case law and

forty years’ worth of statutory instructions from Congress compel this result in this

case.

        We emphasize that we remain deeply disturbed that the State purposefully

enacted a map that the State readily admits does not provide the required remedy for

the vote dilution that we clearly found. We also emphasize our concern about the

State’s assertion that in response to any injunction we may issue, it is free to repeat

its checkmate move. We are troubled by the State’s view that even if we enter

judgment for the Plaintiffs after a full trial, the State remains free to make the same

checkmate move yet again — and again, and again, and again.

        We reject in the strongest possible terms the State’s attempt to finish its

intentional decision to dilute minority votes with a veneer of regular legislative

process. On the rare occasion that federal law directs federal courts to intrude in a

process ordinarily reserved for state politics, there is nothing customary or


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appropriate about a state legislature’s deliberate decision to ignore, evade, and

strategically frustrate requirements spelled out in a court order.

      This is not the first time the Alabama Legislature has purposefully refused to

satisfy a federal court order about redistricting even after the Supreme Court

affirmed that order. See generally Sims v. Baggett, 247 F. Supp. 96 (M.D. Ala. 1965)

(three-judge court: Rives, Thomas, and Johnson, JJ.) (per curiam). We hope it will

be the last time.

      The Legislature has raised the stakes of this litigation well beyond

redistricting. In a case all too familiar to Alabama, the Supreme Court explained

decades ago that decisions to ignore court orders are intolerable in our system of

ordered liberty even when they are undertaken in unassailable good faith and for

purely “righteous” purposes. See Walker v. City of Birmingham, 388 U.S. 307, 321

(1967). “[R]espect for judicial process,” the Supreme Court explained, “is a small

price to pay for the civilizing hand of law, which alone can give abiding meaning to

constitutional freedom.” Id.

      Finally, we cannot help but observe the hazards of the Legislature’s conduct

that it apparently overlooked. We do not diminish the argument that race-based

redistricting under Section Two cannot last forever. But it seems painfully obvious

to us that the State’s decision to purposefully dilute the votes of Black Alabamians,

particularly after exhausting its appellate rights for a preliminary injunction entered


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under Section Two, flies in the face of its position that Section Two has outlived the

purpose Congress intended.

      Likewise, we do not diminish the substantial improvements Alabama has

made in its official treatment of Black Alabamians in recent decades. Yet we cannot

reconcile the State’s intentional decision to discriminate in drawing its congressional

districts with its position that Alabama has finally closed out its repugnant history of

official discrimination involving voting rights.

      The 2020 redistricting cycle in Alabama — the first cycle in 50 years that

Alabama has been free of the strictures of federal preclearance — did not have to

turn out this way. We wish it had not, but we have eyes to see the veritable mountain

of evidence that it did.




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I.     BACKGROUND

       We divide our discussion of the background of these cases into ten parts.

       A.    Relevant Federal Laws

       Article I, § 2, of the Constitution requires that Members of the House of

Representatives “be apportioned among the several States . . . according to their

respective Numbers” and “chosen every second Year by the People of the several

States.” U.S. CONST. art. I, § 2. Each state’s population is counted every ten years in

a national census, and state legislatures rely on census data to apportion each state’s

congressional seats into districts.

       Redistricting “is primarily the duty and responsibility of the State[].” Allen,

599 U.S. at 29 (quoting Abbott v. Perez, 585 U.S. 579, 603 (2018)). “[F]ederal-court

review of districting legislation represents a serious intrusion on the most vital of

local functions,” and when “assessing the sufficiency of a challenge to a districting

plan, a court must be sensitive to the complex interplay of forces that enter a

legislature’s redistricting calculus.” Abbott, 585 U.S. at 603 (quoting Miller v.

Johnson, 515 U.S. 900, 915–16 (1995)) (internal quotation marks omitted).

       Redistricting must comply with federal law as set forth in the Constitution and

federal statutes. Reynolds v. Sims, 377 U.S. 533, 554–60 (1964); Wesberry v.

Sanders, 376 U.S. 1, 6 (1964). “[F]ederal law impose[s] complex and delicately

balanced requirements regarding the consideration of race” in redistricting. Abbott,



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585 U.S. at 585.

       On the one hand, the Equal Protection Clause “restrict[s] the use of race” in

redistricting. Id. That Clause “forbids ‘racial gerrymandering,’ that is, intentionally

assigning citizens to a district on the basis of race without sufficient justification.”

Id. at 585–86 (quoting Shaw v. Reno, 509 U.S. 630, 641 (1993)). That Clause “also

prohibits intentional ‘vote dilution,’” which is “invidiously . . . minimiz[ing] or

cancel[ing] out the voting potential of racial or ethnic minorities.” Id. at 586 (quoting

City of Mobile v. Bolden, 446 U.S. 55, 66–67 (1980) (plurality opinion) (alterations

in original)).

       On the other hand, “compliance with the Voting Rights Act of 1965 pulls in

the opposite direction: It often insists that districts be created precisely because of

race.” Id. (citation omitted). Section Two provides:

       (a) No voting qualification or prerequisite to voting or standard,
       practice, or procedure shall be imposed or applied by any State or
       political subdivision in a manner which results in a denial or
       abridgement of the right of any citizen of the United States to vote on
       account of race or color, or in contravention of the guarantees set forth
       in section 10303(f)(2) of this title, as provided in subsection (b).
       (b) A violation of subsection (a) is established if, based on the totality
       of circumstances, it is shown that the political processes leading to
       nomination or election in the State or political subdivision are not
       equally open to participation by members of a class of citizens protected
       by subsection (a) in that its members have less opportunity than other
       members of the electorate to participate in the political process and to
       elect representatives of their choice. The extent to which members of a
       protected class have been elected to office in the State or political
       subdivision      is    one       circumstance      which      may      be


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      considered: Provided, That nothing in this section establishes a right to
      have members of a protected class elected in numbers equal to their
      proportion in the population.

52 U.S.C. § 10301.

      “The essence of a [Section Two] claim . . . is that a certain electoral law,

practice, or structure interacts with social and historical conditions to cause an

inequality in the opportunities enjoyed by black and white voters.” Allen, 599 U.S.

at 17 (quoting Thornburg v. Gingles, 478 U.S. 30, 47 (1986)). That occurs “when a

State’s electoral structure operates in a manner that ‘minimize[s] or cancel[s] out

the[ir] voting strength,’” rendering “an individual . . . disabled from ‘enter[ing] into

the political process in a reliable and meaningful manner’ ‘in the light of past and

present reality, political and otherwise.’” Id. at 25 (first quoting Gingles, 478 U.S. at

47 and then quoting White v. Regester, 412 U.S. 755, 767 (1973) (alterations in

original)). “A district is not equally open, in other words, when minority voters

face—unlike their majority peers—bloc voting along racial lines, arising against the

backdrop of substantial racial discrimination within the State, that renders a minority

vote unequal to a vote by a nonminority voter.” Id.

      “[A] plaintiff may allege a § 2 violation in a single-member district if the

manipulation of districting lines fragments [cracks] politically cohesive minority

voters among several districts or packs them into one district or a small number of

districts, and thereby dilutes the voting strength of members of the minority



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population.” Shaw v. Hunt (Shaw II), 517 U.S. 899, 914 (1996).

      Under Gingles, a plaintiff asserting a claim of vote dilution under Section Two

“must satisfy three ‘preconditions.’” Allen, 599 U.S. at 18 (quoting Gingles, 478

U.S. at 50). “First, the ‘minority group must be sufficiently large and

[geographically] compact to constitute a majority in a reasonably configured

district.’” Id. (quoting Wis. Legislature v. Wis. Elections Comm’n, 595 U.S. 398, 402

(2022) (per curiam)). A district is “reasonably configured” when “it comports with

traditional districting criteria, such as being contiguous and reasonably compact.”

Id. “Second, the minority group must be able to show that it is politically cohesive.”

Id. (quoting Gingles, 478 U.S. at 51). “And third, ‘the minority must be able to

demonstrate that the white majority votes sufficiently as a bloc to enable it . . . to

defeat the minority’s preferred candidate.” Id. (quoting Gingles, 478 U.S. at 51).

      If a plaintiff establishes the three preconditions, the plaintiff must then “show,

under the ‘totality of circumstances,’ that the political process is not ‘equally open’

to minority voters.” Id. (quoting Gingles, 478 U.S. at 45–46); see Bartlett v.

Strickland, 556 U.S. 1, 11–12 (2009) (plurality opinion). We have been instructed

by the Supreme Court to use the factors identified in the Senate Judiciary Committee

Report accompanying the 1982 amendments to the Voting Rights Act to assess the

totality of the circumstances. See Allen, 599 U.S. at 18 (citing Gingles, 478 U.S. at

36–38, 45–46); see also infra Part III.A. “Another relevant consideration is whether



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the number of districts in which the minority group forms an effective majority is

roughly proportional to its share of the population in the relevant area.” League of

United Latin Am. Citizens v. Perry (“LULAC”), 548 U.S. 399, 426 (2006).

         Notably, intent is not an element of a Section Two violation, and “proof that

a contested electoral practice or mechanism was adopted or maintained with the

intent to discriminate against minority voters, is not required.” City of Carrollton

Branch of the NAACP v. Stallings, 829 F.2d 1547, 1553 (11th Cir. 1987).

         B.     The 2021 Plan and First Preliminary Injunction (2021–2022)

         After the 2020 Census, the Alabama Legislature began the decennial

redistricting process in May 2021 using population estimates from the Census

Bureau. To guide the process, the Committee passed redistricting guidelines (“the

2021 guidelines”). Milligan Doc. 404-1 at 1–3 (Ex. MX-41). 6 The 2021 guidelines

are attached to this Order as Appendix A, and they provide (among other things) for

how the Committee will consider and apply traditional redistricting principles.

Traditional redistricting principles “includ[e] compactness, contiguity, . . . respect

for political subdivisions or communities defined by actual shared interests,

incumbency protection, and political affiliation.” Ala. Legis. Black Caucus v.

Alabama, 575 U.S. 254, 272 (2015) (internal citation and quotation marks omitted).

         The Milligan and Caster parties stipulated that under Alabama law, the


6
    Exhibits that are identified by a letter and number are trial exhibits.

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Committee “was tasked with making a ‘continuous study of the reapportionment

problems in Alabama seeking solutions thereto’ and reporting its investigations,

findings, and recommendations to the Legislature as necessary for the ‘preparation

and formulation’ of redistricting plans for the Senate, House, and congressional

districts.” Milligan Doc. 436 ¶ 63 (quoting Ala. Code § 29-2-52). They also

stipulated that the Committee can “prepare and propose the redistricting plan

required for the State Board of Education.” Id. (citing Ala. Code § 16-3-3).

      The Census Bureau released data to Alabama in August 2021, id. ¶ 70, and

the Singleton Plaintiffs initiated this first redistricting lawsuit on September 27, 2021

against then-Alabama Secretary of State John Merrill, Singleton Doc. 1. The

Singleton Plaintiffs are registered voters in Alabama’s Second, Sixth, and Seventh

Congressional Districts under the 2023 Plan and lead plaintiff Bobby Singleton is a

Black Senator in the Legislature. Singleton Doc. 229 ¶¶ 9–12; Tr. 2362.7 The

Singleton Plaintiffs asserted that holding Alabama’s 2022 election under its 2011

map would violate the Constitution, so the Chief Judge of the United States Court of

Appeals for the Eleventh Circuit convened this three-judge court. Singleton Doc. 1

at 30–36; Singleton Doc. 13.



7
  Citations to the trial transcript are identified by page number. Other transcripts are
identified by date. The transcript for the trial may be found at Singleton Docs. 302,
304–305, 307–312, 318–319; Milligan Docs. 463, 465–466, 468–473, 479–480; and
Caster Docs. 376, 378–379, 381–386, 392–393.

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      Governor Ivey called a special legislative session on redistricting to begin in

October 2021, and the 2021 Plan became state law in November 2021. Singleton

Doc. 47 ¶¶ 35–37, 40. It is sometimes described as “HB1” and appears below:




Milligan Doc. 403-20 (Ex. MX-20). The Singleton Plaintiffs amended their

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complaint to assert constitutional claims based on the 2021 Plan and request a

declaratory judgment and injunctive relief. Singleton Doc. 15 at 38–48. The

Singleton Plaintiffs have since amended their complaint to include a Section Two

claim. Singleton Doc. 229 ¶¶ 80–83.

         The Caster Plaintiffs then filed their lawsuit against the Secretary. Caster

Doc. 3. The Caster Plaintiffs are citizens of Alabama’s First, Second, and Seventh

Congressional Districts under the 2023 Plan. Caster Doc. 271 ¶¶ 10–18. They

challenge the 2023 Plan, as they did the 2021 Plan, only under Section Two.

Compare Caster Doc. 271 ¶¶ 123–129, with Caster Doc. 3 ¶¶ 89–95. Caster is

pending before Judge Manasco sitting alone. The Caster Plaintiffs assert a single

claim of vote dilution and request declaratory and injunctive relief. Caster Doc. 271

¶ 129.

         The Milligan Plaintiffs then filed their lawsuit against the Secretary and the

Legislators. Milligan Doc. 1. The Milligan Plaintiffs are Black registered voters in

Alabama’s First and Second Congressional Districts and two organizations —

Greater Birmingham Ministries and the Alabama State Conference of the National

Association for the Advancement of Colored People (“NAACP”) — with members

who are registered voters in those districts and the Seventh District. Milligan Doc.

329 ¶¶ 18–26. These plaintiffs assert claims of vote dilution under Section Two and

racial gerrymandering and intentional discrimination under the Fourteenth


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Amendment. Id. ¶¶ 190–205. They request declaratory and injunctive relief and bail-

in under Section 3(c) of the Voting Rights Act. Id. ¶ 206.

      Judge Manasco ordered that Milligan was required to be heard by a three-

judge court, and the Chief Judge of the Eleventh Circuit convened a court composed

of the same judges who comprise the Singleton Court. Milligan Docs. 22, 23. The

Legislators intervened in Singleton and Caster. Singleton Doc. 32; Caster Doc. 69.

      Each set of Plaintiffs moved for a preliminary injunction. Singleton Docs. 42,

57; Milligan Doc. 69; Caster Doc. 56. The three-judge Singleton Court consolidated

Singleton and Milligan “for the limited purposes” of preliminary injunction

proceedings; set a hearing for January 4, 2022; and set prehearing deadlines.

Milligan Doc. 40 at 3, 10–12. Judge Manasco set Caster for a hearing on the same

date and set identical prehearing deadlines. Caster Doc. 40 at 2–5.

      All parties agreed to a consolidated preliminary injunction proceeding that

permitted consideration of evidence in a combined fashion. All parties also agreed

that evidence admitted in any one of the three cases could be used in the other two

cases absent a specific objection. See Singleton Doc. 72-1 at 2–3; Caster Doc. 74;

Tr. Dec. 20, 2021 Hrg. at 14–17; Tr. Jan. 4, 2022 Hrg. 29.

      The preliminary injunction hearing commenced on January 4 and concluded

on January 12, 2022. Allen, 599 U.S. at 16. Later that month, we preliminarily

enjoined the State from using the 2021 Plan because we concluded that it likely


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violated Section Two. See Milligan Doc. 107. In that order, we ruled:

      Because the Milligan plaintiffs are substantially likely to prevail on
      their claim under the Voting Rights Act, under the statutory framework,
      Supreme Court precedent, and Eleventh Circuit precedent, the
      appropriate remedy is a congressional redistricting plan that includes
      either an additional majority-Black congressional district, or an
      additional district in which Black voters otherwise have an opportunity
      to elect a representative of their choice. See, e.g., Bartlett v. Strickland,
      556 U.S. 1, 24 (2009); Cooper v. Harris, 137 S. Ct. 1455, 1470, 1472
      (2017). Supreme Court precedent also dictates that the Alabama
      Legislature (“the Legislature”) should have the first opportunity to
      draw that plan. See, e.g., North Carolina v. Covington, 138 S. Ct. 2548,
      2554 (2018); White v. Weiser, 412 U.S. 783, 794–95 (1973).

      The Legislature enjoys broad discretion and may consider a wide range
      of remedial plans. As the Legislature considers such plans, it should be
      mindful of the practical reality, based on the ample evidence of
      intensely racially polarized voting adduced during the preliminary
      injunction proceedings, that any remedial plan will need to include two
      districts in which Black voters either comprise a voting-age majority or
      something quite close to it.

Id. at 5–6.

      The State appealed and the Supreme Court stayed our injunction. Allen, 599

U.S. at 17. Wes Allen succeeded John Merrill as the Secretary. Milligan Doc. 161.

      C.      The Supreme Court’s Ruling (2023)
      On June 8, 2023, the Supreme Court affirmed the preliminary injunction. See

Allen, 599 U.S. at 16–17. We divide our discussion of that ruling into four parts: we

first discuss the opinion of the Court, we then turn to the part of the Chief Justice’s

opinion that is the opinion of four Justices, we then consider Justice Kavanaugh’s

concurrence, and last we discuss the dissents.


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             1.       Controlling Precedent

      Chief Justice Roberts delivered the opinion of the Court, joined by Justices

Sotomayor, Kagan, Kavanaugh, and Jackson (except that Justice Kavanaugh did not

join one portion of a Part of the opinion). Id. at 8, 30. The Supreme Court began by

stating the ruling:

      [A] three-judge District Court sitting in Alabama preliminarily enjoined
      the State from using the districting plan it had recently adopted for the
      2022 congressional elections, finding that the plan likely violated
      Section 2 of the Voting Rights Act. This Court stayed the District
      Court’s order pending further review. After conducting that review, we
      now affirm.

Id. at 9–10 (internal citations omitted).

      Next, the Supreme Court discussed the history of the Fifteenth Amendment,

the passage of the Voting Rights Act in 1965, and the congressional compromise

behind the 1982 amendments to that statute. Id. at 10–14.

      The Supreme Court explained that in the early 1980s, as the result of its

decision in another Alabama case, City of Mobile, 446 U.S. 55 (1980), a “sharp

debate” brewed in Congress about whether the legal test for relief under Section Two

should focus on discriminatory effects or discriminatory intent. Allen, 599 U.S. at

11–13. In response to public concern that an effects test could produce “a quota

system for electoral politics,” Congress ultimately compromised along lines

proposed by Senator Bob Dole: “Section 2 would include the effects test that many

desired but also a robust disclaimer against proportionality.” Id. at 13. That


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proportionality disclaimer endures in Section Two today. See 52 U.S.C. § 10301(b).

      The Supreme Court then observed that “[f]or the first 115 years following

Reconstruction, the State of Alabama elected no black Representatives to Congress.”

Allen, 599 U.S. at 14. Only after a Section Two lawsuit did that change when District

7 elected Earl Hilliard in 1992 and Alabama’s later maps largely resembled its 1992

map. Id. at 14–15; Wesch v. Hunt, 785 F. Supp. 1491 (S.D. Ala. 1992).

      The Supreme Court then reiterated its ruling: “The District Court found that

plaintiffs demonstrated a reasonable likelihood of success on their claim that [the

2021 Plan] violates § 2. We affirm that determination.” Allen, 599 U.S. at 17.

      Next, the Supreme Court restated the controlling legal standard, as set forth in

Gingles and applied by federal courts “[f]or the past forty years.” Id. at 17–19. The

Court observed that “Congress has never disturbed [the Supreme Court’s]

understanding of [Section Two] as Gingles construed it,” and that Congress has

remained silent despite decades of litigation under Gingles, as the Court has applied

Gingles “in one [Section Two] case after another, to different kinds of electoral

systems and to different jurisdictions in States all over the country.” Id. at 19 (citing

cases from across the United States).

      The Court then restated the ruling: “As noted, the District Court concluded

that plaintiffs’ § 2 claim was likely to succeed under Gingles. Based on our review

of the record, we agree.” Id. at 19 (internal citations omitted). The Supreme Court


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then reviewed our analysis of each Gingles requirement and agreed with our analysis

as to each requirement. Id. at 19–23. It did not hold, suggest, or even hint that any

aspect of our Gingles analysis was erroneous. See id.

      “With respect to the first Gingles precondition,” the Supreme Court held that

we “correctly found that black voters could constitute a majority in a second district

that was reasonably configured.” Id. at 19 (internal quotation marks omitted). The

Supreme Court ruled that “[t]he plaintiffs adduced eleven illustrative maps—that is,

example districting maps that Alabama could enact—each of which contained two

majority-black districts that comported with traditional districting criteria.” Id. at 20.

      The Supreme Court then considered the illustrative plans prepared by Dr.

Moon Duchin, one of the experts for the Milligan Plaintiffs (“the Duchin Plans”).

The Supreme Court observed that we “explained that the maps submitted by [Dr.

Duchin] performed generally better on average than did [the 2021 Plan].” Id. at 20

(internal quotation marks omitted). Likewise, the Supreme Court considered the

illustrative plans prepared by Mr. Bill Cooper, one of the experts for the Caster

Plaintiffs (“the Cooper Plans”). The Supreme Court observed that Mr. Cooper

“produced districts roughly as compact as the existing plan,” and that “none of

plaintiffs’ maps contained any tentacles, appendages, bizarre shapes, or any other

obvious irregularities that would make it difficult to find them sufficiently compact.”

Id. (internal quotation marks omitted).



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      Next, the Supreme Court held that the “Plaintiffs’ maps also satisfied other

traditional districting criteria. They contained equal populations, were contiguous,

and respected existing political subdivisions . . . . Indeed, some of plaintiffs’

proposed maps split the same number of county lines as (or even fewer county lines

than) the State’s map.” Id. at 20. Accordingly, the Supreme Court “agree[d] with”

us that “plaintiffs’ illustrative maps strongly suggested that Black voters in Alabama

could constitute a majority in a second, reasonably configured, district.” Id. (internal

quotation marks omitted).

      Next, the Supreme Court turned to the State’s argument “that plaintiffs’ maps

were not reasonably configured because they failed to keep together a traditional

community of interest within Alabama.” Id. The Supreme Court recited the State’s

argument that “the Gulf Coast region . . . is such a community of interest, and that

plaintiffs’ maps erred by separating it into two different districts.” Id.

      The Supreme Court “d[id] not find the State’s argument persuasive.” Id. at 21.

The Supreme Court reasoned that “[o]nly two witnesses testified that the Gulf Coast

was a community of interest,” that “testimony provided by one of those witnesses

was partial, selectively informed, and poorly supported,” and that “[t]he other

witness, meanwhile, justified keeping the Gulf Coast together simply to preserve

political advantage.” Id. (internal quotation marks omitted). The Supreme Court

concluded that we “understandably found this testimony insufficient to sustain



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Alabama’s overdrawn argument that there can be no legitimate reason to split the

Gulf Coast region.” Id. (internal quotation marks omitted).

      Next, the Supreme Court considered an alternative basis for its agreement

with our Gingles I analysis: that “[e]ven if the Gulf Coast did constitute a community

of interest . . . [we] found that plaintiffs’ maps would still be reasonably configured

because they joined together a different community of interest called the Black

Belt.” Id. at 21. The Supreme Court then described the reasons why the Black Belt

is a community of interest — its “high proportion of black voters, who share a rural

geography, concentrated poverty, unequal access to government services, . . . lack

of adequate healthcare, and a lineal connection to the many enslaved people brought

there to work in the antebellum period.” Id. (internal quotation marks omitted).8

      The Supreme Court agreed with us again, ruling that we “concluded—

correctly, under [Supreme Court] precedent—that [we] did not have to conduct a

beauty contest between plaintiffs’ maps and the State’s. There would be a split




8
  The parties had stipulated that Alabama’s Black Belt “is named for the region’s
fertile black soil. The region has a substantial Black population because of the many
enslaved people brought there to work in the antebellum period. All the counties in
the Black Belt are majority- or near majority-BVAP.” Milligan Doc. 53 ¶ 60. They
further stipulated that the Black Belt includes eighteen “core counties” (Barbour,
Bullock, Butler, Choctaw, Crenshaw, Dallas, Greene, Hale, Lowndes, Macon,
Marengo, Montgomery, Perry, Pickens, Pike, Russell, Sumter, and Wilcox), and that
five other counties (Clarke, Conecuh, Escambia, Monroe, and Washington) are
“sometimes included.” Id. ¶ 61.

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community of interest in both.” Id. at 21 (internal quotation marks omitted) (quoting

Singleton v. Merrill, 582 F. Supp. 3d 924, 1012 (N.D. Ala. 2022)).

      The Supreme Court then rejected the State’s argument that the 2021 Plan

satisfied Section Two because it performed better than Plaintiffs’ illustrative plans

on a core retention metric — “a term that refers to the proportion of districts that

remain when a State transitions from one districting plan to another.” Id. at 21–22.

The Supreme Court rejected that metric on the ground that the Supreme Court “has

never held that a State’s adherence to a previously used districting plan can defeat a

§ 2 claim” because “[i]f that were the rule, a State could immunize from challenge a

new racially discriminatory redistricting plan simply by claiming that it resembled

an old racially discriminatory plan.” Id. at 22. “That is not the law,” the Supreme

Court made clear: Section Two “does not permit a State to provide some voters less

opportunity . . . to participate in the political process just because the State has done

it before.” Id. (internal quotation marks omitted).

      The Supreme Court next discussed the second and third Gingles requirements.

The Supreme Court accepted our determination that “there was no serious dispute

that Black voters are politically cohesive, nor that the challenged districts’ white

majority votes sufficiently as a bloc to usually defeat Black voters’ preferred

candidate.” Id. (internal quotation marks omitted). The Supreme Court recited the

relevant statistics and noted that the State’s expert “conceded that the candidates



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preferred by white voters in the areas that he looked at regularly defeat the candidates

preferred by Black voters.” Id. (internal quotation marks omitted).

      The Supreme Court next concluded that the plaintiffs “carried their burden at

the totality of circumstances stage.” Id. The Supreme Court upheld our findings that

“elections in Alabama were racially polarized; that Black Alabamians enjoy virtually

zero success in statewide elections; that political campaigns in Alabama had been

characterized by overt or subtle racial appeals; and that Alabama’s extensive history

of repugnant racial and voting-related discrimination is undeniable and well

documented.” Id. (internal quotation marks omitted).

      The Supreme Court concluded by again stating its ruling: “We see no reason

to disturb the District Court’s careful factual findings, which are subject to clear

error review and have gone unchallenged by Alabama in any event. Nor is there a

basis to upset the District Court’s legal conclusions. The Court faithfully applied our

precedents and correctly determined that, under existing law, [the 2021 Plan]

violated § 2.” Id. at 23 (internal quotation marks and citation omitted).

      We have carefully reviewed our Opinion and that of the Supreme Court and

discern no basis to conclude that any aspect of our previous Section Two analysis

was erroneous.

      Next, the Supreme Court turned to arguments by the State urging the Supreme

Court to “remake [its] § 2 jurisprudence anew,” which the Supreme Court described


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as “[t]he heart of these cases.” Id. The Supreme Court explained that the “centerpiece

of the State’s effort is what it calls the ‘race-neutral benchmark.’” Id. The Supreme

Court then discussed problems with the argument, which it found “compelling

neither in theory nor in practice.” Id. at 23–24.

      The Supreme Court rejected the State’s assertion that existing precedent

“inevitably demands racial proportionality in districting, contrary to” Section Two.

Id. at 26. “[P]roperly applied,” the Supreme Court explained, “the Gingles

framework itself imposes meaningful constraints on proportionality, as [Supreme

Court] decisions have frequently demonstrated.” Id. The Supreme Court then

discussed three cases to illustrate how Gingles constrains proportionality: Shaw, 509

U.S. at 647, 655; Miller, 515 U.S. at 906, 910–11; and Bush v. Vera, 517 U.S. 952,

960 (1996) (plurality opinion). Allen, 599 U.S. at 27–29.

      “Forcing proportional representation is unlawful,” the Supreme Court

reiterated, and Section Two “never requires adoption of districts that violate

traditional redistricting principles.” Allen, 599 U.S. at 28–30 (internal quotation

marks omitted). Rather, its “exacting requirements . . . limit judicial intervention to

those instances of intensive racial politics where the excessive role of race in the

electoral process . . . denies minority voters equal opportunity to participate.” Id. at

30 (internal quotation marks omitted).

      In Part III-B-1 of the opinion, the Supreme Court then discussed “how the


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race-neutral benchmark would operate in practice.” Id. Justice Kavanaugh did not

join Part III-B-1, which is the only part of the Chief Justice’s opinion that Justice

Kavanaugh did not join. See id. at 8. We discuss it below. See infra Part I.C.2.

      Finally, the Supreme Court rejected the State’s arguments that the Supreme

Court “should outright stop applying § 2 in cases like these” because it “does not

apply to single-member redistricting” and “is unconstitutional as [we] applied it.”

Allen, 599 U.S. at 38. The Supreme Court observed that it has “applied § 2 to States’

districting maps in an unbroken line of decisions stretching four decades” and has

“unanimously held that § 2 and Gingles ‘[c]ertainly . . . apply’ to claims challenging

single-member districts.” Id. (quoting Growe v. Emison, 507 U.S. 25, 40 (1993)).

The Supreme Court reasoned that adopting the State’s approach would require it to

abandon this precedent and explained its refusal to do so: “Congress is undoubtedly

aware of our construing § 2 to apply to districting challenges. It can change that if it

likes. But until and unless it does, statutory stare decisis counsels our staying the

course.” Id. at 39.

      Ultimately, the Supreme Court acknowledged “[t]he concern that [Section

Two] may impermissibly elevate race in the allocation of political power within the

States,” but held that “a faithful application of our precedents and a fair reading of

the record before us do not bear [that concern] out here.” Id. at 41–42.

      The Supreme Court affirmed our judgments in Caster and Milligan. Id. at 42.


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             2.    Part III-B-1 of the Chief Justice’s Opinion

      In Part III-B-1, the Chief Justice, in an opinion joined by three other Justices,

explained why the State’s race-neutral benchmark approach would “fare[] poorly”

in practice.9 Id. at 30 (Roberts, C.J.). The four justices explained that Alabama’s

benchmark would “change existing law” by “prohibiting the illustrative maps that

plaintiffs submit to satisfy the first Gingles precondition from being based on race.”

Id. (internal quotation marks omitted). The four justices then explained why they

saw “no reason to impose such a new rule.” Id. at 30–33. The four justices observed

that on its face, Section Two “‘demands consideration of race,’” acknowledged that

the “line between racial predominance and racial consciousness can be difficult to

discern,” and explained their view that “it was not breached here.” Id. (quoting

Abbott v. Perez, 585 U.S. 579, 587 (2018)).

      The State has previously argued that Part III-B-1 tells us that only a plurality

of Justices “concluded that at least some of the plans drawn by Bill Cooper did not

breach the line between racial consciousness and racial predominance.” Milligan

Doc. 267 ¶ 39 (internal quotation marks omitted). But the State overreads Part III-



9
  We distinguish Part III-B-1, the opinion of four justices, from a plurality opinion.
“A plurality opinion is one that doesn’t garner enough appellate judges’ votes to
constitute a majority, but has received the greatest number of votes of any of the
opinions filed, among those opinions supporting the mandate.” Bryan A. Garner, et
al, The Law of Judicial Precedent 195 (2016) (internal quotation marks and footnote
omitted). All other parts of the Chief Justice’s opinion garnered five votes.

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B-1 as leaving open for relitigation the question whether the Plaintiffs submitted at

least one illustrative remedial plan in which race did not play an improper role.

      The affirmance tells us that a majority of the Supreme Court concluded that

the Plaintiffs satisfied their burden under the first Gingles precondition. This

necessarily reflects a conclusion that the Plaintiffs submitted at least one illustrative

map in which race did not play an improper role. Justice Kavanaugh’s concurrence

is to the same effect — Justice Kavanaugh did not suggest, let alone say, that he

“vote[d] to affirm” despite finding that the Plaintiffs submitted no illustrative map

that properly considered race. Allen, 599 U.S. at 45 (Kavanaugh, J., concurring in

part). What Part III-B-1 tells us — and no more — is that only four Justices agreed

with every statement in that Part.

             3.     Justice Kavanaugh’s Concurrence

      Justice Kavanaugh “agree[d] with the [Supreme] Court that Alabama’s

redistricting plan violates § 2,” and he “wr[o]te separately to emphasize four points.”

Id. at 42. First, he rejected the State’s request that the Supreme Court overrule

Gingles because “the stare decisis standard for [the Supreme] Court to overrule a

statutory precedent, as distinct from a constitutional precedent, is comparatively

strict. Unlike with constitutional precedents, Congress and the President may enact

new legislation to alter statutory precedents such as Gingles.” Id. Justice Kavanaugh

observed that “[i]n the past 37 years . . . Congress and the President have not



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disturbed Gingles, even as they have made other changes to the Voting Rights Act.”

Id.

        Second, Justice Kavanaugh rejected the State’s contention that “Gingles

inevitably requires a proportional number of majority-minority districts, which in

turn contravenes the proportionality disclaimer” in Section Two. Id. at 43. Justice

Kavanaugh explained that the Supreme Court’s precedents establish that “Gingles

does not mandate a proportional number of majority-minority districts.” Id. Rather,

“Gingles requires the creation of a majority-minority district only when, among

other things, (i) a State’s redistricting map cracks or packs a large and

‘geographically compact’ minority population and (ii) a plaintiff’s proposed

alternative map and proposed majority-minority district are ‘reasonably

configured’—namely, by respecting compactness principles and other traditional

districting criteria such as county, city, and town lines.” Id.

        Justice Kavanaugh explained further that if “Gingles demanded a proportional

number of majority-minority districts, States would be forced to group together

geographically dispersed minority voters into unusually shaped districts, without

concern for traditional districting criteria such as county, city, and town lines,” but

“Gingles and [the Supreme] Court’s later decisions have flatly rejected that

approach.” Id.

        Third, Justice Kavanaugh rejected Alabama’s “race-neutral benchmark”


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because Section Two “requires in certain circumstances that courts account for the

race of voters so as to prevent the cracking or packing—whether intentional or not—

of large and geographically compact minority populations.” Id. at 44.

      “Fourth,” Justice Kavanaugh emphasized, “Alabama asserts that § 2, as

construed by Gingles to require race-based redistricting in certain circumstances,

exceeds Congress’s remedial or preventive authority,” but “the constitutional

argument presented by Alabama is not persuasive in light of the Court’s precedents.”

Id. at 45. Justice Kavanaugh observed that “the authority to conduct race-based

redistricting cannot extend indefinitely into the future,” but declined to consider that

argument then because Alabama had not raised it. Id.

      Justice Kavanaugh reiterated that he “vote[d] to affirm” and “concur[red] in

all but Part III-B-1 of the Court’s opinion.” Id. at 45.

             4.     The Dissents
      Justice Thomas published a dissent. Justice Thomas, with Justice Gorsuch

joining, first argued that Section Two does not apply to redistricting. Id. at 45–49

(Thomas, J., dissenting). Then, with Justices Gorsuch, Barrett, and Alito joining, he

argued that Alabama “should prevail” even if Section Two were applicable because

(1) there should be a race-neutral benchmark in Section Two cases and (2) race

predominated in the drawing of the plaintiffs’ illustrative remedial plans. Id. at 50–

65. Finally, with Justices Gorsuch and Barrett joining, Justice Thomas argued that



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the way we applied Section Two is unconstitutional. Id. at 67–88.

      Justice Alito also published a dissent, joined by Justice Gorsuch. Id. at 94

(Alito, J., dissenting). Justice Alito wrote that he would reconfigure Gingles to “take

constitutional requirements into account.” Id. at 95. He described his view that Dr.

Duchin and Mr. Cooper assigned race a predominant role in their illustrative plans

and argued that we gave “substantial weight” to proportionality, in violation of

Section Two. Id. at 102. Finally, Justice Alito discussed his view that existing legal

standards trap “States ‘between the competing hazards of liability’ imposed by the

constitution and the [Voting Rights Act].” Id. at 109 (cleaned up).

      D.     The 2023 Plan
      On return from the Supreme Court, Milligan came before this three-judge

Court, and Caster before Judge Manasco, for remedial proceedings. The State

requested that we delay remedial proceedings for approximately five weeks to allow

the Legislature time to enact a new plan, and we did. Milligan Docs. 166, 168.

      Governor Ivey called a legislative special session (the “2023 Special

Session”) to consider congressional redistricting. Milligan Doc. 436 ¶¶ 119–120.

Senator Livingston and Representative Pringle co-chaired the Committee, which had

“22 members, including 7 Black legislators, who are all Democrats, and 15 White

legislators, who are all Republicans.” Id. ¶ 121. Representative Pringle moved for

the Committee to re-adopt the 2021 guidelines, and it did. Id. ¶ 123. The



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Committee’s 2023 guidelines (“the 2023 guidelines”) are attached to this order as

Appendix A.

      The special session of the Legislature commenced on July 17, 2023. See

Milligan Doc. 173-1. Ultimately, as we discuss at length below, see infra Part I.I.3,

on July 20, 2023, the Alabama House of Representatives passed a congressional

districting plan titled the “Community of Interest Plan.” Milligan Doc. 251 ¶¶ 16,

22. That same day, the Alabama Senate passed a different plan, titled the

“Opportunity Plan.” Id. ¶¶ 19, 22. The next day, a six-person bicameral Conference

Committee passed the 2023 Plan, which was a modified version of the Opportunity

Plan. Id. ¶ 23. Later that day, the Legislature enacted the 2023 Plan (also known as

“SB5”), and Governor Ivey signed it into law. Milligan Doc. 186.

      Although neither the 2021 Plan, nor the Community of Interest Plan, nor the

Opportunity Plan was accompanied by any legislative findings, when the Legislature

enacted the 2023 Plan, it recited eight pages of legislative findings (“the 2023

legislative findings”). We attach those findings to this order as Appendix B.

      The 2023 Plan keeps Alabama’s two Gulf Coast counties (Mobile and

Baldwin Counties) together in District 1 and combines much of the Black Belt in

Districts 2 and 7:




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Milligan Doc. 409-86 at 1 (Ex. DX-88).
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      The 2023 Plan, like the 2021 Plan we enjoined, has only one majority-Black

district. Compare Milligan Doc. 186-1 at 2, with Milligan Doc. 107 at 2–3. In the

2023 Plan, District 7 has a BVAP of 50.65% (it was 55.3% in the 2021 Plan).

Compare Milligan Doc. 186-1 at 2, with Milligan Doc. 53 ¶ 57. The district with the

next largest BVAP is District 2, where Black Alabamians account for 39.93% of the

voting age population. Milligan Docs. 186-1 at 2, 251 ¶ 3.

      The inclusion of legislative findings in the 2023 Plan is novel; no such

findings appear in Alabama’s previous plans. (The Committee passed guidelines for

Alabama’s previous plans, as it did in 2023, but the Legislature did not enact

findings. See Milligan Doc. 410-49 (Ex. DX-147); Milligan Doc. 410-50 (Ex. DX-

148).) Additionally, as explained below, the 2023 legislative findings differ from the

2023 guidelines. Compare App. A, with App. B.

      In the 2023 legislative findings, the Legislature “f[ound] and declare[d]” first

that it “adheres to traditional redistricting principles when adopting congressional

districts.” App. B at 1. The Legislature then quoted the Supreme Court’s statement

in these cases that Section Two “never requires adoption of districts that violate

traditional redistricting principles.” Id. The 2023 legislative findings next provide

that the Legislature’s intent in adopting the 2023 Plan “is to comply with federal

law,” including the Constitution and Voting Rights Act. Id. They further provide that

the Legislature’s intent is to give effect to several “traditional redistricting


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principles,” including: “minimal population deviation,” “contiguous geography,”

“reasonably compact geography,” and that the plan “shall contain no more than six

splits of county lines,” “keep together communities of interest,” and “not pair

incumbent members of Congress.” Id. at 1–2.

      The 2023 legislative findings provided that these “principles” are “non-

negotiable,” defined “community of interest,” and “declare[d] that at least the three

following regions are communities of interest that shall be kept together to the fullest

extent possible in this congressional redistricting plan: the Black Belt, the Gulf

Coast, and the Wiregrass.” Id. at 2–3. Although all of these communities of interest

are located in South and Central Alabama, the 2023 legislative findings did not

identify any other communities of interest in Alabama. See id.

      The 2023 legislative findings described the Black Belt by listing the 23

counties it includes and providing three paragraphs describing that it is

“characterized by its rural geography, fertile soil, and relative poverty, which have

shaped its unique history and culture.” Id. at 3–4. The 2023 legislative findings

described the Gulf Coast by listing the two counties it includes and providing nine

paragraphs across nearly three pages detailing their economy and history, including

their “French and Spanish Colonial heritage.” Id. at 4–7. The 2023 legislative

findings described the Wiregrass by listing the 9 counties it includes (3 of which

overlap with the Black Belt) and providing two sentences describing it. Id. at 7.


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      The 2023 legislative findings are unlike the 2021 and 2023 guidelines in

several ways: first, the guidelines did not identify specific communities of interest,

nor describe any community of interest, second, the guidelines did not impose a cap

on the number of acceptable county splits, nor define that term, and third, the

guidelines did not describe any traditional redistricting principle as “non-

negotiable.” See App. A.

      And finally, the 2023 guidelines (like their predecessors, see Milligan Doc.

410-49 (Ex. DX-147); Milligan Doc. 410-50 (Ex. DX-148)), specified both that the

Legislature intended to comply with the Voting Rights Act and that the plan “shall

have neither the purpose nor the effect of diluting minority voting strength.” See

App. A. The 2023 legislative findings do not expressly prohibit a plan with the

purpose or effect of diluting minority voting strength. See App. B.

      Additionally, the 2023 legislative findings employed two definitions that

differ from definitions that the State stipulated during the preliminary injunction

proceedings and that we and the Supreme Court adopted. In their definition of

“community of interest,” the 2023 legislative findings eliminate any reference to

similarities based on ethnic, racial, or tribal identities that appeared in the definition

that the State used during the preliminary injunction proceedings. The 2023

legislative findings state: “A community of interest is a defined area of the state that

may be characterized by, among other commonalities, shared economic interests,


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geographic features, transportation infrastructure, broadcast and print media,

institutions, and historical or cultural factors.” App. B at 3. By contrast, in affirming

the stipulated definition used by this Court, the Supreme Court determined that a

community of interest is an “area with recognized similarities of interests, including

but not limited to ethnic, racial, economic, tribal, social, geographic, or historical

identities.” Allen, 599 U.S. at 20 (quoting Singleton, 582 F. Supp. 3d at 1012).

       And in their definition of the Black Belt, the 2023 legislative findings

eliminate altogether the reference to race and slavery that was in the definition that

the State previously stipulated. We adopted that stipulation in our order, and the

Supreme Court quoted it. Compare Milligan Doc. 107 at 36–37 (quoting Milligan

Doc. 53 ¶ 60) and Allen, 599 U.S. at 21, with App. B at 3–4. 10 In our preliminary


10
   At trial, the State objected to the Caster Plaintiffs offering the parties’ previous
stipulations (Caster Exs. 124–26) into evidence because “[t]hose stipulations were
made for purposes of the preliminary injunction hearing, not for trial.” Tr. 1505.
Judge Marcus replied to counsel for the State: “I understand you object to the
substance of the stipulation because you have new stipulations. Let us know if you
object to these as evidence that at one time they were stipulations.” Id. Later, when
the issue was re-raised, counsel for the State provided a fuller objection:

       [W]e stipulated to those facts only for purposes of preliminary
       injunction and those earlier proceedings. We entered into a new round
       of stipulations where we had the benefit of all knowledge gained
       through discovery. We reset the clock, in other words. Earlier on, the
       proceedings were hurried. Everybody had a short time frame. And so,
       to make sure there weren’t mistakes made or that they weren’t based on
       incomplete knowledge, we have restarted the clock and entered into a
       new set of stipulations. We do not feel it’s fair to hold [those against]


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injunction order, we found that the Black Belt “is named for the region’s fertile black

soil. The region has a substantial Black population because of the many enslaved

people brought there to work in the antebellum period. All the counties in the Black

Belt are majority- or near majority-BVAP.” Milligan Doc. 107 at 36–37. We went

on to find that: “The Black Belt is a collection of majority-Black counties that runs

through the middle of Alabama. The Black voters in the Black Belt share a rural

geography, concentrated poverty, unequal access to government services, and lack

of adequate healthcare.” Id. at 165.

      In closing argument, counsel for the State described the practical upshot of

the 2023 legislative findings when he represented that he was “not aware of a way

to draw two majority-Black districts without going against the legislature’s priority

of keeping Mobile and Baldwin County whole”:

      JUDGE MANASCO: So is it possible to draw a map that satisfies the
      findings expressed in SB-5 with two opportunity districts?

      [Counsel for the State]: I am not aware of a way to draw two majority-

      us if we are no longer willing to enter into these stipulations.

Tr. 2415–16. When provided the opportunity to respond, counsel for the Caster
Plaintiffs stated: “We believe the [State] ha[s] agreed to these facts in the past and
that, whether or not [it] stand[s] by them today, the fact is that [it] ha[s] previously
stipulated that these were all facts.” Id. at 2416.

Because the parties revised the stipulations, the Court does not rely on the previously
stipulated definition of the Black Belt to understand the Black Belt. We simply
observe that the Legislature did not mention race or slavery in its findings while, at
the same time, the State stipulated to such facts in court.

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     Black districts without going against the legislature’s priority of
     keeping Mobile and Baldwin County whole.

     JUDGE MANASCO: Okay.

     JUDGE MARCUS: If that be the case, counsel, help me understand
     how we could infer anything other than that this map was drawn to
     avoid addressing and meeting the orders of this Court on remedy that
     had been affirmed by the Supreme Court? If you drew your findings in
     such a way as to make it mathematically impossible to comply with the
     order of this Court and to comply with the order of the Supreme Court
     of the United States, which affirmed our findings of fact, our
     conclusions of law, and the remedy that we said you had to adopt in
     order to comply -- if all of that’s so, haven’t you drawn a map in such
     a way as to simply say, we will checkmate the Court orders?

     [Counsel for the State]: No, Your Honor. I do not believe –

     JUDGE MARCUS: Well, how else can you read the inference from
     what you said, which is that this is nonnegotiable, effectively; that is to
     say, you must keep these counties together; you accept that if you keep
     them together, there is no way on God’s green earth you can draw two
     majority-minority districts or anything quite close to it.

     [Counsel for the State]: Because we think, Your Honor, that has to be
     read in light of the record as a whole and what was going on at the time.
     The legislature had before it, for example – you know, what the
     Milligan plaintiffs have said about not splitting the Black Belt so many
     ways, about what a race-neutral plan would look like. The legislature
     may have been hoping -- and we think the record supports this -- to find
     another argument that would lead the Court to believe a different
     remedy was appropriate or that there was no Section 2 violation at all.
     Obviously, those arguments did not work. They were made in good
     faith and they were made with the knowledge that this Court would
     have to look at those plans before they were used in an election.

     JUDGE MARCUS: Gotcha.

Tr. 2647–49.



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      E.     Remedial Proceedings and the Second Preliminary Injunction
             (2023)

      All Plaintiffs objected to the 2023 Plan and requested another injunction.

Singleton Doc. 147; Milligan Doc. 200; Caster Doc. 179. We adopted the parties’

joint proposed scheduling order for remedial proceedings. Milligan Docs. 193, 194.

      The United States filed a Statement of Interest, Milligan Doc. 199, and we

received three amicus briefs: one from Congresswoman Sewell and members of the

Congressional Black Caucus in support of the Plaintiffs, see Milligan Docs. 208,

232, 236; another from the National Republican Redistricting Trust in support of the

State, see Milligan Docs. 230, 232, 234; and another from certain elected officials

in Alabama in support of the Plaintiffs, see Milligan Docs. 255, 258, 260.

      At the request of the parties and after a prehearing conference, we clarified

that remedial proceedings would be limited to the issue of whether the 2023 Plan

complies with the order of this Court, affirmed by the Supreme Court, and Section

Two. Milligan Doc. 203 at 3–4. We further clarified that because the scope of the

remedial hearing would be limited, the constitutional claims of the Singleton

Plaintiffs would not be at issue. Id. at 5. We set a remedial hearing in Milligan and

Caster for August 14, 2023, id. at 3, and a preliminary injunction hearing in

Singleton to commence immediately after the remedial hearing, id. at 6.

      The State moved for further clarification about the remedial proceedings.

Milligan Doc. 205. The State reiterated its position that because the 2021 Plan was


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repealed and replaced when the 2023 Plan became Alabama law, the 2023 Plan

“remedies the likely § 2 violation unless Plaintiffs show that the 2023 Plan likely

violates § 2.” Id. at 3. Put differently, the State’s position was that these cases were

not in a “purely remedial” posture because we needed to conduct a “preliminary

injunction hearing related to a new law,” in which the Plaintiffs would be required

to establish that the 2023 Plan violates Section Two “anew” to obtain relief. Id. at

2–3 (quoting Milligan Doc. 169). All Plaintiffs responded. Milligan Doc. 210;

Caster Doc. 190; Singleton Doc. 161.

      We again clarified the scope of the remedial proceedings and explained that

the purpose of remedial proceedings would be to determine whether the 2023 Plan

remedies the likely Section Two violation found by this Court, which the Supreme

Court affirmed. Milligan Doc. 222 at 8–9. We emphasized that the plaintiffs “bear

the burden to establish that the 2023 Plan does not remedy the likely Section Two

violation that this Court found and the Supreme Court affirmed.” Id. at 9. We

reiterated that the remedial proceedings would not relitigate the findings made in

connection with the previous liability determination. Id. at 11. In our second

preliminary injunction order, we not only addressed whether the 2023 Plan remedied

the likely Section 2 violation, but in the alternative, we reviewed the 2023 Plan from

scratch, starting anew. Milligan Doc. 272 at 139.

      For purposes of the remedial hearing, all parties again agreed that we could


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consider all evidence admitted in either Milligan or Caster, including evidence

admitted during the previous preliminary injunction hearing, in both cases unless

counsel raised a specific objection. Milligan Doc. 203 at 5; Caster Doc. 182; Aug.

14, 2023 Tr. 61.

      At the remedial hearing, the State maintained its position that despite the

Supreme Court’s affirmance of our injunction, the 2023 Plan had reset the

proceedings to ground zero for the Plaintiffs, such that they had to establish anew

their entitlement to injunctive relief. Invoking a baseball analogy, Judge Marcus

asked the Alabama Solicitor General whether we were “in the first inning of the first

[g]ame of this proceeding”; counsel responded, “I think we are.” Aug. 14, 2023 Tr.

61–62.

      Also at that hearing, the State readily conceded that the 2023 Plan does not

include an additional opportunity district. Indeed, the State asserted that

notwithstanding our preliminary injunction order and the relief we granted, and the

Supreme Court’s affirmance, the Legislature was not required to include an

additional opportunity district in the 2023 Plan. Id. at 75, 159–64.

      We inquired extensively of the Solicitor General about the State’s concession.

First, the Solicitor General asserted that if we were again to order an additional

opportunity district, we would violate the Supreme Court’s affirmance of our

preliminary injunction:


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  JUDGE MANASCO: . . . So in our previous order, we considered the
  tension between Section 2 compliance and racial gerrymandering. And
  we indicated following our liability finding what an appropriate remedy
  would be, that it would be a map that includes an additional opportunity
  district. I asked a question about that earlier with respect to the motion
  in limine, but now I’m asking a question with respect to the substance,
  not necessarily with respect to the evidence you think we ought to
  consider or ought not to. What role did our statement about the
  additional opportunity district play in what was necessary to comply
  with our order?

  [Solicitor General]: I think your statement made clear that if we were
  going to move forward with the exact same priority given to
  communities of interest, compactness, and county lines as we gave in
  2021, that we would likely need to have two majority-[B]lack districts
  or something quite close to it. But I don’t think we were bound to stick
  to that same prioritization of those same legitimate principles, which
  the Supreme Court blessed in Allen and has blessed repeatedly as things
  that a state is allowed to do when it’s doing the hard work of trying to
  draw congressional districting lines.

  JUDGE MANASCO: All right. So where are we now? I take it that the
  state’s position is that this is, although it’s a remedial proceeding, sort
  of functionally very much like a preliminary injunction hearing, where
  if we were to grant the relief that the plaintiffs request, we would be
  entering an injunction against SB-5 instead of SB-1. So indulge a
  hypothetical for a moment. If we were to say again there is a violation
  and what has to happen is an additional opportunity district, what would
  be the impact in this context of the statement about an additional
  opportunity district?

  [Solicitor General]: Your Honor, I think our position would be that that
  would be a violation of Allen vs. Milligan Supreme Court’s order
  because they have not satisfied Gingles I. And so you would be
  requiring us to adopt a map that violates traditional principles which the
  Supreme Court declared to be unlawful.

  JUDGE MANASCO: Well, at what point does the federal court in your
  view have the ability to comment on whether the appropriate remedy
  includes an additional opportunity district? On liability? On remedy?

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  Both? Or never?

  [Solicitor General]: I don’t think there’s any prohibition on the Court
  commenting on what it thinks an appropriate remedy would be, but I
  do think that that statement had to have been in the context of the 2021
  plan and through traditional principles that were given effect in that
  plan, because again, this is again intensely local appraisal of -- it was
  an intensely local appraisal of that plan.

  JUDGE MANASCO: You can appreciate the concern, though, that if
  all that’s necessary to occur to avoid the additional opportunity district
  is to redefine the principles, that there never comes a moment where on
  the state’s logic, which we’re still in the hypothetical world -- there
  never comes a moment where the Court can say with force that there
  has to be an additional opportunity district, because all that’s required
  is for the state to redefine the context every time.

  [Solicitor General]: Your Honor, I would dispute that proposition. We
  couldn’t rely on core retention. Allen made that clear. So if we said the
  new context is core retention, it is our number one priority, that would
  do us no good in a future challenge. But what we did rely on are those
  three principles that the Court has said are things that states can do and
  have always done.

  JUDGE MANASCO: But for example, SB-5 pays attention to the
  Wiregrass. We weren’t talking about the Wiregrass in January of 2022.
  Is there a point at which the context becomes somewhat fixed? We have
  a census every ten years. So the numerical features that -- the numerical
  demographics that we’re dealing with are fixed at that point in time.
  But is there some point -- does the state acknowledge any point during
  the ten-year cycle where the ability to redefine the principles cuts off
  and the Court’s ability to order an additional opportunity district
  attaches?

  [Solicitor General]: Your Honor, I think it sounds a lot like a
  preclearance regime, which I don’t think Section 2 –

  JUDGE MANASCO: No. In this world, we’ve made a liability finding.
  It’s not -- I mean, it’s not preclearance. There’s been a liability finding
  as to HB-1. I take it you are urging us to make a liability finding before

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  we do anything, if we do, do anything with respect to HB-5. My
  question is: If we have to make the liability finding every time and you
  say that until we make the liability finding we can never comment on
  the appropriate remedy because the context can be redefined, when in
  the cycle does the loop cut off?

  [Solicitor General]: Your Honor, there are obviously timing issues that
  we discussed earlier today. If you find that there is a problem with this
  map that it likely violates Section 2, as well, then our time has run out,
  and we will have a court drawn map for the 2024 election barring
  appellate review. But so I think that would address that concern. But --
  and this is how federal courts work when it comes to any law that is
  challenged and is enjoined. If the new law that is enacted that repeals
  the law whether it’s dealing with the First Amendment concern or
  dealing with -- with any other area of the law that is touched with
  potential federal interest, it’s incumbent on the plaintiff to show that the
  new law is also violative of federal law. And if the new law looks
  identical or very, very close to the old law, that’s an easy showing to
  make, the problem for the plaintiffs here is this is not the same map.
  This is –

  JUDGE MANASCO: Let me ask it I guess a little more finely. With
  respect to HB-1 when we made the liability finding, is it the state’s
  position that at that time this Court had no authority to comment on
  what the appropriate remedy would be because at that time the
  Legislature was free to redefine traditional districting principles?

  [Solicitor General]: Of course, the Court could comment on it. And I
  think had the Legislature failed in its attempt to draw a new map, then
  we would have moved to a pure remedial proceeding, as Judge Marcus
  recognized on page 155 of Doc 172 in the Milligan case. But the
  Legislature did succeed in passing a new map that comports with
  Section 2.

  JUDGE MANASCO: I guess that brings me back to my original
  question. The Legislature has drawn a new map. So what was the
  import according to the state of the original comment about the
  additional opportunity district?

  [Solicitor General]: I think [it] let the Legislature know that if they were

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      going forward with the exact same principles as they went forward with
      in 2021, which was refine splitting communities of interest, refine
      drawing really non-compact districts that might be harder to represent,
      then you are going to have to apply that in a way that ensures that
      there’s not a [disparate] effect on the minority population, which is
      going to require two majority Black districts or something close to it.
      But I don’t think we were locked in forever sticking with non-compact
      districts or sticking with an approach that violates or breaks up
      communities of interest. Now, we couldn’t say it’s really important to
      keep together these communities of interest while splitting the Black
      Belt. I think that much was made clear by this Court and the Supreme
      Court. That’s why we have a plan now that does better on the Black
      Belt than every single one of the plaintiffs’ 11 plans. So now they are
      here asking you to split the Black Belt in order to hit racial goals. And
      the Supreme Court made clear that is unlawful, and it is
      unconstitutional.
Id. at 156–161.

      Later, the Solicitor General repeated the State’s position that another order

requiring an additional opportunity district would violate the Supreme Court’s

affirmance of our preliminary injunction:

      JUDGE MOORER: So . . . what I hear you saying is the state of
      Alabama deliberately chose to disregard our instructions to draw two
      majority-Black districts or one where minority candidates could be
      chosen.

      [Solicitor General]: Your Honor, it’s our position that the Legislature -
      -

      JUDGE MOORER: I am not asking you your position. Did they or did
      they not? Did they disregard it? Did they deliberately disregard it or
      not?

      [Solicitor General]: Your Honor, District 2 I submit is as close as you
      are going to get to a second majority-Black district without violating
      Allen -- the Supreme Court’s decision in Allen, which is the supreme


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      law of the land when it comes to interpreting Section 2. So I think this
      is as close as you could get without violating the Constitution, without
      violating Allen vs. Milligan. So I do think –

      JUDGE MOORER: In the view of the [S]tate?

      [Solicitor General]: Yes, Your Honor.

Id. at 163–64. The Solicitor General reiterated the State’s position that it could

comply with Section Two without satisfying the requirement in our order of an

additional opportunity district:

      JUDGE MARCUS: Let me ask the question one more time. Can you
      draw a map that maintains three communities of interest, splits six or
      fewer counties, but that most likely if not almost certainly fails to create
      an opportunity district and still comply with Section 2?

      [Solicitor General]: Yes. Absolutely.

      JUDGE MARCUS: Thank you.

Id. at 164.

      The Legislature’s conduct and the State’s concession put this case in an

unusual posture. We are not aware of any other case in which a state legislature —

faced with a federal court order declaring that its electoral plan unlawfully dilutes

minority votes and requiring a plan that provides an additional opportunity district

— responded with a plan that state officials concede does not provide that district.

      Based on the State’s concession and the evidentiary record, on September 5,

2023, we issued a second preliminary injunction, and Judge Manasco again issued a

parallel preliminary injunction in Caster. Milligan Doc. 272, Caster Doc. 223.

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        In that injunction, we expressed concern about the State’s position that “so

long as the Legislature enacts a remedial map, we have no authority to craft a remedy

without first repeating the entire liability analysis. But at the end of each liability

determination, the argument goes, we have no authority to order a remedy if the

Legislature plans and has time to enact a new map.” Milligan Doc. 272 at 126. “In

essence,” we realized, “the State creates an endless paradox that only it can break,

thereby depriving Plaintiffs of the ability to effectively challenge and the courts of

the ability to remedy.” Id. We explained that the State’s “infinity loop . . . terminated

only by a new census” was a serious problem: “It cannot be that the equitable

authority of a federal district court to order full relief for violations of federal law is

always entirely at the mercy of a State electoral and legislative calendar.” Id. at 126–

27.

        The Secretary — but not the Legislators — appealed. Milligan Docs. 274,

275. After we and the Supreme Court denied the Secretary’s requests for a stay, the

Secretary dismissed his appeals. Milligan Docs. 276, 281, 307, Caster Doc. 251;

Emergency Application for Stay, Allen v. Milligan, No. 23A231 (Sept. 11, 2023);

Allen, 144 S. Ct. at 476.

        F.    The Special Master Plan

        Also on September 5, 2023, we issued detailed instructions to the Special

Master we appointed: Mr. Richard Allen, an “esteemed public servant with eminent



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knowledge of Alabama state government,” Milligan Doc. 130 at 3–4; see also

Milligan Doc. 273. Mr. Allen served as Chief Deputy Attorney General under four

Alabama Attorneys General, served as the Commissioner of the Alabama

Department of Corrections, practiced law for many years in Montgomery, and

retired from military service with the rank of Brigadier General. See Milligan Doc.

130 at 4. The Special Master was assisted by counsel we appointed for that purpose,

Mr. Michael Scodro and the Mayer Brown LLP law firm, and the appointed

cartographer, Mr. David Ely. See Milligan Doc. 226 at 4–5, Milligan Doc. 264. No

party objected to these appointments. See id. Pursuant to Federal Rule of Civil

Procedure 53(a)(2), Mr. Allen, Mr. Ely, and Mr. Scodro attested that they were

aware of no grounds for their disqualification. Milligan Docs. 239, 240, 241.

       In our detailed instructions, we directed the Special Master to file three

proposed plans to remedy the likely Section Two violation we found in the 2023

Plan; include color maps and demographic data with each plan; and file a Report and

Recommendation to explain “in some detail the choices made” in each plan and why

each plan remedies the likely vote dilution we found. See Milligan Doc. 273 at 6.

We directed the Special Master to discuss “the facts and legal analysis supporting

the proposed districts’ compliance with the U.S. Constitution, the Voting Rights Act,

traditional redistricting criteria, and the other criteria” we listed. See id. at 6–7.

       We directed that each recommended plan must “[c]ompletely remedy the


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likely Section [Two] violation,” which required each plan to “include[] either an

additional majority-Black congressional district, or an additional district in which

Black voters otherwise have an opportunity to elect a representative of their choice.”

Id. at 7 (second alteration in original). We further directed that each recommended

plan must comply with the Constitution, the Voting Rights Act, and “the one-person,

one-vote principle guaranteed by the Equal Protection Clause of the Fourteenth

Amendment, based on data from the 2020 Census.” Id. at 7.

      We also directed that each recommended plan must “[r]espect traditional

redistricting principles to the extent reasonably practicable,” and we observed that

“[o]rdinarily, these principles [i]nclud[e] compactness, contiguity, respect for

political subdivisions or communities defined by actual shared interests,

incumbency protection, and political affiliation.” Id. at 8–9 (quoting Ala. Legis.

Black Caucus v. Alabama, 575 U.S. 254, 272 (2015) (internal quotation marks and

citations omitted)). Because our Court is “forbidden to take into account the purely

political considerations that might be appropriate for legislative bodies,” such as

incumbency protection and political affiliation, id. at 9 (quoting Larios v. Cox, 306

F. Supp. 2d 1214, 1218 (N.D. Ga. 2004) (three-judge court)), we limited the Special

Master’s consideration of traditional districting criteria to compactness, contiguity,

respect for political subdivisions, and communities of interest. Id.

      We allowed the Special Master to consider the eleven illustrative plans


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submitted by the Milligan and Caster Plaintiffs, the Singleton Plaintiffs’ remedial

maps, the 2021 Plan and 2023 Plan, and the 2023 guidelines and 2023 legislative

findings. Id. at 9–10. We also said the Special Master could consider all the evidence

before us, public proposals, and additional submissions by the parties. Id. at 10.

      The Special Master prepared plans and solicited proposals and comments

from the parties and public. Redistricting Doc. 2.

      The Special Master observed that the proposals and comments were

“necessarily done on an expedited basis but were nonetheless of extremely high

quality and were clearly the product of extensive work and thoughtful analysis.”

Redistricting Doc. 44 at 13. The Special Master “reviewed[] and carefully

considered” each submission. Id.

      The Special Master filed a 43-page Report and Recommendation that

recommended three remedial plans and explained the care he took to limit his

analysis as we directed and follow our instructions exactly. See Milligan Doc. 295.

In each plan he recommended, the Special Master left Districts 3, 4, and 5 unchanged

from the 2023 Plan and modified Districts 6 and 7 only minimally. Id. at 27. His

plans were equipopulous and contained only contiguous districts. Id. at 35, 39.

      The Special Master confirmed that his plans were not racial gerrymanders or

intentionally discriminatory. See id. at 36. Indeed, they were prepared race-blind:

the Special Master explained that Mr. Ely “did not display racial demographic data


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while drawing districts or examining others’ proposed remedial plans within the

mapping software, Maptitude. Instead, Mr. Ely relied on other characteristics and

criteria” related to communities of interest and political subdivisions. Id.

       The Special Master provided core retention metrics, a performance analysis,

compactness scores, and information about respect for political subdivisions and

communities of interest, for each plan he recommended. See id. at 27–28 tbl. 2; 32

tbl. 4; 38 tbl. 6; 41–43. The Special Master also explained why he rejected other

plans, which was principally because they proposed changes “beyond the minimum”

changes to the 2023 Plan “needed to remedy the Section Two violation.” Id. at 29.

       After we received the Special Master’s Report and Recommendation,

received objections, and held a hearing, we ordered Secretary Allen to conduct

Alabama’s 2024 congressional elections using the plan the Special Master titled

“Remedial Plan 3” (the “Special Master Plan”). Milligan Docs. 295, 296, 301, 302,

303, 304, 305, 311; Caster Doc. 248, 253; Redistricting Docs. 48, 49; Singleton Doc.

210.

       The Special Master Plan appears below:




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Caster Doc. 319-18 (Caster Ex. PX-18).
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      This Court found in a detailed order that the Special Master Plan satisfied all

constitutional and statutory requirements while hewing as closely as possible to the

2023 Plan. That order followed a process of elimination. “We beg[a]n by limiting

our analysis to the proposed plans that d[id] not exceed our authority,” Milligan Doc.

311 at 36 (citing North Carolina v. Covington, 585 U.S. 969, 978 (2018)), which

meant we eliminated any plans that redrew Districts 3, 4, and 5 because those

districts were “not challenged in this litigation” and changes to them are “not

necessary . . . to remedy the vote dilution we found.” Id. at 36–37. “This eliminate[d]

all proposals other than the Special Master’s plans and Grofman 2023 Plan.” Id. at

37. Next, we “limit[ed] our analysis to the proposed plans that satisfy the

Legislature’s limit of six county splits.” Id. We were not required to defer to this

limit, but could “remedy the vote dilution we found without exceeding it, so we [did]

not exceed it.” Id. (internal citation omitted). This eliminated the Special Master’s

Remedial Plan 1. Next, we considered how the remaining plans “respect political

subdivisions other than counties.” Id. We eliminated the Grofman 2023 Plan because

it “split[] substantially more voting districts than [was] necessary to remedy the vote

dilution we found.” Id.

      Although the two remaining plans (the Special Master’s Remedial Plans 2 and

3) were similar in many ways, we found that “Remedial Plan 3 better respect[ed]

municipal boundaries and the communities of interest that the Legislature


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identified.” Id. “Remedial Plan 3 [kept] 90.4% of the City of Mobile in a single

district, whereas Remedial Plan 2 [kept] only 71.9% of that city in a single district.”

Id. at 38. And “although the State [] introduced precious little evidence to establish

the existence of the Wiregrass community of interest” at the preliminary injunction

stage, we considered the fact that Remedial Plan 3 kept six of the Wiregrass counties

together, whereas Remedial Plan 2 kept “only five of the Wiregrass counties

together.” Id. at 38–39. We found “that of all the proposed remedial plans before us,

Remedial Plan 3 ‘most closely approximate[d]’ the plan that the Legislature enacted

and we enjoined.” Id. at 39 (quoting Upham v. Seamon, 456 U.S. 37, 42 (1982)).

      Since we ordered the Secretary to use the Special Master Plan, the Milligan

and Caster parties have executed the following stipulations about that plan:

   • Mr. Ely, “drafted the [Special Master] Plan without reference to any
     illustrative or proposed plan.” Milligan Doc. 436 at 21, ¶ 140.

   • “To prepare the [Special Master] Plan, Mr. Ely left CD 3, CD 4, and CD 5
     unchanged from the 2023 Plan; preserved all 18 core counties in the Black
     Belt within CD 2 and CD 1 without splitting any of those counties; and
     minimized changes to CD 6 and CD 7.” Id.

   • “The [Special Master] Plan splits six counties” and “places Henry County
     with the Wiregrass counties of Houston, Dale, Coffee, Geneva, and Covington
     in CD 1.” Id. at 21–22, ¶ 140.

   • “[A]ccording to the Special Master’s report, Mr. Ely sought to preserve the
     cities of Mobile and Birmingham within single districts and to follow
     municipal boundaries where possible” while “minimiz[ing] splitting voting
     districts (precincts) except where needed to equalize population.” Id. at 22, ¶
     141.



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   • “According to the Special Master’s report, Mr. Ely did not display racial
     demographic data within the mapping software, Maptitude, while drawing his
     remedial proposals (including the [Special Master] Plan) or while he
     examined proposed remedies submitted by others.” Id. at 22, ¶ 143.

   • “Instead, Mr. Ely drew his proposals . . . based on other nonracial
     characteristics and criteria related to communities of interest and political
     subdivisions.” Id.

   • BVAP numbers for the 2023 Plan and the three plans filed by the Special
     Master are as follows (the Special Master Plan is identified as “SM3”):




      Id. at 24, ¶ 147.

   • The Special Master Plan “paired two incumbents in CD 1: Rep. Jerry Carl,
     then the CD 1 incumbent, and Rep. Barry Moore, then the CD 2 incumbent.”
     Id. at 24, ¶ 148.

      Following the remedial proceedings and “lengthy negotiations between the

parties,” the State agreed to pay $3 million to counsel for the Milligan Plaintiffs as

reasonable costs and attorney’s fees related to the preliminary injunction

proceedings, appeal to the Supreme Court, and remedial proceedings. Milligan Doc.

383 at 6. We granted an unopposed motion by the State compelling it to pay that

sum. Id. Judge Manasco granted a similar motion upon agreement by the parties in

Caster, which required the State to pay $2,250,000 to counsel for the Caster

Plaintiffs. Caster Doc. 297 at 5–6.

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      G.     The 2024 Election

      In the 2024 congressional election held under the Special Master Plan, a White

candidate, Caroleene Dobson, won the Republican nomination for District 2 and

now-Congressman Shomari Figures won the Democratic nomination. See Milligan

Doc. 436 at 24, ¶ 149–50. Congressman Figures won the general election, receiving

54.6% of the vote to Ms. Dobson’s 45.4%. Id. at 24, ¶ 151. For the first time in

Alabama history, two of Alabama’s seven Representatives are Black.

      H.     Trial (2025)
      The Plaintiffs now request a final declaration that the 2023 Plan violates

federal law; a permanent injunction barring Secretary Allen from conducting any

elections pursuant to that Plan; and a permanent injunction under the Voting Rights

Act ordering Secretary Allen to conduct Alabama’s congressional elections

according to a redistricting plan that complies with the Constitution and federal law.

Singleton Doc. 229 at 46; Milligan Doc. 329 ¶ 206; Caster Doc. 271 at 43.

      All Plaintiffs request that the remedial redistricting plan be court-ordered.

Singleton Doc. 229 at 46; Milligan Doc. 485 at 425–27, ¶¶ 1150–52. And the

Milligan Plaintiffs request that the Court “[r]etain jurisdiction over this matter and

require all Defendants to subject future congressional redistricting plans for

preclearance review from this Court or the U.S. Attorney General under Section 3(c)

of the [Voting Rights Act], 52 U.S.C. § 10302(c).” Milligan Doc. 329 at 77.



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      In February 2024, we set a bench trial to commence on February 10, 2025,

and set pretrial deadlines. Milligan Docs. 333, 391, 399, 429, 432. In January 2025,

we entered the parties’ amended joint proposed trial order. Milligan Doc. 445.

Although the cases were not consolidated, the trial proceeded on a coordinated basis

that permitted the joint presentation of evidence and argument. The parties again

agreed that evidence admitted in any one case could be used in any other case absent

a specific objection. Milligan Docs. 444, 445.

      Trial commenced on February 10, 2025, and ended on February 26, 2025. We

emphasize that we have difficulty imagining a more extensive evidentiary record on

the claims and defenses in these cases. After eleven days of trial, the length of the

combined trial transcripts was 2,687 pages. Forty able lawyers tried these cases. We

heard live testimony from twenty-three witnesses (including thirteen experts);

reviewed reports and rebuttal reports from every expert; received testimony by

designation for twenty-eight additional witnesses (either from depositions in these

cases, or from live testimony in the state Senate redistricting trial that occurred

before Judge Manasco in November 2024); considered stipulated facts spanning

nearly 40 pages; processed more than 790 putative exhibits; and received more than

840 pages of proposed findings and conclusions after trial. And under Federal Rule

of Civil Procedure 65(a)(2), we continue to have the benefit of evidence adduced in

the preliminary injunction proceedings that the parties did not abandon at trial. We


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describe the relevant evidence and argument below. See infra Parts IV and VI.

      I.     Redistricting Litigation in Alabama
      We briefly describe previous Alabama redistricting litigation, for context.

             1.     State Legislative Redistricting

      In 1962, a federal court struck down Alabama’s state legislative districting

plans after the Legislature failed to redistrict following the decennial census for

approximately 50 years. See Sims v. Frink, 208 F. Supp. 431 (M.D. Ala. 1962) (per

curiam) (three-judge court). The Supreme Court affirmed. See Reynolds, 377 U.S. at

586–87. On remand, the district court gave the Legislature the opportunity to draw

new maps. Sims, 247 F. Supp. at 99. The Legislature adopted new maps, and the

district court found the state Senate districts constitutional, but that the state House

maps “intentionally aggregated predominantly [Black] counties with predominantly

white counties for the sole purpose of preventing the election of [Blacks].” Id. at

106–07, 109.

      The district court ordered the State to use a court-drawn map for the next

House election. See id. at 108–09; Sims v. Amos, 336 F. Supp. 924, 928 n.4, 931

(M.D. Ala. 1972). In that election, Fred Gray and Thomas Reed became the first

Black members of the state House since Reconstruction.

      The Legislature again failed to redistrict after the 1970 census, so the district

court drew new districts for the state House and Senate. See Sims, 336 F. Supp. at



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932, 936, 940. In the election held under that plan, Richmond Pearson and U.W.

Clemon became the first Black members of the state Senate since Reconstruction.

        Meanwhile, Congress passed the Voting Rights Act of 1965, which required

(among other things) Alabama to receive “preclearance” from the Attorney General

of the United States or a three-judge court before the State could change its voting

procedures. 52 U.S.C. § 10304; Shelby County v. Holder, 570 U.S. 529, 537 (2013).

        After the 1980 census, the Legislature passed two plans that did not receive

preclearance, and then passed a constitutional plan. Burton v. Hobbie, 561 F. Supp.

1029, 1032–35 (M.D. Ala. 1983). Eleventh Circuit Judge Frank M. Johnson Jr.

described the Legislature’s previous failure to enact a plan that complied with federal

court orders, and the “invidious discrimination existing in both houses of the

Legislature.” See id. at 1030–32. He explained that after decades of litigation and

judicial intervention, the Legislature, for “the first time in Alabama’s history,”

“provided an apportionment plan that is fair to all the people of Alabama.” Id. at

1030.

        After the 1990 census, federal courts again invalidated the Legislature’s

redistricting plan, and a new plan was adopted in a state-court consent judgment. See

Brooks v. Hobbie, 631 So. 2d 883, 884 (Ala. 1993). That plan, known as the Reed-

Buskey Plan, included eight majority-Black state Senate districts. Montiel v. Davis,

215 F. Supp. 2d 1279, 1281–82 (S.D. Ala. 2002). The Supreme Court of the United


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States upheld the Reed-Buskey Plan. See Sinkfield v. Kelley, 531 U.S. 28, 30–31

(2000). After the 2000 census, the Legislature redistricted and maintained those

eight majority-Black state Senate districts. Montiel, 215 F. Supp. 2d at 1281–82.

      After the 2010 census, the Legislature again redistricted. Many majority-

Black districts, including all eight of the majority-Black state Senate districts, were

underpopulated for purposes of the one-person, one-vote requirement. Ala. Legis.

Black Caucus v. Alabama, 231 F. Supp. 3d 1026, 1035 (M.D. Ala. 2017). A three-

judge court found that the Legislature’s plans were lawful, but the Supreme Court

vacated that ruling on the ground that the district court misapplied the law on racial

gerrymandering. Ala. Legis. Black Caucus v. Alabama, 989 F. Supp. 2d 1227, 1280–

87 (M.D. Ala. 2013), vacated on other grounds, 575 U.S. 254 (2015). During the

pendency of that litigation, the Supreme Court in a different case struck down the

preclearance requirement of Section Five of the Voting Rights Act, so Alabama was

no longer required to preclear redistricting plans. Shelby Cnty., 570 U.S. at 556–57.

On remand, the district court determined that twelve districts were unconstitutional.

Ala. Legis. Black Caucus, 231 F. Supp. 3d at 1140, 1348–49. The Legislature passed

remedial plans. See 2017 Ala. Laws Act. Nos. 2017-347, 2017-348.

             2.     Congressional Redistricting

      Unlike redistricting for state legislative seats, congressional redistricting in

Alabama was a regular occurrence in the twentieth century. See Singleton Doc. 285-



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6 (Ex. S-6) (providing Alabama’s congressional maps from 1822 to 2022). When

congressional maps were drawn in 1933, 1940, and 1950, Alabama had nine

districts. Milligan Doc. 436 ¶ 98. All maps between 1933 and 1965 placed Mobile

and Baldwin Counties in separate districts. Id. ¶¶ 98–99. In fact, Mobile and Baldwin

Counties were in separate congressional districts for almost 100 years, “from 1875

until the 1970s.” Tr. 1305. In every election held under those maps, Alabama elected

all-White congressional delegations. Milligan Doc. 436 ¶ 103.

      In 1961, Alabama enacted a law that “provide[d] for the manner of nominating

candidates for Congress in primary elections and electing congressmen in statewide

general elections.” Jansen v. State ex rel. Downing, 137 So. 2d 47, 48 (Ala. 1962).

That at-large scheme was “referred to as the ‘9–8 Plan’ and [was] a legislative

design, in lieu of redistricting, for meeting the reduction in the number of Alabama

congressmen from nine to eight.” Id. at 48. This reduction was realized in 1963 when

“the number of representatives from the State of Alabama in the House of

Representatives of the United States Congress was reduced from 9 to 8.” Moore v.

Moore, 229 F. Supp. 435, 437 (S.D. Ala. 1964). In 1962, both state and federal courts

upheld the 9-8 Plan. Id.

      In 1964, after the Supreme Court decided Wesberry v. Sanders, 376 U.S. 1

(1964) and Martin v. Bush, 376 U.S. 222 (1964), the federal district court found that

it was its “duty to re-examine the [9-8 Plan], the two decisions of the Alabama


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Supreme Court, and [its own] decision [] in light of” Wesberry and Martin. Moore,

229 F. Supp. at 437. That district court struck down the 9-8 Plan, the Legislature

again redistricted, and the district court struck down the revised plan because the

revised districts were not sufficiently equipopulous. Moore v. Moore, 246 F. Supp.

578, 580 n.1 (S.D. Ala. 1965) (per curiam). The Legislature redistricted again and

the district court upheld that plan upon finding that the Legislature “made a good

faith effort which has resulted in the establishment of constitutional congressional

districts.” Id. at 580–82.

      Congressional redistricting following the 1970 census marked three major

changes: (1) since 1973, Alabama has been apportioned seven seats in the United

States House; (2) the 1970s redistricting cycle was the first cycle to fully occur under

the preclearance regime established in Section 5 of the Voting Rights Act; and (3)

Mobile and Baldwin Counties were both fully included in District 1 in this cycle, a

practice that has continued in every congressional plan (but not every Board of

Education plan) enacted since. Milligan Doc. 436 ¶¶ 97, 100–01.

      In all the elections held under the maps drawn after the 1970 census and the

1980 census, Alabama elected all-White congressional delegations. See id. ¶ 103.

After the 1990 census, the Legislature initially failed to redistrict. See Wesch, 785 F.

Supp. at 1494–95. A voter sued and asserted that holding the 1992 election under

the old map would violate the one person, one vote rule. Id. at 1492. Several Black


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voters intervened to assert a Section Two claim. Id. at 1493. The parties proposed

plans, and the court retained its own expert. Id. at 1493, 1495.

      The district court ultimately ordered that congressional elections be held

according to a plan that closely tracked the original plaintiff’s proposed plan. See

Wesch v. Folsom, 6 F.3d 1465, 1467–68 (11th Cir. 1993). That plan created one

“significant majority African–American district with an African–American

population of 67.53%.” Id. at 1468; Wesch, 785 F. Supp. at 1498, 1581 app. A. That

district, District 7, included Black communities in Jefferson, Tuscaloosa, and

Montgomery Counties. Wesch, 785 F. Supp. at 1509, 1569 app. A (Jefferson); id. at

1510, 1581 app. A (Tuscaloosa); id. at 1510, 1575 app. A (Montgomery).

      The Wesch court did not decide whether Section Two “require[d] the creation

of such a district” because the parties stipulated that “the African American

population in the State of Alabama is sufficiently compact and contiguous to

comprise a single member significant majority (65% or more) African American

Congressional district,” and “a significant majority African American Congressional

district should be created.” Id. at 1498–99. The court found that the new plan

“create[d] a majority African–American district that provide[d] African–Americans

a reasonable opportunity to elect a candidate of their choice, and d[id] so without the

need for extensive gerrymandering.” Id. at 1499. The new map was drawn by

cartographer Randy Hinaman. Ala. Legis. Black Caucus, 231 F. Supp. 3d at 1038.



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      In the 1992 election held using the court-ordered map, voters in District 7

elected Alabama’s first Black Congressman in over 90 years. See Milligan Doc. 436

¶ 103. District 7 remains a majority-Black district to this day and in every election

since 1992 has elected a Black Democrat. See id. ¶¶ 103, 106, 108, 113–14.

      After the 2000 census, Alabama enacted a new congressional plan in which

District 7 remained the only majority-Black district. Id. ¶ 104. The 2002 Plan took

Montgomery County out of District 7 and split it two ways, between Districts 2 and

3. See Singleton Doc. 285-6 at 40. The 2002 Plan received federal preclearance.

Milligan Doc. 436 ¶ 105. Mr. Hinaman also worked on the 2002 Plan. Ala. Legis.

Black Caucus, 231 F. Supp. 3d at 1038. In 2002, 2004, 2006, and 2008, District 7

elected Artur Davis, a Black Democrat. Milligan Doc. 436 ¶ 106. In 2010, District

7 elected Congresswoman Sewell, also a Black Democrat. Id. ¶ 108.

       After the 2010 census, the Legislature enacted the 2011 Plan. Id. ¶ 111. The

2011 Plan split Montgomery County three ways, placing parts in Districts 2, 3, and

7. See Singleton Doc. 285-6 at 41. Mr. Hinaman drew the 2011 Plan. Ala. Legis.

Black Caucus, 231 F. Supp. 3d at 1038. Alabama submitted the 2011 Plan for

preclearance, and that submission said: “As with the 1992 Wesch court plan and the

plan in Act No. 2002-57, the new plan has one African-American majority district,

District 7, which is located in the west central part of the state.” Milligan Doc. 436




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¶ 112. District 7 in the 2011 Plan had a BVAP of 60.91%. 11 Id. ¶ 111.

             3.     The 2023 Special Session
       The Milligan and Caster parties have stipulated to much of what occurred in

the 2023 Special Session (Milligan Doc. 436), including the following sequence of

events:

       Before the 2023 Special Session, the Committee held two pre-session hearings

to receive public input. Id. ¶ 122. The only plans then available for comment were

plans proposed by the plaintiffs in these cases. Id. ¶ 124.

       On the first day of the 2023 Special Session, Representative Pringle

introduced a plan he titled the “Community of Interest plan.” Id. ¶ 125. The

Community of Interest Plan had one majority-Black district (District 7); the district

with the next-highest BVAP was District 2, with a BVAP of 42.25%. Id. He

advocated for that Plan because it “maintained the core of existing Congressional

Districts.” Id. ¶ 126. The Committee passed that Plan on July 17, 2023. Id. ¶ 127.

Under that Plan, the “Committee’s performance analysis showed that Black-

preferred candidates would have won two of the four” modeled elections. Id.



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  As we previously explained, Milligan Doc. 107 at 30 n.5, when we recite statistics
about Black Alabamians from data collected in or after the 2000 census, we are
referring to any census respondent who identified themselves as Black, regardless
whether that respondent also identified as a member of another race or other races.
To use the label that the parties supplied in the preliminary injunction proceedings,
we employ the “any-part Black” metric rather than the “single-race Black” metric.

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      On July 17, 2023, Senator Livingston introduced a plan he titled the

“Opportunity Plan” (or “Livingston 1” Plan). Id. ¶ 128. The Opportunity Plan

included one majority-Black district (District 7); the district with the next-highest

BVAP was District 2, with a BVAP of 38.31%. Id. ¶ 129.

      On July 20, 2023, the Alabama House passed the Community of Interest Plan,

and the Alabama Senate passed the Opportunity Plan. Id. ¶ 130. The next day, “a

six-person bicameral Conference Committee passed Senate Bill 5” (a modified

version of the Opportunity Plan that is sometimes referred to as the “Livingston 3

Plan”). Id. ¶ 131. Representative England, one of the Black Democrats on the

Committee, “stated that, in his opinion, the Livingston 3 Plan was noncompliant with

the Court’s preliminary-injunction order and the Court would reject it.” Id. ¶ 132.

      SB5 was then passed by both chambers of the Legislature and signed into law

by Governor Ivey, at which point it became the 2023 Plan. Id. ¶ 133; Ala. Code §

17-14-70. “The 2023 Plan passed along party lines and almost entirely along racial

lines, with all Black legislators except one—a Republican—voting against [it].”

Milligan Doc. 436 ¶ 134.

      In the 2023 Plan, District 7 has a BVAP of 50.65%; District 2 has a BVAP of

39.93%. Id. ¶¶ 135–37. The Legislature analyzed how the 2023 Plan would perform

in seven elections; that performance analysis indicated that the Black-preferred

candidate in District 2 “would not have received the most votes in any” of the


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modeled elections. Id. ¶ 138.

         The parties have developed extensive testimony about the 2023 redistricting

process from the Legislators and Mr. Hinaman.

                     a.     Randy Hinaman

         Mr. Hinaman testified that he drafted the Community of Interest Plan because

Dorman Walker, 12 Senator Livingston, and Representative Pringle contacted him

shortly after the Supreme Court ruled and asked him “to draw a new congressional

map that took the Court’s ruling into account and followed the guidelines,” which

meant a map that “provided an opportunity for African Americans to elect the

candidate of their choice in two districts.” Milligan Doc. 459-7 at 4–6.

         He also testified that he was “specifically instructed to keep Mobile and

Baldwin Counties together” as a community of interest by Representative Pringle,

and possibly by Senator Livingston. Id. at 20.

         Mr. Hinaman testified that Senators Livingston and Roberts requested that he

review the Opportunity Plan before it was released to the public. Id. at 7–8. He

testified that it had been his understanding that Senator Livingston and

Representative Pringle would co-sponsor the Community of Interest Plan. Id. at 8.

He also testified that he does not know who drafted the Opportunity Plan, that he

also was asked to review the Livingston 2 Plan, and that he also did not know who


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     Mr. Walker represented the Legislators in these cases.

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drafted that plan. Id. at 8–10. Mr. Hinaman testified that Senator Livingston and

another Senator (Scofield) directed modifications to the Livingston 2 Plan, including

changes to District 2, while Mr. Hinaman operated the computer. Id. at 10–11. He

said that the modified map was the Livingston 3 Plan and enacted the next day as

the 2023 Plan. Id.

       Mr. Hinaman testified about several other aspects of his work in June and July

2023. First, he said that Dr. Hood (one of the State’s experts in these cases, see infra

Part IV.D.3.a), prepared a performance analysis on various plans, and that in District

2 in the Community of Interest Plan, Democrats won two out of the four modeled

races. Id. at 13–15. Mr. Hinaman also testified that the performance analysis for the

Livingston 2 Plan was worse on this metric. Id. That performance analysis showed

that without Dallas County (home to Selma) in District 2, Black-preferred candidates

would have no chance of winning that District. Id. at 13. Indeed, according to Mr.

Hinaman, the Black-preferred candidate lost every election Dr. Hood modeled in

that District, if Selma was not in the District. Id. at 13–14. Mr. Hinaman said that he

communicated the performance analysis to Senator Livingston and Representative

Pringle. Id. at 15.

       Second, Mr. Hinaman testified that he drew two other maps that he believes

would have provided a second Black-opportunity district. Id. at 19.




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      Third, he testified that he chose District 2 as the potential second opportunity

district in the Community of Interest Plan because “[i]t was an area of geography

that had a compact enough African American population in the relevant counties to

draw a district that could perform as an opportunity district.” Id. at 16–17.

      Fourth, Mr. Hinaman testified that in drawing District 2 in that plan, he

balanced various redistricting principles as follows:

      I mean, I was looking at, you know, traditional redistricting principles
      in whole counties to the extent possible and not pairing incumbents,
      which, obviously, we had incumbents that could have been paired there
      in terms of Barry Moore in Coffee County and Jerry Carl in Mobile and
      taking those things into consideration. The BVAP number, you know,
      came out to what it came out to.

Id. at 17. Mr. Hinaman was also specifically instructed by the Legislators to keep

Mobile and Baldwin Counties together. Milligan Doc. 459-7 at 20.

      Fifth, Mr. Hinaman testified that the Alabama Solicitor General presented the

“concept of [a] map” to him that was called the Whole Jefferson County Plan and

would have connected Shelby County to Black Belt counties that are part of District

7 and moved District 2 into Chilton County. Id. at 23. Mr. Hinaman said that he got

that plan “to zero deviation.” Id. at 22–23.

      Sixth, upon reviewing the 2023 Plan during his deposition, Mr. Hinaman

testified that he had never seen or been told about the 2023 legislative findings; and

that as he performed his work, he was not aware of the requirements in those findings

that differ from the 2023 guidelines. Id. at 23–24.

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                    b.        Senator Livingston

      Senator Livingston testified about the development of the 2023 Plan. He

explained that Mr. Hinaman was brought in to “help [them] with the maps” and told

“to abide by the guidelines that were adopted by the committee.” Milligan Doc. 459-

13 at 6. Senator Livingston testified that “it was expressed to [Mr. Hinaman] that the

[courts] ordered us to look at an opportunity district -- districts.” Id. He said that

“[a]s [he] underst[ood] it, the Courts have ordered [the State] to provide two

opportunity districts.” Id.

      When asked during his deposition what it means to provide two opportunity

districts, Senator Livingston responded that it’s “very vague. And I think it’s to a

matter of interpretation.” Id.. However, when asked whether he had an interpretation

of what that phrase meant, Senator Livingston replied, “I do not.” Id. at 7. He

testified that any analysis to determine whether a district is an “opportunity district”

would need to include a Black-preferred candidate who is “well-funded and well-

known,” and there have not been Black-preferred candidates in statewide races “who

have the funding and respect of their peers.” Id. at 7–8, 14.

      Senator Livingston testified that the Legislature “tried to draw [the 2023 Plan]

race neutral,” and that he was not looking at race as he evaluated potential plans. Id.

at 12, 14. He testified that, although his deposition was the first time that he saw

them, he was aware when drawing the 2023 Plan of the provisions in the Court’s



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order about a second opportunity district. Id. at 13. 13 He testified that the Committee

accounted for our order by enacting “SB-5, which has a second congressional district

approximately under 40 percent [B]lack voting age population” because that

“qualifies as something quite close to a majority of [B]lack voting age population.”

Id. at 13.

         Senator Livingston said that he had “[v]ery little” involvement with the

Community of Interest Plan Mr. Hinaman prepared. Id. at 15. He testified that the

Community of Interest Plan “might have” “provided a fair opportunity for African

American voters to elect preferred candidates” in District 2, but “[t]he committee

members changed [their] focus” away from that plan, so he shifted with them

because he “was going to be left behind.” Id. at 16–17. He explained that “the

committee members had received some additional information they thought they

should go in the direction of compactness, communities of interest, and making sure

that congressmen are not paired against each other.” Id. at 17.


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     That order, as testified to by Senator Livingston, provided:

         The Legislature enjoys broad discretion and may consider a wide range
         of remedial plans. As the Legislature considers such plans, it should be
         mindful of the practical reality, based on the ample evidence of
         intensely racially polarized voting adduced during the preliminary
         injunction proceedings, that any remedial plan will need to include two
         districts in which Black voters either comprise a voting-age majority or
         something quite close to it.

Milligan Doc. 459-13 at 13 (reading from Milligan Doc. 107 at 6).

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      Senator Livingston testified that this “additional information” was a “large

hiccup,” but he did not know what it was, where it had come from, or who received

it. Id. He said he learned of the “information” in a “committee conversation,” but did

not recall from whom and had no “idea at all” of its source. Id.

      Senator Livingston testified that the Livingston 2 Plan is a modified version

of the Opportunity Plan. Id. at 20. He further testified the Livingston 2 Plan

“provided a better opportunity” for Black voters to elect candidates of their choice

than the Opportunity Plan provided but could not fully explain the basis of this

assertion. Id. Similarly, when Senator Livingston was asked about the decision to

draw District 2 with a BVAP under 40 percent in SB5, he testified simply that “this

is the plan that was brought forward in the end and was compromised upon.” Id. at

13. However, Senator Livingston did explain that the modifications made to the

Livingston 2 Plan to yield the Livingston 3 Plan were to create “higher community

of interest and compactness scores.” Id. at 21–22.

      Senator Livingston acknowledged that he saw Dr. Hood’s performance

analysis of the 2023 Plan before its enactment, and it showed that the Black-

preferred candidate would have lost all seven modeled races in District 2 by

approximately seven points. Id. at 23. Senator Livingston testified that “some of

those candidates were very weak,” but said that “despite being a well-known, a




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former incumbent, and well-funded, Senator Jones 14 would have lost to Senator

Tuberville by 4 points” in one of the modeled races. Id. at 24–25.

       Senator Livingston also testified about a conversation with Kevin McCarthy,

then the Speaker of the United States House, in which Speaker McCarthy expressed

his desire to keep a Republican majority in the House; Senator Livingston said that

conversation and desire “really didn’t play into [his] efforts.” Id. at 24.

       Senator Livingston testified that he knew the Alabama Solicitor General

drafted the legislative findings in the 2023 Plan but he did not have “any

understanding” about why they were included. Id. at 26. He also testified that during

the 2023 Special Session, he relied on talking points about the Livingston Plans that

were prepared by the Solicitor General. Id. Dr. Joseph Bagley, an expert for the

Milligan Plaintiffs, explained that those talking points emphasized the treatment of

communities of interest. He quoted them as saying:

       The Livingston Plan is a Compact, Communities of Interest Plan that
       applies the State’s traditional districting principles fairly across the
       State. The 2023 Plan is a historic map that gives equal treatment to
       important communities of interest in the State, including three that have

14
   Former United States Senator Doug Jones is a White Democrat who was elected
to represent Alabama in the United States Senate in a special election in 2017 after
then-Senator Jeff Sessions resigned his seat to become Attorney General of the
United States. Senator Jones is well-known for his work prosecuting members of the
Ku Klux Klan who bombed 16th Street Baptist Church in Birmingham in 1963,
killing four Black girls. Senator Jones was the first Democrat elected to any
statewide office in Alabama in nearly a decade, and he lost the 2020 General Election
to Senator Tommy Tuberville, a White Republican who remains in the Senate today.

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       been the subject of litigation over the last several year – the Black Belt,
       the Gulf, and the Wiregrass.

Milligan Doc. 385-1 at 26. The talking points also said: “No map in the State’s

history, and no map proposed by any of the Plaintiffs who challenged the 2021 Plan,

does better in promoting any one of these communities of interest, much less all

three.” Id.

       A lobbyist who worked with Senator Livingston during the 2023 Special

Session, Christopher Brown, also testified about these matters. Mr. Brown testified

that in 2023, he created plans on Maptitude for Senator Roberts and that a staffer for

Congressman Moore communicated with him about redistricting. Milligan Doc.

459-3 at 16–18, 21. He also testified about text correspondence between him and

Senator Livingston. See id. at 24–26 (reading from Milligan Doc. 404-23 (Ex. MX-

63)). Mr. Brown said that he texted Senator Livingston on June 11, 2023 that he was

running performance numbers on eight maps to determine whether they “were going

to meet the standards of the Court” to create an opportunity district. Id. at 24. On

June 28, 2023, Mr. Brown sent Senator Livingston a text message stating: “This map

is workable. Not ideal for Moore. But win[n]able.” Milligan Doc. 404-23 at 2. Mr.

Brown testified that he then texted Senator Livingston, “[w]ould 41.6 BVAP work?”

Milligan Doc. 459-3 at 25–26. On September 19, 2023, Mr. Brown sent Senator

Livingston an article about Representative Pringle’s submission of the Community

of Interest Plan to the Special Master. Milligan Doc. 404-23 at 2 (Ex. MX-63). Mr.


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Brown messaged Senator Livingston that Representative Pringle is “[n]ot a team

player. . . . I read this article as an attack on you and the Senate,” and Senator

Livingston responded, “[y]ou think[?]” Id. Additionally, in text messages between

Senator Livingston and Mr. Brown, Senator Livingston referred to Montgomery as

“monkey town.” Id. at 1.15

                     c.   Representative Pringle
       Representative Pringle testified that he understood the courts to require

“[e]ither two majority minority districts or something close to it,” and that work

began on a new map “within a matter of days” after the Supreme Court’s ruling.

Milligan Doc. 459-20 at 5–6. Like Senator Livingston, Representative Pringle

testified about a phone call from former Speaker McCarthy in which Speaker

McCarthy expressed his desire to keep a Republican majority in the U.S. House. Id.

at 6. Representative Pringle explained that his own “overriding principle [was]

complying with what the United States Supreme Court told me to do,” and that “the

United States Supreme Court “told [the Legislature] to draw a map, and that’s what

[he] tried to do.” Id. But Representative Pringle could not “recall an example of any

discussion with the legislature regarding what it means to create an opportunity

district.” Id. at 5–6.


15
  At trial, Dr. Bagley testified that “monkey town” is a name with a history as a
racist pejorative. Tr. 1338. Senator Singleton testified that he did not consider it
racist to refer to Montgomery as “monkey town” “in that context.” Id. at 2374.

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        Representative Pringle testified that the Alabama Solicitor General “worked

as a map drawer at some point in time” during the 2023 Special Session. Id. at 7.

When asked what the Solicitor General did in that role, Representative Pringle

replied that he “[d]rew maps.” Id. And when asked how he knew that the Solicitor

General drew maps, Representative Pringle testified that the Solicitor General “was

in the room with his computer across from [him] in reapportionment working on

maps.” Id. Representative Pringle testified further that he “lost contact with [the

Solicitor General] at the very beginning of the special session and never saw or

communicated with him again. He was upstairs meeting with the senators in a

different room working with them to draw what ultimately became the Livingston

plans.” Id.

        Representative Pringle described his instructions to Mr. Hinaman: “I just told

him to follow the guidelines and comply with what the Supreme Court told us. And

that was to draw two districts which had the ability to elect a Black candidate.” Id.

at 8.

        Representative Pringle testified that the Committee readopted the 2021

guidelines, which were largely the same since the 1990s because “they cover all the

bases.” Id. at 12–13. Representative Pringle testified about the Committee’s July 13,

2023 public hearing. Id. at 15. The Committee considered only the plaintiffs’ maps

and not his plans because he “[did not] know how [he] could produce a plan until


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[he] finished hearing from the public.” Id. He testified that he “found it quite

fascinating the [P]laintiffs turning on each other and fighting and to watch the

democratic members of the committee fight amongst themselves over which plan

they wanted based on their own personal political agendas.” Id. at 16.

      Representative Pringle then testified about the July 17, 2023 Committee

meeting, when he introduced the Community of Interest Plan. Id. at 17. He said that

he knew that Dr. Hood’s performance analysis predicted the Black-preferred

candidate would win two out of four modeled elections, and this performance

analysis is the reason why he supported the plan. Id. at 18.

      Representative Pringle was aware of the Opportunity Plan before that July 17

meeting, and he described how he learned of the Opportunity Plan: “Senator Dan

Roberts brought a thumb drive into the committee room claiming that all of our

numbers were wrong, that his consultant, Chris Brown, had drawn a plan that had

the right numbers, and we needed to use his plan because everything we had done

was wrong.” Id. Representative Pringle testified that he did not know whether the

Opportunity Plan “provides a fair opportunity to Black voters to elect preferred

candidates” in District 2 because he “never looked [at] or studied” that Plan. Id. at

20. He did not know the differences between the Livingston 2 Plan and the

Opportunity Plan. Id. at 22.

      On the day the Community of Interest Plan reached the House floor,


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Representative Pringle “[g]athered [his] little file and went down to the floor.” Id. at

20. That file contained “the quote” about the Voting Rights Act (“what the Court

ruled”), his map, “that analysis that was given to [him],” and the population analysis.

Id. at 20–21.

         Representative Pringle testified that the Livingston 3 Plan that was developed

during the reconciliation process between the House and Senate split the difference

between the District 2 BVAP in the Community of Interest Plan (42.4%) and

Livingston 2 Plan (38.3%), to reach a BVAP of 39.9%. Id. at 25. When asked about

that BVAP, Representative Pringle testified “that’s what the [S]enate came up with,

and they were not going to allow us to pass the [H]ouse plan.” Id. at 25–26. When

Representative Pringle was asked why the Senate chose that number, he testified:

“You’re going to have to talk to Senator Livingston and [the Solicitor General].” Id.

at 26.

         Representative Pringle testified about his discussion with Senator Livingston:

         Senator Livingston came to me towards the end and said, we’re going
         to take your plan and substitute my bill and pass your plan with my map
         in it. And I said, no we’re not. If you want to pass a [S]enate plan, you’re
         going to pass the [S]enate on the [S]enate bill number, and you’re not
         going to put my name on it. You’re going – it’s not going to be a
         [H]ouse bill number, it’s going to be a [S]enate bill number, that’s what
         we’re going to pass.

Id. Representative Pringle testified that he did not want his name on the bill because

he thought his plan “was a better plan” to comply with the Voting Rights Act. Id.


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       Representative Pringle testified that the first time he saw the legislative

findings was “Friday morning on the floor of the [H]ouse when the [S]enate bill was

brought up.” Id. at 23. Remarkably, he did not know who drafted the findings; he

did not know they would be in the bill; and he did not know why they were in the

bill. Id.

       Representative Pringle testified that he saw the performance analysis for the

2023 Plan on the floor the morning it passed. Id. at 24. And he said that: (1) the

performance analysis showed the Black-preferred candidate losing all seven

modeled races in District 2, and (2) he believes that all members of the conference

committee were aware of that analysis. Id. at 24–25.

       Representative Pringle explained that he voted for SB5 because “it was

necessary for [the Legislature] to pass a bill,” that “[t]he Senate made it perfectly

clear they were not going to pass [the Community of Interest Plan], they were going

to pass their plan,” and that the Legislature “had to pass something.” Id. at 24–26.

       Representative Pringle testified about various newspaper articles he was

shown at his deposition. He was asked about an article entitled “Alabama House

Senate Approved Separate Congressional Maps,” which read in part:

       Livingston said [S]enate [R]epublicans began working on their own
       map because the committee “got some information” that led them to
       prioritize “compactness and communities of interest being as important
       as the [B]lack voting age population.” Livingston, who did not say
       where the information came from, said that he had not heard concerns
       from senators about districts being over 40 percent Black.

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Id. at 26. Representative Pringle testified that he did not know what “some new

information” was referring to. Id. He testified that “[a]fter the initial meeting, [he]

never met with the [R]epublican members of the committee from the [S]enate. They

met in a different room on a different floor.” Id.

      Representative Pringle was also shown a news article titled “Alabama

shamelessly ignores U.S. Supreme Court” that reported that Alabama House Speaker

Nathaniel Ledbetter said: “If you think about where we were, the Supreme Court

ruling was five to four. So there’s just one judge that needed to see something

different. And I think the movement that we have and what we’ve come to

compromise on today gives us a good shot.” Id. at 27–28. Representative Pringle

testified that he did not want to speak on behalf of the Legislature to answer whether

it was “attempting to get a justice to see something differently.” Id. at 28.

      J.     Claims and Defenses

             1.     Singleton Plaintiffs
      The Singleton Plaintiffs allege that, in addition to violating Section Two of

the Voting Rights Act, the 2023 Plan “intentionally perpetuates the unconstitutional

racial gerrymandering” that occurred when the Wesch court created District 7 and

again after the 2000 and 2010 censuses when the racial composition of that district

was materially unchanged. Singleton Doc. 229 ¶¶ 1–2. The Singleton Plaintiffs also

allege that the 2023 Plan violates the Fourteenth and Fifteenth Amendments to the


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Constitution because “the Legislature rejected a plan proposed by the [Singleton

Plaintiffs] that more closely complies with the redistricting principles set out in [SB

5] because the [Singleton Plaintiffs’] plan contained two effective crossover districts

that encouraged biracial political alliances in Jefferson County and ensures equal

opportunity for Black voters in the Black Belt.” Id. ¶ 3.16

         The Singleton Plaintiffs call their proposed remedial plan the “Whole County

Plan.” Id. ¶ 40. They assert that “[t]hroughout the state’s history, the most important

traditional districting principle for drawing Alabama’s Congressional districts has

been preserving whole counties.” Id. ¶ 17. To that end, the Singleton Plaintiffs allege

that the Whole County Plan “eliminated these racial gerrymanders” by drawing

district lines solely on county lines without diminishing Black voters’ “opportunity

to elect the candidates of their choice in two congressional districts” and “with only

slight population deviations.” Id. ¶¶ 39–40, 51. In the Whole County Plan, District

7 would contain 49.9% registered Black voters, and District 6 would contain 42.3%

registered Black voters. Id. ¶ 40. The Singleton Plaintiffs say that Black voters would

“have an opportunity to elect the candidate of their choice in both districts” because

recent election returns reflect “dependable biracial coalition voting” in both

proposed districts. Id.




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     Most of the Birmingham metropolitan area is in Jefferson County.

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       The Singleton Plaintiffs assert claims in three counts. In Count I, they allege

that the 2023 Plan is racially gerrymandered, in violation of the Equal Protection

Clause of the Fourteenth Amendment and Article I, § 2 of the Constitution. Id. ¶ 67.

In Count II, they assert that the 2023 Plan violates the Fourteenth and Fifteenth

Amendments because it was drawn (and the Whole County Plan was rejected) to

intentionally discriminate against Black voters. Id. ¶¶ 75–79. In Count III, they

assert that the 2023 Plan violates Section Two. Id. ¶¶ 80–83.

             2.     Milligan Plaintiffs
       The Milligan Plaintiffs claim that the 2023 Plan was “designed with the intent

to crack Black voters into congressional districts in a manner that prevents the

creation of two congressional districts in which Black voters have an equal

opportunity to elect candidates of their choice.” Milligan Doc. 329 ¶ 2.

       The Milligan Plaintiffs allege that a significant number of Black Alabamians

live in an area that begins in Jefferson County and extends south- and west-ward to

Mobile County and then east- and north-ward to Montgomery and Macon counties.

See id. ¶ 5 n.1. Much of that area is in the Black Belt. Id.17 According to the Milligan


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  The Milligan and Caster parties stipulated for trial that “[t]he Black Belt is named
for the region’s fertile black soil”; “has a substantial Black population because of
the many enslaved people forcibly brought there to work before the Civil War”; and
“includes the core counties of Barbour, Bullock, Butler, Choctaw, Crenshaw, Dallas,
Greene, Hale, Lowndes, Macon, Marengo, Montgomery, Perry, Pickens, Pike,
Russell, Sumter, and Wilcox,” along with Clarke, Conecuh, Escambia, Monroe, and


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Plaintiffs, Black voters in congressional districts inclusive of the Black Belt tend to

share common “history, political beliefs, cultural values, transportation, media, and

economic interests.” Id. ¶ 97. Under the 2023 Plan, those Black voters are placed in

three districts: Districts 1 and 2, where the Milligan Plaintiffs assert their votes are

unlawfully diluted, and District 7, which these Plaintiffs assert is packed. Id. ¶ 5.

      The Milligan Plaintiffs assert claims in two counts. Count One asserts a claim

of vote dilution under Section Two. Id. ¶¶ 190–96. Count Two charges that the 2023

Plan was enacted intentionally to discriminate against Black people in violation of

the Fourteenth Amendment, 42 U.S.C. § 1983, and Section Two. Id. ¶¶ 197–205.

      The Milligan Plaintiffs did not include their claim for an intentional violation

of Section Two in their proposed pretrial order. See Milligan Doc. 445. Because “‘a

pretrial order supersedes the pleadings,’ thereby ‘eliminating’ any claims not

preserved in the pretrial order,” FN Herstal SA v. Clyde Armory Inc., 838 F.3d 1071,

1089 (11th Cir. 2016) (quoting State Treasurer of Mich. v. Barry, 168 F.3d 8, 9–10

(11th Cir. 1999)), we do not consider that claim as part of Count Two. We do

consider the Milligan Plaintiffs’ claim of intentional discrimination in violation of



Washington counties, which “are sometimes included within the definition of the
Black Belt.” Milligan Doc. 436 ¶¶ 71–73.
This definition differs from the definition in the 2023 legislative findings in that the
legislative findings do not mention race or slavery, and the stipulated definition does
not mention “rural geography,” “relative poverty,” or it “span[ning] the width of
Alabama.” Compare Milligan Doc. 436 ¶¶ 71–73, with App. B at 3–4.

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the Constitution which is the remainder of Count Two.

        The Milligan Plaintiffs allege that the “2023 Plan represents Alabama’s latest

discriminatory scheme, designed with the intent to crack Black voters into

congressional districts in a manner that prevents the creation of two congressional

districts in which Black voters have an equal opportunity to elect candidates of their

choice.” Milligan Doc. 445 at 9 (pretrial order). The Milligan Plaintiffs “contend

that the direct and circumstantial evidence of the Legislature’s intent will show that

the 2023 Plan intentionally perpetuated the discriminatory effects of the 2021 Plan.”

Id.

        The Milligan Plaintiffs claim that the only proper remedy is a plan with two

Black-opportunity districts. Milligan Doc. 329 at 76–77. To demonstrate that such

relief is feasible, they rely on the Duchin Plans and Cooper Plans, the Special Master

Plans, and “the VRA Plaintiffs’ Remedial Plan introduced in the Legislature.” Id. ¶

96.

        The Milligan Plaintiffs also urge that Alabama be bailed-in to preclearance

review pursuant to Section 3(c) of the Voting Rights Act “until 60 days after the

Alabama Legislature enacts a congressional plan under the 2030 census or a period

of approximately seven years.” Milligan Doc. 485 at 436.




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             3.    Caster Plaintiffs

      The Caster Plaintiffs assert that the 2023 Plan violates Section Two because

“it dilutes Black voting strength and confines Black voting power to one majority-

Black district,” “despite Alabama’s Black population being sufficiently numerous

and geographically compact to support two majority-Black congressional districts.”

Caster Doc. 271 ¶¶ 1, 2. They assert that the 2023 Plan cracks Black voters between

Districts 1 and 2 and packs them into District 7. Id. ¶¶ 4, 57, 125. They also assert

that “there is widespread racially polarized voting in Alabama, and when considered

against the totality of the circumstances,” including Alabama’s history of

discrimination, unlawful redistricting, and racial appeals in political campaigns, the

State’s “failure to create two majority-Black districts dilutes the Black vote in

violation of Section 2.” Id. ¶¶ 4, 76–122.

      The Caster Plaintiffs assert only one count of vote dilution under Section Two

and 42 U.S.C. § 1983. Id. ¶¶ 123–29. They request any remedy that declares that the

2023 Plan violates Section Two, enjoins the use of that Plan, and orders a plan that

includes two majority-Black or Black-opportunity districts. Id. at 43.

             4.    The State
      As to Section Two, the State argues that the “Plaintiffs have failed to produce

an illustrative plan that is ‘reasonably configured,’—i.e., one that ‘comports with

traditional districting criteria.’” Milligan Doc. 445 at 11 (pretrial order) (quoting



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Allen, 599 U.S. at 18). The State also argues that the totality of the circumstances

reveals that “political processes in Alabama are open to all, and that ‘what appears

to be bloc voting on account of race [is instead] . . . the result of political or personal

affiliation of different racial groups with different candidates.’” Id. (quoting Ala.

State Conf. of the NAACP v. Alabama, 612 F. Supp. 3d 1232, 1316 (M.D. Ala.

2020)). The State also asserts argues that Section Two cannot serve as the basis for

a private suit, nor be constitutionally applied to redistricting plans. Id. at 11–12.

        The State says that the Singleton and Milligan Plaintiffs cannot overcome the

presumption that the Legislature acted in good faith, nor establish “that the 2023

Plan had ‘the purpose and effect of diluting the minority vote’” to support their

claims of a constitutional violation. Id. at 12 (quoting Alexander v. S.C. State Conf.

of the NAACP, 144 S. Ct. 1221, 1252 (2024)).

II.     STANDARD OF REVIEW
        “The usual standard of proof in civil litigation is preponderance of the

evidence,” E.M.D. Sales, Inc. v. Carrera, 145 S. Ct. 34, 37 (2025), and redistricting

cases do not require a higher threshold, see, e.g., Cooper v. Harris, 581 U.S. 285,

319 n.15 (2017). We consider whether the Plaintiffs have proven their claims by a

preponderance of the evidence on a fresh slate because “the findings of fact and

conclusions of law made by a court granting a preliminary injunction are not binding

at trial on the merits.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981).



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III.   APPLICABLE LAW

       A.    Section Two Claims
       “For the past forty years, [federal courts] have evaluated claims brought under

[Section Two] using the three-part framework developed in [the Supreme Court]

decision Thornburg v. Gingles.” Allen, 599 U.S. at 17 (citation omitted). The

Supreme Court “ha[s] applied Gingles in one [Section Two] case after another, to

different kinds of electoral systems and to different jurisdictions in States all over

the country.” Id. at 19. “Congress has never disturbed [the] understanding of

[Section Two] as Gingles construed it.” Id.; see also id. at 42 (Kavanaugh, J.,

concurring in part) (“In the past 37 years, . . . Congress and the President have not

disturbed Gingles, even as they have made other changes to the Voting Rights Act.”).

       Gingles requires district courts to conduct a two-step analysis for Section Two

claims. First, we consider whether the Plaintiffs established the Gingles

preconditions, including that: (1) as a group, Black voters in Alabama are

“sufficiently large and [geographically] compact” to constitute a majority in an

additional “reasonably configured district”; (2) Black voters are “politically

cohesive”; and (3) each challenged district’s “white majority votes sufficiently as a

bloc to enable it . . . to defeat the [Black] preferred candidate.” Id. at 18 (majority

opinion) (internal quotation marks and citations omitted).

       “Each Gingles precondition serves a different purpose.” Id. “The



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‘geographically compact majority’ and ‘minority political cohesion’ showings are

needed to establish that the minority has the potential to elect a representative of its

own choice in some single-member district. And the ‘minority political cohesion’

and ‘majority bloc voting’ showings are needed to establish that the challenged

districting thwarts a distinctive minority vote by submerging it in a larger white

voting population.” Growe, 507 U.S. at 40 (internal citations omitted).

      As to the first Gingles requirement, “a party asserting [Section Two] liability

must show by a preponderance of the evidence that the minority population in the

potential election district is greater than 50 percent.” Bartlett, 556 U.S. at 19–20. As

the Supreme Court has explained, “it is a special wrong when a minority group has

50 percent or more of the voting population and could constitute a compact voting

majority but, despite racially polarized bloc voting, that group is not put into a

district.” Id. at 19. Because “only eligible voters affect a group’s opportunity to elect

candidates,” LULAC, 548 U.S. at 429, the unit of analysis is the Black voting-age

population (“BVAP”).

      Any proposed majority-minority district must be reasonably configured. See

Allen, 599 U.S. at 18. “A district will be reasonably configured . . . if it comports

with traditional districting criteria, such as being contiguous and reasonably

compact.” Id. The compactness analysis “refers to the compactness of the minority

population, not to the compactness of the contested district.” LULAC, 548 U.S. at



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433 (quoting Vera, 517 U.S. at 997 (Kennedy, J., concurring)).

      Compactness “is critical to advancing the ultimate purposes of [Section Two],

ensuring minority groups equal ‘opportunity . . . to participate in the political process

and to elect representatives of their choice.’” Id. at 434 (alteration in original)

(quoting 42 U.S.C. § 1973(b)). A “minority group [that] is spread evenly

throughout” the relevant geographic area (i.e., “substantially integrated throughout”

that area), is not compact enough to “maintain that they would have been able to

elect representatives of their choice” in a single district. Gingles, 478 U.S. at 50 n.17.

      “While no precise rule has emerged governing [Section Two] compactness,

the ‘inquiry should take into account traditional districting principles such as

maintaining communities of interest and traditional boundaries.’” LULAC, 548 U.S.

at 433 (quoting Abrams v. Johnson, 521 U.S. 74, 92 (1997)). “A district that ‘reaches

out to grab small and apparently isolated minority communities’ is not reasonably

compact.” Id. (quoting Vera, 517 U.S. at 979). “[B]izarre shaping of” a district that,

for example, “cut[s] across pre-existing precinct lines and other natural or traditional

divisions,” suggests “a level of racial manipulation that exceeds what [Section Two]

could justify.” Vera, 517 U.S. at 980–81.

      “Community of interest” is a term of art. The 2023 legislative findings provide

that it refers to “a defined area of the state that may be characterized by, among other

commonalities, shared economic interests, geographic features, transportation


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infrastructure, broadcast and print media, educational institutions, and historical or

cultural factors.” Milligan Doc. 403-31 at 4 (Ex. MX-31).

      “[T]he first Gingles condition requires the possibility of creating more than

the existing number of reasonably compact districts with a sufficiently large

minority population to elect candidates of its choice.” Johnson v. De Grandy, 512

U.S. 997, 1008 (1994). So these Plaintiffs must establish that Black voters are

sufficiently numerous and geographically compact to support two reasonably

configured majority-Black districts. See id.; Voinovich v. Quilter, 507 U.S. 146, 153

(1993). Plaintiffs must “demonstrate the existence of a proper remedy.” Burton v.

City of Belle Glade, 178 F.3d 1175, 1199 (11th Cir. 1999) (collecting cases).

      Supreme Court precedents limit the role race may play in establishing the first

Gingles precondition. The Supreme Court “ha[s] made clear that there is a difference

‘between being aware of racial considerations and being motivated by them.’” Allen,

599 U.S. at 30 (quoting Miller, 515 U.S. at 916). Because the Voting Rights Act

“demands consideration of race,” Abbott, 585 U.S. at 587, Section Two plaintiffs

and their map drawers will “be aware of racial demographics,” but this “race

consciousness does not lead inevitably to impermissible race discrimination.” Allen,

599 U.S. at 30 (first quoting Miller, 515 U.S. at 916; and then quoting Shaw, 509

U.S. at 646). It’s simply inherent: “The question whether additional majority-




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minority districts can be drawn, after all, involves a ‘quintessentially race-conscious

calculus.’” Id. at 31 (quoting De Grandy, 512 U.S. at 1020).

      That said, “race may not be ‘the predominant factor in drawing district lines

unless [there is] a compelling reason.’” Id. (alteration in original) (quoting Cooper,

581 U.S. at 291). “Race predominates in the drawing of district lines . . . when ‘race-

neutral considerations [come] into play only after the race-based decision had been

made.’” Id. (second alteration in original) (quoting Bethune-Hill v. Va. State Bd. of

Elections, 580 U.S. 178, 189 (2017)).

      Accordingly, to determine whether the Plaintiffs satisfy the first Gingles

precondition, we compare the 2023 Plan with each of the Plaintiffs’ illustrative

remedial plans. See LULAC, 548 U.S. at 430 (quoting De Grandy, 512 U.S. at 1008).

Further comparisons are not required; a Section Two “district that is reasonably

compact and regular, taking into account traditional districting principles,” need not

also “defeat [a] rival compact district[]” in a “beauty contest[].” Vera, 517 U.S. at

977 (internal quotation marks and emphasis omitted); see also Allen, 599 U.S. at 21

(noting that we correctly concluded that this Court did not have to conduct a beauty

contest between Plaintiffs’ maps and the State’s).

      The second and third Gingles preconditions rise and fall on whether the

Plaintiffs establish that voting in the challenged districts is racially polarized. See,

e.g., LULAC, 548 U.S. at 427. As the Supreme Court has explained, “in the absence



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of significant white bloc voting it cannot be said that the ability of minority voters

to elect their chosen representatives is inferior to that of white voters.” Voinovich,

507 U.S. at 158 (quoting Gingles, 478 U.S. at 49 n.15).

      If the Plaintiffs establish all three Gingles requirements, the Court then must

consider whether, “under the ‘totality of circumstances,’ . . . the political process is

not ‘equally open’ to minority voters.’” Allen, 599 U.S. at 18 (quoting Gingles, 478

U.S. at 45–46). This “inquiry recognizes that application of the Gingles factors is

‘peculiarly dependent upon the facts of each case’” and requires the Court to

“conduct ‘an intensely local appraisal’ of the electoral mechanism at issue, as well

as a ‘searching practical evaluation of the past and present reality.’” Id. at 19

(quoting Gingles, 478 U.S. at 79).

      “[I]t will be only the very unusual case in which the [P]laintiffs can establish

the existence of the three Gingles factors but still have failed to establish a violation

of [Section Two] under the totality of circumstances.” Ga. State Conf. of the NAACP

v. Fayette Cnty. Bd. of Comm’rs, 775 F.3d 1336, 1342 (11th Cir. 2015) (quoting

Jenkins v. Red Clay Consol. Sch. Dist. Bd. of Educ., 4 F.3d 1103, 1135 (3d Cir.

1993)).

      “Courts use factors drawn from a report of the Senate Judiciary Committee

accompanying the 1982 amendments to the [Voting Rights Act] (the Senate

[F]actors) to make the totality-of-the-circumstances determination.” Id.; accord De


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Grandy, 512 U.S. at 1010 n.9. The Senate Factors include:

      [(1)] the history of voting-related discrimination in the State or political
      subdivision; [(2)] the extent to which voting in the elections of the State
      or political subdivision is racially polarized; [(3)] the extent to which
      the State or political subdivision has used voting practices or
      procedures that tend to enhance the opportunity for discrimination
      against the minority group, such as unusually large election districts,
      majority vote requirements, and prohibitions against bullet voting; [(4)]
      the exclusion of members of the minority group from candidate slating
      processes; [(5)] the extent to which minority group members bear the
      effects of past discrimination in areas such as education, employment,
      and health, which hinder their ability to participate effectively in the
      political process; [(6)] the use of overt or subtle racial appeals in
      political campaigns; and [(7)] the extent to which members of the
      minority group have been elected to public office in the jurisdiction.
De Grandy, 512 U.S. at 1010 n.9 (quoting Gingles, 478 U.S. at 44–45). The Senate

Factors also include (8) “evidence demonstrating that elected officials are

unresponsive to the particularized needs of the members of the minority group,” and

(9) “that the policy underlying the State’s or the political subdivision’s use of the

contested practice or structure is tenuous.” Id.

      The Senate Factors are not exhaustive. Under Supreme Court precedent, we

may also consider whether the number of Black-majority districts in the 2023 Plan

is roughly proportional to the Black share of the population in Alabama. See LULAC,

548 U.S. at 426; De Grandy, 512 U.S. at 1000. The Supreme Court has held that

“whether the number of districts in which the minority group forms an effective

majority is roughly proportional to its share of the population in the relevant area”

is a “relevant consideration” in the totality-of-the-circumstances analysis. LULAC,


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548 U.S. at 426; accord De Grandy, 512 U.S. at 1000. “[P]roportionality . . . is

obviously an indication that minority voters have an equal opportunity, in spite of

racial polarization to participate in the political process and to elect representatives

of their choice.” De Grandy, 512 U.S. at 1020 (internal quotation marks omitted)

(quoting 42 U.S.C. § 1973(b)); accord Ala. Legis. Black Caucus, 989 F. Supp. 2d at

1286–87 (concluding that the totality of the circumstances weighed against a finding

that the state legislative map violated Section Two in part because the number of

majority-Black districts in the Legislature is “roughly proportional to the black

voting-age population”), vacated on other grounds, 575 U.S. 254 (2015).

      But the proportionality evaluation is not and cannot be dispositive. Section

Two expressly provides that “nothing in this section establishes a right to have

members of a protected class elected in numbers equal to their proportion in the

population,” 52 U.S.C. § 10301(b), and “[f]orcing proportional representation is

unlawful and inconsistent with [the Supreme Court’s] approach to implementing

[Section Two],” Allen, 599 U.S. at 28. And “the Gingles framework itself imposes

meaningful constraints on proportionality,” as its “exacting requirements . . . limit

judicial intervention to ‘those instances of intensive racial politics’ where the

‘excessive role [of race] in the electoral process . . . den[ies] minority voters equal

opportunity to participate.’” Id. at 26, 30 (quoting S. Rep. No. 97-417 at 33–34

(1982)).


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      We may also consider “any circumstance that has a logical bearing on

whether” the challenged structure and its interaction with local, social, and historical

conditions “afford[] equal ‘opportunity.’” Brnovich v. Democratic Nat’l Comm., 594

U.S. 647, 668–69 (2021). We are required to “consider ‘the whole picture’” and must

not view each Senate Factor “in isolation.” District of Columbia v. Wesby, 583 U.S.

48, 60–61 (2018) (quoting United States v. Cortez, 449 U.S. 411, 417 (1981)).

      Ultimately, we are required to “assess the impact of the contested structure or

practice on minority electoral opportunities on the basis of objective factors.”

Gingles, 478 U.S. at 44 (internal quotation marks omitted). Section Two protects

against “electoral changes that are discriminatory in effect.” Allen, 599 U.S. at 41

(internal quotation marks omitted).

      “[F]or the last four decades, [federal courts] have repeatedly applied the

effects test of [Section Two] as interpreted in Gingles and, under certain

circumstances, have authorized race-based redistricting as a remedy for state

districting maps that violate [Section Two].” Id.

      If we determine that the 2023 Plan violates Section Two, that would not

amount to a determination that the Plaintiffs are entitled to a map of their choice, or

to one of the remedial maps submitted to establish the first Gingles requirement:

those maps are illustrative maps submitted for the purposes of establishing liability.




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       B.    Constitutional Claims

       “The Constitution entrusts States with the job of designing congressional

districts.” Cooper, 581 U.S. at 291; accord Alexander, 144 S. Ct. at 1233. The

Fourteenth Amendment mandates that no State shall “deny to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1. Under

the Equal Protection Clause, “[a] State may not use race as the predominant factor

in drawing district lines unless it has a compelling reason.” Cooper, 581 U.S. at 291.

       Because we apply the canon of constitutional avoidance and do not decide the

Singleton Plaintiffs’ claim of racial gerrymandering,18 we do not discuss the law

applicable to that claim. A different line of authority applies to the “analytically

distinct” claims of the Singleton and Milligan Plaintiffs about intentional

discrimination. See Alexander, 144 S. Ct. at 1252.

       The Equal Protection Clause “prohibits intentional vote dilution—invidiously

. . . minimizing or canceling out the voting potential of racial or ethnic minorities.”

Abbott, 585 U.S. at 585–86. A plaintiff alleging intentional discrimination “cannot

prevail simply by showing that race played a predominant role in the districting

process,” but “must show that the State ‘enacted a particular voting scheme as a

purposeful device to minimize or cancel out the voting potential of racial or ethnic



18
  The Singleton Plaintiffs conceded this point in their closing arguments. Tr. 2600–
02.

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minorities.’” Alexander, 144 S. Ct. at 1252 (quoting Miller, 515 U.S. at 911). “[T]he

plaintiff must show that the State’s districting plan ‘has the purpose and effect’ of

diluting the minority vote.” Id. (quoting Shaw, 509 U.S. at 649).

        Proof of disparate impact is relevant but insufficient to establish a claim of

intentional vote dilution. See Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,

429 U.S. 252, 266 (1977); Washington v. Davis, 426 U.S. 229, 242 (1976). So

“where the character of a law is readily explainable on grounds apart from race . . .

courts must look to . . . evidence [other than disproportionate impact] to support a

finding of discriminatory purpose.” City of Mobile, 446 U.S. at 70.

        “The task of assessing a jurisdiction’s motivation . . . is not a simple matter;

on the contrary, it is an inherently complex endeavor, one requiring the trial court to

perform ‘a sensitive inquiry into such circumstantial and direct evidence of intent as

may be available.’” Hunt v. Cromartie, 526 U.S. 541, 546 (1999) (quoting Arlington

Heights, 429 U.S. at 266). Discriminatory purpose is “more than intent as volition

or intent as awareness of consequences.” Pers. Adm’r of Mass. v. Feeney, 442 U.S.

256, 279 (1979). Rather, it means that “the decisionmaker, in this case a state

legislature, selected or reaffirmed a particular course of action at least in part

‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.”

Id.

        To evaluate assertions of discriminatory purpose, the Supreme Court has



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directed us to consider (1) “[t]he historical background of the decision,” (2) “[t]he

specific sequence of events leading up to the challenged decision,” (3) “[d]epartures

from the normal procedural sequence,” “particularly if the factors usually considered

important by the decisionmaker strongly favor a decision contrary to the one

reached,” (4) “[t]he legislative or administrative history” of the decision or action,

and (5) whether the “disparate impact” was “the natural and foreseeable

consequence of the practices and policies” of the State. Arlington Heights, 429 U.S.

at 267–68; accord, e.g., Abbott, 585 U.S. at 609–10; Rogers v. Lodge, 458 U.S. 613,

624–26 (1982), Columbus Bd. of Educ. v. Penick, 443 U.S. 449, 464 (1979). A full

evaluation of these factors may require the court to consider “contemporary

statements by members of the decisionmaking body, minutes of its meetings, or

reports.” Arlington Heights, 429 U.S. at 267–68.

      The Eleventh Circuit has recognized three additional evidentiary factors that

courts may consider: (1) “the foreseeability of the disparate impact”; (2) “knowledge

of that impact”; and (3) “the availability of less discriminatory alternatives.” Greater

Birmingham Ministries v. Sec’y of State for Ala., 992 F.3d 1299, 1321–22 (11th Cir.

2021); Jean v. Nelson, 711 F.2d 1455, 1486 (11th Cir. 1983).

      If a plaintiff establishes a prima facie claim of intentional discrimination, the

burden shifts to the defendant “to dispel the inference.” Castaneda v. Partida, 430

U.S. 482, 497–98 (1977). A defendant must furnish more than “a simple protestation



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. . . that racial considerations played no part” in the decisionmaking. Id. at 498 n.19.

“[D]iscriminatory intent can be rebutted only with evidence in the record about the

way in which [the State] operated and their reasons for doing so.” Id. at 500.

      Throughout the analysis, however, the “good faith of [the] state legislature

must be presumed.” Abbott, 585 U.S. at 603 (quoting Miller, 515 U.S. at 915). The

good faith presumption is necessary because it “reflects the Federal Judiciary’s due

respect for the judgment of state legislators”; it shows an appropriate hesitancy to

“hurl . . . accusations” of “‘offensive and demeaning’ conduct” at a state legislature;

and it evinces an appropriate “war[iness] of plaintiffs who seek to transform federal

courts into ‘weapons of political warfare’ that will deliver victories that eluded them

‘in the political arena.’” Alexander, 602 U.S. at 11 (first quoting Miller, 515 U.S. at

912; and then quoting Cooper, 581 U.S. at 335 (Alito, J., concurring in judgment in

part and dissenting in part)). “The allocation of the burden of proof and the

presumption of legislative good faith are not changed by a finding of past

discrimination” because “[p]ast discrimination cannot, in the manner of original sin,

condemn governmental action that is not itself unlawful.” Abbott, 585 U.S. at 603

(quoting City of Mobile, 446 U.S. at 74).

      A plaintiff asserting discriminatory intent may rely on direct and/or

circumstantial evidence. Cooper, 581 U.S. at 291; Vera, 517 U.S. at 963 (finding

that a mix of direct and circumstantial evidence showed that the legislature was


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motivated by race in its decisionmaking). Direct evidence may come in the form of

a relevant state actor’s express acknowledgment that race played a role in the

drawing of district lines. See, e.g., Ala. Legis. Black Caucus, 575 U.S. at 259–60.

      “[D]iscriminatory intent need not be proved by direct evidence. ‘Necessarily,

an invidious discriminatory purpose may often be inferred from the totality of the

relevant facts, including the fact, if it is true, that the law bears more heavily on one

race than another.’” Rogers v. Lodge, 458 U.S. 613, 618 (1982) (quoting Davis, 426

U.S. at 242).

IV.   ANALYSIS – VOTING RIGHTS ACT

      A.        Milligan Plaintiffs’ Arguments
      We first consider the Milligan Plaintiffs’ arguments about the Gingles

preconditions and then discuss what they say about the totality of the circumstances.

                1.   Gingles I – Numerosity and Reasonable Configuration (Dr.
                     Duchin)

      The Milligan parties stipulate that “[t]here is a numerically sufficient number

of Black people of voting age in Alabama to draw to two majority-Black

Congressional Districts.” Milligan Doc. 436 at ¶ 152. To establish that Black voters

as a group are sufficiently geographically compact to constitute a majority in a

second reasonably configured district, the Milligan Plaintiffs rely on Dr. Duchin.

      Dr. Duchin’s credentials include an undergraduate mathematics degree from

Harvard University and two graduate mathematics degrees from the University of


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Chicago. Milligan Doc. 385-3 at 2; Tr. 279–80. Dr. Duchin now works as a Professor

of Mathematics at Cornell University and uses metric geometry to understand

redistricting. Tr. 279–81; see Milligan Doc. 385-3 at 1.

       Dr. Duchin has published more than a dozen peer-reviewed papers about

redistricting. Milligan Doc. 68-5 at 4; 19 see Tr. 280–81. Since she last testified in

this litigation, she has published “more than a dozen new publications and preprints

about redistricting and elections.” Id. at 280. She was elected as a Fellow of the

American Mathematical Society four years ago and has been both a Radcliffe Fellow

and a Guggenheim Fellow. Milligan Doc. 68-5 at 4.

       Dr. Duchin testified that she has served as “an expert in seven states in this

cycle” and has “consulted with many independent commissions and governing

bodies around the country in this cycle.” Tr. 280. Dr. Duchin was compensated at a

rate of $300 per hour for her work on this case, and her compensation was not

dependent on the substance of her testimony. Milligan Doc. 68-5 at 2.

       At trial, Dr. Duchin was qualified with no objection as an expert in applied

mathematics, quantitative redistricting analysis, demography, and use of census

data. Tr. 281.

       Dr. Duchin testified that her role in this case was “to study whether, and if so,



 Dr. Duchin incorporated her prior Milligan reports into her trial report. Milligan
19

Doc. 385-3 at 1.

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how it’s possible to draw a congressional plan in Alabama with a second majority-

Black district.” Id. at 283. She testified that “[t]he work of a Gingles expert asks

whether it’s possible to do so in a reasonably configured plan,” and “reasonably

configured [] is a reference to the suite of traditional redistricting principles.” Id. at

281–82. After conducting her work, Dr. Duchin “emphatically” concluded that “it is

possible” to draw such a plan. Id. at 282.

      Dr. Duchin offered the four illustrative remedial plans she offered at the

preliminary injunction stage (Duchin Plans A–D), as well as a fifth plan she

developed since (Duchin Plan E). Id. at 282–85, 289. She presented those plans

alongside the 2023 Plan and all three Special Master Plans for reference, as

reproduced below:




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Milligan Doc. 68-5 at 7 fig. 2.



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Milligan Doc. 385-3 at 3 fig. 1.

      Dr. Duchin testified extensively about her mapmaking process. She testified

that she began by “familiar[izing herself] with the census data and the physical

geography of [Alabama]”; “stud[ying] some previous maps that had been issued by

the state”; and reviewing guidelines “that had been introduced by the legislature in

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this cycle and in previous cycles to the extent that [she] could.” Tr. 285–86. Then,

in “an exploratory phase,” she “us[ed] algorithms that had been developed by [her]

lab and [her] research group in which you can randomize the creation of districting

plans,” “to get ideas about the question of whether it was possible” to draw a

reasonably configured second majority-Black district and “to get directional ideas

about how it might be possible.” Id. at 286. She “learned that, yes; it is possible in

many ways” and began drawing maps by hand. Id.

      Mindful that “redistricting is always about trade-offs,” Dr. Duchin prepared

Duchin Plans A–D to “illustrate some of the choices you face when elevating certain

principles, when relaxing others, and when watching them trade-off in the creation

of a holistically, reasonably configured map.” Id. at 286–87.

      To decide which maps to submit, Dr. Duchin testified that she employed

certain “nonnegotiable principles” at a “screening” stage. Id. at 287. She testified

that “if you were to make a map that didn’t meet, say, the one person, one vote

requirement, you would ensure that it did so before submitting it to the Court.” Id.

She further testified that “similarly, as a Gingles 1 expert, any map that you would

submit would need to cross that majority Black threshold in a [s]econd [d]istrict.”

Id. at 288. Dr. Duchin testified that “non-negotiable” did not mean “predominant”:

      As a matter of process, race is a consideration that doesn’t dominate
      over the others. You’re holding many considerations in mind at the
      same time. Here, to say it was nonnegotiable means, if you are
      mapping, you might periodically check to see if you’re crossing that

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        threshold. And at the end, you need to cross that threshold in order to
        submit the map to the Court.

Id.

        Dr. Duchin testified that she “just did not look at race.” Id. at 292. She

“periodically checked to see if the plan, as a whole, had that property of two

majority-Black districts.” Id. She clarified:

        JUDGE MARCUS: Did you ever have occasion to take a look at the
        number, 50 plus one, discover that you fell below it, and thereby were
        nudged to alter or change the microscopic analysis in any way?

        [DR. DUCHIN]: As I understand that question, it might ask: Did falling
        below 50 lead me to look for majority-Black precincts?

        JUDGE MARCUS: Yes.

        [DR. DUCHIN]: No. That’s not my process.

        JUDGE MARCUS: So did you not change the microscopic process . .
        . simply because the numbers in a particular district might have fallen
        beneath 50 plus one?

        [DR. DUCHIN]: That’s right. I would say the balancing of criteria
        looks the same when you’re above 50 and below. . . . [T]he process is
        not one of going hunting for majority-Black precincts because you have
        fallen below the line.

        JUDGE MARCUS: So let me ask the question again in my own words
        just to be sure that I have this right. . . . Did you ever change the
        microscopic part of your analysis to get up to [] 50 plus one?

        [DR. DUCHIN] Best I understand the question, my answer would be
        no.

Id. at 365–66. Dr. Duchin testified that her “top priority” in drawing Plan E was



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compactness under the “new guidelines that were issued by the state and passed as

part of SB-5,” and that “if you know something about the measurement of district

compactness, you can see that Plan E is especially compact.” Id. at 289.

      Dr. Duchin also testified about how her plans respect traditional redistricting

principles. Dr. Duchin testified each of her plans nearly perfectly distributes

Alabama’s population into contiguous districts: each district in each plan is within a

one-person deviation of the baseline of 717,754 people per district, and each district

in each plan is contiguous. Milligan Doc. 68-5 at 8; Jan. 6, 2022 Tr. 586–90; Milligan

Doc. 92-1; Milligan Doc. 385-3 at 4; see Tr. 287–88.

      Dr. Duchin offered extensive testimony to support her opinion that her

illustrative remedial districts are reasonably configured. She testified about how her

plans perform on the metrics for scoring geographic compactness that the experts in

these cases employ. At the preliminary injunction stage, Dr. Duchin explained three

metrics. She explained the Polsby-Popper metric as follows: “Polsby-Popper is the

name given in this setting to a metric from ancient mathematics: the isoperimetric

ratio comparing a region’s area to its perimeter via the formula 4πA/P2. Higher

scores are considered more compact, with circles uniquely achieving the optimum

score of 1.” Milligan Doc. 68-5 at 9.

      Then, Dr. Duchin explained Reock scores: “Political scientist Ernest Reock

created a different score based on the premise that circles were ideal: it is computed


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as the ratio of a region’s area to that of its circumcircle, where the circumcircle is

defined as the smallest circle in which the region can be circumscribed. Polsby-

Popper is thought to be relevant as a measure of how erratically the geographical

boundaries divide the districts, but this sometimes penalizes districts for natural

features like coastlines of bays and rivers. Reock has a much weaker justification,

since the primacy of circles is the goal rather than the consequence of the definition.”

Milligan Doc. 68-5 at 9. Dr. Duchin explained that for both Polsby-Popper and

Reock scores, a higher score is better than a lower score. Id.

      Dr. Duchin also explained the cut-edges score: “Recently, some

mathematicians have argued for using discrete compactness scores, taking into

account the units of Census geography from which the district is built. The most

commonly cited discrete score for districts is the cut edges score, which counts how

many adjacent pairs of geographical units receive different district assignments. In

other words, cut edges measures the ‘scissors complexity’ of the districting plan:

how much work would have to be done to separate the districts from each other?

Plans with a very intricate boundary would require many separations. Relative to the

contour-based scores, this better controls for factors like coastline and other natural

boundaries, and focuses on the units actually available to redistricters rather than

treating districts like free-form Rorschach blots.” Id. A districting plan with a lower

cut-edges score is considered more compact.


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       Dr. Duchin testified that the differences between her Plan E and the 2023 Plan

in terms of compactness were minimal. See Tr. 357 (“My Plan E scores an average

Polsby-Popper of a little over 27 percent while SB-5 a little over 28 percent. So

there’s less than a percentage point of difference.”). She provided a table:




Milligan Doc. 385-3 at 4 tbl. 1.20

       In her previous report, she offered a table about compactness scores for her

Plans A–D to make the same comparative point, but with respect to the 2021 Plan:




Milligan Doc. 68-5 at 9 tbl. 2.


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  “[T]he retention rows show the share of population (in the 2020 Census) whose
address keeps them in the same district as in various benchmark plans.” Milligan
Doc. 385-3 at 4.

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      Dr. Duchin emphasized that these metrics are simply one part of a

compactness evaluation, and that there is no “bright line” compactness score on any

particular metric that guarantees (or forecloses) reasonableness. Tr. 324–25.

      Accordingly, Dr. Duchin also testified about other metrics that are probative

of reasonable compactness. She testified that each of her Plans A–D respects existing

political subdivisions in the state. Jan. 6, 2022 Tr. 599. She opined that “to make

seven finely population-tuned districts, it is necessary to split at least six of

Alabama’s 67 counties into two pieces, or to split some counties into more than two

pieces.” Milligan Doc. 68-5 at 8; Jan. 6, 2022 Tr. 626. And she opined that Duchin

Plans A–D “split nine counties or fewer, giving them high marks for respecting these

major political subdivisions,” and Duchin Plan E splits six counties. Milligan Doc.

68-5 at 8; Milligan Doc. 385-3 at 4 tbl. 1.

      Dr. Duchin also opined that all her plans “are comparable to the State’s plan

on locality splits, with [Duchin] Plan B splitting fewer localities” than the 2021 Plan,

and Duchin Plan E splitting as many localities as the 2023 Plan. See Milligan Doc.

68-5 at 8 tbl. 1; Milligan Doc. 385-3 at 4 tbl. 1; Tr. 293–94.

      Dr. Duchin also testified about how her plans treat communities of interest.

She testified that different states define “community of interest” differently, and that

it is important to respect communities of interest. Tr. 315. According to Dr. Duchin,

“[r]espect for communities of interest can mean keeping them together. But there


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are times when respect or consideration for communities of interest, instead, might

call for a split.” Id. She gave an example that she pulled from another mapmaker’s

preparation of a plan for New York State: “[W]hen he drew a district in the Buffalo

area -- previously, Buffalo had been split, and he was able to draw a district that kept

Buffalo together and thought he would be lauded as a local hero. And, instead, he

was pilloried in the press for taking away a representative. Buffalo used to have two

representatives and now only has one.” Id. at 316. She explained that this is “just an

example that there are trade-offs that you make if you -- sometimes when you split

a community of interest, you are doing so across two districts in which its residents

will have a voice and creating more representation. It’s really a very holistic

situational consideration.” Id. at 316–17.

      Dr. Duchin testified about how her plans respect the Black Belt. In the

preliminary injunction proceedings, she observed that in the 2021 Plan, eight of the

eighteen core Black Belt counties are “partially or fully excluded from majority-

Black districts,” while “[e]ach of the 18 Black Belt counties is contained in majority-

Black districts in at least some” of her plans. Milligan Doc. 68-5 at 13; see also Aug.

6, 2022 Tr. 666–68. At trial, Dr. Duchin explained that her Plan E respects the Black

Belt because Plan E “meet[s] the requirements” of the 2023 legislative findings by

keeping the “the number of districts touching [the Black Belt] to a maximum of

two.” Milligan Doc. 385-3 at 8.


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      Dr. Duchin testified that she considered the Wiregrass when drawing her

illustrative plans “once the new guidelines had been issue[d]. Previously in the

preliminary injunction phase, it was primarily the Black Belt that was being

discussed and analyzed.” Tr. 318–19.

      All of Dr. Duchin’s plans split Mobile and Baldwin Counties. In response to

the State’s assertion that such a split disrespects a community of interest in the Gulf

Coast area, Dr. Duchin testified the Legislature has repeatedly split Mobile and

Baldwin Counties in its maps for the Alabama State Board of Education districts,

and the Legislature did so in 2020 at the very same time it drew the previous

congressional plans. Id. at 325–27, 348. Dr. Duchin thus testified that as she decided

where to split Mobile County in her illustrative plans, she drew boundaries based on

“guidance from the state board of education map” because that map was “considered

legitimate at some point in history by the state legislators.” Id. at 347–49.

      Dr. Duchin also testified about the 2023 legislative findings, how they address

traditional redistricting principles, and how she deferred to them in drawing her Plan

E. Dr. Duchin first testified that the 2023 legislative guidelines were both “novel”

and “mathematically impossible to satisfy.” Id. at 359–62. She testified that as far as

she was aware, the Legislature had never before enacted requirements of (1) a

precise limit on the acceptable number of county splits, or (2) zero incumbent

pairings, both of which are enumerated as “non-negotiable” requirements in the 2023


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legislative findings. Id. at 297; Milligan Doc. 385-3 at 7.

      Dr. Duchin also testified that it is not “mathematically possible to keep

together both the Black Belt counties and the Wiregrass counties . . . because those

two communities of interest overlap and, taken together, they have more population

than a congressional district can have.” Tr. 298; Milligan Doc. 385-3 at 7.

      Additionally, Dr. Duchin testified that the requirement to keep Mobile and

Baldwin Counties together as a community of interest “come[s] close to prescribing”

a majority-White congressional district in the Gulf Coast because “together those

[Counties] contain more than 90 percent of the population of a congressional

district” and “as a matter of mathematical necessity,” a district that fully includes

both Gulf Coast counties must be majority-White and would “submerge[]” the City

of Mobile. Tr. 298–99, 314. On this point, no document, testimony, or lawyer

disputes Dr. Duchin’s opinion.

      Indeed, in closing argument, counsel for the State represented that he was “not

aware of a way to draw two majority-[B]lack districts without going against the

[L]egislature’s priority of keeping Mobile and Baldwin County whole”:

      JUDGE MANASCO: So is it possible to draw a map that satisfies the
      findings expressed in SB-5 with two opportunity districts?

      [Counsel for the State]: I am not aware of a way to draw two majority-
      Black districts without going against the legislature’s priority of
      keeping Mobile and Baldwin County whole.

      JUDGE MANASCO: Okay.

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Id. at 2647–49.

      Dr. Duchin also testified about the description in the 2023 legislative findings

of specific communities of interest. She opined that “[i]t is notable” that all the

enumerated communities of interest are located in the geographic area that is

contested in this litigation, and that in her view “[i]t seems implausible that a good-

faith list of important communities in Alabama would completely exclude the

Northern and Northeastern areas of the state.” Milligan Doc. 385-3 at 8. At trial, Dr.

Duchin testified that “if you put aside general considerations like [preserving urban

cores], the only named communities of interest that [she] took into account were the

ones listed by the [L]egislature,” but that she “[c]ertainly” would have considered

any other communities of interest the Legislature enumerated. Tr. 362–63.

      Despite her concerns that the 2023 legislative findings are “novel” and

“mathematically impossible to satisfy,” Tr. 359–62, Dr. Duchin testified that she met

their requirements as far as mathematics allowed. See Milligan Doc. 385-3 at 9. For

instance, though the 2023 Plan “codifie[d] a way of measuring county preservation

that has never before been used in Alabama,” Dr. Duchin split the same number of

counties in her Plan E that the 2023 Plan split; she testified that her Plan D “passes

this test while containing two majority-Black districts”; and she testified that

Alabama’s 2011 Plan would fail this test. Milligan Doc. 385-3 at 4 tbl. 1, 7 n.3.

      Dr. Duchin also responded to a criticism of her Plan E from Dr. Sean Trende,

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an expert witness for the State. Dr. Trende opined that Dr. Duchin’s Plan E “not only

divvied up the districts [in Jefferson County] by [BVAP] but has also split precincts

by [BVAP].” Milligan Doc. 384-5 at 74–75. In response, Dr. Duchin testified that

“the numbers that underlie these decisions also make it quite clear that the splits are

not made for racial reasons.” Tr. 310. She explained:

      There’s another clear piece of evidence here, which is I’ve drawn, you
      know, thousands of White residents on the north of Birmingham and in
      the northern suburbs into District 7, more than 10,000, in fact. And that
      makes it really completely implausible that, you know, on the level of
      dozens of people on that line to the south the decision would be made
      in a race-conscious way.

Id. at 311–12.

      Ultimately, Dr. Duchin testified that it is “unambiguously” possible to draw

“an additional reasonably configured majority-Black district,” and that “[i]t can be

done in many different ways, which elevate various of the traditional districting

principles” and do not prioritize race over such principles. Id. at 312–14.

             2.     Gingles II and III – Racially Polarized Voting (Dr. Liu)
      To establish that Black voters are “politically cohesive” and that each

challenged district’s White majority votes “sufficiently as a bloc to usually defeat

[Black voters’] preferred candidate,” Allen, 599 U.S. at 18 (internal quotation marks

omitted) (quoting Gingles, 478 U.S. at 51), the Milligan Plaintiffs rely on a racial

polarization analysis conducted by expert witness Dr. Baodong Liu.

      Dr. Liu works as a tenured professor of political science at the University of


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Utah, where he focuses on the “relationship between election systems and the ability

of minority voters to participate fully in the political process and to elect

representatives of their choice.” Milligan Doc. 385-4 at 3; Tr. 557. Dr. Liu holds a

doctoral degree in political science from the University of New Orleans, a graduate

degree in political science from Oklahoma State University, and an undergraduate

degree in law from East China University. Tr. 557, 618. Dr. Liu has written or edited

nine books and published articles in many peer-reviewed journals. Milligan Doc.

385-4 at 3. He has served as an expert witness in vote dilution cases in seven states

and has advised the United States Department of Justice on methodological issues

concerning racially polarized voting. Milligan Doc. 385-4 at 3. Dr. Liu has been

compensated at $300 per hour for his work on this case and his compensation does

not depend on the substance of his testimony. Milligan Doc. 385-4 at 2–3.

      At trial, Dr. Liu was qualified without objection as an expert in racial

polarization analysis, American political behavior, and ecological inference. Tr. 560.

      The Milligan Plaintiffs asked Dr. Liu to opine about whether racially

polarized voting (“RPV”) occurs in Alabama and has resulted in the defeat of Black-

preferred candidates in Alabama congressional elections. Milligan Doc. 385-4 at 2.

Dr. Liu also responded to the opinions of Dr. Hood and Dr. Bonneau, experts for the

State. Tr. 562. Finally, Dr. Liu performed an effectiveness analysis “to show to the

Court how different redistricting plans may provide opportunities for minority voters


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to elect the candidate of their choice.” Id. at 578–79.

       Dr. Liu examined ten biracial endogenous elections – congressional elections

in the challenged districts that included a Black candidate and a White candidate –

based on cases indicating that such elections are more probative of racially polarized

voting than are other elections. See Milligan Doc. 385-4 at 5–6 & n.3; Tr. 571;

Wright v. Sumter Cnty. Bd. of Elections & Registration, 979 F.3d 1282, 1301 (11th

Cir. 2020); Davis v. Chiles, 139 F.3d 1414, 1417–18 & n.3 (11th Cir. 1998). He also

considered sixteen biracial exogenous elections – elections for statewide offices that

included a Black candidate and a White candidate. See Milligan Doc. 385-4 at 6.

       Dr. Liu studied racially polarized voting in these twenty-six elections by using

a statistical method known as ecological inference (“EI”), which he opined “has been

widely used as the most-advanced and reliable statistical procedure for [racially

polarized voting] estimates in not only academic research but also voting rights cases

in the last two decades.” Id. at 6–7. Dr. Liu testified that ecological inference is “one

of the best methods in the history of political science.” Tr. 560, 564.

       Dr. Liu examined both census data and data from the American Community

Survey, and he saw consistent results in both datasets. Id. at 566–67.21 Dr. Liu


21
   The Census is a count of the United States population. As one of the expert
witnesses explained, the American Community Survey “is a survey that’s fielded by
the Census Bureau annually. It asks more detailed questions than the Decennial
Census such as educational attainment.” Tr. 931. The American Community Survey


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emphasized that he did not focus on voters’ “motivations” because his role is

“simply to provide empirical evidence for the Court” by evaluating whether “Black

voters voted cohesively for their candidates and whether White voters[, as the

majority of voters,] agree with their choice.” Id. at 567–69.

      Dr. Liu testified that he focused on biracial elections because in that setting,

“we can see truly what’s the preference of either side, of Black or White voters.” Id.

at 569. He testified that reliance on such elections is “accepted by [a] supermajority

of experts, including Dr. Hood.” Id. at 569–570.

      Dr Liu also testified about how he assesses patterns:

      So using just one or two elections in a given year or just two or three or
      even five years, one has no sufficient evidence about whether that is a
      consistent pattern.
      So, for me, 15 years is a reasonable time span for me to establish
      whether or not there is a consistent pattern for White and Black voters.

Id. at 572. For Dr. Liu, using a fifteen-year window also meant that he could utilize

two cycles of census data. Id. at 572–73.

      In his report, Dr. Liu opined that the data “clearly demonstrates that in biracial

elections in which Black voters had the opportunity to express a preference for Black

candidates, that preference was not shared by a majority of [W]hite voters in



often reports five-year estimates “because the American Community Survey gets
asked every year but not every county is represented in every year. So you have to
take five years of data to make sure you get every county.” Id. at 933.

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Alabama,” and that “[d]espite the high degree of electoral cohesion among Black

voters, the majority of [W]hite voters form a voting bloc to typically defeat all the

Black preferred candidates in these elections.” Milligan Doc. 385-4 at 15–16.

         On cross-examination, Dr. Liu testified that he did not look at candidates’

partisan affiliations. Tr. 626–28. In the general elections in the challenged districts

Dr. Liu studied (excepting District 7), Black support for the Black-preferred

candidate always exceeded 87% and White support for the Black-preferred

candidate never exceeded 12.6%. Milligan Doc. 385-4 at 7–8. Dr. Liu observed that

the “only Black candidate who was able to win any biracial Congressional election

in Alabama was Terri Sewell[,] who ran in a Black-majority congressional district,”

District 7. 22 Id. at 8. Dr. Liu provided this table to demonstrate both the existence

and the extent of the racially polarized voting that he observed:




22
     Dr. Liu issued his report before the November 2024 General Election.

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Id. at 7–8 tbl. 1.

       At trial, Dr. Liu emphasized the clarity and starkness of the pattern that he

observed, particularly in what he regarded as the most probative data set – biracial

endogenous elections. See Tr. 573–74. Dr. Liu explained that in those elections,


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Black support for the Black candidates produces “almost uniformly the same

finding,” which is that “Black voters provided more than 90 percent or so support

for the Black candidate involved in those biracial endogenous elections,” id. at 573,

that “White voters supported the Black-preferred candidates with minimum level[s]”

ranging from “single-digit support” to “the 20-percent range,” id., and that the

Black-preferred candidate was defeated in every election except District 7, which is

majority-Black, id. at 574. Dr. Liu testified that he observed a similar pattern in the

exogenous elections he studied, id. at 575–76, which provides “supplemental

evidence” of racially polarized voting, id. at 571, and ultimately that voting in

Alabama is “highly, highly racially polarized,” id. at 576.

        Dr. Liu testified that in more than twenty years of research, “this is arguably

the highest level” of racially polarized voting that he has “ever seen.” Id. And he

said the level of racially polarized voting in Alabama was nationally distinctive:

        With the RPV analysis based on EI as well as the exit polls that I was
        able to collect data from, I am very confident to conclude that, in the
        State of Alabama, there is [a] consistent pattern of racially polarized
        voting as shown by the literature concerning American voters,
        especially the [S]outh.

        And I would characterize that as one of the highest in the nation.

Id. at 578. Dr. Liu based this conclusion both upon the extremity of the pattern of

racially polarized voting and the strength of the evidence of that pattern. Id. at 680–

81.


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       In his effectiveness analysis, Dr. Liu compared the performance of the 2023

Plan to the performance of Duchin Plan E, with a focus on Districts 2 and 7. Id. at

579; see id. at 665. Dr. Liu explained that he considered only biracial elections for

this analysis, id. at 665–66, which yielded this conclusion:

       The [2023] Plan continues to dilute the Black voter strength in [District
       2] to ensure the defeat of Black-preferred candidates there. The
       Plaintiffs’ Duchin-E Plan, however, increases the opportunity of Black
       voters to elect the candidates of their choice in 10 of the 11 biracial
       elections analyzed in [District 2], and 11 out of 11 in [District 7].

Milligan Doc. 385-4 at 16.

       Dr. Liu testified that Black voters had “no chance” of electing their candidate

of choice in District 2 under the 2023 Plan, Tr. 581–82, and he offered the following

chart with data to support that that opinion23:




23
   Dr. Liu testified that he made an error in this table (Greg Cook should be named
in the 2022 Supreme Court Place 5 election instead of Bradley Byrne, Tr. 661), and
that this typographical error had no substantive effect as the numbers, data, and
percentages are correct. Tr. 680.

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Milligan Doc. 385-4 at 12 tbl. 3.

      On cross-examination, Dr. Liu acknowledged that this analysis did not

examine the money spent by campaigns or candidates’ previous political

experiences, i.e., candidate quality. Tr. 661–62.



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      In his rebuttal report, Dr. Liu responded to the opinions of Dr. Hood and Dr.

Bonneau. See infra Part IV.D.3.a & Part IV.D.3.b. In response to Dr. Hood, Dr. Liu

opined that the election of a lone Black Republican to a seat in the Alabama House

(Representative Kenneth Paschal of District 73) “is not instructive or representative”

because, due to low White turnout in that election, “it says little about whether

[W]hite voters in Alabama embrace Black Republican candidates.” Milligan Doc.

385-8 at 3 (discussing “extremely low” turnout of 5.3% of the voting age population,

and only 1.7% of the White voting age population); see Tr. 669–670.

      Dr. Liu further opined that the 2024 Republican congressional primary in

District 2 offers a better estimate of White support for a Black candidate, and

indicates low support because in an election with four White candidates and four

Black candidates, “[t]he four Black candidates finished 5th, 6th, 7th and 8th places after

the election results were announced and together received only 6.2% of the total

vote.” Milligan Doc. 385-8 at 4. “[A]ccording to the voter file data, as many as

95.9% of the 2024 Republican primary participants in [District 2] were non-Hispanic

[W]hite voters while only 2.44% of the [District 2] primary participants were Black.”

Id.; Tr. 594–95. At trial, Dr. Liu clarified that this rebuttal analysis was not a formal

racially polarized voting analysis. Tr. 667–68.

      Dr. Liu offers several responses to the opinions of the State’s experts that

party, not race, is the primary driver of Alabama voters’ electoral choices. At trial,


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Dr. Liu testified about Dr. Hood’s discussion of Dr. Ben Carson’s candidacy in the

2016 Republican presidential primary; Dr. Liu pointed out that Dr. Carson received

10% of the primary vote in Alabama, whereas Donald Trump received “more than

four times as much.” Id. at 593–94. Dr. Liu testified that Dr. Hood’s opinion about

the importance of partisanship “is not grounded in the true empirical data.” Id. at

597–99 (discussing Milligan Doc. 403-17 at 2–3), 666–67.

      In his rebuttal report, Dr. Liu opined that Dr. Bonneau’s conclusion that Black

candidates’ lack of electoral success in Alabama is attributable to party rather than

race is flawed because (1) “Alabama [has] no official record of party registration

available,” and (2) Dr. Bonneau “conducted no ecological inference analysis to

measure the extent to which Black voters voted for the Democratic candidates.”

Milligan Doc. 385-8 at 4.

      Dr. Liu also analyzed two nonpartisan Montgomery mayoral runoff elections

(2019 and 2023) to control for party. He opined that those elections demonstrated

that when the “party ‘cue’ [was] taken away and only the racial cue remain[ed],” “it

[was] race, rather than party, that drove the election outcomes.” Milligan Doc. 385-

4 at 9–10; Milligan Doc. 385-8 at 8.

      Dr. Liu also responded to Dr. Bonneau’s assertion that patterns of straight-

ticket voting in Alabama indicate that party is a more forceful driver of electoral

choices than race. Dr. Liu pointed out that “Dr. Bonneau does not explain whether


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he has any knowledge of these voters directly, nor the racial identities of these

straight-ticket voters nor localities/precincts the voters resided in.” Milligan Doc.

385-8 at 4; see Tr. 605–08.

      At trial, Dr. Liu testified at length that “race is more important than party” in

Alabama elections. Tr. 584–87. Dr. Liu testified about the 2021 District 1

Democratic primary in which James Averhart, a Black candidate, faced two other

candidates that included a White candidate. Id. at 587–88. In that race, over 50

percent of Black voters supported Mr. Averhart, whereas only 16.7 percent of White

voters supported Mr. Averhart. Id. Dr. Liu also examined the 2008 Presidential

Election. In that instance, Dr. Liu found that exit poll data from Alabama showed

that 51 percent of White Democrats supported Senator John McCain over then-

Senator Barack Obama, a Black man; Dr. Liu thus testified: “So the White

Democrats showed in their vote choice that race mattered instead of party.” Id. at

588–90 (referring to Milligan Doc. 403-13 at 14). Dr. Liu testified that he drew a

similar conclusion from his analysis of the 2008 Alabama Democratic primary for

president (between then-Senator Hillary Clinton and then-Senator Obama). Id. at

592–93.

      Dr. Liu also testified that Dr. Hood’s opinions are consistent with his

conclusions. At trial, Dr. Liu quoted this scholarly statement by Dr. Hood about the

importance of race in the South: “Race, especially the Black-White dichotomy, is


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the largest dividing line between the Republican and Democratic parties in the

region. In fact, in terms of party identification, race dwarfs the effects of religion and

class.” Id. at 586–87 (reading Milligan Doc. 403-17 at 5 (Ex. MX-17)). Dr. Liu also

testified that Dr. Hood (1) “had a significant publication explaining why biracial

elections are necessary” to evaluate racially polarized voting, id. at 570, and (2) in

any event, did not dispute his finding that voting in Alabama is racially polarized,

id. at 584. Dr. Liu provided greater detail in his rebuttal report about the self-

contradiction he alleged Dr. Hood made about biracial elections:

      [Dr. Hood] also failed to consider the race of the candidates. This is in
      [sic] contrary to his own professional recommendation when it comes
      to empirical analysis of vote dilution claims. In Dr. Hood’s published
      article . . . the appropriate approach to a[] [racially polarized voting]
      analysis, according to Dr. Hood and his two co-authors, “must also
      consider the race/ethnicity of the candidates running for election. Of the
      elections available for analysis, the more relevant are those that feature
      a minority candidate from the racial/ethnic group suing the jurisdiction
      in question. For example, in a vote dilution suit brought by Latino
      voters, one would seek election contests featuring Hispanic candidates,
      while also keeping in mind the other criteria previously discussed.”
      Using biracial elections in vote dilution litigation research is a widely
      held standard by experts. But Dr. Hood did not follow this longstanding
      practice he himself recommended in his publications, and did not
      conduct any racial polarization analysis whatsoever.

Milligan Doc. 403-17 at 2–3 (Ex. MX-17) (citing and quoting M.V. Hood III et al.,

From Legal Theory to Practical Application: A How-To for Performing Vote

Dilution Analyses, 99 SOC. SCI. Q. 536, 546 (2017)) (internal citation and footnote

omitted).


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             3.     The Senate Factors

      The Milligan Plaintiffs next turn to the totality of the circumstances. They rely

on stipulations of fact and testimony from two experts and several fact witnesses to

support their arguments. We first discuss the stipulations and experts (upon which

the Caster Plaintiffs also rely), and we discuss the fact witnesses in the next sections.

      Recall that the nine Senate Factors are:

      1.     “the extent of any history of official discrimination in the state or
             political subdivision that touched the right of the members of the
             minority group to register, to vote, or otherwise to participate in
             the democratic process”;

      2.     “the extent to which voting in the elections of the state or political
             subdivision is racially polarized”;

      3.     “the extent to which the state or political subdivision has used
             unusually large election districts, majority vote requirements,
             anti-single shot provisions, or other voting practices or
             procedures that may enhance the opportunity for discrimination
             against the minority group”;
      4.     “if there is a candidate slating process, whether the members of
             the minority group have been denied access to that process”;

      5.     “the extent to which members of the minority group in the state
             or political subdivision bear the effects of discrimination in such
             areas as education, employment and health, which hinder their
             ability to participate effectively in the political process”;
      6.     “whether political campaigns have been characterized by overt
             or subtle racial appeals”;
      7.     “the extent to which members of the minority group have been
             elected to public office in the jurisdiction”;




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      8.     “whether there is a significant lack of responsiveness on the part
             of elected officials to the particularized needs of the members of
             the minority group”; and
      9.     “whether the policy underlying the state or political
             subdivision’s use of such voting qualification, prerequisite to
             voting, or standard, practice or procedure is tenuous.”

Gingles, 478 U.S. at 36–37 (quoting S. Rep. No. 97-417 at 28–29).

                    a.    Stipulations

      The Milligan and Caster parties stipulated to several facts about the totality

of the circumstances in Alabama today. They stipulated that in 1992, Representative

Earl Hilliard was the first Black Alabamian elected to Congress since

Reconstruction, Milligan Doc. 436 ¶ 103; Representative Shomari Figures is the first

Black Alabamian to be elected to Congress outside of District 7 since

Reconstruction, see id. ¶¶ 103, 106, 108, 113–14, 151; and “[t]hirty-two (32) out of

thirty-three (33) Black Alabamians currently serving in the Alabama Legislature

were elected from majority-Black districts,” id. ¶ 155. They also stipulated about the

lone Black statewide official currently occupying elected office in Alabama, Judge

Bill Lewis, whom “Governor Kay Ivey appointed . . . to the Alabama Court of Civil

Appeals in early 2024” and “will eventually need to stand for election to continue

holding the seat.” See id. ¶ 153.

                    b.    Dr. Joseph Bagley

      The Milligan and Caster Plaintiffs also rely on the expert testimony of Dr.



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Joseph Bagley about the Senate Factors. Dr. Bagley testified at the preliminary

injunction stage of this litigation, and he incorporated his prior reports into his expert

report disclosed for trial. Milligan Doc. 385-1 at 2.

      Dr. Bagley holds graduate degrees in history from Auburn University and

Georgia State University. Id. at 34; Tr. 1277–78. He works as an Assistant Professor

of History at Georgia State University, where he focuses on “United States

constitutional and legal history, politics, and race relations, with a focus on Alabama

and Georgia.” Milligan Doc. 68-2 at 1. He has published a book, numerous articles,

and been accepted as an expert in other Alabama voting rights cases. Id.; Tr. 1278.

Dr. Bagley was compensated at a rate of $150 per hour for his work and his

compensation did not depend on the substance of his testimony. Milligan Doc. 385-

1 at 2. At trial, Dr. Bagley was qualified without objection as an expert in Alabama

history, political analysis, race relations, and historical methodology. Tr. 1279.

      The Milligan Plaintiffs asked Dr. Bagley to analyze the Senate Factors, which

he did according to “standards of historiography.” Milligan Doc. 385-1 at 3. In

addition, Dr. Bagley testified that for his May 17, 2024 report, he was “asked to look

at the passage and enactment of [the 2023 Plan] and to offer [his] opinion as a

historian as to whether its passage and drafting were motivated by discriminatory

intent,” which does not include “get[ting] at the motivation of any one specific

legislator.” Tr. 1422–23.


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      At trial, Dr. Bagley explained his understanding of the Senate Factors and the

methods and sources he used in his analysis. Id. at 1279–82. Dr. Bagley opined about

Senate Factors 1, 5, 6, 7, 8, and 9, and he considered Factor 3 in connection with

Factor 1. Milligan Doc. 68-2 at 3–31; Milligan Doc. 385-1 at 30–32; Tr. 1282–83.

      Dr. Bagley summarized his trial opinion about the Senate Factors this way:

“Events and elections that have taken place in the interceding years [since the

preliminary injunction] only confirm my prior conclusion that the totality of the

circumstances demonstrates that Black Alabamians lack an equal opportunity to

participate in the political process and elect candidates of their choice.” Milligan

Doc. 385-1 at 32. He testified that the Senate Factors “evidence that [he has]

marshaled here point[s] strongly in the direction of vote dilution . . . [and] towards

discriminatory intent.” Tr. 1368. And Dr. Bagley testified that it was the “presence

of . . . multiple factors rather than the size of any one particular gap” that supports

his conclusion about the Senate Factors. Id. at 1411–12.

      Senate Factor 1 – History of Official Discrimination Affecting Political
      Participation
      Dr. Bagley opined about numerous examples of what he described as official

discrimination that impacted Black Alabamians’ political participation. Dr. Bagley

testified about these and other lawsuits. Id. at 1285–88, 1377–78, 1432–33. He also

testified about objections to Alabama’s attempts to obtain federal preclearance for

redistricting plans before the State’s preclearance requirement was eliminated, and


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orders bailing into federal preclearance several Alabama jurisdictions under Section

3(c) of the Voting Rights Act. Id.

      Dr. Bagley also testified about Alabama’s closure of several driver license

offices, which he opined was done to serve political purposes and affected voters

because of Alabama’s requirement for voter identification. Id. at 1288–90; Milligan

Doc. 385-5 at 5–6. Dr. Bagley cited statements by the U.S. Department of

Transportation “that [the closures] would have a disparate impact on Black citizens,

particularly in the Black Belt.” Tr. 1291.

      Dr. Bagley also testified about school desegregation cases in several Alabama

school districts (Jefferson County, Huntsville City, and Madison County) that

remain ongoing in 2025. See id. at 1291–92.

      Dr. Bagley opined at length about the history of redistricting in Alabama. Tr.

1297; Milligan Doc. 385-1 at 3–22. His reports tracked extensive federal judicial

involvement in and supervision of Alabama redistricting efforts since the passage of

the Voting Rights Act, Milligan Doc. 68-2 at 8–16; Milligan Doc. 385-1 at 3–22. He

concluded that “Alabama has an undisputed history of discrimination against Black

citizens, especially when it comes to registering to vote, voting, and enjoying an

equitable chance to participate in the political process, and this has been recognized

by numerous courts.” Milligan Doc. 68-2 at 3.

      “In particular,” Dr. Bagley continued, “[W]hite legislators of both major


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political parties have, in the last 50 years, manipulated the redistricting process to

prevent Black citizens from electing members of Congress or, in the last 30 years,

to limit Black voters’ ability to elect members of Congress from more than one

district.” Id.; see Tr. 1314.

       Dr. Bagley described Alabama’s history of official discrimination in voting

before the passage of the Voting Rights Act. He testified about the State’s decision

to split Mobile and Baldwin Counties in 1875 “for the express purpose of unseating

Representative Harrelson, the second Black individual elected to Congress from the

State of Alabama.” Tr. 1303–04, 1309–11. Dr. Bagley testified that this split

continued for “nearly 100 years” “from 1875 until the 1970s,” during which time

Mobile was paired with stretches of the Black Belt in a congressional district. See

id. at 1304–06, 1309–11. In 1972, the two counties were reunited in the Democrats’

“Cherner Plan,” which Dr. Bagley testified occurred to limit the political power of

Republican Congressman Bill Dickinson. Milligan Doc. 385-1 at 8–9; Tr. 1306–08.

Dr. Bagley explained that the Democratic map drawers removed the White-flight

suburbs in Baldwin County from Dickinson’s Congressional District 2 to reduce his

odds of winning the election. Tr. 1307–08. Dr. Bagley testified that a consequence

of the Cherner Plan was that the BVAP in Districts 1, 2, and 3 “goes down to where

it was in the [1960s] from 40 [percent] down to around 30 [percent] in all three of

those.” Id. at 1308.


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      In short, “[t]here was an effort to unseat Mr. Dickinson. And that was part of

the motivation for putting those Eastern Shore votes over into [] CD1. And the result

. . . was a reduction in a BVAP across the three southern districts.” Id. at 1445. Dr.

Bagley summarized it this way: “Mobile and Baldwin were, first, united in order to

prevent the reelection of a Black incumbent and, 100 years later, reunited in for

similar racial reasons.” Milligan Doc. 385-1 at 8.

      Dr. Bagley reiterated the point:

      [COUNSEL]: Okay. So, to summarize, the legislature’s purpose in
      splitting [S]outh Alabama into three districts in the 1870s was to crack
      the Black vote?

      [DR. BAGLEY]: Yes, sir.

      [COUNSEL]: In the 1972 plan, the state’s purpose in maintaining that
      three-way split, was also to continue cracking the Black vote; is that
      correct?

      [DR. BAGLEY]: Absolutely.

      [COUNSEL]: Okay. Does the 2023 plan also divide [S]outh Alabama
      into three congressional districts?

      [DR. BAGLEY]: It does.

Tr. 1311–12.

      Dr. Bagley further opined that a plan to give Black Alabamians two

opportunity districts had been introduced by Fred Gray and failed:

      Fred Gray, newly elected as one of the first two Black members of the
      state legislature since Reconstruction, proposed a plan that would give
      Black voters “a fighting chance” to elect someone “responsive to their

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      needs” in two [congressional districts] by giving them roughly half the
      population of each. The legislature never seriously considered that plan
      and could not agree on any of the other four. It adjourned in September
      [1971] with no plan passed.

Milligan Doc. 385-1 at 8; Tr. 1308–09.

      Dr. Bagley testified about early calls for the creation of a majority-Black

congressional district in the 1980s cycle, and that by the 1990s cycle, “it was

generally understood” that “there would need to be one, at least, majority-Black

district drawn.” Tr. 1316. Dr. Bagley testified that there was “broad disagreement as

to what that would look like.” Id. at 1317. Dr. Bagley traced the origin of the

resulting litigation to Mr. Hinaman, who worked as a staffer for an Alabama

Congressman and “recruit[ed] a plaintiff, a Republican in Mobile County named

Paul Charles Wesch to be a named plaintiff.” Id.

      Dr. Bagley also testified about disagreement in the 1990s cycle over whether

there would be one or two majority-Black congressional districts. See id. As Dr.

Bagley explained, the United States Department of Justice rendered an objection to

the Legislature’s plan on the ground that it limited the state to “only one majority-

minority district.” Id. Dr. Bagley described the advocacy of Black leaders, including

Earl Hilliard and Michael Figures (the late father of Congressman Figures) for the

creation of a second majority-Black district. Id. at 1317–18. Dr. Bagley described

how several of the plans proposed to include a second district by pairing “portions

of Mobile . . . with portions of the Black Belt; in some plans, Mobile was paired with

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Montgomery and portions of the Black Belt; in some of those plans, Mobile was

included with Tuscaloosa, for example.” Id. Dr. Bagley described how others “were

calling for a more robust singular majority-minority district,” and that “there was a

feeling among some that if you were going to create this very first majority-minority

district, it would need to be somewhere around, say, 65 percent of Black Voting Age

Population, which is ultimately what you end up with.” Id. at 1318.

      Dr. Bagley testified that two state legislators (Larry Dixon and Sam Pierce)

proposed a map in the 1990 cycle, and “it’s the Dixon-Pierce Plan that ultimately

gets adopted by the Wesch Court.” Id. at 1319–20. Dr. Bagley further testified that

years later, Larry Dixon “was among those who were caught on a wiretap during the

[public corruption investigation of someone else] in the 2000, 2010s, roughly,

making racist remarks.” Tr. 1320. Dr. Bagley testified that “in particular, Mr. Dixon

was referring to an effort to keep a gambling referendum off the ballot in order to

drive down Black turnout. I think he insisted that, quote, unquote, illiterates would

be bused to the polls in HUD, Housing and Urban Development, busses.” Id. Dr.

Bagley also testified that Sam Pierce “admitted” during election litigation in the

2000 redistricting cycle “that -- both at that time and more recently that he, quote,

referred only to census data and attempted to minimize the number of Black persons

residing in districts he was designing to favor Republican candidates.” Id. at 1322.

      Although Dr. Bagley acknowledged that “very few” (if any) legislators from


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the 1960s, 1970s, and 1980s cycles remain in the Legislature today, he testified that

those previous cycles are “a part of historical causation” and the “historical context.”

Id. at 1376–77. And he testified that although Mr. Hinaman did not draw any maps

for Alabama in the 1990s, “he subsequently would be in each successive decade,”

id. at 1319, up to and including the Community of Interest Plan the Alabama House

passed in 2023, id. at 1327.

      Senate Factor 3 – Voting Practices or Procedures that Enhance Discrimination

      Dr. Bagley “discuss[ed] the kind of enhancing devices and schemes covered

in [Senate] Factor 3 in [his] treatment of [Senate] Factor 1, and [he] contend[s] that

the discriminatory redistricting plans discussed therein are as much exemplary of the

devices highlighted by this factor as the at-large schemes and numbered place laws

of the (somewhat) more distant past.” Milligan Doc. 68-2 at 3.

      Senate Factor 5 – Effects of Discrimination that Hinder Political Participation

      Dr. Bagley opined in his report that “Black citizens in Alabama lag behind

their [W]hite counterparts in nearly every statistical socioeconomic category, due

largely to a history of discrimination,” and that these disparities adversely affect

Black voters’ “ability to engage politically.” Id. at 17–26; see also Milligan Doc.

385-1 at 2. At trial, Dr. Bagley testified that such gaps are “substantially the result

of past discrimination” because “as a historian, there’s no other explanation for this

-- these kinds of widespread myriad disparities other than the history of



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discrimination.” Tr. 1396–97. To assess this, Dr. Bagley explained that historians

consider such questions as: “Did someone grow up during a time when schools were

segregated or under a desegregation order? Did someone grow up in a community

with endemic violence? Did someone face discrimination in trying to find a job or

what have you?” Id. at 1398.

      In his reports and at trial, Dr. Bagley opined about numerous socioeconomic

categories and measures. These include racial disparities in poverty rates, living

conditions, health outcomes, educational attainment, income, employment, and

home ownership. To summarize, Dr. Bagley opined in his expert report:

      Today, [W]hite Alabamians with more education and therefore higher
      income can afford a car, internet service, a personal computer, or a
      smart phone; they can take time off from work; they can afford to
      contribute to political campaigns; they can afford to run for office; they
      have access to better healthcare. Education has repeatedly been found
      to correlate with income [and] independently affects citizens’ ability to
      engage politically. Black people in Alabama are demonstrably poorer,
      less educated, less healthy, and far more likely to be incarcerated than
      [W]hite people as a consequence of past and continuing racism and
      discrimination.

Milligan Doc. 68-2 at 17.

      In describing his opinions, we focus our attention on those disparities we

ultimately regard as most relevant. See infra Part V.A.4.

      Dr. Bagley opined at length about the extreme Black poverty in the Black

Belt. Dr. Bagley described a 2019 United Nations report that “Black residents [in

certain Black Belt counties] lacked proper sewage and drinking water systems and

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had unreliable electricity,” and that “[r]esidents had constructed homemade water

delivery systems using PVC pipe, did not have consistent access to drinking water

that had not been tainted by raw sewage, and often fell ill, entire households at a

time, with E. Coli and hookworm.” Milligan Doc. 68-2 at 21. He also cited recent

actions by the United States Department of Justice to explain that “Alabama was

very recently found to have discriminated against Black residents by failing to

address a chronic lack of access to clean drinking water not tainted by failed septic

tank systems.” Milligan Doc. 200-15 at 2.

      Dr. Bagley also opined about the schools that Alabama has evaluated as

“failing” in reading and math proficiency. As Dr. Bagley explained, a 2013 Alabama

statute establishes criteria for labeling “the bottom 6 percent of the state’s schools,

by proficiency in reading and math, as ‘failing,’” and that “[f]or 2020-2021, as in

previous years, all 75 schools on the list of failing schools were majority Black, most

overwhelmingly so.” Milligan Doc. 68-2 at 24–25 (footnotes omitted). Dr. Bagley

testified that “[m]ost of the schools are in majority-Black school systems in or

around Birmingham, Montgomery, and Mobile, or in the Black Belt.” Id. Dr. Bagley

also opined that the COVID-19 pandemic had a disparate impact on Black school

children in the Black Belt because they had limited internet access. Id. at 18.

      Dr. Bagley testified about a discriminatory root cause of this problem in the

Black Belt – that “[p]roperty tax laws prevent taxes on timber land from adequately



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funding the Black Belt’s public schools, despite [m]any efforts of local Black

leadership (elected thanks to enforcement of federal voting rights law) to raise

millage rates,” and that the timber land “has been blanket-owned by [W]hite people

since at least Indian Removal and the rise of the Cotton Kingdom in the early 19th

century, if not the early 18th century when French colonists introduced African slave

labor to the region.” Milligan Doc. 385-5 at 18.

      Senate Factor 6 – Racial Appeals in Political Campaigns

      Dr. Bagley testified that he considers a racial appeal in a political campaign

to occur when a candidate is making an appeal that would “drive to continue to

racially polarize voting.” Tr. 1404–05. In other words, Dr. Bagley “think[s] the racial

appeal is something that would tend to only motivate one race of voters.” Id. at 1433.

      Dr. Bagley opined that White officials in Alabama “learned long ago to

colormask their public statements,” that his analysis of campaign ads, speeches, and

social media “reveal that direct invocations of race still appeal to [W]hite voters,”

and that “campaigns and politicians’ public statements have recently trended back

towards more overt racial appeals,” Milligan Doc. 68-2 at 3, 26–27.

      Dr. Bagley offered several examples of racial appeals in Alabama campaigns.

Id. at 26–28. These include: (1) former Congressman Mo Brooks’s “repeated[]

claim[s] that Democrats are waging a ‘war on Whites’ by ‘claiming that Whites hate

everybody else’”; (2) former Alabama Supreme Court Chief Justice Roy Moore’s



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2017 acclamation of the antebellum period in the South (“I think it was great at the

time when families were united – even though we had slavery. They cared for one

another. People were strong in the families. Our families were strong. Our country

had a direction.”); (3) former Chief Justice Moore’s 2011 radio interview in which

he stated that the amendments to the Constitution that follow the Tenth Amendment

(including the Thirteenth Amendment, which abolished slavery, the Fourteenth

Amendment, which requires States to provide equal protection under the law to all

persons, and the Fifteenth Amendment, which provides that the right to vote shall

not be denied or abridged on the basis of color or previous enslavement) have

“completely tried to wreck the form of government that our forefathers intended”;

and (4) former Congressman Bradley Byrne’s ad depicting four public figures who

are persons of color in a campfire. Id. at 27–28.

      Dr. Bagley further opined that since we ordered the use of the Special Master

Plan, “[W]hite candidates have also used racial appeals while running for the newly

redrawn Second Congressional District.” Milligan Doc. 385-1 at 31. Dr. Bagley

points to comments by two White Republican candidates. We highlight only one:

candidate Dick Brewbaker running a campaign ad featuring “former Harvard

president Claudine Gay, a Black woman, juxtaposed with images of [Mr.

Brewbaker’s] young relatives brandishing firearms, while he intones that ‘the media

and woke corporations and liberal politicians sow division for their own profit.’” Id.



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         Senate Factor 7 – Minority Electoral Success

         Dr. Bagley testified that only three Black people have ever held any statewide

office in Alabama, and that none holds statewide office presently 24 or has held such

office in the last twenty years. Milligan Doc. 68-2 at 29. At trial, Dr. Bagley testified

about the 2024 Republican primary election in Congressional District 2 and how

four Black candidates finished behind a White candidate despite all having more

political experience than the White candidate. Tr. 1292–93. Dr. Bagley also testified

that no Democrats hold statewide office in Alabama. Id. at 1406. Dr. Bagley opined

that “Black candidates have had some success at the local level, thanks to litigation

and federal government intervention.” Milligan Doc. 68-2 at 3.

         Senate Factor 8 – Elected Officials’ Responsiveness to Particularized
         Minority Needs
         Dr. Bagley reasserted his previous testimony about occasions when he argued

that elected leaders in Alabama failed to respond to the particularized needs of Black

Alabamians. Milligan Doc. 385-5 at 6; see Tr. 1275–76. He opined that many of the

discriminatory experiences he identified in connection with Senate Factor 5 evince

Alabama’s lack of responsiveness to the particularized needs of Black Alabamians,

including the failure to ameliorate living conditions in the Black Belt or to improve

healthcare coverage among Black households. Milligan Doc. 68-2 at 30–31.



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     Dr. Bagley issued his report before Governor Ivey appointed Judge Lewis.

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      Dr. Bagley also testified about three specific instances when elected leaders

in Alabama failed to respond to the particularized needs of Black Alabamians. First,

he testified that the state’s response to the pandemic failed to respond to the needs

of the Black community, and he argued that the state’s distribution of vaccines was

inequitable. Id. at 29; Tr. 1408–10. On cross examination, he conceded that Alabama

did not choose its initial vaccine sites in a racially discriminatory manner, and that

those choices were instead due to the “relative lack of viable hospital facilities in

parts of the state like, say, the Black Belt.” Tr. 1408–410. Dr. Bagley clarified that

his opinions about the pandemic were based on statements by Alabama’s State

Health Officer, Dr. Scott Harris, about the disparate impact of the pandemic on

“people that already have other social determinants like chronic health problems or

issues just related to education and income.” Tr. 1408–410. Dr. Bagley testified that

he did not have “any reason” to dispute that “more Black citizens proportionately

had received the vaccine than [W]hite Alabamians.” Id. at 1410.

      Second, Dr. Bagley testified that elected leaders have failed to respond to the

Black community’s needs on environmental issues. He explained that in 2015,

“Black residents of Uniontown, in Perry County, fought a decision by the state to

allow 4 million tons of potentially toxic coal ash to be transferred from the site of a

coal-fired electrical plant accident in Tennessee to a landfill in the town,” and the

Black residents “met resistance from the state’s Department of Environmental


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Management.” Milligan Doc. 68-2 at 21. He also testified that the Alabama

Department of Environmental Management and Attorney General have

“consistently [been] opposed” to “remov[ing] and replac[ing] soil laden with toxic

materials from airborne and waterborne pollution emanating from nearby factories”

in “the 35th Avenue area in North Birmingham,” which the Environmental

Protection Agency has deemed a priority for cleanup. Milligan Doc. 68-2 at 21–22.

      And third, Dr. Bagley opined that Alabama’s lack of responsiveness to the

needs of Black people is “exemplified” by the Legislature’s failure to draw a second

majority-Black congressional district after this Court’s order to do so. Id. at 29; Tr.

1296–97, 1326–43; see also Milligan Doc. 385-1 at 30. Dr. Bagley opined that “[t]he

2023 events are an extension of the state’s history of discrimination, especially as to

redistricting.” Milligan Doc. 385-1 at 3. Dr. Bagley supported this opinion with

various sources, including media articles. See e.g., Milligan Doc. 403-4 at 28–29;

Tr. 1342–43. One of those articles (about which Representative Pringle also testified,

see supra Part I.I.3.c) quoted Alabama House Speaker Nathaniel Ledbetter as saying

about the 2023 Plan: “If you think about where we were, the Supreme Court ruling

was 5-4, so there’s just one judge that needed to see something different. And I think

the movement that we have and what we’ve come to compromise on today gives us




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a good shot.”25

       Dr. Bagley opined about talking points that, according to Senator Livingston,

the Solicitor General drafted. See supra Part I.I.3.b; Milligan Doc. 385-1 at 26. Dr.

Bagley explained that those talking points emphasized the treatment of communities

of interest. He quoted them as saying: “The Livingston Plan is a Compact,

Communities of Interest Plan that applies the State’s traditional districting principles

fairly across the State. The 2023 Plan is a historic map that gives equal treatment to

important communities of interest in the State, including three that have been the

subject of litigation over the last several year – the Black Belt, the Gulf, and the

Wiregrass.” Milligan Doc. 385-1 at 26. The talking points also said: “No map in the

State’s history, and no map proposed by any of the Plaintiffs who challenged the

2021 Plan, does better in promoting any one of these communities of interest, much

less all three.” Id.

       Dr. Bagley opined that the talking points about communities of interest (and

their echoes in the State’s litigation position) were “disingenuous” in their “touting

of only splitting the Black Belt into two” districts because “Black voters did not

appear, according to the analyses available to legislators, to have the ability to elect



25
   Milligan Doc. 403-4 at 28 (quoting Jeff Amy & Kim Chandler, Alabama
Lawmakers Refuse to Create 2nd Majority-Black Congressional District, AP News
(Jul. 21, 2023, 12:16 AM), https://apnews.com/article/alabama-legislature-
redistricting-voting-rights-e2fc7c7550e10da353b72bafc3fb6604); Tr. 1342–43.

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a candidate of choice in any [congressional district] other than [District 7].” Id.

      Dr. Bagley testified about historical aspects of the communities of interest that

the Legislature named in the 2023 Plan. He testified that the Legislature’s reference

in the 2023 legislative findings to the “French and Spanish Colonial heritage” of the

Gulf Coast counties is a reference to White people. Tr. 1455–56. He also testified

about the shared history of Mobile and the Black Belt:

      If you study Mobile and the Black Belt both now and historically, you
      can see that there’s a very real and significant shared history. If we are
      talking about historical cultural factors, socioeconomic factors, Mobile
      and the Black Belt have a shared history of, of course, chattel slavery,
      of emancipation, of Reconstruction, of Redemption, of the struggle for
      basic civil and voting rights in the 20th Century. And those are [a] very
      real connection, indeed, historically speaking.

      Beyond that, I talk about very significant socioeconomic
      commonalities between the sort of urban core of Mobile and the Black
      Belt. And then, finally, also ties of migration. There have been waves
      of migration from the Black Belt to Mobile that I discuss. And then,
      also, you know, part and parcel with that, there are familial ties that
      even legislators discuss during the process of debating what would
      ultimately become the 2023 plan.

Id. at 1299–1300.

      And he testified about the Wiregrass. He explained that historically the

Wiregrass has “meant a region in [S]outheast Alabama that had relatively few Black

folks relative to White folks with the exception of perhaps the City of Dothan itself

or that metropolitan area.” Id. at 1312. He opined that “if you take a broader

definition of [the Wiregrass] beyond just sort of Dothan, Ozark, Enterprise, it bleeds



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into or overlaps with the Black Belt.” Id. Dr. Bagley further testified about “the

shared history, shared socioeconomic characteristics, history of migration, and

familial ties” between Dothan and the Black Belt. Id. at 1313. Dr. Bagley also said

that the Wiregrass is an “archaic term” to describe the region because the actual

wiregrass “has long since ceased to exist there,” and “it has previously denoted a

much larger region than it would tend to denote now.” Id. at 1312.

       Responses to the State’s Arguments

       Dr. Bagley also responded to three of the State’s arguments. First, he

responded to the opinions of one of the State’s experts, Dr. Adam Carrington. Dr.

Bagley opined that Dr. Carrington’s conclusions “do not withstand historical and

contemporary scrutiny.” Milligan Doc. 385-5 at 2. At trial, Dr. Bagley testified that

Dr. Carrington does not discuss Alabama specifically and devoted “very little”

analysis to Alabama even though partisan realignment[26] did not occur “identically

across the South.” Tr. 1344–46. Dr. Bagley testified that Dr. Carrington did not

mention many key figures in Alabama political history (such as Fred Gray, Hank




26
   In connection with the State’s arguments that racially polarized voting patterns are
attributable to partisanship rather than race, and all parties’ arguments about relevant
Alabama history, the experts discuss the partisan realignment that occurred in
Alabama and the South when, over a period of decades, White Democratic voters
began primarily voting for Republican candidates. See Milligan Doc. 384-2 at 36–
37 (Dr. Carrington); Milligan Doc. 385-5 at 2–5 (Dr. Bagley); Milligan Doc. 384-1
at 4, 20 (Dr. Bonneau).

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Sanders, Earl Hilliard, Vivian Figures, Richard Shelby, Fob James, Jeff Sessions,

Bob Riley, Mike Hubbard, and Kay Ivey) and said that “you can’t understand

realignment in Alabama if you don’t focus on those key figures.” Id. at 1346–47.

      Dr. Bagley also testified that Dr. Carrington’s failure to consider the

experiences of Black voters in Alabama significantly undermined Dr. Carrington’s

analysis. Tr. 1347–49; see also Milligan Doc. 385-5 at 7–8. Dr. Bagley testified that

“Black citizens fighting their way into the political process in the ‘60s and ‘70s, the

formation of Black caucuses, formation of coalitions, the actual access to political

power on the part of Black lawmakers -- all that is critical in understanding party

realignment, in my opinion, in Alabama specifically.” Tr. 1348.

      Ultimately, Dr. Bagley testified that Dr. Carrington’s opinions are “not very

helpful, I don’t think, for us in terms of explaining the racial dynamics of partisan

realignment in, specifically, Alabama.” Id. at 1362.

      Second, Dr. Bagley responded to the opinions offered by one of the State’s

experts, Dr. Wilfred Reilly. Dr. Bagley opined that Dr. Reilly overlooked important

context for his opinions. Id. at 1362–64. For example, Dr. Reilly opined that “the

idea that Mobile has a natural link to the Black Belt region of Alabama because she

was populated largely by African American refugees from that region – or, at very

least, those fleeing shared abuse historically – seems at least debatable,” and he cited

statistics showing that Mobile lost Black population to cities outside the South


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during the relevant time. Milligan Doc. 384-4 at 15–17. In response, Dr. Bagley

explained that “Mobile was experiencing immigration from the Black Belt at the

same time it was experiencing emigration to cities outside the South. The historian

Wayne Flynt has described the former as a ‘hemorrhaging’ of people that, along with

[W]hite flight from Mobile, left behind a ‘topography of despair’ in both Mobile and

the Black Belt.” Milligan Doc. 385-5 at 19. At trial, Dr. Bagley testified that “[e]ven

if you were to look at the numbers and say, okay, well, there were, on balance, more

people leaving the state for cities in the [M]idwest or the [N]ortheast, that doesn’t

make it insignificant that, at the same time, there were people migrating out of the

Black Belt to the City of Mobile.” Tr. 1364.

      And Dr. Bagley cited the “riverine connections between Mobile and the Black

Belt” to push back on Dr. Reilly’s argument “that Mobile and Baldwin County are

more intimately linked than Mobile and the Black Belt.” Milligan Doc. 385-5 at 17,

19; see Milligan Doc. 384-4 at 3–4. Dr. Bagley opined that “[r]ivers like the

Alabama, Tombigbee, Black Warrior, and Mobile have provided transportation

connecting Alabama’s Black Belt to the Gulf of Mexico for centuries,” and that “[i]t

remains an important entrepot today, exporting not just timber from the Black Belt,

but also soybeans, livestock, cotton, and automobiles (manufactured at the Hyundai

assembly plant in Montgomery), in contrast to Dr. Reilly’s assertion that this

connection is tenuous.” Milligan Doc. 385-5 at 19.


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      Third, Dr. Bagley responded to the State’s argument that partisanship rather

than race causes racially polarized voting in Alabama. He described evidence that

many Black Alabamians identify as conservative Christians: “[I]f you look at what

I cite to in this report, you would note that a lot of Black Alabamians are deeply

religious, they’re Christian, they consider themselves conservative, they consider

themselves, perhaps, even fundamentalist conservatives or, more importantly,

evangelical conservatives, and, yet, they do not vote for Republican candidates.” Tr.

1360. Dr. Bagley described evidence of Black Alabamians’ conservative Christian

stances on abortion and same-sex marriage, and he testified that “if we were to try

to say, well, it’s not race; it’s simply conservatism or it’s moderation, it’s I don’t

want to be associated with policies that are liberal, then these numbers don’t bear

that out either.” Tr. 1361–62.

                   c.     Dr. Traci Burch

      The Milligan and Caster Plaintiffs also rely on the testimony of Dr. Traci

Burch about the totality of circumstances. Dr. Burch holds a doctoral degree in

Government and Social Policy from Harvard University. Milligan Doc. 385-2 at 3;

Tr. 920. She works as a political science professor at Northwestern University,

where she has taught for seventeen years, and is a research professor for the

American Bar Foundation. Tr. 920, 922; Milligan Doc. 385-2 at 39. Dr. Burch was

compensated at a rate of $400 per hour for her work and her compensation did not


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depend on the substance of her testimony. Milligan Doc. 385-2 at 4.

      Dr. Burch has published books, chapters, and peer-reviewed articles on race,

political participation, and voter turnout. Milligan Doc. 385-2 at 39–41; Tr. 922–24.

During trial, Dr. Burch testified about the peer-review process, wherein “experts in

a field who would be well-equipped to evaluate the methods and the theoretical

framing of a book or an article” are selected (based on reputation) to review an article

or book and provide a report of their opinion, which is sent to the editorial board or

publisher of the article or book. Tr. 923–24. This is an anonymous process, wherein

the reviewer is not made aware of the author’s identity. Id. Dr. Burch has “served as

a peer reviewer for all of the major journals in political science.” Id. at 923.

      Dr. Burch is currently the editor-in-chief of the Law and Social Inquiry

journal, id. at 919, and she has qualified as an expert witness in fourteen lawsuits.

See Milligan Doc. 385-2 at 48–49; Tr. 925. At trial, she was qualified “as an expert

in political and social science and political behavior” without objection. Tr. 927.

      Senate Factor 5

      Dr. Burch testified principally about socioeconomic disparities between

White and Black Alabamians and how those affect political participation. See id. at

927. Dr. Burch testified that “socioeconomic variables have consistently been related

to political participation and voting participation throughout the political science

literature.” Id. at 929. She opined that racial disparities exist in educational


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attainment, income, unemployment, healthcare, access to transportation, and access

to internet, all of which affect voting participation. Id. at 928, 943, 946; Milligan

Doc. 385-2 at 7–37. She testified “that there is a racial gap in voter registration and

turnout in Alabama,” Tr. 969, and that “socioeconomic disparities in Alabama . . .

are either causally related to voter turnout or associated with voter turnout,” Tr. 972.

      Dr. Burch testified that, on average, Black Alabamians have lower educational

attainment than White Alabamians, “caused, in part, by historical and contemporary

discrimination in elementary, secondary, and higher education that make Black

Alabamians less likely to have graduated from high school and college.” Milligan

Doc. 385-2 at 12; see Tr. 934–35. She testified that “educational attainment has been

shown over and over again by political scientists to be the most important predicter

of voting” and that “the relationship between education and voting isn’t just

associational; it’s causal.” Tr. 929; Milligan Doc. 385-2 at 11.

      More specifically, Dr. Burch testified about educational disparities among

school-aged children. She testified that in 2022, “only 9 percent of Black Alabama

8th Graders were proficient in reading, compared with 30% of White Alabama 8th

Graders. Likewise, only 7% of Black Alabama 8th Graders were proficient in Math,

compared with 27% of White Alabama 8th Graders.” Milligan Doc. 385-2 at 12

(footnotes omitted). And she testified about the effects of such disparities, explaining




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that “in the [majority-Black] Black Belt especially, there are . . . disproportionately

high illiteracy rates, as high as 30 percent.” Tr. 938, 998, 1049.

      In her expert report, Dr. Burch observed that 17% of Black individuals aged

25 and older in the Black Belt counties do not have a high school diploma, compared

to just 11% of White individuals in those counties. Milligan Doc. 385-2 at 15.

Additionally, the percentage of Black individuals aged 25 and older in the Black Belt

with a bachelor’s degree is only 17%, compared to 27% of their White counterparts

in the region having a bachelor’s degree. Id. at 16.

      Dr. Burch testified that Alabama’s history of segregated public schools still

impacts voting participation today. Tr. 936. She observed that “in 2020 . . . 38.6

percent of votes in the Alabama general election were cast by people age 60 and

older. So those were people who were at least school age in 1970 when Alabama

still maintained those separate and unequal schools for Black and White students.”

Id. Dr. Burch testified that segregation resulted in fewer opportunities for Black

people to attend college and access educational resources, which is why Black

people today “are disproportionately concentrated in these lower educational

attainment -- lower voter turnout groups.” Id. at 937–38.

      Dr. Burch opined that lower educational attainment impacts other

socioeconomic factors that also affect voting rates for Black Alabamians. See Tr.

938; Milligan Doc. 385-2 at 19–20. She testified that “[s]tatewide Black


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[un]employment is more than twice as high as White unemployment.” Tr. 952.

Specifically, Dr. Burch noted that the unemployment rate for Black people aged 16

and older in the Black Belt counties was 10%, compared to only 4% for White people

aged 16 and older in those counties. Milligan Doc. 385-2 at 24. Similarly, she

testified that the median household income in Black households is lower than White

households statewide and in every county she analyzed. Id. at 21; Tr. 950–51. Data

from the American Community Survey shows that “the median household income

for Black Alabama households is $36,104, compared with $62,545 for White

Alabama households.” Milligan Doc. 385-2 at 21. She testified about “a gap of tens

of thousands of dollars statewide” which contributes to racial disparities in family

poverty, access to internet, and access to transportation, which in turn hamper voting

participation due to an inability to read ballots, learn about candidates, absentee vote,

locate voting information, and travel to polls. See Tr. 938, 950, 952, 956–57, 960–

62.

        Dr. Burch also opined about the socioeconomic commonalities between the

Black Belt and Mobile. She testified that “the Black median income in Mobile City

is similar to the Black Belt counties.” Id. at 951. Mobile City has a Black median

income of $34,088, which is similar to the Black median income in many of the

Black Belt counties that Dr. Burch analyzed. Id. Additionally, as Dr. Burch noted in

her expert report, “significant proportions of people in neighboring Black Belt


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counties work in Mobile County and vice versa.” Milligan Doc. 385-6 at 8.

Specifically, “34% of people who live in Washington County, 16% of people who

live in Clarke County, and 11% percent of people who live in Monroe County work

in Mobile County.” Id. Further, Mobile City’s Black family poverty rate of 23% is

close to the average Black poverty rate of 24% across all the Black Belt counties. Id.

at 9.

        Dr. Burch testified that in Alabama, “Black family poverty is nearly three

times as high as White family poverty,” and that “about 24 percent of Black families

live below the poverty line compared to seven percent of White families.” Tr. 957.

She testified that in Greene County (in the Black Belt), “40 percent of Black families

. . . live below the poverty lines compared with five percent of White families,” and

that the situation is similar in Perry County (also in the Black Belt). Id. Dr. Burch

also noted that 30% of Black households in the Black Belt receive SNAP or food

stamps, compared to only 8% of White households. Milligan Doc. 385-2 at 26.

        Additionally, Dr. Burch testified that “about 17 percent of Black families

don’t have a computer in the household” compared to 10 percent of White

households without a computer, and “26 percent of Black households don’t have

Internet access at home compared with 14 percent of White households.” Tr. 960;

Milligan Doc. 385-2 at 27–28. She explained that these disparities are heightened in

some counties. She testified that in Escambia County (sometimes considered Black


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Belt), “43 [percent] of Black households don’t have access to the Internet at home

compared with 26 percent of White households.” Tr. 960. She added that the

situation is similar in Crenshaw County (in the Black Belt). Id. at 960–61.

      Dr. Burch testified that “statewide, Black Alabama households are more than

twice as likely to lack access to a vehicle at home than White households,” id. at

961, and that in Hale County (in the Black Belt), “16 percent of Black families don’t

have access to a car at home compared with three percent of White families,” id. at

962. She observed that the situation is similar in Dallas County (also in the Black

Belt and home to Selma). Id. Moreover, in the Black Belt counties she studied, 12%

of Black households did not have vehicle access compared to just 4% of White

households. Milligan Doc. 385-2 at 29.

      Dr. Burch also testified that Black Alabamians are in demonstrably worse

health than White Alabamians, and she gave as examples that (1) the infant mortality

rate for Black infants is nearly three times higher than the rate for White infants, and

(2) Black Alabamians have a shorter life expectancy rate than White Alabamians.

Tr. 968. According to the Alabama Department of Public Health, in 2022, the Black

infant mortality rate was 12.4 deaths per 1,000 births compared to a White infant

mortality rate of 4.3 deaths per 1,000 births. Milligan Doc. 385-2 at 30 n.75.

Regarding life expectancy in Alabama, Black women are expected to live 77.6 years

while White women are expected to live 78.8 years, and Black men are expected to


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live 69.9 years while White men are expected to live 73.5 years. Id. at 30.

      Dr. Burch further testified that Black Alabamians are more likely to be

uninsured than White Alabamians, Tr. 964, and explained that even with insurance,

“it can be difficult to find medical care in the Black Belt” because there are few

hospitals, and “[s]ome counties . . . don’t have a hospital at all,” id. at 967. In

particular, 18% of Black Alabamians in the Black Belt lack health insurance whereas

14% of White Alabamians in the region lack health insurance. Milligan Doc. 385-2

at 31. Moreover, the Black Belt’s “Lowndes, Perry, and Pickens Counties do not

have a hospital at all.” Id. at 30. Dr. Burch testified about “several studies that . . .

have associated poor health with lower voter turnout.” Tr. 968.

      Dr. Burch also testified about how race shapes individual perspectives. See id.

at 1043–44. She opined that how a White person and a Black person view the

economy and choose to vote “is different based on racial considerations and racial

attitudes.” Id. at 1044. She argued that “being concerned about the price of eggs and

the way that you weight concerns about the price of eggs are related to . . . racial

threat and racial anxiety.” Id.

      Responses to State’s Arguments

      Dr. Burch also responded to the opinions of Dr. Reilly and Dr. Carrington.

Milligan Doc. 385-6 at 2. Dr. Burch addressed Dr. Reilly’s assertion that “racial

disparities between Black and White Alabamians are the result of cultural practices


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of Black people rather than systemic discrimination.” Tr. 974. She criticized Dr.

Reilly for, among other things, failing to support his assertions with peer-reviewed

evidence or address contrary literature. Id. at 978–80.

      Dr. Burch also addressed Dr. Carrington’s claim that “clear correlations

between race and voting in Alabama are caused by differences in nonracial policy

preferences among racial groups rather than racial attitudes or racial policy

preferences.” Id. at 985. Dr. Burch testified that “racial identity and racial attitudes

sha[p]e partisanship and party cohesion, and these two phenomen[a] have become

increasingly linked together since 2008.” Id. Dr. Burch observed that “Dr.

Carrington doesn’t really engage with the literature examining this relationship in

recent years.” Id. at 987. She testified that “partisan sorting in the electorate . . . was

a reflection of racial attitudes rather than income or other non-race-related partisan

preferences,” id. at 986, and that “the only factor that led to party realignment in the

[S]outh” was race, id. at 1039–40. Dr. Burch cited a wide variety of literature in her

report providing “support for the notion that the contemporary partisan alignment

stems from the positioning of the two parties on the issue of race and civil rights.”

Milligan Doc. 385-6 at 10–11. Dr. Burch opined that “[r]esearch that examines mass

and elite partisanship from 2008 onward finds strong evidence of both partisan

sorting and issue polarization along the lines of race in the electorate.” Id. at 11.

       Dr. Burch also criticized “Dr. Carrington’s arguments that trace[] differences


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in partisanship and vote choice to religiosity” because “Black people in Alabama

traditionally are highly religious and even higher proportions of Black people in

Alabama identify as evangelical or born-again.” Tr. 988. Rather than connecting

partisanship to religiosity, “[r]ecent studies have shown that party and race are linked

in the American mind.” Milligan Doc. 385-6 at 14. As Dr. Burch summed it up:

      In conclusion, the literature clearly supports the point that party and
      candidate choice is shaped by racial identity and racial attitudes in the
      electorate. This relationship has been strengthening in recent years. To
      say that factors other than racial considerations explain the voting
      patterns along racial dimensions in Alabama, as Dr. Carrington argues,
      ignores the past fifteen years of evidence in the literature that race and
      racial attitudes drive partisanship and vote choice. Racial attitudes are
      becoming more salient to partisanship and vote choice and vote choice
      over time.

Id. at 14–15.

                4.   Fact Witnesses at Trial

      The Milligan Plaintiffs offered five fact witnesses at trial.

                     a.    Evan Milligan

      The Milligan Plaintiffs offered testimony from named plaintiff Evan Milligan.

Mr. Milligan is Black, lives in Montgomery County, and was forty-three years old

during trial. Tr. 1152, 1238. He testified that he spent part of his youth in

Birmingham and Montgomery and has lived in Montgomery off and on for

approximately 32 years. Id. at 1152–53. The Montgomery neighborhoods where he

grew up were “overwhelmingly Black.” Id. at 1154. He testified that Black and



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White people in Montgomery still live in different areas, a pattern he attributed to

“the plantation economy” and “enslavement.” Id. at 1155.

      Mr. Milligan testified about his “very vivid memory” of sitting on the steps of

the Dexter Avenue King Memorial Baptist Church in Montgomery as a seven-year-

old and watching a Ku Klux Klan rally. Id. at 1159–60. Looking back further, Mr.

Milligan recounted his family’s experience under Jim Crow segregation. Id. at 1175–

76. He testified that his mother, born in 1952, remembers segregated drinking

fountains. Id. at 1176. He also testified about Oak Park near her home in

Montgomery – a segregated park that “contained a zoo, a swimming pool . . . a

skating rink, [and] a merry-go-round.” Id. He explained that “after integration . . .

the zoo was removed, the swimming pool was cemented, [and] the carousel and the

merry-go-round” were removed. Id.

      Mr. Milligan testified about his experience attending public magnet schools,

which he described as schools where the curriculum is “one grade level ahead of

where those student’s peers would be in a nonmagnet program.” Id. at 1160–62. He

testified that in the schools he attended, magnet programs were about “40 percent

Black” while nonmagnet programs “were 90 to 92 percent Black.” Id. at 1161. Mr.

Milligan also offered other observations about the stark racial differences in

educational opportunities and attainment: he said that more Black peers than White

peers began working as teenagers “not just for allowance money . . . [but] to


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contribute to household bills”; that his “Black peers were definitely more familiar

with community-based violence, particularly gun violence”; and that “for students

who exited the track towards traditional high school graduation . . . there was an

overrepresentation of Black people.” Id. at 1167–68.

      Mr. Milligan testified that as an adult, he has “primarily worked in the

nonprofit sector in terms of full-time work here in Alabama,” but he has also worked

“lots of part-time jobs to help supplement.” Id. at 1170. Mr. Milligan testified that

he has worked for a tax referendum campaign, as an organizer with the Federation

of Child Care Centers of Alabama, for the Equal Justice Initiative in Montgomery,

as the founding executive director of Alabama Forward (a “coalition of private

nonprofit organizations” that works on voting issues), and now directs the Jubilee

Community Center in Montgomery (a nonprofit community-based arts

organization). Id. at 1170–72. He explained that this experience gives him an

understanding of the needs of Black communities in Alabama, he has been to all 67

counties in Alabama, and he has visited “similarly situated” Black communities in

the Mississippi Delta, Georgia, Florida, and Louisiana. Id. at 1172–73.

      Mr. Milligan testified that in his experience, there are people in the Black

community who “are conservative on issues about sexuality, abortion, gender, and

sometimes even in terms of government services.” Id. at 1174. These individuals

have “an awareness” that Black communities “have been treated very differently by


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local, state, [and] federal governments,” “so they’re very suspicious of government

having overarching control of what people can do in their bedrooms, with their

bodies, [and] in their faith houses.” Id.

        Mr. Milligan testified about the relationship between Montgomery County

and other Black Belt counties. Tr. 1175–76. He testified that “Montgomery is the

Capit[a]l of the state, but . . . also . . . it’s sort of the capital of the Black Belt.” Id. at

1175. “Montgomery has been a place that has drawn families from throughout . . .

all the corners of the Black Belt and [S]outh Alabama.” Id. He also testified about

connections between Montgomery and Mobile. Id. at 1177–78. For example, he

described playing tuba in his high school marching band (the Sidney Lanier

Marching Poets) and testified that “every year, [the band] looked forward to going

to Mobile to participate in Battle of the Bands and in Mardi Gras parades.” Id. at

1178.

        Mr. Milligan also testified about racial disparities in access to healthcare in

Alabama. Id. at 1186–88. He offered his experience as a patient at a Montgomery

hospital that has filed for bankruptcy, and explained that if it closes, Black

Alabamians will be negatively impacted because it will be “yet another hospital in

the Black Belt that has closed,” and such closures mean “less access to prenatal care,

mental health services . . . [and] emergency care.” Id. at 1187–88.

        Finally, Mr. Milligan testified about his involvement in this litigation and


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what he thinks it says about the State’s responsiveness to the needs of Black

Alabamians. Id. at 1196. He testified that he attended Committee hearings during

the 2023 Special Session, “hoping that the state would set a different example as far

as how the State of Alabama can comply with federal court orders, particularly

around voting rights and Civil Rights issues.” Id. at 1199. He testified that the

interests of the Black community “were manifested in what was presented to this

Court. This Court made a ruling. The state appealed. The Supreme Court made a

ruling. And the state didn’t comply with that ruling.” Id. at 1203. He continued: “So

not only did [the State] not take into account what we had asked for, it didn’t take

into account what this Court and the Supreme Court had actually ordered them to

do.” Id.

      Regarding the language of the 2023 legislative findings concerning the

“French and Spanish colonial heritage” in the Gulf Coast, App. B, Mr. Milligan

pointed out that he didn’t “know of Mardi Gras existing in France and Spain” and

that “one of the critical ingredients of [Mardi Gras] was the cultures and the

traditions of the enslaved African people that also lived in” Alabama. Tr. 1206. In

his view, “Mardi Gras was the real expression of those cultures coming together --

French, Spanish, West African, [indigenous] Alabamian.” Id. at 1178.

                   b.     Shalela Dowdy

      The Milligan Plaintiffs also rely on the testimony of Shalela Dowdy, one of


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the Milligan Plaintiffs. Ms. Dowdy is Black, was born in Mobile in 1989, and grew

up in predominantly Black Prichard, north of Mobile. Id. at 16–17. She graduated

from the United States Military Academy, still serves in the Army where she holds

the rank of major, and works as a regional organizer for the nonprofit organization

Black Voters Matter. Id. at 16–17, 23, 40.

       Ms. Dowdy attended three elementary schools – two that were predominantly

Black, and one that was not. Id. at 21. Ms. Dowdy testified that “[t]he infrastructure

at [the White school] was better than the infrastructure at the Black schools within

the Mobile city limits that [she] attended,” and “the interactions with the teachers

and the time that the teachers were able to spend with the students” were different.

Id. at 22.

       Ms. Dowdy testified she has “ties to the Black Belt” through family and work.

Id. at 27. She said that “in Mobile, many citizens do not have cars,” the “public bus

transportation system . . . is very limited,” and that in the Black Belt, “a lot of citizens

do not have transportation.” Id. at 28. Ms. Dowdy added that “Prichard deals . . .

with a failing water infrastructure issue” while “Lowndes County and other

particular areas of the Black Belt . . . hav[e] to live off of septic tanks.” Id. at 28–29.

“Poverty is an issue in the Black Belt,” as are “food deserts.” Id. at 29. Ms. Dowdy

also said “that there’s a lack of hospitals in the Black Belt,” that there is one “hospital

left that . . . [is] set to close, and so those citizens in the Black Belt are having to


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travel to Montgomery and Mobile for healthcare needs and for healthcare services.”

Id. at 30–31.

      Ms. Dowdy testified that Mardi Gras celebrations in Mobile “are segregated.”

Id. at 39. She said that the Colored Carnival, a Mardi Gras association established in

the 1930s, was created “because Black people were not allowed to participate in

Mardi Gras festivities with the White citizens of Mobile.” Id.

      Ms. Dowdy also offered her own experience working on political campaigns:

“Fundraising for Black candidates typically tends to be an issue” because “a lot of

Black people are living paycheck to paycheck, living in poverty, dealing with a state

that has a minimum wage at 7.25.” Id. at 50.

      Finally, Ms. Dowdy testified that her previous Congressman, Jerry Carl, who

is White, was not responsive to the Black community. She attempted to meet him

several times but did not see him campaigning in the Black community. Id. at 50–

52. She is now represented by Congressman Figures, who did campaign in her

community. Id. at 55. She explained that he had “signage throughout the

community,” “[she] saw him at multiple community events” including at churches,

and he “had a strong presence in our community.” Id.

                   c.     Robert Clopton

      The Milligan and Caster Plaintiffs also rely on the testimony of Robert

Clopton, who is Black and was born in 1954 in Sipsey, Alabama. Id. at 236–37. Mr.


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Clopton testified that around 1958, his family moved to a community called Colony

in Cullman County, Alabama, where they worked as sharecroppers. Id. at 237. They

“lived in the house of” the White owner and worked on his farm. Id. at 238. Mr.

Clopton said that “when the farms were harvested, they received wages predicated

on the profits.” Id. These wages were not “enough to sustain the family,” so

sharecroppers had to “make a loan” with “the crop owner,” which meant being “in

debt to him” and being in “bondage.” Id. at 241. Mr. Clopton described

sharecropping as “a vicious cycle.” Id.

      Mr. Clopton testified that Cullman County had sundown towns. Id. at 237,

241. He said that he was told as a child “not [to] go to those towns” because “people

were beaten, hung, et cetera et cetera.” Id. at 241. Mr. Clopton added that “[t]here

were signs that warn[ed] against being in town after sundown.” Id.

      Mr. Clopton attended segregated public elementary schools for five years. Id.

at 239, 242. His school had a hose for drinking water and outhouses for restrooms

and he explained that children at his school “had to make the fires at school in order

to keep warm.” Id. at 243. He testified that they “had to go to the coal pile regardless

of the weather to get coal to put on the fire throughout the course of the day.” Id. He

also testified that students “had used books each and every year.” Id. Mr. Clopton

added that “in the spare times,” the children worked and took “a week out of classes

each year just to pick cotton.” Id. at 240. Mr. Clopton first attended school with


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White children in 1966. Id. at 242. At that school, Mr. Clopton testified that students

had new books, indoor restrooms, an indoor gymnasium, and radiator heat. Id. at

243–45. As he put it, “there was no comparison” between the segregated school and

integrated school. Id. at 244.

      Mr. Clopton lived in the Black Belt for five years. Id. at 248–49. According

to Mr. Clopton, “[t]here was no public transportation” in the Black Belt, id. at 253,

or “public housing in Marengo County, Clarke County, [and] Wilcox County,” id.

at 254. People from the Black Belt traveled to Mobile for healthcare because the

available healthcare in the Black Belt was “poor” and was surrounded by “horror

stories.” Id. at 255–56. He offered that in 1989, when his wife experienced a

pregnancy complication and he took her to a Black Belt hospital, her pregnancy was

nearly terminated by a doctor who did not even examine her. Id. at 256–57. He said

that after he drove nearly 100 miles to a Mobile hospital, a doctor examined his wife

and told her to resolve the complication by “stay[ing] off [her] feet for a week or

two.” Id. at 257. Mr. Clopton testified that “every time [he] see[s] [his] 35-year-old

daughter, [he] remember[s] that night when someone tried to take her life.” Id.

                    d.     Letetia Jackson

      The Milligan Plaintiffs also rely on the testimony of plaintiff Letetia Jackson,

who is Black and grew up in Dothan (in the Wiregrass). Id. at 682–83. She testified

that her “great grandmother was a slave on a plantation in Barbour County,” and her



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“grandfather is the slave owner’s son through [her great] grandmother.” Id. at 683.

      Ms. Jackson attended segregated public schools until “the eighth grade.” Id.

at 684. She said that after Black schools were closed, Black students “had to be bused

over” to the White public schools, and the White community “immediately created

a private academy” for White students. Id. at 685. When she began attending

integrated schools, Black students “were treated unfairly” and “weren’t welcomed.”

Id. at 686. “The teachers automatically assumed that . . . we came from a school that

used hand-me-down books, that we were not smart, that we were inferior.” Id. She

offered the view that the teachers “were very dismissive.” Id.

      She added that “[e]verything was segregated” when she was growing up in

Dothan, id. at 691, and that she grew up in “a public housing project[,]” id., where

the racial demographics were “100-percent Black,” id. at 691–92. Her neighborhood

“had a lot of dilapidated housing, boarded-up housing, [and] overgrown lots,” “had

landfills . . . [and] railroad tracks where the train ran through the middle of the

community,” and “[t]here was an actual acid plant that was located right in the

neighborhood where you could just smell the fumes every day.” Id. at 692. In

contrast, she said the other “side of town where most of the White citizens lived,”

id. at 693, “was pristine” and had “good electrical grids,” id. at 692.

      Ms. Jackson suggested that she still sees segregation in Dothan today and that

“a lot of what we have is vestiges . . . of the old Jim Crow.” Id. at 693. She lives in


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an upper class, predominantly Black neighborhood, id. at 695, but “the same

infrastructure exists in the neighborhoods today that existed then” — they “still have

the same railroad tracks, still have the same landfills” and “have been in most recent

years fighting against another landfill.” Id. at 696.

      Ms. Jackson explained that “[t]here is no public transportation in Dothan,”

and “if you don’t have a car, you have to . . . know somebody with a car, you have

to walk, or have to figure it out.” Id. at 698. She testified that the lack of

transportation impacts Black residents’ political participation because “having

access to transportation to get to your polling place, to be able to do the kinds of

things that you need to do to register to vote” is vital. Id. at 726.

      Ms. Jackson also testified about the lack of broadband and cell towers in the

rural Black Belt. Id. at 715–16. She said that when she was in Butler County recently,

“for about 25 minutes or so, [she] had no cell phone service.” Id. at 715. She

explained that the lack of broadband impacts the ability of Black residents to

participate in the political process because without service, voters cannot “look up

[their] polling place,” “determine whether [they are] actually still registered to vote,”

determine whether they “were being purged off of the voter list,” or “download a

voter registration . . . form.” Id. at 727–28.

      Ms. Jackson testified at some length about her participation in civic

organizations. Id. at 705–06. She is “the convenor of the South Alabama Black


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Women’s Roundtable,” a “life member of the NAACP Dothan chapter,” “the

treasurer of the Downtown Dothan Redevelopment Authority,” and serves in several

other organizations. Id. Ms. Jackson testified about her work on healthcare issues

with South Alabama Black Women’s Roundtable. Id. at 706, 709. She explained that

“the lack of expansion of Medicaid” and the closure of “about 15 hospitals”

primarily in “rural counties” has severely affected “[p]rimarily poor, Black

residents.” Id. at 709–10. She said that this impacts political participation, because

“if you don’t have . . . the basic foundation of healthy living, it’s hard for you to be

able to do anything else.” Id. at 710.

      Ms. Jackson also testified about her interactions with political campaigns and

elected officials. See id. at 718–24. She said that her previous Congressman, Barry

Moore, who is White, was unresponsive to the needs of the Black community. See

id. at 721–23. She testified that “the majority of his town halls or his constituency

service meetings are usually in a chamber of commerce or at a country club,” and

that “to go to a country club for a meeting with your representative is probably not

something most Black folks are going to do.” Id. at 722–23. Ms. Jackson also

testified that she has “[n]ever” seen Congressman Moore attend a Black community

event. Id. at 723.

      Finally, Ms. Jackson testified that before the 2023 Special Session, she

attended the Committee’s hearings because she wanted to tell the Committee “that


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we are a better state when we have all of our residents participating.” Id. at 728–30.

When Ms. Jackson spoke at the hearing, she testified that White Committee

members “didn’t pay any attention at all.” Id. at 730. “They were talking to each

other or looking down . . . [their] body language was like hurry up and get it over

with.” Id. She testified that “[t]hey didn’t listen,” “[t]hey didn’t care,” and “they had

already made up their minds what they were going to do.” Id.

      Ms. Jackson observed that this legislative hearing “was markedly different”

and “almost hostile” compared to others that she had attended in the past. Id. at 742.

In Ms. Jackson’s view, the White legislators “did not give any respect whatsoever

to the Black legislators that sat on that commission with them.” Id. Ms. Jackson said

that the White legislators “didn’t even allow their Black colleagues to even know

what they were doing at the time. . . . [T]heir Black colleagues had never even seen

the map and they’re on the commission.” Id. at 730.

                    e.     Janice Malone

      Next, the Milligan and Caster Plaintiffs rely on the testimony of Janice

Malone, who is Black and was born in Mobile in 1955. Id. at 1130–31. She has lived

in the City of Mobile since 1992. Id. at 1131. She now lives in the Toulminville

neighborhood, which is “98 percent Black.” Id. at 1132. Ms. Malone testified that

her “family has lived in Alabama for five generations,” and that her husband’s cousin

is Vivian Malone Jones, who “defied segregationists and then Governor George


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Wallace, who was attempting to deny her an education” at the University of

Alabama. Id. at 1132, 1136.

      Ms. Malone grew up with segregation and attended segregated public schools

until high school. Id. at 1134–35. She testified that “you had to go to the back of the

restaurant, for the restaurants that would serve you, to get food.” Id. at 1135. There

were certain water fountains that “you just were not allowed to drink out of” and

“[t]here were stores that did not allow Black people to shop.” Id.

      Ms. Malone testified about Vivian’s Door, an organization she founded and

now directs with a mission “to help minority businesses grow, scale, and reinvest in

their marginalized communities and help residents that are not only marginalized but

who face systemic poverty, who have low venture capital, and have faced racial

segregation.” Id. at 1136. She explained that “[m]ost of the businesses [that Vivian’s

Door] serve[s] are Black.” Id. Ms. Malone described how her clients have been

denied financial assistance from banks, sometimes with no stated reason. Id. at 1137.

But when she reviewed loan applications for these clients, she saw no reason for the

bank’s denial because “[t]he paperwork . . . evenly matched.” Id. In contrast, she

saw approximately twenty to twenty-five similar loan applications from White

applicants who received bank approval. Id. at 1137–38.

      Finally, Ms. Malone testified that her previous Congressman, Mr. Carl, was

unresponsive to the needs of the Black community. See id. at 1141–42. She is


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currently represented by Congressman Figures, who is more involved and in touch

with the needs of the Black community. See id. at 1142–43. She expressed the view

“that Black Alabamians need to have someone who has lived experiences, who

reflects them, knows the needs of their communities, knows what the community

wants and deserves to represent them.” Id. at 1143.

               5.    Designated Deposition Testimony

        The Milligan Plaintiffs offered deposition testimony from six witnesses.

Milligan Doc. 259.

                     a.    Representative Sam Jones

        Alabama Representative Sam Jones 27 is a member of Alabama’s Permanent

Legislative Committee on Reapportionment (the “Committee”). Milligan Doc. 459-

9 at 5. Representative Jones lives in Mobile (in District 2 under the Special Master

Plan and District 1 under the 2023 Plan). Id. at 7–8.

        Representative Jones graduated from a segregated public high school in 1967,

joined the Navy, later worked for Mobile Community Action (a nonprofit agency),

and served on the Mobile County Commission for nearly 20 years, after which he

was elected Mayor of Mobile. Id. at 9–11. He was then elected to the House and

appointed to the Committee in 2018. Id. at 12–13.

        Representative Jones testified that the 2021 redistricting process was “rushed”


27
     Representative Jones was deposed on August 29, 2024. Milligan Doc. 459-9.

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and that “information [given] to the members was limited.” Id. at 16. He added that

out of 100 plans submitted to the Committee, some 23 of them were presented to all

Committee members. Id. at 16, 18–19. Representative Jones described his efforts to

determine how those 23 plans were chosen and his doubts that he could access the

other plans even though he was not explicitly barred from doing so. Id. at 19–21.

      Representative Jones testified that he voted against the 2021 Plan because it

did not create “another seat in the Congress that represents the Black community of

the State of Alabama.” Id. at 22. He offered the view that “unfortunately in our state,

partisanship is related to race . . . not all over the country but in our state. So another

way to make sure that Blacks don’t get elected, you just draw a partisan district and

you don’t get elected.” Id. at 23.

      Representative Jones testified about overlapping interests and communities in

the Black Belt and Gulf Coast. He said that “probably the majority” of people in

Baldwin County, and “some” people in Washington, Escambia, and Monroe

Counties, work in Mobile because “Mobile County is the economic hub for the

whole region.” Id. He explained that Mobile and Baldwin Counties are linked

economically, and that “a lot of people migrate from Black Belt counties to Mobile

County.” Id. at 29–31. He also testified that downtown Mobile has a stronger

connection to Montgomery than to other parts of Mobile County. Id. at 32.




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       Representative Jones testified that he did not support the 2023 Plan and does

not know what role (if any) race played in drawing it. Id. at 26.

                    b.     Randy Hinaman

       Randy Hinaman 28 is a political consultant, lobbyist, and cartographer in

Alabama. Milligan Doc. 459-6 at 6–7. He left Cornell University to work on former

President Reagan’s presidential campaign. Id. at 6. Mr. Hinaman has extensive

experience redistricting for Alabama: he drew the 1992 congressional map adopted

by the Wesch court, advised Republican Legislators in the 2000 cycle and worked

on Alabama’s 2002 plan, drew maps for Alabama in the 2010 cycle, drew the 2021

Plan, and drew the Community of Interest Plan in 2023. Milligan Docs. 459-6 at 6–

9, 459-7 at 4; Ala. Legis. Black Caucus, 231 F. Supp. 3d at 1038.

       Mr. Hinaman testified about Alabama’s 1992 congressional map. Milligan

Doc. 459-6 at 9. He said that he drew “District 7 with the intent to make it a majority

Black district” by “includ[ing] areas of high concentration of African American

voters” and relying on racial data down to the census block level. Id. Mr. Hinaman

testified that race was a “major factor” in drawing the lines for District 7, in addition

to geography, population deviation, and contiguity. Id. at 10. Mr. Hinaman said he

drew the “finger” that extends District 7 into majority-Black areas of Jefferson



 Mr. Hinaman was deposed on December 9, 2021, and August 9, 2023. Milligan
28

Docs. 459-6 and 459-7.

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County and that it was drawn “partially” because of “where the incumbent lived at

that point. But also to create a majority[-]Black district.” Id. at 44.

      Mr. Hinaman testified that Alabama’s congressional maps from 2001 to 2021

can all be traced back to the 1992 map. Id. at 11. He testified that in drawing the

2011 Plan, he was “updating the 2001 map based on demographic changes” and

utilizing new census data. Id. He used the 2011 Plan as a starting point for the 2021

Plan. Id. For the 2021 Plan, Mr. Hinaman employed census data, consulted

Alabama’s incumbent United States Representatives, referred to the 2021

guidelines, and reviewed election returns. Id. at 11–12.

      Mr. Hinaman testified that each member of Alabama’s United States House

delegation agreed to “put in” $10,000 through their campaigns for him to draw the

2011 map. Id. at 12. This included Congresswoman Sewell, who “wanted to

maintain” her majority-Black district. Id. Mr. Hinaman testified that Senator

McClendon and Representative Pringle asked him to draw Alabama’s 2020-cycle

maps, and he was paid for that work by an organization that legislative leadership

created, under a contract for him to receive $200,000. Id. at 14–15.

      Mr. Hinaman further testified that although official census data was delayed

until the “end of August” of 2021, work on the 2021 Plan began “in earnest” in May

2021 based on census estimates. Id. at 15–16. He said that he worked on the 2021

Plan in the Committee’s office, and he described public feedback from various areas


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of the state, id. at 21, 25–26. Mr. Hinaman testified that he did not look at racial data

in 2021 “until the week before” the Committee co-chairs, their counsel Mr. Walker,

and Mr. Hinaman submitted plans to the Legislature, at which point those persons

“did turn on race and look at the racial breakdowns in the various maps.” Id. at 26.

      Mr. Hinaman testified that the proposed plan “completed the week before the

[2021] special session is identical to the version of the map that was ultimately

enacted.” Id. at 29. Mr. Hinaman testified about communications between him and

Congresswoman Sewell about District 7, during which he told her that the BVAP in

District 7 was 54.22%, and she requested that certain precincts, institutions, and

areas be included in District 7. Id. at 29–31. For instance, Mr. Hinaman testified that

Representative Sewell wanted to keep the University of Alabama (in Tuscaloosa) in

her district and pick up Maxwell Air Force base and Alabama State University (in

Montgomery), as well as some precincts in Homewood (in the Birmingham area).

Id. at 30–31.

      When asked about the factors he considered in 2021, Mr. Hinaman testified

that “no plan is going to respect all” communities of interest, that “there are trade-

offs,” and “you can’t satisfy all communities of interest.” Id. at 40.

      Mr. Hinaman also testified about his work on the 2023 Plan, and we already

have described that testimony. See supra Part I.I.3.a.




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                    c.     Senator James McClendon

       Senator McClendon 29 is a White Republican born in 1943 in Mobile. Milligan

Doc. 459-15 at 5. When Senator McClendon was a member of the Alabama House,

he was a member of the Committee and co-chaired it in 2011. Id. at 8–9. He testified

that “probably the single most important role of the attorney is to help the elected

members of this committee know what the law is and . . . keep us up to date on recent

court cases so we can do our best to be in compliance with what the law says.” Id.

He testified that his duties as chair had “to do with making sure that [they] stay in

compliance with the courts and the law and recent court cases.” Id. at 9.

       Senator McClendon testified that during the 2011 redistricting process, “[t]he

map drawer met with and talked to the members of the congressional delegation”

about updating district lines. Id. The Legislature held 22 public hearings. Milligan

Id. He testified that the Committee’s role “was to take the map that was submitted .

. . with the approval of the congressional delegation, and to approve or disapprove

that map and submit it for introduction to the legislature.” Id. at 10.

       Senator McClendon also testified about the 2011 guidelines. Id. He offered

his “belief that [the Committee] followed the guidelines” by “consult[ing] with the

attorney and with the person drawing the map to make sure that they were following



29
  Senator McClendon was deposed on December 17, 2021, and April 18, 2024,
Milligan Docs. 459-15 and 459-16.

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the rules that [they] had before [them].” Id. at 11. He testified that Committee

members “would talk about [the guidelines] from time to time” and that “it was just

so well known that [they] followed the guidelines” because that was their “job.” Id.

      Senator McClendon testified that he did not know why there was only one

majority-Black district in 2011 and had not considered a plan with two such districts

because the issue was not brought before the Committee. Id. at 12–13. Senator

McClendon was then shown a 2011 news article in which he commented on a plan

that would have created two majority-minority districts. Id. at 13. In the article,

Senator McClendon commented that the plan “would lead to ‘retrogression,’ or a

retreat from minority population benchmarks set by the [D]epartment of [J]ustice.”

Id. Senator McClendon testified that he could not “recall making that statement,”

and that if there were a plan “that complied with the redistricting guidelines and

created two majority minority districts in 2011,” he “would certainly have

considered it.” Id. at 14.

      Senator McClendon testified that he did not know why Section 5 of the Voting

Rights Act applied to Alabama in 2011. Id. at 12. And he testified that he does not

know what it means for a map to comply with Section Two and did not “do any work

to monitor whether [the map drawer’s] work complied with the Voting Rights Act.”

Milligan Doc. 459-16 at 10.




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      Senator McClendon also testified about the 2021 redistricting process, when

he served as Senate chair of the Committee. Milligan Doc. 459-15 at 15. He

explained that planning for that process began “two years . . . ahead of time,” and he

had some involvement in coordinating public hearings. Id. at 15–16.

      Senator McClendon testified that he complied with the 2021 guidelines, and

that it was his “job to ensure compliance with the Voting Rights Act of 1965.” Id. at

17–18. He said that he accomplished this by “count[ing] on these experts[, the map

drawer and attorney,] that were working for [him] and working for the committee to

follow those guidelines and be familiar with the court cases and with the law and

with the rulings.” Id. at 18. He testified that they discussed the Voting Rights Act

“several times” and “don’t use racial data” to draw lines. Id. at 18–19.

      Senator McClendon further explained that at a Committee meeting on October

26, 2021, they discussed “racial polarization analysis.” Id. at 20. He described a

racial polarization analysis as “an extra test tacked on to what we normally do to see

if, in fact, we are in or out of compliance with the Voting Rights Act and our own

guidelines and the court cases.” Id. He testified that he said at the meeting that “[t]he

[BVAP in District 7] is sufficient[, 54%,] to where you don’t need a” racial

polarization analysis. Id. at 21. He also testified that Representative England asked

what “the relationship between the 54 percent . . . and the actual results or potential

results of a racial polarization study” was, to which Senator McClendon responded,


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“I got no clue.” Id. at 22.

        Senator McClendon testified about his 2021 votes against maps introduced by

Senators Singleton and Hatcher. Id. at 25. Senator Hatcher’s plan contained two

majority-minority districts, and Senator McClendon said he voted against it because

it paired two incumbents. Id. He testified that the BVAP “had nothing to do with”

his vote. Id. He voted against Senator Singleton’s map because it contained two

districts where “no minority candidate had a majority of the voters.” Id.

        Finally, Senator McClendon testified that “Black voters in Alabama tend to

vote for Black candidates,” and “that Black and [W]hite voters in Alabama in general

have different views on the preservation of confederate monuments” and “about the

prevalence of racial discrimination.” Milligan Doc. 459-16 at 20.

                     d.       Senator Steve Livingston

        Senator Livingston is a White Republican Senator from Scottsboro and co-

chairs the Committee. 30 Milligan Doc. 459-13 at 4. He testified about the 2023 Plan,

and we already have described that testimony. See supra Part I.I.3.b.

                     e.       Christopher Brown

        Christopher Brown 31 is a member of the Alabama Republican Party and has

chaired the Jefferson County Republican Party since 2023. Milligan Doc. 459-3 at


30
     Senator Livingston was deposed on August 9, 2023. Milligan Doc. 459-13.
31
     Mr. Brown was deposed on June 18, 2024. Milligan Doc. 459-3.

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6. Mr. Brown has extensive work history in Alabama Republican politics. See id. At

the time of Mr. Brown’s deposition, he worked as a political consultant and president

of RedState Strategies, a political consulting firm that serves candidates for office in

Alabama. Id. at 7–8. Mr. Brown testified that the firm offers advice about potential

legislation and “general redistricting information,” and its clients include state

Senators (he named Senators Livingston, Sam Givhan, Jabo Waggoner, and Dan

Roberts). Milligan Doc. 459-3 at 8–9, 14.

       Mr. Brown testified that he advised Senators Givhan, Roberts, and Livingston

about redistricting after the 2020 Census. Id. at 10–11. He testified that he gave

advice in both 2021 and 2023, did not work on any congressional maps in 2021, and

worked on congressional maps in 2023. Id. at 11, 16–18. We have already described

his testimony and text messages between him and Senator Livingston. See supra Part

I.I.3.b.

                    f.     Representative Chris Pringle

       Representative Pringle serves as a Republican representative of Mobile in the

Alabama House.32 Milligan Doc. 459-19 at 6. He initially served from 1994 to 2002

and then returned in 2014; he is Speaker Pro Tempore of the House and co-chaired




 Representative Pringle was deposed on December 17, 2021, and August 9, 2023.
32

Milligan Doc. 459-19 and 459-20.

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the Committee in both the 2021 and 2023 Special Sessions. Id. at 6; Milligan Doc.

459-20 at 3–4.

      Representative Pringle testified that in 2021, the Committee worked with

members to draw state legislative districts, while Mr. Hinaman worked with

Alabama’s congressional delegation to draw the congressional map. Milligan Doc.

459-19 at 9. Representative Pringle testified about some of the public hearings the

Committee held in 2021. See, e.g., id. at 23–24.

      Representative Pringle described his understanding of the guidelines as “the

parameters that we used in order to draw districts we thought complied with the

Voting Rights Act and the 14th amendment to the Constitution and the court

rulings.” Id. at 15. He described the guidelines as “a road map for everybody to

follow when we’re drawing lines.” Id.

      Representative Pringle testified that in 2021, “Mr. Hinaman was directed by

the [C]ommittee to follow the guidelines and to draw those plans race neutral,

without looking at race until after he had developed a plan,” and that no racial

polarization analysis was performed on maps prior to the Committee hearing on

October 26, 2021. Id. at 28–29. He testified that in 2021 the Committee desired to

maintain the “core” of districts, which meant keeping District 7 largely the same as

was adopted in 1992. Id. at 31.

      Representative Pringle agreed that Republican and Democratic views differ


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“when it comes to the view of whether there’s a significant amount of discrimination

against Black individuals in the state.” Id. at 32.

      Representative Pringle also testified about the 2023 Special Session and 2023

Plan, and we already have described that testimony. See supra at Part I.I.3.c.

             6.     Testimony from State Senate Redistricting Trial
      The parties stipulated that we “may consider trial transcript testimony from

Alabama State Conference of the NAACP v. Secretary of State Allen, Case No. 2:21-

cv-1531-AMM (N.D. Ala., pending), as to eight witnesses.” Milligan Doc. 441 at 2.

Of those eight witnesses, the Milligan plaintiffs offer three. See Milligan Doc. 393.

                    a.     Scott Douglas

      Scott Douglas is the Executive Director of Greater Birmingham Ministries.

Milligan Doc. 441-4 at 8. He testified that Greater Birmingham Ministries has two

forms of membership: (1) organizational, which primarily includes churches, and (2)

individual. Id. at 11. He identified members in Montgomery County who are Black

registered voters. Id. at 14, 29–30. He testified that Greater Birmingham Ministries

views its case as a success for establishing District 2 “as a Black opportunity district

in the State of Alabama.” Id. at 42.

                    b.     Bernard Simelton

      Bernard Simelton is a Black registered voter in Limestone County who serves

as president of the Alabama State Conference of the NAACP (“the State



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Conference”). Milligan Doc. 441-7 at 8–10. Mr. Simelton testified that Black

members of the Legislature have met with the Huntsville NAACP to discuss

Medicaid expansion and access to healthcare for Black Alabamians, but he has not

seen any White legislators at those events. See id. at 36. Finally, he said that the only

elected officials who have met with the NAACP about civil rights issues are Black.

Id. at 20–29.33

                    c.     Tari Williams

       As the organizing director at Greater Birmingham Ministries, Tari Williams

works to restore voting rights to Alabamians. Milligan Doc. 441-8 at 9–10. She

testified that Greater Birmingham Ministries disproportionately serves Black men to

restore voting rights. Id. at 11–12. She explained that Greater Birmingham Ministries

also offers workshops for individuals with literacy issues and that the majority of

participants in those workshops are Black. Id. at 17. Ms. Williams testified that she

has observed racial disparities in Alabama in educational opportunities,

transportation, internet access, and ability to purchase food, clothing, or medications.

Id. at 18–19, 21–23. She testified that in her opinion, the Legislature has not been

responsive to the needs of Black Alabamians. Id. at 20–21.




 During Mr. Simelton’s testimony, counsel raised various privilege objections. See
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Milligan Doc. 441-7 at 60–64, 66–69. We do not rely on any privileged information.

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      B.     Caster Plaintiffs’ Arguments

      In addition to the evidence admitted in Milligan, the Caster Plaintiffs also rely

on evidence they developed about their Section Two claim. See Milligan Doc. 444

at 2; Caster Doc. 356 at 2.

             1.     Gingles I – Numerosity and Reasonable Configuration (Mr.
                    Cooper)

      Numerosity is stipulated in Caster as it was in Milligan. See Milligan Doc.

436 ¶ 152 (joint stipulations in both cases).

      To establish that it is possible to draw a second reasonably reconfigured

majority-Black district, the Caster Plaintiffs rely on the expert testimony of Mr. Bill

Cooper. See Caster Docs. 352-1, 352-2, 48, 65. The Caster Plaintiffs asked Mr.

Cooper to “look at the population in Alabama statewide and determine whether the

Black population is sufficiently numerous and geographically compact to allow for

the creation of two majority-Black congressional districts.” Tr. 109.

      Mr. Cooper holds an undergraduate degree in economics from Davidson

College and has earned his living for the last 39 years by drawing maps, both for

elections and demographic analysis. Caster Doc. 352-1 at 59; Tr. 105–07. He has

extensive experience testifying in federal courts about redistricting and has been

qualified in 57 voting rights cases, including two recent Alabama cases (Alabama

Legislative Black Caucus, No. 12-cv-691, and Chestnut v. Merrill, No. 2:18-CV-

00907). Caster Doc. 352-1 at 2–3, ¶¶ 3–4, 9. Since he filed his expert report, he has


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testified in two more cases. Tr. 106–07. Mr. Cooper was compensated at a rate of

$150 per hour for his work in Caster, and his compensation did not depend on the

substance of his testimony. Caster Doc. 352-1 at 1.

      At trial, Mr. Cooper was qualified as an expert in redistricting, demographics,

and census data with no objection. Tr. 107.

      In Mr. Cooper’s initial report, he provided statistics about Alabama and

demographic changes that have occurred here since the 2010 census. See Caster

Doc. 352-1 at 7–12, ¶¶ 18–27. Mr. Cooper reported that according to 2020 census

data, Alabama’s Black population increased by 83,618 residents, which is a 6.53%

increase in Alabama’s Black population since 2010, and 34% of the state’s entire

population increase since then. Id. at 9, ¶ 21. In the same period, Alabama’s White

population shrunk from 67.04% to 63.12% of its total population. Id. at 8 (In the

1990 census data used in Wesch, Alabama’s White population was 73.65% of its

total population. See Wesch, 785 F. Supp. at 1503 app. B.).

      Mr. Cooper also offered eight illustrative remedial plans in his initial trial

report: the seven plans he offered during the preliminary injunction proceedings, and

one additional plan that he drew “to demonstrate that [he] could closely track the

Special Master’s plan.” Tr. 115; Caster Doc. 352-1 at 43, ¶ 105. Each of Cooper

Plans 1–8 includes two congressional districts (Districts 2 and 7) with a BVAP over

50%. Caster Doc. 352-1 at 26–45, ¶¶ 62–107. In all the majority-Black districts in


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these plans, the BVAP is between 50% and 52%, except that in two plans, the

District 7 BVAP is between 53% and 54%. See id. Cooper Plans 1–8 appear below:




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Id. at 27 fig. 10.




Id. at 29 fig. 12.



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Id. at 32 fig. 14.




Id. at 34 fig. 16.




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Id. at 36 fig. 18.




Id. at 38 fig. 20.


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Id. at 41 fig. 22.




Id. at 44 fig. 24.



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       Later, Mr. Cooper offered Cooper Plan 9, which he drew to rebut Dr. Trende’s

assertion that Cooper Plans 1–8 were drawn “strictly based on race and because of

that one can’t produce a plan that is reasonably compact,” and to establish “that a

plan can be drawn that is as compact if not more so than the [2023 Plan] and the

Special Master plan.” Tr. 116; Caster Doc. 352-2 at 6–7, ¶¶ 11–12.

       Mr. Cooper opined that Cooper Plan 9 “place[s] greater emphasis on

compactness, while still respecting other traditional redistricting criteria, including

population equality, contiguity, preservation of political subdivision boundaries, and

respect for communities of interest.” Caster Doc. 352-2 at 7, ¶ 11. Cooper Plan 9

appears below:




Id. at 8 fig. 1.


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      At trial, Mr. Cooper testified that he stood by his testimony from the

preliminary injunction proceedings, Tr. 105, and he discussed the four reports he has

offered throughout this litigation. See, e.g., Caster Docs. 48, 65, 352-1, 352-2. He

described his trial report as “updat[ing] and expand[ing] on” his previous report.

Caster Doc. 352-1 at 6, ¶ 14.

      Ultimately, Mr. Cooper testified that “[t]here are any number of ways [the

Legislature] can draw a seven-district plan that has two majority-Black districts,”

Tr. 193, and he described his opinion as “unequivocal[],” id. at 109–10. Mr.

Cooper’s “take away” from these nine illustrative maps is “that the Gingles [I]

inquiry can be answered [in the affirmative] with no question.” Id. at 117.

      Mr. Cooper testified about how his plans satisfy various traditional

redistricting principles. Like Dr. Duchin, Mr. Cooper testified that tradeoffs are part

and parcel of mapmaking: he testified “no [traditional redistricting principle] reigns

supreme” and that he is “constantly balancing these things.” Id. at 157.

      Mr. Cooper testified that all his plans have minimal population deviation and

contain only contiguous districts. Id. at 119, 125; Caster Doc. 352-1 at 31 n.18; id.

at 24, ¶ 58. Mr. Cooper also testified about how his plans preserve core

constituencies. For example, he explained that each of his illustrative plans keeps

more of the City of Birmingham together than the 2023 Plan does. Tr. 147–48.

      Mr. Cooper also testified that his illustrative plans fared similarly to the 2023


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Plan when it came to splitting political subdivisions, id. at 138–42, and he provided

tables of data comparing the splits in his plans to the splits found in the 2023 Plan

(and in the Special Master Plan). See Caster Docs. 352-1 at 50 fig. 28; 352-2 at 12

fig. 3. According to Mr. Cooper’s data, Cooper Plan 9 splits fewer counties (5) and

fewer municipalities (29) than the 2023 Plan, which splits 6 counties and 31

municipalities. See Caster Doc. 352-2 at 12 fig. 3.

      Mr. Cooper also testified that all his plans contain reasonably configured

districts. Mr. Cooper testified that part of his evaluation of reasonableness focuses

on geographic compactness. Tr. 124–25; see Caster Doc. 352-1 at 46–48. To

evaluate compactness, Mr. Cooper testified that he first “make[s] a certain visual

assessment,” which includes comparing his illustrative plans to previously enacted

plans that “show the judgment of [Alabama]” as to compactness. Tr. 125–26.

      At both the preliminary injunction hearing and trial, Mr. Cooper testified that

this “eyeball test” has an important role to play in measuring geographic

compactness. See id. at 178; Jan. 5, 2022 Tr. 444 (describing the eyeball test as the

“most common” compactness metric). And he relied on eyeball test analysis to rebut

some of Dr. Trende’s assertions. For example, in response to Dr. Trende’s criticism

that District 2 in the Cooper Plans spans “too large an area from east to west,” Mr.

Cooper pointed out that the distance east to west on his illustrative District 2 appears

roughly the same as in the distance across District 4 in the 2023 Plan. See Tr. 131–


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34 (comparing Figure 4 and Figure 24 of Caster Doc. 319-1).

      Mr. Cooper testified that he “also measure[s] the compactness of districts and

the plan as a whole using the two most widely referenced compactness measures,

the Reock score and the Polsby-Popper score.” Tr. 125; Caster Doc. 352-1 at 46.

Mr. Cooper described these measures in the following manner:

      Well, the Reock score just is basically looking at the area of a district
      as circumscribed by a circle. And there’s a formula that will calculate
      from zero to one, with one being the highest you could possibly have,
      which would be a perfect circle, I suppose.

      And then for the Polsby-Popper score, the same story, a circle around
      the perimeter of that district. And if a district is not at all compact, then
      it’s going to be approaching zero.

Tr. 126–27. In other words, “the Reock is more about the area of the district, and the

Polsby-Popper is more about the configuration of the perimeter.” Id. at 127. Mr.

Cooper also described another perimeter measure, Convex Hull, as:

      sometimes a useful way to look at the perimeter question because if you
      use that measure, it’s -- does not penalize, say, some odd-shaped
      perimeters that can be justified, like following Mississippi River, which
      has lots of twists and turns.

      So if you use a perimeter measure and you’re working with Polsby-
      Popper, you can have incredibly low scores even though really there’s
      nothing at all wrong with the district because . . . you have lots of twists
      and turns in the Mississippi River . . . .

Id. at 127–28.

      On these metrics, Mr. Cooper testifies that his plans, both at a district level

and at the plan-wide level, score “within the normal range.” Id. at 128–131; see also

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id. at 134–37. To support this assertion, Mr. Cooper offers detailed tables that

compare the Reock and Polsby-Popper scores for the illustrative districts with scores

for districts in previously enacted Alabama plans (including the 2023 Plan) to

establish that the scores for Districts 2 and 7 in the Cooper Plans “fall well within

the range of compactness scores for congressional districts Alabama has enacted

since 1992.” Caster Doc. 352-2 at 18 fig. 9 (comparing Cooper Plan 9 with the 2023

Plan and the Special Master Plan); id. at 26–28 figs. 14 & 15 (comparing Reock and

Polsby-Popper scores across illustrative districts and previously enacted Alabama

plans). We have attached these tables to this order as Appendix E. During his cross-

examination, Dr. Trende did not dispute these figures. Tr. 2049–51.

      Mr. Cooper also testified about a fourth measure of geographic compactness:

the Dave’s Redistricting Application (“DRA”) compactness score. Id. at 135–36.

Mr. Cooper described the DRA compactness score as “a composite score where the

Reock score is scaled and the Polsby-Popper score is scaled or normalized on a zero-

to-100 range and then that average of those scores are presented in the final

composite score.” Id. at 136–37. Mr. Cooper explained that he consulted this metric

“because Dr. Trende has suggested that it is an appropriate measure to use,” and Mr.

Cooper employed it in his recent work in Arkansas. Id. at 137. Mr. Cooper provided

tables containing the results of this analysis, see Caster Doc. 352-2 at 19 fig. 10 &

22 fig. 11, and he testified that the figures demonstrate that Cooper Plan 9 is more


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compact than both the 2023 Plan and the Special Master Plan. Tr. 135–38; Caster

Doc. 352-2 at 18–22. Put differently, Mr. Cooper testified, Cooper Plan 9 is the

“proof [] in the pudding” to establish that it is “possible to draw a congressional plan

that contains two majority-Black districts that is more compact overall than any of

Alabama’s enacted plans over the last 30 years.” Tr. 138.

      Mr. Cooper rested his testimony about the geographic compactness scores on

his extensive experience across the country: “I’m just saying, based on my

experience in Alabama and other states, the Reock scores I’m reporting for the

illustrative plans are within the norm and basically within the same range as plans

that have been developed by the State of Alabama over the past 35 years.” Id. at

190–91. He reiterated: “And you can look at other scores in other states and look at

Reock scores and you’ll see that things match up okay for the various plans. I mean,

there are lower -- plans with lower scores and plans with higher scores, but it’s within

the norm.” Id. at 191. And he repeated: “I work in lots of states. So I am comfortable

saying that the Reock and Polsby-Popper scores in this plan, even if in some

instances they’re lower than Alabama’s mean average, they’re still okay. They stack

up well nationwide.” Id. at 191–92.

      Although Mr. Cooper’s eyeball test and analysis of geographic compactness

scores told him his illustrative remedial districts were reasonably configured, Mr.

Cooper testified that he regarded these indicators as insufficient:


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      My argument really is that you can’t just look at the scores; you’ve got
      to look at the map; you’ve got to look at historical plans; you’ve got to
      look at historical demographics; you’ve got to look at water areas;
      you’ve got to look at highways.

      I mean, there are so many factors involved. And then you come away
      with the subjective ruling or decision of which I cannot make as a mere
      expert for drawing illustrative plans. That’s for the Court to decide.

Id. at 160.

      Accordingly, Mr. Cooper testified that in his opinion, his illustrative plans are

reasonably configured because they respect traditional districting principles:

      It is my assessment that Illustrative Plan 9 and Illustrative Plan 8 and
      the other illustrative plans are sufficiently compact and are contiguous
      and are observant of political subdivisions to be considered plans that
      are following traditional redistricting principles.

      But I can’t make the final decision on whether or not it’s acceptable.
      That is something for the Court to rule on ultimately, right?

      I mean, and you can’t just look at a score absent a map, absent
      demographics of the place you’re examining and suddenly say, okay;
      this particular district has a low Reock score, therefore, the plan’s no
      good. Because there could be good reasons for a low Reock score, given
      the shape of the county, given the shape of the jurisdictions and the
      shape of the VTDs.

      So the Reock, Polsby-Popper scores are not the be all and the end all;
      they’re an indicator, and they have to be taken into consideration with
      the multitude of other redistricting principles that one deals with when
      you’re drawing a voting plan.

Id. at 175–76.

      Mr. Cooper also testified that his plans respect communities of interest: he

opined that Cooper Plan 9 maintains the Black Belt, Gulf Coast, and Wiregrass “in


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a similar number of districts as compared to the Special Master and 2023 Plans.”

Caster Doc. 352-2 at 13. He opined that all of his plans “place significantly more of

the Black Belt counties into a majority-Black district than the 2023 Plan. . . . [O]nly

half (nine) of the Legislature’s 18 identified Black Belt counties are in a majority-

Black district in the 2023 Plan. Conversely, each of my illustrative plans place over

70% of the Black Belt counties in a majority-Black district, and four of my

illustrative plans place all but one of the Black Belt counties in a majority-Black

district.” Id. at 14. We attach the associated figure in Appendix E.

      When asked about the Wiregrass, Mr. Cooper testified that he accepted it as a

community of interest based on the Legislature’s definition. Tr. 205. He further

testified that though he did not keep the Wiregrass in a single district because of

overlapping Black Belt counties, like Barbour County, his plans still respect the

Wiregrass because “the counties are generally left intact.” Id. at 205–06.

      Consistent with Dr. Duchin’s testimony, when Mr. Cooper was asked whether

“you have to keep a community of interest whole to respect it,” he responded: “No.

Not necessarily. I mean, I would argue that I’m respecting Mobile County even

though it’s divided between two districts.” Id. at 195–96.

      On cross-examination about the Gulf Coast and Wiregrass, Mr. Cooper

observed: “[T]hey’re not the only communities of interest in the entire state. And it

is interesting that the legislature seems hyper focused on the Wiregrass but never


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talks about Appalachia, never talks about the Tennessee River area as a community

of interest.” Id. at 209. He continued: “I mean, there’s just nothing in the legislative

findings that would suggest that there’s anything based regionally other than the

Black Belt, the Gulf Coast, and the Wiregrass.” Id.

        Mr. Cooper also testified at length about how he considered race when he

drew his illustrative plans. He testified that “applying traditional redistricting

principles[,] you can naturally draw two majority-Black districts.” Id. at 124. When

asked how he knew that “race [did] not have to predominate in order to accomplish

two majority-Black districts,” Mr. Cooper responded that it was because he was able

to draw two such districts while also honoring traditional districting principles:

        Because I was looking at all the relevant factors. I was looking at the
        traditional redistricting principles, which would include compactness
        and minimizing political divisions, subdivision splits, minimizing splits
        of counties, contiguity, one person, one vote.

        I was taking all of that into account while at the same time looking at
        whether or not you could fit a majority-Black district into that broader
        mix of traditional redistricting principles.

Id.

        When Mr. Cooper was asked outright whether race predominated in his

illustrative plans, he replied, “absolutely not.” Id. This echoed his testimony at the

preliminary injunction hearing:

        Q.    So what specific traditional districting principles did you
        consider in drawing the illustrative plans in this case?


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      A.     Well, I took all of them into consideration. I examined the
      document produced back in May by the Alabama Legislature outlining
      the guidelines for redistricting. But a lot of that just incorporates the
      general concept of traditional redistricting principles. So I didn’t
      prioritize any of them. I tried to balance them.
      …

      Q.      So was any one factor of the ones we just mentioned
      predominant, the predominant factor when you were preparing your
      illustrative plans in this case?

      A.    Not really. I feel like I gave them equal weighting. It would be
      possible to prioritize others and come up with different configurations,
      but perhaps at the expense of one of the key redistricting principles. So
      you could draw very compact districts, but they might split numerous
      counties because they’re perfect squares. Or you draw a district that is
      -- two districts that are maybe 60 percent Black, but they wouldn’t be
      contiguous. That, you know, so you have to balance it.
      Q.      And did race predominate in your development of any of the
      illustrative plans?

      A.     No. It was a consideration. This is a Section 2 lawsuit, after all.
      But it did not predominate or dominate.
Jan. 5, 2022 Tr. 439–41. Mr. Cooper explained at trial:
      Q    Is it fair to say that hitting 50 percent plus one was a
      nonnegotiable in your map-drawing process?

      A     Was a what?

      Q     Nonnegotiable.
      A     No. I don’t -- I don’t use that term. I would not have gone to 50
      percent plus one for a second majority-Black district if I were not also
      balancing the other traditional redistricting principles.
      So I don’t know exactly what you mean, but I would not have produced
      these illustrative plans if I didn’t think that they adhered to traditional
      redistricting plans – traditional redistricting principles.


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Tr. 172–73.

      Mr. Cooper opined that it would be obvious if he had allowed race to

predominate in his illustrative plans. He explained:

      [H]ad race been my overriding consideration, I could have drawn
      districts that consistently placed communities that have higher
      concentrations of Black Alabamians in majority-minority districts and
      communities with higher concentrations of White Alabamians in non-
      majority minority districts, resulting in majority-minority districts with
      higher BVAPs. But at no point have I been asked or have I attempted
      to prioritize BVAP in District 2 or District 7 (or prioritize the racial
      composition of any district) over other traditional redistricting
      principles.

Caster Doc. 352-2 at 6. At trial, he elaborated during cross-examination:

      Q     You also say in paragraph 10 that, had race been your overriding
      concern, you could have placed higher concentrations of Black
      Alabamians in majority-minority districts; is that correct?

      A       Yes. I believe that is true.
      Q     So none of your majority-minority districts maximize BVAP,
      correct?
      A       I don’t think so. I think you could go significantly higher.

      Q       Why don’t they maximize BVAP?
      A       Because I’m balancing traditional redistricting principles.

      Q       How would you go about maximizing the BVAP for a district?
      A      Well, you would just split lots of VTDs, split lots of
      municipalities, draw more irregular-looking districts, and you would
      get higher for sure.


Tr. 169–170.



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      In connection with his testimony about how he considered race, Mr. Cooper

responded to Dr. Trende’s assertion that Mr. Cooper “split Jefferson County along

racial lines.” Id. at 142. Mr. Cooper testified that Dr. Trende’s “color-coded” racial

heat maps are “foreign” to Mr. Cooper because he “never look[s] at maps like these.”

Id. at 143 (discussing Milligan Doc. 384-5 at 66 fig. 39). The following exchange

occurred during that testimony:

      Q      Mr. Cooper, when you are drawing illustrative plans, do you ever
      see this kind of racial color coding of each precinct on your screen?

      A      Never ever. I do not employ color coding for by race at the
      district level.

      Q      When you are –

      A      At the precinct level.

      Q     When you are drawing your illustrative plans, do you have any
      knowledge of the five percentage point Black Voting Age Population
      range of each VTD in that map?
      A      No.
Id. (referring to the levels of shading on Dr. Trende’s figure).

      Further, Mr. Cooper testified that when he split voting districts, he was

“following existing lines or at least existing demarcations by the Census Bureau.”

Id. at 145–46. Such existing lines include “odd-shaped municipalities”;

topographical features like mountains, ridges, and valleys; precinct lines; and

primary roads. Id. at 144–46. Mr. Cooper explained:

      I mean, [Dr. Trende is] treating Jefferson County like it’s just a flat


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      plain that has a bunch of precincts that are only identifiable by whether
      or not they’re five percent Black versus 95 percent Black. I don’t -- I
      mean, I just do not approach a redistricting plan drawing in that fashion.

Id. at 146–47; see also id. at 223 (opining that “municipal lines in and around Mobile

are just as tricky as they are in Jefferson County in terms of irregular shapes, water

areas”).

      Mr. Cooper later reiterated that although he was “generally aware of where

the municipalities that are predominantly Black are,” and that he “knew where the

precincts with a BVAP above [30 percent were],” id. at 163–64, he never split a

VTD for “the purpose of bolstering the Black Voting Age Population in a particular

district” or “for the purpose of creating a majority-Black district,” id. at 153–54.

      When asked whether he considered a race threshold as an outer limit on his

respect for traditional districting principles, Mr. Cooper again resisted:

      Q      Would a fair restatement of “adhere to traditional redistricting
      principles” be that your plans comply with traditional districting
      principles as much as possible while retaining two majority-Black
      districts?

      A      I don’t think that would be fair . . .

Id. at 176–77.

      Finally, Mr. Cooper also testified about matters going to his credibility. He

testified that “routinely” during his career he consulted with potential Section Two

plaintiffs and concluded they could not satisfy Gingles I. Id. at 121, 166–67. He also

consulted with a jurisdiction and concluded the same. Id. at 121–22. Mr. Cooper

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gave an example from Alabama, when he was hired around 2009 “to determine

whether a majority-Black district in the City of Calera[, Alabama] could be

maintained in order to get Section 5 preclearance.” Id. at 122. After he reviewed the

data, Mr. Cooper determined “that you just simply could not draw a reasonably

compact district in the City of Calera based on the 2000 census which was the

operative census at the time. So [he] told them no.” Id. Mr. Cooper testified that his

services in Caster were not contingent on his ability to draw a second majority-Black

district. Id. at 122–23.

             2.     Gingles II and III – Racially Polarized Voting (Dr. Palmer)

      To satisfy the second and third Gingles preconditions—that Black voters are

“politically cohesive” and that each challenged district’s White majority votes

“sufficiently as a bloc to usually defeat [Black voters’] preferred candidate,” Allen,

599 U.S. at 18 (quoting Gingles, 478 U.S. at 51)—the Caster Plaintiffs rely on the

testimony of Dr. Maxwell Palmer.

      Dr. Palmer works as a tenured Associate Professor of Political Science at

Boston University, where he has been on the faculty since he earned his doctorate in

political science at Harvard University in 2014. Caster Doc. 303-1 at 1, ¶ 1; Tr. 482–

83. His work focuses on American politics, data science, and political methodology.

Caster Doc. 303-1 at 1, ¶ 1; Tr. 483. He has published one book and numerous

articles in peer-reviewed journals. Caster Doc. 303-1 at 1, ¶ 2. He has extensive



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experience as an expert witness in redistricting cases and served as an independent

analyst of racially polarized voting for the Virginia Redistricting Commission in

2021. Id. at 1–2, ¶ 3. Dr. Palmer was compensated at a rate of $350 per hour for his

work in Caster and his compensation did not depend on the substance of his

testimony. Caster Doc. 49 at 2.

      At trial, Dr. Palmer was qualified as an expert in redistricting, political

science, and data analysis without objection. Tr. 483–84.

      Dr. Palmer testified about two matters: (1) his analysis of whether and the

extent to which voting is racially polarized in Alabama, Caster Doc. 303-1 at 2, ¶ 5;

Tr. 487; and (2) his analysis of the performance of the majority-Black districts in the

Cooper Plans and under the 2023 Plan. Caster Doc. 303-1 at 6–9; Tr. 487. At trial,

he reaffirmed his previous opinions and testimony on these matters from the

preliminary injunction proceedings in these cases. Tr. 484–85.

      As to the first issue, about racially polarized voting, Dr. Palmer studied voting

patterns in the 2016, 2018, 2020, and 2022 general elections in Alabama, as well as

the 2017 special election for the United States Senate, in statewide elections for

President, the United States Senate, Governor, Lieutenant Governor, Secretary of

State, Attorney General, and several other offices. Caster Doc. 303-1 at 2, ¶ 9; see

also Tr. 489–97 (explaining how he used precinct-level data and analyzed the results

on a district-by-district basis). Dr. Palmer relied on publicly available data, including


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census data, that he ordinarily uses, and he relied on the same ecological inference

statistical procedure that Dr. Liu employed, which “estimates group-level

preferences based on aggregate data.” Caster Doc. 303-1 at 3, ¶¶ 10–11.

      Dr. Palmer opined in his report that “Black voters are extremely cohesive,

with a clear preferred candidate in all 17 elections [analyzed],” id. at 5, ¶ 14, and

“White voters are highly cohesive, in voting in opposition to the Black-preferred

candidate in every election [analyzed],” id. ¶ 15. Dr. Palmer concluded that “[o]n

average, Black voters supported their candidates of choice with 93.0% of the vote[,]”

and “[o]n average, White voters supported Black-preferred candidates with 14.3%

of the vote, and in no election did this estimate exceed 26%.” Id. ¶¶ 14–15. He further

opined that there is “strong evidence of racially polarized voting in each of the seven

congressional districts under [the 2023 Plan].” Id. ¶ 16. He found “strong evidence

of racially polarized voting across the state of Alabama.” Id. at 2, ¶ 6.

      At trial, Dr. Palmer testified at length about his ecological inference

methodology. Tr. 489–97. He opined that it is “the best available method for

assessing racially polarized voting” and his “understanding is that [ecological

inference] is regularly used in court testimony cases like this and has been the

preferred method for estimating group-level behaviors for racially polarized voting

analyses,” id. at 491–92. He described his analysis step-by-step. Id. at 492–98.

      Dr. Palmer also testified that he “found strong evidence of racially polarized


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voting in Alabama. The Black and White voters consistently support different

candidates both statewide and in the individual congressional districts.” Id. at 487,

498. He testified that this conclusion was consistent with his earlier opinions in these

cases. See id. at 487. He offered several figures to provide visual depictions of his

findings. See Caster Doc. 303-1 at 4 fig. 1 & 5 fig. 2. And he testified that “we can

think of racially polarized voting as a matter of degree,” and that “it can be very

sharply polarized, as I found here, where very large majorities of Black and White

voters are supporting different candidates.” Tr. 526.

      Dr. Palmer testified that he next examined whether the Black-preferred

candidates were able to win elections in Alabama. Id. at 499. To do so, he “added

up vote totals from the precinct-level data [provided by the state].” Id. Dr. Palmer

testified that, at the statewide level, the Black-preferred candidate was able to win

only one out of seventeen elections that he studied (when Doug Jones, a White

Democrat, beat Roy Moore, a controversial Republican accused of sexual

misconduct, in the special election for the United States Senate in 2017). Id. at 500;

Caster Doc. 303-1 at 15 tbl. 10.

      Dr. Palmer also testified that the district-level data produced similar results.

More particularly, he explained that “there were five districts, the First, Third,

Fourth, Fifth, and Sixth, where the White-preferred candidate defeated the Black-

preferred candidate in every election.” Tr. 500. In the Second District, he testified,


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“the White-preferred candidate defeated the Black-preferred candidate in 16 of the

17 elections. And, in contrast, in the Seventh District, the Black-preferred candidate

won all the elections.” Id. Dr. Palmer added that District Seven is a majority-Black

district, while all the other districts in his analysis are majority-White. Id.

Accordingly, Dr. Palmer concluded that “Black-preferred candidates are largely

unable to win elections in Alabama and only regularly able to win elections within

[District 7].” Id. at 487–88. 34

         As to the second issue, Dr. Palmer’s performance analysis of the majority-

Black districts in the Cooper Plans and under the 2023 Plan, Dr. Palmer opined that,

under all the Cooper Plans, “Black-preferred candidates would generally be able to

win elections in both of the majority-minority districts [i.e., Districts 2 and 7].” Id.

at 488. To reach this conclusion, Dr. Palmer testified that he overlaid the Cooper

Plans “on to the election data, add[ed] up the votes and [saw] the vote shares that

each candidate would have received under different sets of lines.” Id. at 501; Caster

Doc. 303-1 at 8 fig. 4 (demonstrating performance of Cooper Plans 1–8). Dr. Palmer

provided a performance analysis for Cooper Plan 9 in his reply report and opined

that “[i]n both [majority-minority] districts the Black-preferred candidate won all 17

elections, with an average of 57% of the vote in [District 2] and 64% of the vote in




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     Dr. Palmer’s reports and analysis predate the 2024 General Election.

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[District 7].” Caster Doc. 303-2 at 7; Tr. 502–03.

      Dr. Palmer also responded to the opinions of Dr. Hood. Tr. 503–04. First, Dr.

Palmer opined that Dr. Hood overstated the importance of data about the

performance of Dr. Ben Carson, who is Black, in the 2016 Alabama Republican

presidential primary. Both Dr. Palmer and Dr. Hood observed that in that election,

Dr. Carson “received 10.2% of the vote in Alabama.” Caster Docs. 302-3 at 20

(Hood), 303-2 at 1 (Palmer); Tr. 504. Dr. Palmer observed that “[Dr.] Carson ranked

fourth in the primary, behind Donald Trump, Ted Cruz, and Marco Rubio; 90% of

the voters in Alabama’s Republican primary preferred a different candidate.” Caster

Doc. 303-2 at 1. Accordingly, Dr. Palmer testified:

      I don’t think we can draw many conclusions from that single data point.
      And Dr. Hood did no other analysis of Ben Carson’s performance in
      Alabama such as looking to see if he performed particularly well in
      certain parts of the state or if he was a preferred candidate for any group
      of voters.

Tr. 504; Caster Doc. 303-2 at 1–2.

      Second, Dr. Palmer similarly criticized Dr. Hood’s analysis of Senator Tim

Scott of South Carolina, who is Black and “was appointed to his Senate seat by the

governor of South Carolina to fill a vacancy and then subsequently won a

Republican primary.” Tr. 505. Dr. Hood held out Senator Scott’s 2014 election as

an example of ideology rather than race driving election results, Caster Doc. 302-3

at 21, but Dr. Palmer testified that Senator Scott is “the exception but not the rule of


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Black candidates being successful in Republican primaries in South Carolina,” Tr.

505. Dr. Palmer further opined that there is “no general pattern of Black Republican

candidates being successful in Republican primaries in South Carolina.” Tr. 506;

Caster Doc. 303-2 at 2.

      Third, Dr. Palmer similarly criticized Dr. Hood’s discussion about the election

of Alabama Representative Paschal, which Dr. Palmer described as “one example of

[W]hite voters electing a minority candidate.” Caster Doc. 302-3 at 21. Dr. Palmer

opined that “[t]he fact that one Black candidate was successful in one special

Republican primary runoff is not evidence that White voters consistently support

minority candidates in Republican primaries in Alabama.” Caster Doc. 303-2 at 2;

Tr. 506–07. And he testified at trial:

      This was a very low turnout special election, and it happened in two
      stages. First, there was a primary with several candidates where
      Representative Paschal came in second. And then he won the runoff
      election afterwards. This was an election with only three -- less than
      3,000 votes. And Representative Paschal barely won this election by 63
      votes.

      I think the fact that we have one case where one Republican was
      successful is not evidence that we see any consistent support for
      minority candidates in Republican primaries in Alabama.

Tr. 506–07.

      In the light of these criticisms, Dr. Palmer opined that a “more complete look

at primary candidates shows that Black Republicans are rarely successful”:

      There were ten Black candidates in the 2022 and 2024 Republican


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      primaries in Alabama. Two ran for statewide office in 2022, two ran for
      state representative in 2022, and six ran for U.S. Congress in 2024. Nine
      of the ten Black Republican candidates lost to a White candidate in their
      primary elections. One Black candidate, Christian Horn, won the
      primary election for the majority-Black 7th Congressional District in
      2024 against a White opponent with 58% of the vote.

Caster Doc. 303-2 at 2–3 (footnotes omitted); see also Tr. 507–08.

      Dr. Palmer next responded to the opinions of Dr. Bonneau. Caster Doc. 303-

2 at 3; Tr. 508–522. Dr. Palmer first took issue with Dr. Bonneau’s opinion that

“African American candidates either perform as well as or outperform White

candidates of the same political party in judicial, state legislative, and congressional

elections in Alabama.” Caster Doc. 303-2 at 3 (quoting Caster Doc. 302-1 at 20);

Tr. 508–09. Dr. Palmer explained that “[t]his conclusion is based on incorrect data

and misinterpretation of statistical results. After correcting Dr. Bonneau’s data and

reanalyzing his results, I find no evidence that Black candidates outperform White

candidates of the same party in Alabama. Indeed, I find strong evidence that Black

candidates receive fewer votes than White candidates of the same party.” Caster

Doc. 303-2 at 3; see also Tr. 509.

      Dr. Palmer testified that as he understood Dr. Bonneau’s work, Dr. Bonneau

“sought to use Alabama Supreme Court elections, which are a statewide contest, to

compare the performance of Black Democratic candidates and White Democratic

candidates. And he has county-level data about the vote shares that candidates

received in a series of elections from 2010 to 2020. And he estimates a model where

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he’s trying to look at . . . the difference between vote shares for Black and White

Democratic candidates, conditional on the percentage of registered voters in each

county that are Black.” Tr. 509.

      But Dr. Palmer found a “serious error” in Dr. Bonneau’s data – namely, that

Dr. Bonneau “included mistakenly three uncontested contests for Supreme Court in

this analysis; that is, elections where there was a Republican candidate but not a

Democratic candidate. And in all three of those elections, he included the

nonexistent losing Democratic candidate as a White Democrat.” Id. “In other

words,” Dr. Palmer explained, “we have three White Democrats receiving zero

percent of the vote in every county in this data.” Id. at 510.

      Dr. Palmer further testified that when he corrected Dr. Bonneau’s coding

error, “his results completely flip. And now, using the same data and Dr. Bonneau's

exact same model, his same analysis, [Dr. Palmer] estimate[d] that White candidates

receive about ten percentage points more of the vote than Black Democrats do in the

Supreme Court elections.” Id. at 509–10; Caster Doc. 303-2 at 3–4.

      At trial, Dr. Bonneau acknowledged this data error and its material effect on

his findings. Caster Doc. 304-1 at 2; see also Tr. 510.

      Dr. Palmer then used Dr. Bonneau’s data to “run a racially polarized voting

analysis on these elections.” Id. at 510–11. Dr. Palmer testified that he found, “just

as in the other elections that we have already talked about, these elections are sharply


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polarized, that Black voters have a clearly -- a clear preferred candidate in each

election and White voters are opposing them.” Id. Dr. Palmer explained his

additional findings: “[W]hat’s more interesting is that when the Black-preferred

candidate is a White Democrat, that candidate received, on average, 21.6 percent of

the vote from White voters. And in the one case where the Black-preferred candidate

was a Black Democrat, they received only 9.5 percent.” Id. at 511.

      “So, in other words,” Dr. Palmer testified, “White voters supported the White

Democratic candidate at twice the rate that they supported the Black Democratic

candidate.” Id. Dr. Palmer testified that this analysis provides “some evidence that

White Democrats outperform Black Democrats and some evidence that this

difference can be attributed at least partially to different preferences or willingness

to vote for Democratic candidates by race.” Id. On cross-examination, Dr. Palmer

acknowledged that the analysis included only one Black candidate. Id. at 538.

      Dr. Palmer next turned to Dr. Bonneau’s analysis of Alabama legislative races

in 2022, in which Dr. Bonneau compared “vote shares for Democrats who lost

contested seats for the legislature by race” and found that “Black Democrats received

higher vote shares than White Democrats for both the state house and the state

senate.” Id. at 511–12.

      Dr. Palmer identified “several issues with this analysis,” including that “these

results are not statistically significant,” and that “it’s really hard to make


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comparisons across different elections like this and different districts,” because

“Black and White Democrats might be running in very different places with very

different underlying demographics, potentially different turnout, different

incumbency, status of their opponents, et cetera.” Id. Dr. Palmer also critiqued Dr.

Bonneau’s opinions about elections in Alabama House Districts 73 and 74. He

objected to Dr. Bonneau’s opinion about District 74 on the ground that it reflects “a

single case where a White Democrat defeated a Black candidate in a primary” in a

district that was “55-percent Black,” with no other analysis of turnout or vote choice

in that primary. Id. at 515. Dr. Palmer elaborated that it “could be the case that the

White Democrat was the Black-preferred candidate. It could be the case that the

Black Democrat was the Black-preferred candidate but there was a variation, say, in

cohesion and turnout that led to their defeat. So we can’t rule out race as a factor in

this election just because a White Democrat won.” Id.

      And Dr. Palmer objected to Dr. Bonneau’s opinion about Representative

Paschal’s election in District 73 on the ground that “[a]gain, we have the results of

the election but no further analysis of the dynamics of the election. Especially here,

where Dr. Bonneau is claiming that selections are based on candidate positions, Dr.

Bonneau has no analysis or evidence about the role of candidates’ positions on how

voters make decisions.” Id. at 515–16.

      Dr. Palmer next criticized Dr. Bonneau’s analysis of congressional elections,


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in which Dr. Bonneau examines “the correlation between the Democratic vote share

and the percent of the population that’s Black in each congressional district” for six

elections. Id. at 516. Dr. Palmer testified that “this is simply showing a correlation

between . . . the Black population and Democratic support,” and that it does not

establish that “it’s driven by party alone” because Dr. Bonneau “doesn’t do any

analysis of what factors cause Black voters to choose which candidates to support.”

Id. Dr. Palmer further opined that “using a single correlation like this with only six

observations is not really reaching the standard for empirical research in political

science and ruling out alternative explanations.” Id.

      Dr. Palmer ultimately attacked as artificial Dr. Bonneau’s isolation of party

from race:

      Implicit in Dr. Bonneau’s incorrect conclusion about the role of party
      is his assumption that the effects of race and party are separable. In
      other words, Dr. Bonneau assumes (without any evidence) that an
      individual’s race and an individual’s political party are two separate and
      independent factors that influence vote choice. A long literature in
      political science about how voters develop partisan attachments and
      make decisions about voting shows the opposite: an individual’s
      background, including their race, is a key factor in their politics and
      party preferences. This means that even if members of a racial group
      strongly support candidates of a single party, race, as a key factor in
      driving their support for that party, is an inseparable part of their
      support for those candidates. If race causes party, then we can’t find
      that party alone, without race, can cause vote choice. Due to the
      fundamental linkage of race and party, the effects of the two cannot be
      separated. In other words, the strong support of Democratic candidates
      by Black voters cannot be attributed to partisan preferences alone, but
      to a mix of personal and political factors and experiences of which race
      is an essential part.

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Caster Doc. 303-2 at 6–7.

               3.   The Senate Factors

      Like the Milligan Plaintiffs, the Caster Plaintiffs rely on joint stipulations and

the expert testimony of Dr. Bagley and Dr. Burch about the Senate Factors. See supra

Part IV.A.3.

               4.   Fact Witnesses at Trial
      The Caster Plaintiffs offered trial testimony from four fact witnesses.

                    a.     Dr. Marcus Caster

      Plaintiff Marcus Caster is Black, was born in 1975, grew up in north Mobile

County, and lives in Washington County. Tr. 369–71. Dr. Caster has family ties in

the Black Belt and Mobile County. Id. at 369. Dr. Caster holds an M.B.A. and a

doctoral degree, and he has been an educator for his entire career. Id. at 370–71. Dr.

Caster testified that he has spent his entire life in southwestern Alabama (particularly

Mobile, Clark, and Washington Counties), where he has worked at various

educational institutions and he and his wife have founded several community

organizations, most involving organized sports. Id. at 371–73, 376–77. He described

how these organizations serve Black youth in the Black Belt and Mobile County,

and he testified that children from Baldwin County do not participate because they

“have their own” organizations. See, e.g., id. at 379. Dr. Caster testified about his

campaigns when he twice ran for an Alabama House seat in Washington County. Id.


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at 382. And he testified that he affiliates with the Democratic Party because its

“principles . . . as far as they help and support . . . the African-American community

and Blacks align more with [his] core values.” Id. at 383.

       Dr. Caster testified that based on his work and life experience, he understands

the needs of Black Alabamians in the rural Black Belt. He testified about three

issues. First, he testified that “Alabama is really experiencing a crisis when it comes

to healthcare facilities.” Id. at 384. He testified that in “Thomasville, they had a

healthcare facility that wasn’t even open five years and it is closed.” Id. at 385. He

said that “in Monroe County, women had to go deliver their babies elsewhere

because they were no longer offering labor and delivery in that area.” Id. He

observed that “Searcy Hospital in Mount Vernon” which “was a healthcare facility

for mental health individuals . . . is no longer there.” Id. Second, he testified about

the quality of school facilities. He described McIntosh High School, a predominantly

Black school, where he testified that “they had to go inside . . . and remove bats,”

and students are “subjected to different type of chemicals” because of the location

of the school. Id. at 389. Third, he testified that internet service in the Black

community is “slower than most” and there are “a lot of Internet outages.” Id. at

389–90. He gave the example of the last outage he experienced, when a technician

arrived “after about two or three days” despite repeated calls by Dr. Caster. Id. at

390.


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       Dr. Caster also testified about his experience with elected officials. Id. at 391–

96. He said that when he lived in District 1, he was represented by Congressman

Byrne and then Congressman Carl. Id. at 391. Neither representative was responsive

to the needs of the Black community, and he did not see either representative

campaign in the Black community. Id. at 391–92. He explained that he supported

Congressman Figures because “[h]e showed up,” attended “town hall meetings,”

“came to the celebration parades in Jackson, Alabama,” and “assured [Dr. Caster]

that he was going to do everything in his power to help us.” Id. at 394.

       Dr. Caster testified that he was “proud” and “excited” when United States

Senator Katie Britt, a White Republican from Alabama with ties to the Wiregrass

and Montgomery, expressed opposition to a recent incident in which United States

Air Force videos on the Tuskegee Airmen were “taken away.” Id. at 410–11. 35


35
  The Tuskegee Airmen were Black pilots who joined “a new initiative launched in
Alabama” that was “a first of its kind training program for Black pilots established
[by the military] after the bombing of Pearl Harbor.” 171 Cong. Rec. S1307 (daily
ed. Feb. 24, 2025) (statement of Sen. Britt). These pilots “could not live, work, eat,
or drink alongside [W]hite countrymen or women” in the 1940s, “and yet still
decided to risk everything to serve this Nation.” Id. Though one of the most
accomplished units of World War II, “[i]t wasn’t until 2007 that the Tuskegee
Airmen received the Congressional Gold Medal for their valor.” Id. In the Act
granting that award, Congress found that “[t]he Tuskegee Airmen inspired
revolutionary reform in the Armed Forces, paving the way for full racial integration
in the Armed Forces,” and noted that “[t]hese Black airmen came home with 150
Distinguished Flying Crosses, Bronze Stars, Silver Stars, and Legions of Merit, one
Presidential Unit Citation, and the Red Star of Yugoslavia.” CONGRESSIONAL
GOLD MEDAL AWARD—TUSKEGEE AIRMEN, PL 109–213, April 11, 2006,


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       Dr. Caster testified about his understanding of his case. He understood that

“Alabama must redraw the maps to represent two . . . majority-minority . . . districts,”

and “Alabama defied” the ruling. Id. at 400. He testified that Alabama’s defiance

was “disrespectful” and “a slap in the face.” Id. at 401.

                    b.     Ronald Smith

       Ronald Smith is Black and was born in 1954 in Union Springs, Alabama (in

Bullock County, in the Black Belt).36 Id. at 416. Mr. Smith served on the Union

Springs City Council for six years, chaired the Bullock County Commission for 15

years, served in the Army for a decade, and worked nearly 20 years as a medical

administrator for the Tuskegee VA Medical Center. Id. at 417–22. He is a member

of the NAACP, the Alabama Democratic Conference, and several community

organizations. Mr. Smith testified that he “had the opportunity to become familiar

with the interests and needs of the Black community in Bullock County” and “across

the Black Belt.” Id. at 427.

       Mr. Smith testified that during his public service, the following issues were

most frequently raised: “Jobs. Accessibility to quality and affordable healthcare.

Affordable housing. Making sure we have our transportation corridors available so



120 Stat 322.
36
  The parties designated Mr. Smith’s deposition testimony, Milligan Doc. 459 at 4,
but Mr. Smith testified at trial. Accordingly, the Court recounts only his trial
testimony.

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that we can adequately recruit industry to come into Bullock County. Better

education by means of having much needed clean, healthy, environment and

equipment for our children to be their best.” Id. at 427–28.

      Mr. Smith also testified about his experience growing up during segregation.

Id. at 428. He explained that “words can[not] adequately describe” the feeling

“[w]hen you live on one side of the railroad track and you see your White

counterparts enjoying some of the amenities that are government sponsored and it’s

taboo for you.” Id. He grew up with “signs that said colored water fountain, White

only bathroom.” Id. Mr. Smith added that even though the signs ultimately came

down, the practice remained the same. Id. at 437, 446. His “school only had two

Bunsen burner[s] and two microscope[s] when, the White school, every student had

a microscope and Bunsen burner.” Id. at 428. There were “only four available

[typewriters] for the . . . 25 to 30 students,” so to learn how to type, the students “had

to write the keyboard on a cardboard.” Id. at 428–29. Mr. Smith testified that “[t]he

White kids [had] the swimming pool” while the Black kids “had a ditch.” Id. at 429.

Mr. Smith testified that he once jumped into the pool and police responded. Id.

      Mr. Smith testified extensively about educational disparities that affect Black

Alabamians in the Black Belt. He said that “there’s a shortage of qualified teachers

today,” and that “when you live in a rural community like [Bullock County],

recruitment of qualified teachers and instructors are limited” because “the salaries in


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the Black Belt are lower” and the lack of housing, recreational activities, and

restaurants “impede . . . recruitment.” Id. at 434. He testified that “there is no

equivalence between Black and White education in Bullock County and throughout

the Black Belt” because of the White flight. Id. at 435. He testified that today, the

Bullock County School System has approximately five White students. Id.

      Mr. Smith also testified that “Black children face obstacles getting into

college and higher education in universities” because of a lack of “qualified guidance

counselors” and “parents . . . don’t know how to do it.” Id. at 436. He added that

Black students are ill-prepared for the ACT and SAT and because of low scores,

they “can’t receive a lot of financial assistance.” Id. at 436–37.

      Mr. Smith observed that there “are pockets of Bullock County where they

have no access to broadband.” Id. at 444. He testified about students receiving

laptops during the pandemic, and that “[y]ou [can] give them a laptop, but a laptop

without access to broadband is like having a car without tires.” Id.

      Mr. Smith testified that “these educational disparities affect a person’s ability

to vote and participate in the political process.” Id. at 437. He explained that not

having a quality education means that only certain jobs are available, “[a]nd you

only have about 30 minutes to vote.” Id. Moreover, he said, even if you have a great

job, the work is often out of town, requiring the voter to leave before the polls open

and return after the polls close. Id. He opined that “there’s all types of impediments


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that are there to strategically draw you out of the voting process.” Id. He “observed

Black voters leaving polling places without voting” as recently as “[t]he last

election” but he did not see White voters leaving. Id. at 449.

      Mr. Smith testified “that the Black community in Bullock County and the

Black Belt faces discrimination in healthcare.” Id. at 441. He “was born by midwife”

because his family did not have access to the hospital in Union Springs. Tr. 441–42.

Mr. Smith testified that there is not a single hospital in Bullock County; the nearest

hospital is in Montgomery, “about an hour away.” Id. at 442. He testified that there

is a “high rate of infant mortality,” unaffordable insurance, and a lack of Medicaid

expansion, each with discriminatory impacts. Id.

      Mr. Smith testified that he did not vote for the two White Republicans who

previously represented District 2 before Congressman Figures. He offered that

“[t]hey didn’t campaign in [the Black] community” and “didn’t come to . . . town

hall meeting[s].” Id. at 452. He voted for Bobby Bright, a White Democrat who

represented District 2 from 2009 to 2011 because Congressman Bright campaigned

in the Black community. Id. Mr. Smith explained that he has voted for candidates

based on how responsive they are to his community’s needs. See id. at 473. He said

that he voted for Ronald Reagan. Id. at 468.

                   c.     Valtoria Jackson

      Valtoria Jackson is Black, was born in 1961 in Montgomery, and works as a


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Pastor and a nurse. Id. at 1069, 1073, 1077. She grew up in an “an African-American

community” as “neighbors to Rosa Parks.” Id. at 1069. Pastor Jackson testified that

growing up, her family was “fortunate to be considered . . . upper middle class, they

had purchased their own home, and so [her mother] was able to pay the poll tax” and

“pass the test” to vote. Id. at 1070. She testified that “it was a family tradition to go

to the polls” and that her mother “became a registrar” and “would always carry in

the trunk of her car the paperwork to register everyone that she came upon.” Id.

      Pastor Jackson testified that her family was “very involved in the Black

church.” Id. at 1070–71. She testified that the churches she attended were

“[p]redominantly Black,” but that the nuns and priests were “typically White.” Id. at

1071. She said that growing up, “church was the hub of [their] community meetings,

[their] celebrations at each other’s homes,” and “the center piece of [the Black]

community.” Id. at 1071–72. She became a pastor in 2008 and pastors Saint Peter

African Methodist Episcopal Church in Montgomery. Id. at 1073–74.

      Pastor Jackson holds a nursing degree and a graduate divinity degree. Id. at

1076. She testified that she practiced full-time as a nurse for 39 years and worked in

critical care, trauma care, and hospice nursing, and did administrative and consulting

work. Id. at 1077–78. She also testified that she worked as a sexual assault nurse

examiner (“SANE”) and coordinator, and that her team “developed a pediatric

SANE nurse program that still exists in Montgomery.” Id. at 1079. She said that they


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“developed a program where [they] took mobile units into the rural areas,

particularly in the Black Belt of Alabama to build sexual assault response teams and

to help facilitate exams within the first 72 hours of sexual assault victims.” Id. She

testified that she serves on the Board of the Alabama Coalition Against Rape and

has “develop[ed] relationships in leadership throughout the state with domestic

violence and sexual assault violence centers.” Id. at 1079–80.

      Pastor Jackson testified that in her current pastoral role, she does

administrative work, coordinates programs, collaborates with other churches in the

area, works with the health ministry, and has coordinated statewide voter

mobilization efforts on a nonpartisan basis. See id. at 1080–82. In her personal

capacity, she has participated in phone and text banks, voter registration drives, and

served as a poll worker. Id. at 1086–87. Her community engagement work has been

concentrated in Montgomery, Dallas, Butler, Crenshaw, Bullock, and Mobile

Counties in Black communities. Id. at 1087–88.

      Pastor Jackson testified about her church’s work with food security programs.

Id. at 1082–83. She said that during the pandemic, “every week[, they] were

distributing food to a wide, diverse community,” and that they continue to “serve

over 200 seniors monthly.” Id. She explained that they “deliver 60 percent of [the

food] boxes to the home because . . . transportation is an issue, [and] seniors are

having to pay even family members to run errands for them.” Id. at 1083.


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       Pastor Jackson testified about her personal experiences with discrimination

and disparities. Id. at 1088. She recounted that her parents were once “unable to

purchase [a home] because of the color of their skin.” Id. And she said that her family

was “harassed and not welcomed” when they moved into a White neighborhood. Id.

She testified that “within two years, [her street] turned totally Black due to White

flight.” Id. She offered that “due to redlining, [their] home was never valued,” which

is an issue that they are “still fighting . . . today.” Id. at 1089.

       Pastor Jackson testified that in her work in healthcare in Montgomery and the

Black Belt, she has observed families living in unhealthy and unsafe conditions with

“rodents and roaches,” “[in]adequate heating,” “[in]adequate plumbing,” and even

without water. Id. at 1091–92. Despite her extensive professional experience, she

thought she “was in a third-world country” when she witnessed some of the

conditions. Id. at 1092. She described that during one home visit in the Black Belt,

“[w]e could see the sky through the roof and dirt floors, and multiple children --

multiple generational living, poor transportation. But they were living off the land.

And I just did not realize how poor some of our rural areas and the living conditions

of people.” Id. She testified that in some houses, “[t]hey may only have just one

room that did not get rained on and maybe had a tarp that would blow off when it

was bad weather.” Id. at 1126. In fact, she observed that some houses “still had

outhouses” and “didn’t have indoor plumbing.” Id.


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        She testified that she witnessed these circumstances around 2010 or 2012,

predominantly in the Black community, and that these sorts of issues are “[f]ive

times greater in [the] Black community.” Id. at 1092–93, 1126. She explained that

living in such conditions impacts political participation because “when you’re

struggling, can’t put food on your table, can’t afford transportation to even care for

business . . . your concern is not getting to the polls.” Id. at 1093.

        Pastor Jackson also testified about her observations of the disparities between

predominantly Black and predominantly White schools in the Black Belt. Id. at

1095. She testified that “particularly in Bullock County,” the quality of education is

lower because of overcrowded classrooms, poor building conditions, and low

income. Id. She described as an example something she saw as a school nurse:

        There was a young man, he was acting out . . . He was overheated . . .
        because he was wearing . . . a sweat hoodie in the summer time and
        then I had to unzip because he was about to have an episode. And I was
        like, Where is your shirt? And he’s like, Well we don’t have any
        running water, I don’t have any clean clothes.

        . . . [H]e at least came to school. But I saw it repeatedly in our
        predominantly African-American schools where poverty is prevalent,
        that the children are fighting just to get food. Some come to school just
        to eat and other[s] do not come to school because they don’t have clean
        clothes or clothes that fit.

Id.

        Like many other witnesses, Pastor Jackson testified about the lack of internet

access in the Black Belt. She testified that during the pandemic, “even though


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[students] had the laptops, they were unable to access the Internet until maybe like

mid-COVID.” Id. at 1096.

      Pastor Jackson testified that “[i]lliteracy is a reality” in the Black community

that hinders political participation. Id. at 1097. She gave as an example a man “trying

to get his [voting] rights restored” who she knew “couldn’t read because he was

holding [the form] around and adjusting the paper upside down.” Id. She also

observed an illiterate person at church holding a hymnal upside down. Id. at 1098.

Pastor Jackson testified that in all her years of nursing, pastoral, and community

work in Montgomery and the Black Belt, she has never encountered an illiterate

White adult. Id. at 1129.

      Moreover, Pastor Jackson testified about the lack of access to transportation

and employment in the Black Belt due to “[in]adequate infrastructure in . . . public

transportation.” Id. at 1098. She observed that “being transported and getting to work

is a problem.” Id. She continued: “They don’t make enough to even afford gas to

make it to work. And when they find a ride . . . they have to pay the person to get

that ride. So it’s very difficult to find quality jobs.” Id. at 1099. Pastor Jackson

testified that inadequate transportation makes healthcare difficult to access as well.

Id. at 1099–1100.

      Ultimately, Pastor Jackson testified that these disparities limit political

participation in Black communities in the Black Belt because “when you are in a


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mode of survival” voting is not a priority. Id. at 1101.

        Pastor Jackson also testified about Black voters’ partisan alignment. She

explained that most Black churchgoers “feel abortion is wrong,” and that on abortion

as well as LGBTQ rights, the Republican Party aligns closely with the Black church.

Id. at 1106–07. Nevertheless, she explained, most Black people do not support

Republican candidates because Republicans do not campaign in Black communities.

Id. at 1108–09. That said, Pastor Jackson acknowledged her “favor” for Senator Britt

because, in Pastor Jackson’s view, Senator Britt is “truly looking realistically at the

issues of childcare and at the issues of healthcare.” Id. at 1108.

                     d.    Janice Malone & Robert Clopton

        The Caster Plaintiffs also rely on the testimony of Ms. Malone and Mr.

Clopton. See supra Parts IV.A.4.c, IV.A.4.e; Caster Doc. 309 at 2.

               5.    Designated Deposition Testimony
        The Caster Plaintiffs offered six witnesses by deposition. Caster Doc. 370.

                     a.    William Carroll

        William Carroll 37 is Black and has served on the Mobile City Council for

nearly 12 years. Milligan Doc. 459-4 at 7–9. He testified that, currently, his top

priority is “under-served neighborhoods,” and that during his time on the Council,

he has not talked to Congressman Carl “very much.” Id. at 9–10.


37
     Mr. Carroll was deposed on September 5, 2024. Milligan Doc. 459-4.

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         Mr. Carroll testified that “Mobile’s economic base is huge” and that the main

drivers of it are the Port, medical industry, Austal, Airbus, and schools. Id. at 12, 18.

He said that people commute from counties such as Conecuh, Evergreen, and

Escambia to Mobile for economic opportunities, but he does not know of anyone

who commutes to work in Mobile from Butler, Pike, Barbour, Bullock, Macon, or

Russell Counties. Id. at 12.

         In his view, the City of Mobile and the Black Belt should be in the same

congressional district because “Mobile has more influence politically than the Black

Belt counties” and “if it wasn’t for Mobile’s strength, then the Black Belt doesn’t

get heard.” Id. at 15. Mr. Carroll testified that in District 1, Mobile, Baldwin,

Escambia, and Covington Counties seem to have been grouped together “to create a

Republican stronghold.” Id. at 16.38 As he put it, “[i]f you’re blue in these four

counties, then you’re lost,” and “[y]ou’re not represented because you’re going to

get overpowered by the people that are represented on the other side.” Id.

         Mr. Carroll offered the view that his city council district should be in District

2. Id. at 26. He testified that “most minorities are Democrats, and the voting block

within the city is more purple than it is red.” Id. As a result, that assignment to

District 2 would “lend[] itself to the ability of a Democrat or minority being able to




38
     Mr. Carroll is referring to District 1 prior to the Special Master Plan.

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select someone of their choice.” Id.

                     b.    Bobby Lee DuBose

        Plaintiff Bobby Lee DuBose39 is Black, was born in 1963, and grew up in

Bullock County. Milligan Doc. 459-5 at 7; Milligan Doc. 436 ¶ 35. He lives in

Birmingham. Milligan Doc. 459-5 at 7. He testified that he “grew up on a plantation”

and “when you grow up on a plantation, you learn how to survive” and “how to take

the bare minimum and you make it work for you.” Id. at 29.

        Mr. DuBose testified that this lawsuit is important to him because “[t]here

should be another African American that understands the African-American

people[’s] needs, health insurance, job opportunity.” Id. at 10. In his view,

Congresswoman Sewell alone is insufficient to care for the needs of all Black

Alabamians. See id.

        Like some of the other plaintiffs, Mr. DuBose testified that in the Black Belt,

the “[e]ducation system is basically ruined,” and in Bullock County, “there’s not a

functional hospital.” Id. “When you hear the name Black Belt, you don’t all of a

sudden think of it being a thriving community.” Id. at 11. Rather, “low income,

disadvantaged, [and] poor education” are what come to mind. Id. He testified that

for those who live in the Black Belt, “[y]ou have to leave your home to find a better




39
     Mr. DuBose was deposed on August 7, 2024. Milligan Doc. 459-5.

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opportunity.” Id. “Someone needs to speak up on behalf of those counties that are

underserved, under privileged,” and as he sees it, Black Alabamians are “truly the

ones who’ve been there, who grew up there, understand the significance of trying to

bring some improvement.” Id. at 10, 14.

        Mr. DuBose testified that he has not “heard that there’s racial discrimination

in the voter registration process” and his family members have not experienced

difficulty in registering to vote. Id. at 19. He said that his polling places “[o]pened

on time, closed on time.” Id. at 20.

        Mr. DuBose testified about how he votes: “If their thought line up with mine,”

he testified, then he is “all in whether they’re Black, [W]hite, green, or yellow” or

whether they are “a Democrat or a Republican.” Id. at 22. He added that “economic

opportunity” and “healthcare” are the issues that resonate the most. Id. Mr. DuBose

also said that “[W]hite voters in Alabama usually prefer Republicans.” Id. at 33.

        Finally, Mr. DuBose testified that there has been “a long history of racial

discrimination in Alabama connected to voting in elections” and that racial

discrimination in Alabama persists. Id. at 36.

                     c.    Benjamin Jones

        Plaintiff Benjamin Jones40 was born in 1965 in Barbour County. Milligan




40
     Mr. Jones was deposed on July 23, 2024. Milligan Doc. 459-8.

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Doc. 459-8 at 6. He holds an engineering degree from Tuskegee University and

attended law school at Faulkner University. Id. at 6. He now works as executive

director at Montgomery Community Action and pastors St. James Missionary

Baptist Church. Id. at 7–9. Montgomery Community Action is a nonprofit

organization “that provides assistance to communities or the County of Montgomery

residents who need assistance with utilities, rent, [and] medicine.” Id. at 10. He said

that about seventy-five percent of the population it serves is Black. Id.

      Mr. Jones testified that he joined this lawsuit to create a majority-minority

district so that a “candidate [who] is responsive to the needs of the district” can be

elected. Id. at 16. He testified that “low income [people], people who need Medicaid,

Medicare . . . need assistance” need improved representation. Id. at 19. He said that

it is not simply his goal “to get a second Democrat elected.” Id. at 22.

      Mr. Jones detailed some of the most basic needs of Black communities in the

Black Belt: he described that “[t]here are some areas in the state where people may

be forty, fifty, maybe even more miles away from a hospital,” that there are “food

deserts[,] where people may be miles and miles and miles away from a grocery store

or a farmer’s market,” and that “there are people who don’t have access to the

internet because of their location in the rural area.” Id. at 19.

      Mr. Jones testified that he did not experience difficulties with registering to

vote when he turned eighteen. Id. at 31–32. And he testified that apart from one


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incident (where he “had to vote a challenge ballot because [his] name didn’t appear

on the list”) he has not experienced “any barriers to fully participating in the political

process in Alabama.” Id. at 42.

        Finally, Mr. Jones testified that he experienced racial discrimination growing

up in Alabama. Id. at 42–43. At the first preliminary injunction hearing, Mr. Jones

said that his parents were active in civil rights marches in the 1960s and that “they

went to jail on a number of occasions for voting.” Jan. 10, 2022 Tr. 1345. He added

that they did not go to marches together because one of them had to be reliably out

of jail to parent him and his fifteen siblings. See id.

                    d.     Rodney Allen Love

        Plaintiff Rodney Allen Love41 was born in 1985, raised in Mobile, and moved

to Birmingham before he graduated high school. Milligan Doc. 459-14 at 5–6. Mr.

Love testified that he pursued this lawsuit because he and his community are “not

getting . . . represented in Congress” because Congresswoman Sewell is the only one

“fighting for us right now.” Id. at 9. Mr. Love testified that in his view, Alabama’s

enacted congressional plans are unfair because a “majority of Republicans [are] in

one place” and “the majority of Democrats [are] in one place.” Id. at 10. This results

in inequality because “the majority of the Blacks vote Democrat[] and the majority


41
     Mr. Love was deposed on August 7, 2024. Milligan Doc. 459-14.



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of the Republicans are [W]hite.” Id. He testified that to him, “candidate of choice”

means “a candidate that’s actually going to help [him].” Id. at 16.

        Mr. Love said that his polling place is “probably five minutes away from the

house,” that he has not experienced any problems voting, and that he does not feel

voting is hard for him because he is Black. Id. at 18. He explained that he ordinarily

votes Democrat because “they’ll basically help me more than the Republicans will.”

Id. at 19. He said that “the Democratic Party is more responsive to the needs of Black

voters than the Republican Party.” Id. “Democrats . . . help out the poor.” Id.

        Finally, Mr. Love testified that he has experienced discrimination growing up

in Alabama and continues to experience discrimination today. Id. at 22.

                     e.    Manasseh Powell

        Plaintiff Manasseh Powell 42 is Black, was raised in Lowndes County (in the

Black Belt), and moved to Montgomery when he was twelve years old. Milligan

Doc. 459-18 at 8. Mr. Powell testified that “if the State of Alabama can draw a Black

majority district, then, it should draw a Black majority district.” Id. at 21. Mr. Powell

said that he “never had any problems with registering to vote or at [his] polling

place.” Id. at 24, 25. Mr. Powell testified that when he decides how to vote, he

regards issues as more important than race. Id. at 26. He testified that the issues most




42
     Mr. Powell was deposed on July 25, 2024. Milligan Doc. 459-18.

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important to him are “rights for Black people” as well as “jobs, the economy,

infrastructure, [and] our support to foreign countries.” Id.

                      f.    C.J. Small

        C.J. Small 43 is Black, was born in 1978, and raised in Mobile. Milligan Doc.

459-23 at 3, 4. He has served on the Mobile City Council since 2012 and works as a

funeral director. Id. at 5, 10. He testified that his council district is “around 68

percent” Black, and the issues most important to his constituents are “[b]light,

infrastructure, [and that] kids don’t have anything to do.” Id. at 6, 10. He said that

the “vast majority” of his constituents, “Black and [W]hite, believe in all of those

things.” Id. at 10.

        Mr. Small opined that when interacting with constituents, “Black[]

[constituents are] much warmer.” Id. at 7. He testified that some White constituents

would not vote for him “no matter [his] policies” and “don’t care for [him] because

of [his] race.” Id.

        Mr. Small testified about his family and work ties to the Black Belt. Id. at 11–

13. He explained that the population in the Black Belt is “not as heavy as it was,”

that “younger people are moving out,” and that “some African-Americans” are

leaving the Black Belt “for education and for jobs.” Id. at 14. He testified that there




43
     Mr. Small was deposed on September 5, 2024. Milligan Doc. 459-23 at 1.

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are more opportunities in Mobile and Baldwin County than in the Black Belt. Id.

      Mr. Small testified that he and former Congressman Carl have a “cordial”

relationship, but Congressman Carl has not “provided adequate representation . . .

for the needs of Mobile.” Id. at 21. He testified that Congressman Figures “would

adequately represent all of [his] constituents.” Id. at 26.

      C.     Singleton Plaintiffs’ Arguments

      The Singleton Plaintiffs rely on all the evidence adduced in Caster and

Milligan for their Section Two claims, Singleton Doc. 288 at 13, as well as testimony

from additional expert and fact witnesses. See generally Singleton Doc. 320.

             1.     Expert Testimony about the Senate Factors
                    a.     Dr. R. Volney Riser

      Dr. Riser holds an undergraduate degree from Florida State University and

graduate degrees in American History from the University of Alabama. Singleton

Doc. 253-1 at 1, ¶ 3. He has worked as a Professor of History at the University of

West Alabama since 2005, where his scholarship focuses on the development and

practical operation of political and constitutional systems in the Jim Crow-era South.

Id. at 1–2, ¶¶ 3, 4. He has published two books: (1) Defying Disfranchisement: Black

Voting Rights Activism in the Jim Crow South, 1890–1908, and (2) A Goodly

Heritage: Judges and Historically Significant Decisions of the U.S. District Court

for the Middle District of Alabama. Id. at 2, ¶ 4. He has also published numerous



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articles and contributed entries to reference volumes, including essays on

disenfranchisement and various landmark episodes in United States legal,

constitutional, and political history. Id.

       At trial, Dr. Riser was qualified as an expert in the history of the role of race

and politics and law in the South and Alabama, with no objection. Tr. 750. Dr. Riser

was compensated at a rate of $200 per hour for his work, and his compensation did

not depend on the substance of his testimony. Singleton Doc. 253-1 ¶ 2.

       Dr. Riser opined in his report that in the late-nineteenth century, “Whites

struggled to either believe or accept that African Americans could make political

decisions for themselves, denigrating them as a ‘bloc’ to be manipulated rather than

as a class of voters qualified to act in their own interest in partnerships and coalitions

of their own design or choosing.” Id. at 3, ¶ 7. He further opined that both Democrats

and Republicans were hostile toward African Americans and demonstrated a

commitment “to limiting African Americans’ political opportunities, both on the

ballot and at the ballot box.” Id. at 4, ¶ 8.

       Dr. Riser testified that “from the moment of Reconstruction . . . Democratic

partisans complain[ed] of Black domination or Black rule,” an idea that persisted

“over the next quarter of the century.” Tr. 755. He testified that by the 1890s,

Alabama’s “Democratic leadership . . . resolved that they absolutely are going to

move to disenfranchise all African-Americans.” Id. at 762. Dr. Riser detailed how


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disenfranchisement was rolled out: Black men were precluded from registering to

vote “through all manner of little tricks and games that the registrars were

empowered to play” including, among other things, understanding clauses, literacy

tests, the grandfather clause, and poll taxes. Id. at 773–74. He testified that by the

early 1900s, “roughly 98 percent” of Black men were disenfranchised in Alabama.

Id. at 772, 774.

                   b.     Dr. Kari Fredrickson

      Dr. Frederickson holds a doctoral degree from Rutgers University and has

worked as a Professor of History at the University of Alabama since 1999. Singleton

Doc. 253-2 at 3. Her expertise is in twentieth-century American history with a focus

on the South. Id. She has published four books, three of which won awards. Id. She

has published numerous articles and essays in peer-reviewed publications and served

as an expert for six documentaries. Id. She has served on the grants review

committee for the National Endowment for the Humanities and serves on the Board

of Directors of the Harry S. Truman Library Institute. Id. at 3–4.

      At trial, Dr. Frederickson was qualified as an expert in American history with

a focus on the role of race in the South and Alabama in the 20th century, with no

objection from any party. Tr. 805.

      In her report, Dr. Frederickson opined “[r]ace has served as a dividing line in

political allegiance and activity since the period of Reconstruction” and that “the


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ability of first the Democratic Party and later, the Republican Party, to achieve

viability and dominance has depended on each party’s ability to secure the support

of [W]hite voters through racial appeals.” Singleton Doc. 253-3 at 4. She further

opined that “[t]oday, the parties are racially polarized; most [W]hites are

Republicans and most Blacks are Democrats” and that “[W]hite identity politics

occup[ies] the center of Republican politics, [which makes] creating effective and

enduring bi-racial coalitions [] extremely difficult, if not impossible.” Id. at 5.

      At trial, Dr. Frederickson testified that race is “the dominant factor for

defining party identity in Alabama.” Tr. 807. She testified that during the early

1900s, “the Democratic Party achieved dominance through disenfranchisement” and

in so doing “created itself as the White party and created the region as a one-party

region with no viable competition.” Id. She testified that the Republican Party

adopted the use of racial appeals from the 1960s onwards. See id. at 828–33, 841.

      Dr. Frederickson unambiguously testified that in her “30-plus years as a

historian specializing in the history of the American [S]outh since 1865” there has

never “been a time in history when partisanship rather than race drove racially

polarized voting in Alabama.” Id. at 843–44.

             2.     Fact Witness at Trial

      The Singleton Plaintiffs also offer trial testimony from one fact witness,

Leonette Slay. Ms. Slay is White and has lived in Jefferson County for 30 years. Tr.



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864. Ms. Slay testified that she is a member of numerous community organizations,

id. at 869–70, and that keeping Jefferson County whole in a congressional district

“was a committed goal of [hers] because [she] see[s] Jefferson County as a

community of interest with very unique issues and a capability to form a biracial

coalition,” id. at 875. She testified that “there’s a plethora of issues that really could

be ameliorated, solved if we had one representative to combine with our county and

city officials to work for the betterment of Jefferson County.” Id.

               3.    Designated Deposition Testimony
        The Singleton Plaintiffs offered the testimony of Plaintiff Rodger Smitherman

by deposition. 44 See Milligan Doc. 459-25; Singleton Doc. 260. Senator Smitherman

is Black and represents part of Jefferson County in the Alabama Senate. Milligan

Doc. 459-25 at 7. Senator Smitherman first ran for the Senate in 1994, and he is a

member of the Committee. Milligan Doc. 459-25 at 20.

        Senator Smitherman testified that when he discussed redistricting with

members of the Senate Black Caucus and the Alabama Legislative Black Caucus,

there “was a general feeling that the whole counties would be the best approach[—

]keeping the counties together, all together, keep them whole as possible.” Id. at 13.

He testified that when resources are distributed to the districts, they “are being split

up among all these other counties.” Id. at 16. “Instead of getting them all, we’re just


44
     Senator Smitherman was deposed on July 29, 2024. Milligan Doc. 459-25 at 2.

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getting a little fraction based on how many other counties are . . . sharing [those

resources].” Id. He also offered the view that “rural people have different needs and

concerns than people in the urban area.” Id. Essential issues regarding water quality,

sewage, food deserts, roads, and schools are different for rural and urban

communities. Id. He testified that Jefferson County should have been kept whole in

the 2023 Plan because it is a community of interest. Id. at 31.

      Senator Smitherman also testified that he supports the Special Master Plan

“because it’s an [additional] opportunity district.” Id. at 14. He said that if the

Singleton Plaintiffs prevail, they request a plan that creates two opportunity districts

and keeps Jefferson County whole. Id. at 18.

      Senator Smitherman testified about his disappointment when the 2021 Plan

was passed without creating two opportunity districts. Id. at 24. He testified that it is

not “legitimate for the [L]egislature to consider political goals when it draws

Congressional districts” when it negatively impacts “the rights of voters.” Id. at 29.

He said that it is a “constitutional right of people . . . to have the opportunity to vote

and get the person they want.” Id. Senator Smitherman added that he does not know

what the intent of the Legislature was in drawing the 2023 Plan. Id. at 32.

      Senator Smitherman testified that he votes “in all elections,” his polling place

is “convenient,” and he has not had “trouble voting there.” Id. at 36. He said that he

votes based on the issues. Id.


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      Finally, Senator Smitherman explained that he is “a product of segregation

and integration.” Id. at 35. He testified that “in terms of political opportunities, we

have not advanced to nowhere where we need to be.” Id. at 43.

      D.     The State’s Defenses

      The State argues that the Plaintiffs have not satisfied the Gingles

preconditions and the 2023 Plan does not violate Section Two. Milligan Doc. 481 at

37. The State claims that “political processes in Alabama are open to all, and that

‘what appears to be bloc voting on account of race is instead the result of political

or personal affiliation of different racial groups with different candidates.’” Milligan

Doc. 445 at 11. It also asserts that Section Two cannot form the basis for a private

lawsuit and that applying Section Two to redistricting plans is unconstitutional. Id.

at 11–12.

             1.     Gingles I – Reasonable Configuration
      Because numerosity is stipulated, the State’s Gingles I arguments focus on

whether an additional majority-Black congressional district can be reasonably

configured. The State argues that “no illustrative plan presented in these cases

demonstrates that there is a ‘reasonably configured’ alternative remedy that would

respect the Legislature’s neutral redistricting principles ‘at least as well as’” the 2023

Plan. Milligan Doc. 481 at 38, ¶ 84. The State asserts broadly that the Plaintiffs’

plans “chop up Alabama’s important communities of interest in violation of



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Alabama’s traditional principles.” Id. at 76, ¶ 196. But at its core, the State’s position

is that any district that splits Mobile County to join part of Mobile with the Black

Belt is not reasonably configured.

      The State argues that in our assessment of the 2023 Plan, we are required to

defer to the 2023 legislative findings about communities of interest. The State cites

Vance v. Bradley, 440 U.S. 93, 110–11 (1979) for the proposition that our

“responsibility for making ‘findings of fact’ certainly does not authorize [us] . . . to

reject the legislative judgment” reflected in the 2023 legislative findings. Id. at 41–

44, ¶¶ 92, 94, 96–102. The State urges that “[t]he best evidence of [legislative]

purpose is the statutory text adopted by both Houses . . . and submitted to the

[Governor].” Id. at 41, ¶ 95 (quoting W. Va. Univ. Hosps., Inc. v. Casey, 499 U.S.

83, 98 (1991)).

      The State argues that the 2023 Plan (including the findings) reflects a “policy

of defining and uniting the State’s regional communities” in the Black Belt, the Gulf

Coast, and the Wiregrass. Id. at 64, ¶ 166. The State argues that the 2023 Plan “ended

th[e] inconsistent treatment” of these three communities of interest in the 2021 Plan.

Id. at 5. The State urges that it treated these three communities equally because “[t]he

safest route” past the competing hazards of liability under the Constitution and

Section Two “was for the Legislature to satisfy §2 by answering Plaintiffs’ neutral

call to ‘employ[] the same line-drawing standards in minority [communities of


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interest] as it used elsewhere.’” Id. 216, ¶ 582 (quoting the Milligan Plaintiffs’ brief

in the Supreme Court).

      The State also argues that “each of Plaintiffs’ alternative plans ‘are palpable

racial gerrymanders,’” and that “[b]y connecting what the Plaintiffs call ‘Black

Mobile’ . . . to the eastern Black Belt in [District 2], and by cramming the map’s

leftover counties into [District 1], Plaintiffs subordinate Alabama’s ‘traditional race-

neutral principles’ ‘to racial considerations.’” Id. at 38, ¶ 85.

      The State argues that “Dr. Duchin’s and Mr. Cooper’s preliminary injunction

hearing    testimony     and    trial   testimony    are   saturated    with   ‘express

acknowledgement[s] that race played a role in the drawing of district lines.’” Id. at

77–80, ¶¶ 201–14. It claims that “Dr. Duchin and Mr. Cooper ‘purposefully

established a racial target: African-Americans should make up no less than a

majority of the voting age population’ in two congressional districts,” and that the

evidence “confirms that the contours of Dr. Duchin’s and Mr. Cooper’s maps were

‘motivated by a predominant, overriding desire to assign [B]lack populations’ to

[District 2] ‘and thereby permit the creation of a [second] majority-[B]lack district.”

Id. at 80–81, ¶ 215.

      The State offered testimony about compactness from one expert witness: Dr.

Scott Trende. The State asked Dr. Trende to compare the Cooper Plans, Duchin

Plans, 2021 Plan, 2023 Plan, and Special Master Plan. Milligan Doc. 384-5 at 7. Dr.


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Trende holds a law degree and graduate degrees in political science and statistics

from Duke University and The Ohio State University. Id. at 5–6; Tr. 1971. He works

as a visiting scholar at the American Enterprise Institute, a lecturer at The Ohio State

University, and a Senior Elections Analyst for Real Clear Politics. Milligan Doc.

384-5 at 4; Tr. 1970–71. He has served as a retained expert and a court-appointed

expert in redistricting litigation, Milligan Doc. 384-5 at 6–7; Tr. 1973–75, and a few

courts have found his testimony unreliable, see Tr. 2084–86; Nairne v. Ardoin, 715

F. Supp. 3d 808, 850 (M.D. La. 2024); Matter of 2022 Legislative Districting of

State, 282 A.3d 147, 185–86 (Md. 2022). Dr. Trende was compensated at a rate of

$450 per hour for his work in these cases and his compensation did not depend on

the substance of his testimony. Milligan Doc. 384-5 at 7.

      Dr. Trende testified at the second preliminary injunction proceedings in 2023.

In our September 2023 order, we observed that Dr. Trende “offer[ed] no opinion on

what is reasonable or what is not reasonable in terms of compactness.” Milligan Doc.

272 at 151. At trial, Dr. Trende was admitted without objection “as an expert in

redistricting.” Tr. 1975.

      In his report, Dr. Trende opined that “by the standards of Alabama’s recent

history,” the remedial districts in the Duchin Plans and Cooper Plans “are some of

the least compact districts drawn.” Milligan Doc. 384-5 at 93. He further opined that

“[t]he illustrative districts carve up major population centers by race, and mostly


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function by stitching together two populations of Black residents in distinct

metropolitan areas, with lightly populated, rural areas in between.” Id. He also

opined that the 2023 Plan is more compact than the Duchin Plans and Cooper Plans.

See id. at 28.

      Like Dr. Duchin and Mr. Cooper, Dr. Trende “readily acknowledge[d] that . .

. tradeoffs” of traditional redistricting principles “are built into the process.” Tr.

1982. Dr. Trende testified that population equality, contiguity, and compactness;

respect for political subdivisions, natural boundaries, and communities of interest;

and incumbent protection are all traditional redistricting principles. Id. at 2065. Dr.

Trende testified that of those principles, he analyzed only geographic compactness,

id., and did not consider any other factor enumerated by the Legislature, id. at 2082–

83. Dr. Trende described the task of determining whether a district is reasonably

configured as a “tough analysis,” and testified that he felt comfortable opining that

a district is not reasonably configured even though he did not analyze “some of these

traditional redistricting principles.” Id. at 1981–82.

      At trial, Dr. Trende testified that the eyeball test has a role in measuring

geographic compactness, but he cautioned against overreliance on such tests because

“it’s a little bit trickier to give an opinion with a reasonable degree of scientific

certainty about what your eyes are telling you.” Id. at 1991. He described “[e]yeball

tests, for better or for worse,” as “part of what we’re asked to do…” Id. at 2101.


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        Dr. Trende rested his compactness opinion on three measures of geographic

compactness: Reock, Polsby-Popper, and Convex Hull scores. Id. at 1984. Dr.

Trende described the Convex Hull metric as “look[ing] at the area of a convex

polygon that would enclose a district.” Milligan Doc. 384-5 at 14–15. He likened the

score to having a “rubber band snapped around a district,” and asking “what

percentage of that rubber band the district would fill.” Id. He described how a square

district would score on this metric: “That square will, by definition, fill . . .

approximately 63.7% of the [minimum bounding] circle. Its Reock score would

therefore be 0.637. That is still relatively high as far as Reock scores go, but many

would consider a perfectly square district to be quite compact.” Id. (footnotes

omitted). In his report and at trial, Dr. Trende offered data about the scores on these

metrics for the maps he compared. Id. at 31 fig. 10, 32 fig. 11, 33 fig. 12, 36 figs. 15

& 16, 37 fig. 17; see also Tr. 1994–95.

        Dr. Trende testified that there is no bright line, objective standard for

reasonable scores, so he relies on relative comparisons. Tr. 2037–39. When asked

whether he was testifying “that any of Plaintiffs’ illustrative plans are generally non-

compact in an abstract sense,” he replied: “No. I try to ground it a little bit more than

that in comparison to what’s been drawn in Alabama and nationally.” Id. at 2039–

40.

        On direct examination, Dr. Trende cautioned against overreliance on plan-


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wide scores. He testified that looking at plan-wide scores can become “a problem”

if you “draw a horribly shaped district and then sort of get a makeup call by drawing

very compact districts with the remainder of the districts.” Id. at 1991. For that

reason, he testified that “reporting district-by-district scores is more appropriate here

than using plan-wide scores.” Id. at 1991–93.

      On cross examination, Dr. Trende acknowledged that in a memorandum to

the Supreme Court of Virginia regarding a map he drew, he wrote: “[H]owever, since

we are drawing a whole map for the state, the most important compactness

comparison is for the state as a whole. Dave’s Redistricting app provides a composite

compactness score for a whole map.” Id. at 2044 (quoting Caster Doc. 319-67 at

18). Dr. Trende testified that this memorandum was not prepared for purposes of a

Gingles analysis. Id.

      In any event, Dr. Trende testified that based on plan-wide scores, some

Duchin Plans and some Cooper Plans are in the same “ballpark” as the 2023 Plan.

For the Cooper Plans, Dr. Trende explained:

      There are some that get in the ballpark, I guess you’d say, but even that
      does narrow -- a couple of them will get in the ballpark on certain
      discrete measures, but they tend to do it by drawing those box-shaped
      districts in the [N]orth to offset what’s going on in the [S]outh.

Id. at 1999. In his report, he opined that Cooper Plan 7 “seems the closest to the 2023

map overall.” Milligan Doc. 384-5 at 32–33, 35 fig. 14. At trial, he testified that

Cooper Plan 7 is “reasonably compact” on a plan-wide basis as compared to the 2023

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Plan. Tr. 2043. He also testified that Cooper Plan 9 is more compact than the 2023

Plan on a plan-wide Reock score basis and is “in the same range of compactness”

for Polsby-Popper scores. Id. at 2042–43. And he acknowledged that based on DRA

scores that Mr. Cooper reported, Cooper Plan 9 is “more compact than any plan that

Alabama has drawn or used in the last 40 years,” including the 2023 Plan. Id. at

2045.

        For the Duchin Plans, Dr. Trende testified about the plan-wide Reock scores:

        So it’s the -- kind of the same story [as with the Cooper Plans]. The two
        enacted plans have . . . higher Reock scores, on average.

        Some of Dr. Duchin’s maps, I guess -- I don’t know. You say they get
        in the ballpark, but, again, they do that by drawing those highly compact
        districts in the northern area.

Id. at 2000. Dr. Trende testified that on the Polsby-Popper metric, Duchin Plan “B

performs better. [Duchin Plan] E, again, I guess you could say, gets in the ballpark.”

Id. Dr. Trende also candidly acknowledged that “it’s tough because you get into this

splitting hairs of, well, the score for [Duchin Plan] E, on average, is nine-tenths of a

point lower than the 2023 map.” Id.

        Dr. Trende testified that the shape of a state can affect geographic

compactness scores: for example, “[a] state like Virginia or Massachusetts just

naturally has a more elongated shape to it. And so you’re naturally going to get worse

Reock scores in a state like Massachusetts.” Id. at 2003. Along the same lines, Dr.

Trende cautioned that “a national comparison at the individual district level really

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gets fraught because you start to really run into the state-specific issues.” Id. at 2008.

Regardless, Dr. Trende testified, comparisons are possible such that an expert can

say “okay, it does or does not fall within these ranges.” Id. at 2003.

      To that end, although Dr. Trende opined in his report that “it is difficult to see

how [the Duchin Plans and Cooper Plans] could be considered within the normal

range of maps in the United States,” Milligan Doc. 384-5 at 44, he repeatedly

testified at trial that the plan-wide scores of the Duchin Plans are within the normal

range for maps nationwide. He first testified:

      I think it’s literally -- the maps are literally within the range, but that’s
      only because of how extreme the Illinois map is. When you take into
      account the nature of that Illinois map, the fact that Dr. Duchin and I
      both agree that the Texas map is a gerrymander, at the very least, a large
      number of Mr. Cooper’s maps fall outside the normal range.
Tr. 2007–08. And he later testified on cross-examination that California’s map is

less compact on the Reock score than Duchin Plans A, B, D, and E, and that the

Duchin Plans are more compact on the Polsby-Popper measure than both the

California plan and the Special Master Plan. Id. at 2123–24. In addition, he testified

Duchin Plans A, B, C, and D are more compact on Convex Hull than at least four of

the plans that Alabama enacted since 1972. Id. at 2125.

      Ultimately, Dr. Trende concluded that “Dr. Duchin has a stronger justification

for the claim that her maps were in the normal range than Mr. Cooper did,” id. at

2124, and that he (Dr. Trende) should have written the conclusion in his report about



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the Duchin Plans “better” because his “focus was mostly on” the Cooper Plans, id.

at 2125–26.

      Dr. Trende also testified about the compactness scores of District 2 in the

Cooper Plans compared to other ways Alabama has drawn District 2. He testified

that “[As to Polsby-Popper, Cooper] Maps 6, 2, 8, and 1 are the least compact

versions of District 2 drawn in Alabama in the last 50 years. [Cooper] Maps 3, 5, 7,

and 4, the Special Master’s version, is less compact.” Id. at 2012–13. But he admitted

that “the Reock compactness scores for all of the majority-Black districts in Mr.

Cooper’s illustrative plans are within the range of compactness scores for

congressional districts that Alabama has enacted since 1992.” Id. at 2050.

      Dr. Trende also opined that the illustrative plans split political subdivisions

based on race. At trial, he testified that “when you’re talking about counties that

were split between an illustrative majority-minority district and a non-majority-

minority district, that split in the county often occurs in a way that appears to be

based on race.” Id. at 2014–15. According to Dr. Trende, this is especially so for the

Jefferson County split between Districts 6 and 7, and the Mobile County split

between Districts 1 and 2. Id. at 2015–18. Dr. Trende specifically opined that Cooper

Plans 6 and 7 are “particularly aggressive” in splitting Mobile County along racial

lines and that Cooper Plans 1, 2, and 4 split Montgomery County three ways along

racial lines. Milligan Doc. 384-5 at 69–72.


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      At trial, Dr. Trende acknowledged that he did not consider municipal

boundaries, he did not consider transportation corridors, and he did not consider

what the stated purpose was for making any given split. Tr. 2104–07. He

acknowledged that the District 6 “finger” that extends into Jefferson County has

existed since the 1992 decision in Wesch. See id. at 2055. And he agreed “that sort

of split of Jefferson County has been a consistent feature of maps Alabama has

passed” since 1992. Id. Ultimately, Dr. Trende testified that he did not offer an

opinion as to whether race was the primary factor in any county split. Id. at 2113.

      Dr. Trende also testified that the Plaintiffs’ illustrative plans appear to split

voting districts based on race. Id. at 2100–02. To support this opinion, he testified

that he examined only “the BVAP shading of the VTDs” and did not consider any

factor or explanation other than race. Id. at 2101–02.

      Dr. Trende also testified at trial about the district in the electoral plan for the

Alabama State Board of Education that, according to Dr. Trende, was the first district

to stretch from Montgomery to Mobile. Id. at 2024–30. Dr. Trende explained that

the district was made in 2010 “by adding the Black population in Mobile” to

Montgomery in order to address “geographic and racial constraints.” Milligan Doc.

384-5 at 61. In his expert report, Dr. Trende suggested that this may have been first

done in order to comply with Section 5 of the Voting Rights Act before Shelby

County v. Holder, was issued. Id. at 57. Dr. Trende opined that this district “appears


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to be a one-off configuration in Alabama” that appears to be “based upon the

existence and understanding of what Section 5 of the [Voting Rights Act] required .

. . and inertia.” Id. at 56–57. But Dr. Trende testified that in reaching that conclusion,

he did not talk to legislators about the configuration, speak with a historian, consult

an expert on legislative intent or legislative history, or talk to anyone in Mobile or

Montgomery about relevant educational needs. Tr. 2095–97. Instead, he reviewed

preclearance submissions, legal cases, shape files, and census data. Id. at 2095.

      Moreover, Dr. Trende’s explanation did not address that the Legislature

continued to split Mobile County in the 2020 State Board of Education plan, well

after the Shelby County opinion was issued in 2013, and well after preclearance

could have provided any explanation for the subsequent split. Dr. Trende obliquely

suggested that this was done in 2020 to maintain core retention, but did not elaborate

on this hypothesis or provide any evidence to support it. Milligan Doc. 384-5 at 61.

      Finally, Dr. Trende testified that he offers no opinions to dispute Dr. Palmer’s

conclusions regarding racially polarized voting, Dr. Liu’s analysis and conclusions

regarding racially polarized voting, Dr. Bagley’s analysis and conclusions, or Dr.

Burch’s analysis and conclusions. Tr. 2032–33. In addition, Dr. Trende testified that

he does not dispute that each of the Duchin Plans and Cooper Plans contains two

majority-Black districts and takes no issue with the data underlying their reports. Id.

at 2034. And he agreed that that “not every community of interest will be or can be


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kept together in a congressional district.” Id. at 2133.

             2.     Gingles II and III – Racially Polarized Voting
      The State concedes that the Plaintiffs established the second Gingles

precondition. See Milligan Doc. 481 at 99 (conceding that “Plaintiffs’ evidence

shows that Black Alabamians in the challenged areas are politically cohesive”). And

the State does not dispute the pattern of consistent (nearly invariant) electoral losses

for Black-preferred candidates in Alabama that the Plaintiffs say establishes the third

Gingles precondition. See generally id. The State argues that the Plaintiffs cannot

establish the third Gingles precondition because their experts’ opinions are flawed,

and the voting and loss patterns those experts opine about are based on party, not

race. See id. at 99–114.

      The State argues that while Dr. Liu and Dr. Palmer “opine that [W]hite voters

typically do not support the Black-preferred candidate, and that the [W]hite-

preferred candidates generally win elections,” “their . . . analyses did not reach the

question of why voters voted the way they did.” Id. at 99, 101. The State contends

that the experts’ analyses did not control for party affiliation, which “is no minor

limitation . . . because every expert to offer an opinion on the subject agreed that

[B]lack voters in Alabama and across the nation support the Democratic Party very

strongly.” Id. at 101, ¶¶ 259, 261. The State suggests that “[a]s such, [Dr.] Liu’s and




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[Dr.] Palmer’s racial polarization analysis could just as easily be labeled a political

polarization analysis.” Id. at 102, ¶ 263.

      The State acknowledges that “courts have accepted” expert testimony about

racially polarized voting that relies on ecological inference methods, but “agree[s]

with Dr. Bonneau” that ecological inference is “a tool that comes with assumptions,”

“not the only tool,” and should not be relied upon to the “exclusion of other possible

relevant evidence.” Id. at 100, ¶ 257.

      The State also argues that “[W]hite bloc voting in Alabama is not legally

significant.” Id. at 99. The State relies on the recent opinion of the United States

Court of Appeals for the Fourth Circuit in Pierce v. North Carolina State Board of

Elections, 97 F.4th 194 (4th Cir. 2024). As the State describes Pierce, the Fourth

Circuit distinguished legally significant White bloc voting in a challenged district

from statistically significant White bloc voting at the district level. See Milligan Doc.

481 at 106–08. In the State’s view of the Fourth Circuit’s analysis, patterns of White

bloc voting were not legally significant in a district unless they establish that without

a Section Two remedy – a district with a BVAP greater than 50% – Black-preferred

candidates would usually be defeated in that district. See id. The State argues that

under Pierce, if a district-level performance analysis “yield[s] a ‘minority voting-

age population level’ below 50% which provides ‘a realistic opportunity for …




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voters of that minority group to elect candidates of their choice,’” then “legally

significant racially polarized voting does not exist” in that area. Id. at 108, ¶ 282.

       On this line of reasoning, the State argues that “[d]ue to increased registration,

turnout, and political participation among [B]lack voters (and crossover voting by

[W]hite voters) in Alabama, the historic need for majority- or even large-majority-

[B]lack districts in order to ensure [B]lack voters an ‘opportunity to elect’ has

substantially lowered.” Id. at 110, ¶ 288. The State argues that “with that change, the

point at which [W]hite bloc voting becomes ‘legally significant’ has risen.” Id. In

this case, it argues “that [W]hite bloc voting in the challenged areas is not ‘legally

significant’ because there is enough [W]hite crossover voting to obviate the need for

court-ordered majority-minority districts.” Id. at 112, ¶ 294. And that “[s]o long as

additional majority-minority districts are not ‘necessary for [B]lack-preferred

candidates to win,’ legally significant [W]hite bloc voting is absent.” Id. at 113, ¶

297.

       Several of the State’s experts opined that the pattern of consistent electoral

losses for Black-preferred candidates in Alabama is attributable to party rather than

race, and we discuss their testimony in connection with Senate Factor 2 below.

             3.     The Senate Factors

       The State argues that “[t]he ‘totality of circumstances’ confirms that the 2023

Plan does not violate Section [Two].” Milligan Doc. 481 at 114. It says that the



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Plaintiffs have not established that “the political process is not equally open to Black

Alabamians.” Id. at 118, ¶ 314. The State claims that “[a] ‘comprehensive, not

limited, canvassing of relevant facts,’ . . . strongly suggests that Black Alabamians’

relative difficulty ‘elect[ing] representatives of their choice’ does not depend on

‘race or color,’” but on “the predictable result of bloc-voting for Democrat

candidates in ‘one of the most Republican states in the entire South.” Id. at 118, ¶

315.

         Senate Factor 2

         As to Senate Factor 2, the State argues that “[r]acial polarization in Alabama

is a product of political partisanship, not racial bias.” Milligan Doc. 481 at 119. It

argues that “[i]f ‘Black-preferred candidates lose because they are running as

Democrats in a red State,’ and not because they are Black, then there is no bloc

voting on account of race and no illegal vote dilution for §2 to remedy.” Id. at 120,

¶ 322.

         The State claims that the opinions of Dr. Liu and Dr. Palmer “are almost

entirely limited to identifying statistical existence of racially polarized voting, not its

cause.” Id. at 124, ¶ 333. The State asserts that because “the second Senate factor

supports a §2 claim only insofar as racial polarization approximates racial bias in

voting, and because correlation is not causation, Plaintiffs need more than ecological

inferences to support their claims.” Id.


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      The State argues that “the evidence shows . . . that (1) [B]lack candidates face

no penalty at the polls for being [B]lack; (2) [B]lack and [W]hite voters in Alabama

tend to vote for parties, not for candidates; (3) the relative weakness of the

Democratic Party contributes significantly to the failure of [B]lack Alabamians to

elect their candidates of choice; and (4) [W]hite Alabamians, like [W]hite

Southerners generally, vote overwhelmingly Republican for ideological, not racial,

reasons.” Id. at 125, ¶ 336.

      Senate Factor 7

      As to Senate Factor 7, the State argues that “Alabama has made remarkable

progress in the election of people of color to public office in the last fifty years,” id.

at 159, ¶ 425, and that “Black Democrats have achieved electoral success,” id. at

159. The State contends that “the fact that 32 of the 33 Black Alabamians currently

serving in the Alabama Legislature were elected from majority-Black districts” is

not a cause for concern “because every one of those 32 legislators ran as a

Democrat.” Id. at 159–60, ¶ 426. The State argues that the evidence on this Senate

Factor “suggest[s] nothing more than partisan politics.” Id. at 161, ¶ 430.

      Senate Factors 1, 3, and 5

      As to Senate Factors 1, 3, and 5, the State argues that “Plaintiffs have not

proven that Alabama’s distant history of racial discrimination has made the political




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process less open for [B]lack Alabamians today.” Id. at 161. The State asserts that

“Alabama has overcome its history.” Id. at 162.

      The State argues that Dr. Bagley’s “opinions on this topic are often irrelevant,

overstated, missing significant context, or all of the above.” Id. at 163, ¶ 437. The

State contends that his “proffered examples of State-sponsored discrimination after

1965 are incredibly sparse,” and his characterization of the legislature’s

discriminatory motives are unfounded, see id. 164–68, ¶¶ 439, 444, 447, 450.

      The State also argues that “Plaintiffs have failed to prove that socioeconomic

disparities experienced by Black Alabamians today are the effects of past racial

discrimination.” Id. at 171, ¶ 458. It attacks Dr. Burch’s testimony, arguing that

“[a]lthough Dr. Burch identified . . . gaps” “in socioeconomic status between Black

and White Alabamians that have been shown to affect voter registration and

turnout,” “she provides no analysis demonstrating that past official discrimination

caused these gaps.” Id. at 172, ¶ 460.

      The State asserts that the “Plaintiffs did not present a lay witness whose

political participation was hampered by past discrimination.” Id. at 184, ¶ 491. It

argues that to the contrary, Plaintiffs’ “witnesses such as Ronald Smith, Letetia

Jackson, [and] Janice Malone,” and the State’s witness Bill McCollum, “each of

whom is old enough to have attended segregated schools — are all extremely

politically active.” Id. at 184, ¶ 491.


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      Senate Factor 6

      As to Senate Factor 6, the State argues that the “Plaintiffs have not shown that

political campaigns in Alabama are characterized by racial appeals.” Id. at 188. It

argues that the “Plaintiffs identify a few appeals that were (1) not made as part of a

political campaign, (2) not from campaigns ‘in the area,’ . . . or (3) over which

‘reasonable people could disagree . . . whether they were racial appeals at all,’ . . .

or some combination of the lot.” Id. at 189, ¶ 509. It argues that even “the best

Plaintiffs can offer still does ‘not demonstrate a pattern, practice, or routine of racial

appeals across the election landscape.’” Id. at 190, ¶ 512.

      Senate Factor 8

      As to Senate Factor 8, the State argues that it is not true that “there is a

significant lack of responsiveness on the part of elected officials to the particularized

needs of the members of the minority group.” Id. at 191, ¶ 515. The State claims that

“the Legislature’s good faith effort to remedy the defects observed in the 2021 Plan

while complying with the Constitution” should not be considered unresponsive to

the needs of Black Alabamians. Id. at 192, ¶ 517. And it says that any violations

were remedied “by uniting Black Belt counties into two compact districts and

keeping Montgomery whole—treating them as well as other communities of interest

that were preserved in the 2021 Plan.” Id. at 192, ¶ 518.

      The State argues that “[r]eplacing a plan that had split two majority-Black


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communities of interest with one in [which] ‘Black voters are no longer artificially

denied electoral influence in a second district,’ . . . suggests responsiveness to Black

voters.” Id. at 194, ¶ 523. It argues that “the Legislature could reasonably have

thought that going beyond the maximum BVAP possible for [District 2] in a ‘race-

neutral plan’ would constitute racial gerrymandering, or would at least invite a racial

gerrymandering lawsuit.” Id. at 194, ¶ 524.

      The State relies on the testimony of Dr. Landers, Colonel Jon Archer, and

Kenneth Boswell to support their argument that the Legislature has been responsive

to the needs of its citizens. See id. at 195, ¶ 528; 199, ¶ 539; 202, ¶ 546. The State

offers as examples its broadband expansion efforts, id. at 204, ¶ 549; improving

municipalities and counties through community development block grants, id. at

207, ¶ 558; and various federal initiatives, id. at 209, ¶ 563.

      Senate Factor 9

      As to Senate Factor 9, the State argues that “[t]he policies underlying the 2023

Plan are not ‘tenuous.’” Id. at 214. It argues that the 2023 Plan advanced ‘traditional

redistricting principles such as compactness,’ [and] ‘maintaining communities of

interest and traditional boundaries.’” Id. at 214, ¶ 574. The State asserts that “the

2023 Plan reflects the Legislature’s good faith efforts of complying simultaneously

with §2 of the Voting Rights Act and the Equal Protection Clause of the 14th

Amendment.” Id. at 214, ¶ 576. The State posits that the “legislators had a desire to


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‘protect . . . congressional incumbents,’ . . . which the 2023 Plan did for all

incumbents—Republican and Democrat.” Id. at 216, ¶ 583. Ultimately, it contends

that “[e]ven if that is viewed a partisan goal, ‘evidence that the [2023 Plan] was

drawn to further partisan goals is a sufficient, non-tenuous justification for this

Senate Factor.’” Id.

      Proportionality

      Finally, the State argues that proportionality is “due very little weight.” Id. at

216, ¶ 585. The State asserts that “[p]roportionality will often elude a map drawer

who adheres to traditional redistricting criteria; absent racial calibrations, maps

reflect real-world geography and demography inconsistent with proportionality.” Id.

at 217, ¶ 586. Moreover, the State argues that “the absence of proportionality does

not, by itself, give rise to concern” because “even dramatic disproportionality may

be ‘merely . . . a matter of . . . political geography.’” Id. at 217, ¶ 587. The State

contends that “[w]ithout injecting race into the map drawing process, proportionality

is nigh impossible to achieve.” Id. at 218, ¶ 589.

      To support its arguments about partisan voting patterns and other aspects of

the totality of the circumstances, the State offers four experts: Dr. M.V. Hood, III;

Dr. Christopher Bonneau; Dr. Wilfred Riley; and Dr. Adam Carrington.

                   a.     Dr. M.V. Hood, III

     Dr. Hood holds graduate degrees in political science from Baylor University



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and Texas Tech University. Milligan Doc. 409-7 at 4; Tr. 1873. He has worked as a

professor of political science at the University of Georgia for more than 20 years, and

directs the Survey Research Center at the School of Public and International Affairs

there. Milligan Doc. 409-7 at 2. His work focuses on electoral politics, racial politics,

election administration, and Southern politics. Milligan Doc. 409-7 at 2; Tr. 1873–74.

He has co-authored two books and published numerous articles in peer-reviewed

journals. See Milligan Doc. 409-7 at 42–48. Dr. Hood has qualified as an expert in

multiple redistricting cases, including in Alabama. Tr. 1875; Milligan Doc. 409-7 at

2. He was compensated at a rate of $400 an hour for his work and his compensation

did not depend on the substance of his testimony. Milligan Doc. 409-7 at 2.

      At trial, Dr. Hood was qualified with no objection as an expert “in political

science, specifically in the areas of electoral politics, racial politics, election

administration, and [S]outhern politics and empirical social science research and for

the matters discussed in his report.” Tr. 1875–76.

      The State asked Dr. Hood to answer five specific questions: (1) “How do Black

voting patterns in Alabama compare to other states?”; (2) “Are racial disparities on

various sociodemographic factors present outside of Alabama?”; (3) “How does 2016

Republican presidential primary candidate Ben Carson’s vote share compare across

states?”; (4) “Do [W]hite voters support minority Republican candidates?”; and (5)

“How have Black political metrics changed over time in Alabama?”. Milligan Doc.


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409-7 at 2; Tr. 1876, 1899. Dr. Hood testified that he “undertook no independent

evaluation to determine whether these questions had any relevance to the case at

hand.” Tr. 1899.

        First, Dr. Hood testified about Black voting patterns. Id. at 1876–77. In his

 report, he compiled a list of comparison states that “had a Black population of ten

 percent or greater in 2020.” Tr. 1877; Milligan Doc. 409-7 at 3. He then considered

 Black voting patterns in those states in eight election cycles (2008–2022) in elections

 for President, Governor, and Congress. See Milligan Doc. 409-7 at 3–5 & tbls. 1–4;

 Tr. 1877. Dr. Hood testified that based on these data, in the comparison states and

 Alabama, Black voters are voting Democratic more than 90% of the time. Tr. 1881–

 82; Milligan Doc. 409-7 at 3, 5. He opined that “Black support for Democratic

 candidates across these jurisdictions could be characterized as being close to

 monolithic.” Milligan Doc. 409-7 at 6.

        Dr. Hood acknowledged that his data does not address why Black voters

 support Democratic candidates, and he did not perform a racially polarized voting

 analysis. Tr. 1882. And he testified that Black voters in Alabama are politically

 cohesive, and that Black support for Democrats in Alabama “is slightly higher than

 Black support for Democratic candidates across the average” of the comparison

 states. Id. at 1901.

        Second, Dr. Hood considered racial disparities on various sociodemographic


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factors. Id. at 1883–84. He analyzed disparity rates in Alabama and compared

Alabama’s rates with rates in twenty other states. Milligan Doc. 409-7 at 7; see Tr.

1883–84. He testified that racial disparities exist in Alabama and the comparison

states on factors such as education, healthcare, poverty, Internet access, and

incarceration. Tr. 1884–89; Milligan Doc. 409-7 at 7, 12, 15, 17–19. He opined that

for ten of the thirteen measures he analyzed, “the disparity rate for Alabama is below

the average disparity rate calculated for the comparison states” and never

“constitute[d] the maximum value among the states analyzed.” Milligan Doc. 409-7

at 20; Tr. 1889–90, 1904–07.

      On cross-examination, Dr. Hood testified that he did “not draw any

conclusions based on this data,” or “offer any opinions as to why the disparity

between Black and White residents exist.” Tr. 1903–04. He also agreed “that Black

Alabamians fare worse than White Alabamians on socioeconomic factors regarding

education, income, poverty, healthcare, unemployment, and Internet access,” but did

not track these disparities across different regions of Alabama (such as the Black

Belt). Id. at 1904. He emphasized that both Black and White Alabamians are worse

off than the populations in the comparison states. Id. at 1947–48.

      Third, Dr. Hood considered Dr. Carson’s presidential campaign. Id. at 1890.

Dr. Hood examined vote returns “from the first primary contest, the Iowa caucus,

through the primaries held on Super Tuesday,” when Dr. Carson dropped out.


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Milligan Doc. 409-7 at 20. Dr. Hood found that Dr. Carson’s “vote totals ranged

from a low of 2.6% in Massachusetts to a high of 10.8% in Alaska. Carson earned

his second highest vote total, at 10.2%, in Alabama.” Id.; Tr. 1890–91. Dr. Hood

opined that this data “provides some evidence of Republican support for minority

Republican candidates in Alabama.” Tr. 1891.

      On cross-examination, Dr. Hood agreed that “[a] single anything is not a

pattern, right. We can’t denote a pattern from one case.” Id. at 1908. He also agreed

that he “conducted no analysis of the vote shares for Ben Carson by race” (i.e., he

did not analyze the preferences of White or Black voters, the racial demographics of

the 2016 Republican presidential primary, the total turnout for that primary, or that

information for any other state) because he was not asked to. Id. at 1909–10.

      Fourth, Dr. Hood considered White support for minority Republican

candidates. Dr. Hood testified that he examined peer-reviewed journal articles, id. at

1891, including a 2015 article in Public Opinion Quarterly that he co-authored —

“True Colors: White Conservative Support for Minority Republican Candidates.”

Milligan Doc. 409-7 at 21–22. That article examined White voter behavior in U.S.

Senate and gubernatorial elections in 2006, 2010, and 2012. Milligan Doc. 409-7 at

21; Tr. 1891–92. Dr. Hood testified that he found that “[W]hite conservatives are

more than willing to support minority Republican candidates,” Tr. 1892, and that

“ideology trumps race in the case of [W]hite Republicans and their support for GOP


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minority nominees,” Milligan Doc. 409-7 at 21. Dr. Hood also cited other articles,

id. at 21–22, and opined that “the result of elections is impacted by ideological

congruence rather than race of the candidate,” Tr. 1895.

      To examine these findings in Alabama, Dr. Hood discussed the election of

Representative Paschal, a Black Republican, from a majority-White district. Tr.

1893–95. Dr. Hood testified that Representative Paschal was the first Black

Republican elected to the Legislature since Reconstruction; that his district is in

Shelby County, which does not overlap with the congressional districts at issue in

this litigation; and that “you can’t make a statewide generalization from a single state

house election within Alabama.” Id. at 1921–24.

      On cross-examination, Dr. Hood acknowledged that there were no Alabama

races analyzed in his “True Colors” article; the article provides “no analysis of White

voters’ willingness to vote for a minority candidate in Republican primaries”; and

the article “make[s] no specific findings as to White voter support for Black

Republican candidates.” Id. at 1912–15. He then read from a footnote in “True

Colors” that described another scholarly finding that: “White Democratic voters

were more supportive of Black Democratic candidates than White Democratic

candidates, whereas White Republicans were less supportive of Black Democratic

candidates as compared to White Democratic candidates, a decline of four to five

percentage points.” Id. at 1918 (reading from Milligan Doc. 456-2 at 7). He was then


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asked to read into the record several other quotations from “True Colors,” including:

      Unobtrusive survey methods under experimental designs reveal
      significantly more racial prejudice towards minority candidates.

      For instance, not only does prejudice exist toward African-American
      candidates, but it is even more severe in the case of those with darker
      complexions -- a more nuanced analysis that goes beyond the simple
      reality of racial distinctions.

      …

      Challenging the notion of a more color-blind new [S]outh, [other
      scholars] employ an unobtrusive survey list experiment and find that
      racial prejudice among [S]outhern Whites is very high vis-a-vis their
      [N]orthern counterparts and especially among White [S]outhern males,
      a pillar of support for the contemporary GOP.

      Finally, [another scholar] uses an experimental survey to conclude that,
      although some Whites not bold enough to express their disapproval of
      an African-American candidate that they otherwise are expected to
      support, cuing a racial issue, affirmative action, for example, leads to a
      large increase in the number of undecided White voters, and this is
      interpreted as racial prejudice.

      In other words, most of these White voters are not really undecided but
      they just do not want to admit they oppose the Black candidate.

Id. at 1919–20 (reading from Milligan Doc. 456-2 at 7).

      On redirect, Dr. Hood read into the transcript several quotations from the

abstract of “True Colors,” including:

      In this study, we assess the level of support that White conservative
      voters give to minority Republican candidates.

      Controlling for various factors, we consistently find that White
      conservatives are either more supportive of minority Republicans or
      just as likely to vote for a minority as they are a White Republican.

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      In other words, a null result.

      Although we hesitate to dismiss the presence of racial prejudice in
      voting behavior, in the case of White conservatives, our analyses
      suggest that the base of the GOP does not discriminate against minority
      nominees in high-profile contemporary general elections.

      At a minimum, the level of [ideological] polarization in American
      politics masks racially prejudiced voting behavior and, at a maximum,
      it renders it inoperable because White conservatives view recent
      minority Republican nominees as at least as conservative as White GOP
      nominees, and their level of support reflects this.

Id. at 1954–56 (reading from Milligan Doc. 456-2 at 2). Dr. Hood further affirmed

on redirect that when he discussed in “True Colors” other scholars’ work, he was not

adopting that research as his opinion. Id. at 1956–57.

      Fifth, Dr. Hood examined whether Black political metrics have changed over

time in Alabama. See Milligan Doc. 409-7 at 2; Tr. 1895. He studied the number of

Black elected officials in Alabama from the passage of the Voting Rights Act in

1965 to the present day. See Tr. 1896; Milligan Doc. 409-7 at 22. He testified that

there were no Black members of the Legislature in 1965, three Black senators and

thirteen Black representatives in 1981, and there are currently seven Black senators

and twenty-six Black representatives. Milligan Doc. 409-7 at 22; see Tr. 1896.

      Dr. Hood also studied Black voter registration rates. Tr. 1896. He observed

that in 1965, 23.5 percent of eligible Black voters were registered to vote, and that

number was 95.2 percent in 2024. Milligan Doc. 409-7 at 23; Tr. 1896–97. He thus



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opined that “there have been significant gains for Black Alabamians across the last

six decades.” Milligan Doc. 409-7 at 23; see Tr. 1896–97.

         On cross examination, Dr. Hood agreed that of the thirty-three Black Alabama

legislators, thirty-two are from majority-Black districts (with Representative Paschal

as the sole exception). Tr. 1926–27. And Dr. Hood acknowledged that those

majority-minority districts were the product of and maintained by the Voting Rights

Act and associated litigation. Id. at 1927–28.

         On cross examination, Dr. Hood further testified that he offered no testimony

to dispute Dr. Palmer’s or Dr. Liu’s findings of racially polarized voting; Mr.

Cooper’s or Dr. Duchin’s conclusions about the first Gingles preconditions; Dr.

Bagley’s analysis or conclusions; or Dr. Burch’s conclusions. Id. at 1898–99. He

also testified that he did not dispute Dr. Palmer’s opinion that “[a] more complete

look at primary candidates shows that Black Republicans are rarely successful,” id.

at 1924 (discussing Caster Doc 303-2 at 2–3, ¶ 9), and acknowledged that elections

featuring a minority candidate would be more “probative” in a racially polarized

voting analysis, id. at 1944. And Dr. Hood testified that he found racially polarized

voting in Alabama. Id. at 1945.

         Dr. Hood also testified during cross examination about two of his

publications. First, he testified that in his book The Rational Southerner (2012), he

wrote:



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   Simply put, we found, as the theory of relative advantage predicted,
   that the growth of [S]outhern Republicanism was primarily driven by
   racial dynamics, not class, demographic factors, or religion, as others
   have suggested.

   …

   at the midpoint of the last century, according to [another scholar],
   [S]outhern politics revolved around the issue of race. Southern politics
   in the early 21st Century still revolves around the issue of race.

   …

   Stated succinctly, the partisan and political transformation of the
   [S]outh over the past half-century has, most centrally, revolved around
   the issue of race.

   …

   What we can say is that the [S]outhern party system over the past half-
   century revolved around issues of race, not class. Much of the recent
   work on the American party system has clearly then underemphasized
   the crucial and distinctive role that race and racial dynamics have
   played.

   …

   Though we are not there yet and it is unclear when, or if, we ever will
   be, race has left an indelible imprint on the region, and it would
   certainly be a mistake to ignore the potential future role of racial
   dynamics in [S]outhern politics and, by implication, national politics.

   …

   there is considerable evidence that empowerment plays an important
   role in the extent to which African-Americans participate in a variety
   of political acts and activities. These range from donating money to
   political campaigns and attending campaign meetings to contacting
   local officials and participating in various community activities. But
   when the focal activity is registering to vote, it is difficult to see how

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        empowerment can precede -- in a causal sense -- the focal mobilization
        activity. This is particularly true in the American [S]outh.

        If empowerment is understood as significant representation and
        influence in political decisionmaking and it is measured by the
        prevalence of Black elected officials, including mayors, legislators,
        and members of Congress, then the manifestation of Black
        empowerment cannot logically precede the presence of a significant
        number of registered Black voters.

Id. at 1929–31, 1933–35 (reading excerpts from Caster Exhibits 157 and 159).

       On redirect about this book, Dr. Hood was asked whether Black and White

voters are “divided on account of racism or some sort of racial policy preferences,”

and he answered: “I would say it’s more policy preferences today. I’m not saying

that racism has been completely stamped out. But in sort of a big picture scheme of

things, I think it’s more of policy-driven outcomes.” Id. at 1949.

       Second, Dr. Hood testified about one of his articles published after these cases

began called “Switching Sides but Still Fighting the Civil War in Southern Politics”

(2022). Id. at 1936–38. There, he testified he wrote:

       Not only does an overwhelmingly [W]hite electorate now favor the
       GOP in [S]outhern politics, but in this article we have also shown with
       an inventory of public opinion data that the party’s adherents have
       reached back in time to defend the Lost Cause Myth.[45] Thus, in this

45
  Dr. Hood and his co-authors explained the “Lost Cause Myth” as having “three
tenets”: “the Confederacy’s cause was noble and just and the war was fundamentally
about states’ rights, not slavery. Second, slavery was benevolent and slaves were
content in their station, so much so that the Civil War and Reconstruction upset a
natural racial hierarchy. Third, Confederates were among the greatest soldiers in
history and they were only defeated due to the Union’s superior manpower and


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     regard, our findings support racially motivated explanations for
     partisan change in the South.

     …

     Hence, it stands to reason that contemporary debates over Confederate
     symbolism and public memory reflect ongoing conflict over racial
     inequality. Today’s racialized partisan cleavage reflects a similar divide
     over views of a racially charged past.

     …

     It is true that the modern [S]outhern Republican Party stands for a host
     of things beyond being more racially conservative than its Democratic
     opponent. But it is also undeniable that the successful GOP strategy of
     attracting [S]outhern [W]hites by capturing the conservative position
     on African American civil rights has ultimately led to the reality that
     the Republican Party has now become the defender of the very flag that
     [W]hite [S]outherners once raised against the party of Lincoln on
     bloody battlefields and later in violent skirmishes over [B]lack equality.
     In addition, modern-day GOP adherents are also much more supportive
     of honoring the Confederate fallen, as we have shown with public
     opinion data on Confederate monuments. Finally, contemporary
     [S]outhern [W]hite Republicans are also the primary apologists for an
     almost universally disavowed historical argument that the “War
     Between the States” was mainly about states’ rights, as opposed to
     slavery. This development has come to fruition despite the fact that our
     data clearly show that [W]hite [S]outherners very much value the
     South’s history and a large majority still think the Civil War remains
     relevant to American politics. Thus, the weight of the evidence shows
     that in “still fighting the Civil War,” [W]hite [S]outherners have
     rewritten history, at least with respect to switching partisan sides in
     their defense of the Lost Cause.




resources[.]” Caster Doc. 374-2 at 15 (quoting Adam H. Domby, The False Cause:
Fraud, Fabrication, and White Supremacy in Confederate Memory 4 (2020))
(internal citation omitted).

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Caster Doc. 374-2 at 13–14 (internal citations omitted); Tr. 1939–41. On redirect,

Dr. Hood opined that shifts in political parties and power in the South were not on

“account of racism,” and that race was a descriptive, not causal, factor. Tr. 1950–53.

                    b.     Dr. Christopher Bonneau

      Dr. Bonneau holds graduate degrees in political science from Ball State

University and Michigan State University and works as a professor of political

science at the University of Pittsburgh. Milligan Doc. 384-1 at 3; Tr. 1660. He has

co-authored or -edited three books and several chapters and articles on judicial

elections. Milligan Doc. 384-1 at 3; see Tr. 1662–63. He has qualified as an expert

witness in four other cases. Milligan Doc. 384-1 at 2; see Tr. 1663. He was

compensated at a rate of $350 per hour in these cases and his compensation did not

depend on the substance of his testimony. Milligan Doc. 384-1 at 2.

      At trial, Dr. Bonneau was admitted with no objection as an expert in

“American political science, election analysis, and political science research

methodology.” Tr. 1665.

      The State asked Dr. Bonneau to (1) “ascertain whether Black candidates in

elections in Alabama perform worse than [W]hite candidates on account of their

race,” and (2) respond to the opinions of Dr. Liu and Dr. Burch. Milligan Doc. 384-

1 at 2, 13–20. On the first task, Dr. Bonneau testified that he limited his analysis and

opinions to the question whether the race of the candidate matters to their success,


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and he did not consider the race of the voter. Tr. 1742–43, 1766, 1862. He also

testified that although it can be difficult to reach conclusions with a small number of

elections, “you go to war with the data you got, not the data you want.” Id. at 1819–

20.

        In his report, Dr. Bonneau opined that voting in Alabama is primarily based

on political party, not race. See Milligan Doc. 384-1 at 5–13; Tr. 1666. He testified

that he examined statewide judicial and legislative elections and that approximately

two-thirds of Alabamians vote by “straight-ticket.” Milligan Doc. 384-1 at 5. He

opined that that “[t]he prevalence of straight-ticket voting means that most voters

are voting for a political party, not a candidate.” Id.; Tr. 1694–95. At trial, he

testified that straight-ticket voting demonstrates that many Alabama voters vote for

“teams,” not “candidates.” Tr. 1695–98.

        Dr. Bonneau conceded that his initial report did not consider straight-ticket

voting patterns by race of the voter, but opined that it would be likely that straight

ticket voting is being used by both White and Black voters. Id. at 1699–708, 1829.

Dr. Bonneau testified that “a significant predictor of how well Democrats do in

Alabama is solely a result of the percentage of African-American voters in that

county.” Id. at 1678. And he estimated in his supplemental report the straight-ticket

voting attributable to race in the 2022 Alabama gubernatorial election. Id. at 1704–

08; Milligan Doc. 387-1 at 4–7.


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      Dr. Bonneau also opined about two Alabama House elections: one when a

White candidate (Philip Ensler) defeated a Black candidate (Malcolm Calhoun) in

the Democratic primary in a majority-Black district in 2022, and another when a

Black candidate (Kenneth Paschal) defeated a White candidate (Sheridan Black) in

a majority-White district in 2021. Milligan Doc. 384-1 at 10–12; see Tr. 1685–89;

Milligan Doc. 384-3 at 21. He opined that these two elections “indicat[e] that race

is not the driving force behind vote choice” and that voters “make selections based

on the candidate’s positions as well as their political party affiliation.” Milligan Doc.

384-1 at 11–12.

      At trial, Dr. Bonneau characterized Representative Paschal’s election as a

“unicorn” because “you have a Black Republican winning an election in Alabama,”

and he acknowledged that Representative Paschal was “the first Black Republican

to win election to the State House since Reconstruction.” Tr. 1688.

      Dr. Bonneau also opined about Alabama Supreme Court elections between

the 1980s and 2000. Tr. 1668–72; Milligan Doc. 384-1 at 4. He testified that both

Black candidates and Democratic candidates enjoyed little success in Alabama

judicial elections after the state became majority-Republican. Tr. 1667–76; see

Milligan Doc. 384-1 at 4. And he attributed the lack of success for those candidates

in part to lower campaign spending. See Tr. 1676–77; Milligan Doc. 384-1 at 6–9.

On cross examination, Dr. Bonneau conceded that his campaign spending opinion is


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“not drawing any conclusions about the extent to which party is a better explanation

for voting behavior than race,” nor “any conclusions about the extent to which party

is a better explanation for the observed election results than race.” Tr. 1756.

      In his report, Dr. Bonneau opined that “[i]n a multivariate regression model

including both the percentage of the registered Black population and whether the

losing [Alabama] state supreme court candidate was Black as independent

variables,” Black candidates “perform 4.3 percentage points better than [W]hite

candidates.” Milligan Doc. 384-1 at 10. At trial, Dr. Bonneau admitted a coding error

in his data on this point (he coded certain uncontested elections as contested). Tr.

1679–80. He testified that when he corrected this error, his results flipped: the data

indicated greater success (as defined by vote share) for White Democrats than Black

Democrats. Id. Dr. Bonneau testified that after the correction, only one Black

candidate would remain in the dataset for contested elections, and he “would not

have done this kind of analysis with only one candidate because there’s nothing to

explain; it’s just one election.” Id. Ultimately, he testified that with only one election

to study, “[t]here’s no way to distinguish between idiosyncratic factors and more

systematic factors when you only have one case.” Id. at 1680.

      At trial, Dr. Bonneau also testified that he examined the 2024 Republican

primary in District 2 and the 2022 congressional districts statewide, and his review




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led him to conclude that there is “a strong relationship between African-American

voters and votes received by the Democratic Party candidate.” Id. at 1690–94.

      As to his second task, Dr. Bonneau criticized Dr. Liu for examining only

biracial elections; Dr. Bonneau argued that approach “assumes that there are

differences based on the race of the candidate” and fails to account for the role of

political party. Milligan Doc. 384-1 at 18; Tr. 1717–22. Dr. Bonneau testified that

Dr. Liu limited his focus to biracial elections based on an assumption “that voters

always prefer to vote for candidates of their own race.” Tr. 1720. He further testified

that Dr. Liu’s analysis of nonpartisan elections may not effectively control for party

because voters can know the partisan affiliation of a candidate even when the

candidate does not run on a party platform. See id. at 1723–25. Dr. Bonneau testified

that Dr. Liu’s reports are “consistent with the story that political party is the most

important factor here and not race.” Id. at 1727; see Milligan Doc. 384-1 at 18.

      Dr. Bonneau further testified that Dr. Palmer’s racially polarized voting

analysis did not control for race or party because “all the Black-preferred candidates

in Dr. Palmer’s report [were] Democrats” and Dr. Palmer did not “attempt to analyze

the role of political party.” Tr. 1725–26. According to Dr. Bonneau, Dr. Palmer

observed racially polarized voting, but did not conduct a causal analysis. Id. at 1726.

      Nevertheless, Dr. Bonneau testified that he “do[es] not dispute” the findings

of Dr. Liu and Dr. Palmer that “Black voters vote differently than White voters,” id.,


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 nor contest that “Black voters vote cohesively in Alabama,” and “White voters

 ordinarily vote as a block sufficient to defeat those Black voters’ choices,” id. at

 1862. And Dr. Bonneau conceded that Dr. Palmer’s ecological inference analysis

 showed that “White voters in Alabama support White Democrats more than they

 support Black Democrats,” id. at 1789, and that if “Black voters [are] voting in

 higher numbers for Black Democratic candidates than White Democratic candidates,

 that [could] be an indication that race is the driving force behind vote choice,” id. at

 1767.

         Dr. Bonneau testified that his academic work found “that Black voters have

 historically faced unique impediments to registration and voting” and had lower

 turnout because of these impediments. Id. at 1731–32. And he testified “that race is

 likely a reason why some” Black candidates do not have success, but that it is “really,

 really difficult to disentangle race and party,” id. at 1792, 1794–95.

         Finally, Dr. Bonneau testified that ecological inference is “the preferred

 method by the court” and “probably” the best method available, but that Dr. Liu’s

 testimony that it is “one of the best methods in the history of political science” “is

 overstated significantly,” and other evidence should be considered. Id. at 1859–60.

                     c.     Dr. Wilfred Reilly

      Dr. Reilly holds a law degree from the University of Illinois College of Law

and a doctoral degree in political science from Southern Illinois University. Milligan


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Doc. 384-4 at 2; Tr. 2161. He works as a professor of political science at Kentucky

State University, where he has taught for approximately ten years. Tr. 2161; Milligan

Doc. 384-4 at 2. His research focuses on race relations, public law, political theory,

and the statistical examination of gaps between racial groups. Milligan Doc. 384-4 at

2; Tr. 2162. He has published four books, four book chapters, and numerous articles.

Milligan Doc. 384-4 at 2–3, 32–38; see Tr. 2163. Dr. Reilly does not hold himself out

as an expert in redistricting or communities of interest in Alabama. Tr. 2164.

       Dr. Reilly has testified as an expert witness in only one previous case (the state

Senate redistricting trial pending before Judge Manasco). Id. at 2211. He was

compensated at a rate of $500 per hour for his work in these cases and his

compensation did not depend on the substance of his testimony. Id. at 2328–29, 2332.

       At trial, Dr. Reilly was admitted with no objection “as an expert on political

science, with a focus on public law, international and race relations in political theory,

statistics,   group   comparisons,     methodology      and   research    methods,     and

socioeconomic gaps and their causes.” Id. at 2164.

       Dr. Reilly focused his opinions on two matters: first, the basis (or lack thereof)

for joining portions of Mobile with portions of the Black Belt in a congressional

district, and second, socioeconomic disparities between Black and White Alabamians.

       As to the first issue, Dr. Reilly’s report challenged the basis for joining portions

of Mobile with portions of the Black Belt to create a majority-Black congressional


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district. Milligan Doc. 384-4 at 3–4. He opined that it “is at very best highly

debatable” that the City of Mobile “shares more characteristics with rural Black Belt

counties than with Mobile County itself and with closely neighboring and long-

aligned Baldwin County.” Id. He opined that “‘work/live’ patterns in both directions

indicates far more connectivity between Mobile, Mobile County, and Baldwin County

than between Mobile County and any of the Black Belt counties.” Id. at 4. He

suggested that “it is difficult to argue that an increasingly sophisticated city of 200,000

has more in common with a series of small agrarian counties hundreds of miles away

. . . than with the large urban/suburban counties immediately adjacent to it.” Id. at 5.

Ultimately, he opined that “the proposed majority-minority district likely to result

from redistricting makes little sense in the context of any goal but securing more votes

for the Democratic Party.” Id.

      At trial, Dr. Reilly testified that there are more similarities between Mobile

County and Baldwin County than there are between Mobile County and the Black

Belt Counties (with the exception of Montgomery County). Tr. 2228. Dr. Reilly

testified that based on his review of “commuting patterns,” “71 percent of the people

who work in Mobile County live in Mobile County.” Id. at 2165–66. He further

testified that “[a]bout 13 percent live in neighboring Baldwin County, which is

metropolitan or suburban Mobile.” Id. at 2166. He testified that these commuting

patterns establish “a very close Mobile-Baldwin relationship.” Id. Additionally, Dr.


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Reilly testified that “78.2 percent of the people that live in Mobile City or Mobile

County work somewhere in Mobile County” and that “[e]ight percent work in

Baldwin County.” Id. at 2168.

       Dr. Reilly also testified that Mobile and Baldwin counties are both “sizeable,

populated place[s]” while “Black Belt counties are almost all small, more agrarian,

[and] semirural” with low populations. Id. at 2170. He also testified that “[t]he per

capita income in Mobile, Mobile County, and Baldwin County was over $30,000,”

which contrasts with “every single Black Belt County, except for Montgomery

County.” Id. at 2171. Dr. Reilly also testified that jobs between Mobile and Baldwin

counties are more similar than jobs between Mobile County and Black Belt counties.

Id. at 2174–75.

       As to the second issue, Dr. Reilly reported data about “disparities in

performance or behavior that currently exist between Black and [W]hite

Alabamians.” Milligan Doc. 384-4 at 4. In his report, he attributed those disparities to

“cultural variables such as fatherlessness and family structure, structural-level

variables such as Great Society welfare policy, and . . . the plain out-sourcing of

millions of American jobs in the not-too-distant past.” Id. at 5 (cleaned up). He

disclaimed the possibility of “contemporary bias, or even a still-lingering effect of

past bias.” Id.

       Dr. Reilly based his opinions about racial disparities in Alabama on national


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data. See id. at 17–29; Tr. 2183. Dr. Reilly conceded that socioeconomic disparities

exist between Black and White Alabamians, but opined that such gaps “exist almost

literally everywhere in the United States.” Milligan Doc. 384-4 at 4; Tr. 2183. Dr.

Reilly repeatedly testified that racism does not explain these disparities, Tr. 2184,

2188, 2189, 2192, 2196, 2205, 2208, 2209, and he disavowed hereditary or genetic

explanations, id. at 2185.

      Dr. Reilly observed that “[W]hite students perform better educationally than

Black students . . . in every single state,” Milligan Doc. 384-4 at 18, and Black people

are more likely to be illiterate than other racial groups, Tr. 2252. But he opined that

“the size of contemporary group gaps in SAT scoring and college attendance

correlates only slightly with any sensible measure which might be used to document

historical racism.” Milligan Doc. 384-4 at 18–19; see Tr. 2194–95. Dr. Reilly testified

that Asian-American students outperform White students in SAT scores even though

it is “completely implausible” that Whites are experiencing more racism than Asians.

Tr. 2196; Milligan Doc. 384-4 at 19. Similarly, Dr. Reilly testified that “Nigerian-

Americans . . . are the highest educated group in the USA” even though it is

“completely implausible” that “Whites experience more racism than . . . Nigerians,”

Tr. 2196. Dr. Reilly conceded that “new immigrants, like Nigerians, may not be

experiencing the same generational effects of discrimination as descendants of

enslaved Black Americans.” Id. at 2259.


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      Dr. Reilly testified that educational disparities are caused by cultural factors

such as “time spent reading books,” “[s]tudy time,” “[p]arental expectations,”

“[s]ocioeconomic class,” “[t]elevision time allowed,” and whether the individual is

an athlete or varsity sportsman. Id. at 2196–97.

      On cross-examination, Dr. Reilly admitted that “until [his] testimony in [the

state Senate redistricting trial], [he was] not aware that federal courts in Alabama have

recently entered orders requiring the school systems in Jefferson County, Huntsville,

and Madison County to address their failure to offer Black students equal access to

advanced courses.” Id. at 2257.

      Dr. Reilly testified that he is “aware of testimony in this case or in expert reports

from the Plaintiffs that Black voter turnout and registration has lagged behind White

voters in some elections.” Id. at 2191. He opined that these gaps are not statistically

significant, Milligan Doc. 384-4 at 27, or the result of racial discrimination, Tr. 2191;

and he attributed them to age, fatherlessness, and felon disenfranchisement, id. at

2191–92. Dr. Reilly testified that “nationally, the average African-American is a little

under 30” while the “[a]verage White American is over 50” and “young people are

much less likely on average to vote than seniors.” Id. He also testified that

“[f]atherlessness . . . bluntly has a negative impact on most forms of civic

participation.” Id. at 2191. And he testified that “felon disenfranchisement” where

“something like 15 percent of Black Alabamians can’t vote because of previous


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felony crimes” is another reason for relatively lower Black voter turnout. Id. at 2192.

      Dr. Reilly opined that “Black Americans are over-represented relative to

[W]hite Americans in every state prison system in the country,” Milligan Doc. 384-4

at 22–23; see Tr. 2202–03, even though “[n]ationally and in Alabama . . . more than

twice as many Whites as Blacks . . . commit crimes every year,” Tr. 2268. He testified

that “offenses vary dramatically across population groups” and that “[d]ifferent

groups have different pathologies.” Id. at 2206. He testified that “Black Americans

generally commit the actual numerical majority of murders.” Milligan Doc. 384-4 at

29; Tr. 2205–06, 2268. He testified that “because the sentence handed down for

murder is often life or closer,” Tr. 2268, “murderers make up the largest single bloc

of inmates across the USA’s federal and state prisons,” Milligan Doc. 384-4 at 29.

Dr. Reilly opined that “realities like this largely explain racial disparities in long-term

incarceration rates.” Milligan Doc. 384-4 at 29; see Tr. 2268–69.

      On cross examination, Dr. Reilly conceded that he is “not a professional expert

on [S]outhern politics” and that his academic work did not focus on Alabama politics.

Tr. 2212. He testified that he has not “conducted academic research on the concept of

communities of interest” or “on defining communities of interest” in Alabama “or

anywhere else.” Id. He testified that he is “not a historian” or “an expert on Alabama

history.” Id. at 2214. And he testified that he did not evaluate Alabama-specific data

to form his opinions on social gaps, and his analysis of disparities was based on


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national data. Id. at 2249–50.

          Dr. Reilly also testified about various matters concerning his credibility and

 the reliability of his opinions. He conceded that he relied on sources such as Zillow

 and Wikipedia in his scholarly works and expert report, id. at 2217, 2230–31, and

 that some data in his report is uncited, id. at 2306–07. 46 In response to Dr. Bagley’s

 report, Dr. Reilly testified that he has “some questions about what food insecurity

 means in the United States, given obesity rates.” Tr. 2239. He also testified that “past

 history as a slave or conflict state does not predict the size of SAT or incarceration

 gaps,” even as he conceded he did not conduct analysis on that issue in this case. Id.

 at 2251. And when he was asked why one of his tables depicted “a thousand people

 liv[ing] in Mobile but work[ing] in Tuscaloosa” and “3,600 liv[ing] in Mobile and

 work[ing] in Jefferson County,” commutes of several hours each, Dr. Reilly

 responded, “I don’t know exactly what the source of that is. I noticed that myself, in

 fact.” Id. at 2342.

          Dr. Reilly described himself at trial as “an evocative writer.” Id. at 2232.

 Despite his disavowal of genetic explanations for racial gaps in educational

 attainment, he admitted that he posted on social media that “this whole debate

 illustrates why it is so silly to pretend IQ science does not exist” and that “U.S.

 Blacks at 92 [and] Whites at 103 . . . [is] correct.” Id. at 2312. He also posted that


 46
      His report also cites Reddit and Quora. Milligan Doc. 384-4 at 21.

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 “[y]ou could literally pay smart Black people to have kids or boost Black merit

 immigration, to boost Black IQ, which, given what we do know about biracial

 scores, probably isn’t low’ish for genetic reasons. This is really a very solvable

 problem.” Id. at 2353–55.

                     d.     Dr. Adam Carrington

      Dr. Carrington holds graduate degrees in political science from Baylor

University and now works as an associate professor of political science at Ashland

University (formerly, he was a professor at Hillsdale College for ten years). Milligan

Doc. 384-2 at 1; Tr. 1546–47. His research focuses on “American political institutions

in their historical context, including the judiciary, the presidency, and political

parties” and he has published a book, book chapters, and articles. Milligan Doc. 384-

2 at 1, 39–41; see Tr. 1548, 1583. Other than the recent state Senate redistricting trial

before Judge Manasco, Dr. Carrington has never previously served as an expert

witness in litigation. See Milligan Doc. 384-2 at 43. Dr. Carrington was compensated

at a rate of $300 per hour for his work and his compensation did not depend on the

substance of his testimony. Id. at 1.

      The State offered Dr. Carrington “as an expert in political science, political

parties, and the partisan shift in the American South,” and the Plaintiffs objected to

his qualifications as to “identified partisan shift in the American South.” Tr. 1550–51.

We received his testimony. Id. at 1553.


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      Dr. Carrington testified that his doctoral degree did not focus on the South and

he has not published work about post-Reconstruction politics in the South (aside from

work about the judiciary in the South). Id. at 1583–85. He testified that his academic

work has not focused on post-1960s politics in the South, nor Alabama politics. Id. at

1583–84. Dr. Carrington testified that his scholarly work has not focused on partisan

alignment post-1960s, nor the role of race in partisan alignment. Id. at 1585–86.

      Nevertheless, Dr. Carrington opined that he “sought to provide a fuller context

for how Alabamians in 2024 come to identify with and vote for one of the two major

political parties,” Milligan Doc. 384-2 at 36, and he testified that Southern politics

today is not dominated by race, Tr. 1556. At trial, Dr. Carrington testified that the

campaigns of former Alabama Governor George Wallace show the diminishing

power of race in Alabama politics as early as 1971. Dr. Carrington testified that in

1968, Wallace’s “anti-integration viewpoints helped him attract support among White

voters in Alabama when he ran for president,” id. at 1606, and that “as early as his

1971 inauguration, he is saying the government of Alabama is for all Alabamians,

White and Black,” id. at 1610. Dr. Carrington acknowledged that Wallace might not

have “meant” what he said in 1971, but said that nevertheless, those statements

“show[] that, even among a staunch segregationist, he saw things he had to say and

argue in an Alabama context that shows a diminishing power of race.” Id. at 1610.




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      Dr. Carrington testified that he does not dispute the existence of racially

polarized voting in Alabama, only the reasons why voting is racially polarized. Id. at

1596–97. He testified that he does not “deny that race plays any factor whatsoever in

the minds of any voters in Alabama in 2024.” Id. at 1581.

      Dr. Carrington testified about the history of the realignment of the South from

majority-Democrat to majority-Republican, and he focused on White voters. See id.

at 1553–71. He testified that the shift was not solely or primarily caused by race, but

by differences in factors such as economics, foreign policy, and social issues like

religious ideology or abortion. Tr. 1557, 1571–72; see generally Milligan Doc. 384-

2. Dr. Carrington testified that he analyzed White voting patterns, but not Black voting

patterns. Tr. 1555, 1597, 1601. He testified that Alabama patterns aligned with

Southern patterns, but he did not study Alabama elections. Id. at 1608, 1628–31.

      Dr. Carrington also testified about shifts in Southern voters who identify as

religious, opined that race does not trump religion among Alabama voters, and argued

that voters’ positions on social issues drive their party affiliations. See id. at 1571–78.

In response to criticisms from Dr. Bagley and Dr. Burch, Dr. Carrington conceded

that he did not evaluate the religious beliefs or observance of Black voters, or its effect

on their voting patterns. Id. at 1618–20. But he acknowledged that Black and White

Christians in Alabama hold similar views on abortion. Id. at 1621.




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      At trial, Dr. Carrington testified about the use of racial appeals in several

national campaigns. See id. at 1564, 1592–93, 1595–96, 1629–30. He conceded that,

aside from his responses to Dr. Bagley’s report, he did not evaluate any recent

campaign advertisements of Alabama politicians and did not reach any conclusions

about whether campaigns in Alabama are characterized by racial appeals. Id. at 1588.

Dr. Carrington conceded that former Congressman Brooks’s reference to a “war on

Whites” may have been an “attempt[] to appeal to White voters.” Id. at 1594.

      Dr. Carrington also testified about matters going to his credibility and the

reliability of his opinions. Dr. Carrington was asked about three prominent figures in

Alabama history: Fred Gray, U.W. Clemon, and Frank Johnson. See id. at 1622–23,

1645. In all three instances, Dr. Carrington did not know who the person was and

could not offer a single sentence about them or their work. See id. 47 When asked


47
   As the reader is aware, Mr. Gray and Mr. Clemon were among Alabama’s first
Black state legislators. See supra Part I.I.1; Part IV.A.3.b. By way of further
background, Mr. Gray is a Montgomery civil rights lawyer known for major civil
rights litigation, including his representation of Rosa Parks, Martin Luther King, Jr.,
and the victims of the Tuskegee Syphilis Study. See Fred Gray, Encyclopedia of
Alabama, https://encyclopediaofalabama.org/article/fred-gray/. After his time in the
Legislature and practicing law, U.W. Clemon became the first Black federal judge in
Alabama and served for nearly thirty years. Judge U.W. Clemon, United States
District     Court      for    the    Middle      District  of    Alabama,       https:/
www.almd.uscourts.gov/oral-histories-profiles/judge-uw-clemon. Mr. Clemon is a
lawyer in this case and was present during Dr. Carrington’s testimony. Finally, Frank
Johnson was a federal judge known for historic civil rights rulings, including in cases
involving the Montgomery Bus Boycott and the march from Selma to Montgomery.
About Judge Johnson, The Judge Frank M. Johnson, Jr. Institute,


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whether he “regard[ed] Frank Johnson as beyond the scope of [his] report,” he

testified that “it’s obviously someone [he] did not look at.” Id. at 1645.

      Dr. Carrington also testified about an opinion piece he published about the

 Supreme Court’s affirmance of our first preliminary injunction, in which Dr.

 Carrington referred to the affirmance as a “missed opportunity” for the Supreme

 Court to follow pre-1982 Voting Rights Act precedents. Id. at 1626–28. Dr.

 Carrington testified that he wrote the piece before the State retained him as an expert.

 Id. at 1626.

                4.   Fact Witnesses Called at Trial

        The State offered two fact witnesses at trial: Ms. Slay and Senator Bobby

 Singleton.

                     a.     Leonette Slay

        First, the State called Ms. Slay, who initially testified in the Singleton

 Plaintiffs’ case-in-chief (with an objection for consideration in Milligan and Caster

 cases). On examination by the State, Ms. Slay testified that she “cannot speak to the

 communities outside of” Jefferson and Tuscaloosa Counties and does “not purport

 to represent or speak on behalf of any Black individuals or communities within those


https://www.thejohnsoninstitute.org/. Judge Johnson’s rulings “repeatedly defied
racist Alabama Governor George Wallace, a law school classmate,” and the Ku Klux
Klan called him “the most hated man in Alabama.” Judge Frank Johnson –
International Civil Rights Walk of Fame, National Park Service,
https://www.nps.gov/features/malu/feat0002/wof/Frank_Johnson.htm.

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two counties.” Id. at 2387. She testified that she does not believe the Special Master

Plan is racially gerrymandered, and that her “aspirational goal” is to keep Jefferson

County whole, but that “if that’s not possible, [she] fully support[s] the Court-

ordered plan that led to the ability for other counties to elect a candidate of their

choice.” Id. at 2389–90.

                    b.     Senator Bobby Singleton

      Second, the State offered testimony from Singleton Plaintiff Bobby Singleton,

who represents “parts of Tuscaloosa, Hale, Greene, Sumter, Marengo, and Choctaw

Counties” in the Alabama Senate. Id. at 2362–63. Senator Singleton is a Black

Democrat and has served in the Legislature since 2002. Id. at 2363. He testified that

he thought it was important that “Jefferson County should be made whole” in a

congressional district and that from an economic standpoint, “it works better for [the

residents] to be in a whole county in a district alone.” Id. at 2369–70. He testified

that he supports the Special Master Plan and does not believe it racially

gerrymanders Jefferson County. Id. at 2370–71. Senator Singleton testified that he

has known Senator Livingston “for the last six to eight years” and they interact

together in the Senate. Id. at 2373. He said that he has never heard Senator

Livingston make a remark that Senator Singleton considers racist, and that he gave

Senator Livingston a bear hug at the end of the last special session. Id. at 2374.




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             5.     Testimony from State Senate Redistricting Trial

      Of the eight witnesses in the Alabama Senate redistricting trial from whom

the parties stipulated we may consider testimony, the State offers five in these cases.

See Milligan Docs. 441 at 2–3, 395 at 2–4.

                    a.     Colonel Jonathan Archer

      Colonel Archer serves as the Director of the Department of Public Safety at

the Alabama Law Enforcement Agency (“ALEA”). Milligan Doc. 441-1 at 7. He

previously served as the Chief of the Driver’s License Division of ALEA. Id. at 9.

Col. Archer testified about Dr. Bagley’s assertion that the closures of certain driver’s

license offices in 2015 was a recent act of official discrimination against Black

Alabamians. See id. at 23. He testified that certain offices were closed at that time

due to financial and staffing concerns, when ALEA decided that “it would be better

to suspend operations in those offices so th[e] examiners [at those locations] could

remain at the district offices to serve more customers.” Id. at 16. He testified that the

suspension lasted for thirty days and conceded that ALEA reopened the offices as

part of a memorandum of understanding with the federal Department of

Transportation that did not admit liability for discrimination. Id. at 22, 24, 38.

                    b.     Valerie Branyon

      Ms. Branyon is Black and a County Commissioner in Fayette County who

represents a district that is half White and half Black. Milligan Doc. 441-2 at 8–9,



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12, 28. She ran as a Republican in 2024 and previously ran as a Republican in 2020.

Id. at 9–10, 20. In 2020, she defeated a White Republican in the primary but lost to

a Democrat in the general election. Id. at 20–21. Ms. Branyon explained that she

joined the Republican Party because of its stances on issues like abortion and same-

sex marriage. Id. at 10. She testified that her campaign received support from the

local and state Party, and the state Party invited her to a campaign training. Id. 16–

20, 28; accord Milligan Docs. 459 at 2, 459-2.

                    c.     Cedric Coley

      Mr. Coley is a Black Republican voter in Montgomery. Milligan Doc. 441-3

at 7–8, 10, 17. He testified that he joined the Republican Party around 2016 and that

members of the Republican party were “welcoming.” Id. at 18–19, 35. He is a

member of the Montgomery County Republican Executive Committee and has held

various positions in the Montgomery County Republican Party. See id. at 19–21, 23.

      Mr. Coley is also involved in the Alabama Republican Party. He testified that

he was appointed as regional director of the Alabama Outreach Coalition for the

state Party, served as co-chair for Mo Brooks’s federal senatorial campaign in

Montgomery County, and “served as a field representative helping to consult

candidates for . . . the State Senate.” Id. at 21–22. As a field representative, the state

Party paid him to advise candidates. Id. at 23–24. Mr. Coley testified that he is also

a member of the Alabama Minority GOP, a group that is “a launch pad for minority


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Alabamians.” Id. at 22.

      Mr. Coley testified that he believes there is a “globalist network of

international cartels that are deliberately destroying our nation,” and that these

cartels are working through the education system, economy, and “sections of the

judicial system and some sections of intelligence agencies.” Id. at 44. He testified

that the COVID-19 “plandemic” was a bioweapon created by China. Id. at 43–44.

      Mr. Coley testified that he does not believe that Republican candidates use

racial appeals to attract voters. He also testified about his social media posts. Id. at

45–49. He was asked specifically about his post of an image that depicted two hand

gestures. One gesture (that Mr. Coley acknowledged the FBI has described as

indicating White supremacy) was by a White hand, above the text “Jobs, vote for

civility, vote for prosperity, vote for unity, vote for patriotism, vote Republican.” Id.

at 48–49. The other gesture (that Mr. Coley acknowledged has been associated with

communism, uprisings, and “[B]lack power,”) was by a dark fist with text that read

“Not mobs. . . . Walk away from violence, walk away from hypocrisy, walk away

from globalist Democrats.” Id. at 47–48. At the state Senate redistricting trial, Mr.

Coley testified that he never intended to advocate for White supremacy. Id. at 51.

                    d.     Karen Landers, M.D.

      Dr. Landers works as the Chief Medical Officer of the Alabama Department

of Public Health (“the Department”); she joined the Department in 1982 and became


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its Chief Medical Officer in 2022. Milligan Doc. 441-5 at 9, 18, 29–30.

       On direct examination, Dr. Landers testified that during the pandemic, the

Department engaged in outreach to the minority community, offering testing and

care in sixty-six out of sixty-seven counties, and engaged in further minority

outreach after vaccines became available. See id. at 20–26.

       On cross examination, Dr. Landers acknowledged that Black Alabamians

were disproportionately hospitalized with and died from COVID-19, id. at 31–32;

Black Alabamians are at a higher risk for underlying chronic health problems, such

as diabetes or hypertension than White Alabamians, id. at 32–33; and Black

Alabamians have less access to health care than White Alabamians, id. at 33. She

testified that racial disparities in health care “result from barriers like a lack of access

to education and information” that the Department is working to improve. Id. at 40,

47–48.

       Dr. Landers testified that in 2022 the Department entered a resolution

agreement with the federal government about Lowndes County residents who were

without adequate sewage disposal infrastructure, and “no fault was found with the

state of Alabama related to any discriminatory practices against the citizens of

Lowndes County.” Id. at 36, 43, 49. She testified that progress has been made in the

treatment of sewage in Lowndes County. Id. at 43. She testified that the Department

initiated a community survey that could be used to rank individuals “to be eligible


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to apply to get a septic tank system that would be paid for through some funding . .

. from the state of Alabama,” and its efforts to educate the community about how to

maintain sewage systems after receiving a working system. Id. at 44.

                   e.     Bill McCollum

      Mr. McCollum is a Black registered voter who lives in Fayette County.

Milligan Doc. 441-6 at 7–10, 22. Mr. McCollum testified that he joined the

Republican Party because he “did[] [not] like a lot of the policies” advocated by the

Democratic Party and liked conservative values. Id. at 9–10. He has served as vice-

chairman of the Fayette County Republican Party for 15 years and has been a

member of the Alabama Republican Party State Executive Committee for more than

15 years. Id. at 10–12.

      He testified about his experience running for office in five elections. He

testified that he experienced resistance to his candidacy in his first election in the

1970s, but became the first Black candidate to qualify in Fayette County. Id. at 18–

19, 27. And he testified that he received support from the Fayette County Republican

Party and Alabama Republican Party in his most recent campaign. See id. at 14–16.

             6.    Designated Deposition Testimony

      The State offered seven witnesses by deposition. Milligan Doc. 259.




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                     a.     Kenneth Boswell

        Mr. Boswell 48 served the city of Enterprise, Alabama for seven years, first on

the City Council and then as Mayor. Milligan Doc. 459-1 at 4. Since 2017, he has

worked as Director of the Alabama Department of Economic and Community

Affairs (“ADECA”). Id. at 5. He testified that ADECA is funded primarily through

federal funds and works to expand access to broadband and healthcare. Id. at 6, 8,

13. He testified that its broadband efforts have “had a wonderful impact on all

Alabamians that did not have access before.” Id. at 8. He testified that during the

pandemic, ADECA “spen[t] dollars on Alabama broadband connectivity for

students” and “focus[ed] on low to moderate income levels that did not and could

not afford internet.” Id. He said that ADECA focuses on “all areas of the state,”

particularly “rural areas.” Id. at 9.

                     b.     Brad Kimbro

        Mr. Kimbro 49 works as the Chief Operating Officer of the Wiregrass Electric

Cooperative. See Milligan Doc. 459-11 at 3, 9–10. He testified that the Wiregrass is

“centered around Dothan,” but that “it’s made up of a lot more smaller towns.” Id.

at 7. He spoke about the infrastructure and economic challenges the Wiregrass faces



48
     Mr. Boswell was deposed on August 12, 2024. Milligan Doc. 459-1.
49
  Mr. Kimbro was deposed on August 11, 2023, and August 29, 2024. Milligan
Docs. 459-10, 459-11.

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as a rural farming community, and added that he has spoken with Congressman

Moore about these issues. Id. at 7, 11–12, 18–19. He testified about his experience

working with community partners to deliver broadband to the area. Id. at 9–11. He

also described the importance of Fort Novosel (an Army base), cultural events like

the Rattlesnake Rodeo, and Troy University. Id. at 12–14, 23–24.

        Finally, Mr. Kimbro said that “he could see someone making a case” for

Crenshaw and Pike Counties belonging to both the Wiregrass and the Black Belt. Id.

at 15–16. He testified that he believes that the 2023 Plan “represents the Wiregrass

region better” than other maps. Id. at 26–27.

                    c.    Lee Lawson

        Mr. Lawson 50 lives in Baldwin County and serves as president of the Baldwin

County Economic Development Alliance. Milligan Doc. 459-12 at 3–5. Mr. Lawson

testified that “the City of Mobile is economic hub of South Alabama” and explained

that his organization works with Mobile organizations and officials on economic

projects. Id. at 5–6. He testified that approximately 60,000 people commute to work

between Baldwin and Mobile Counties daily. Id. at 6, 8. He also testified that tourism

is Baldwin’s County’s “largest economic driver” and it “is one of Alabama’s fastest

growing counties” with “unique” concerns. Id. at 9–10, 13.


50
     Mr. Lawson was deposed on September 4, 2024. Milligan Doc. 459-12.



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        Mr. Lawson testified that he does “not see the Black Belt and Mobile” as

“being linked together” and that he has concerns about “sharing a large portion of

[their] congressional district with Wiregrass counties because that focus and that

representation will be diluted across other economic and political priorities.” Id. at

5, 11–12.

                     d.    Gerald Nix

        Mr. Nix51 works as a statistician at the Alabama Department of Labor.

Milligan Doc. 459-17 at 6–7. He “update[s] publications and reports that are on the

workforce development portion of the Labor Market Information website within the

Alabama Department of Labor website” and promotes use of that website across the

state. Id. at 6. Mr. Nix testified that the website data in the county profiles about

commuting patterns are not analyzed or confirmed by the Alabama Department of

Labor, but are simply pulled from U.S. Census Bureau publications. Id. at 13–14.

                     e.    Mike Schmitz

        Mr. Schmitz52 is a former mayor of Dothan who expressed concern about

keeping the Wiregrass and Southeast Alabama together in a congressional district.

Milligan Doc. 459-21 at 6–7; Milligan Doc. 459-22 at 9. He testified that the

Wiregrass Counties have important ties to each other and offered as examples the


51
     Mr. Nix was deposed on July 17, 2024. Milligan Doc. 459-17.
52
     Mr. Schmitz was deposed on August 10, 2023. Milligan Doc. 459-21.

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Southeast Alabama Gas district and Fort Novosel. Milligan Doc. 459-22 at 7–9, 18.

        Mr. Schmitz acknowledged that the Black Belt and Wiregrass, as the

Legislature defined those areas in SB-5, overlap and might have shared interests

because they are both rural. Id. at 11–12. He also testified that the Special Master

map resolved “some” of his concerns “[b]ecause they did keep the Wiregrass

together” and Dothan would remain in Congressman Moore’s district. Id. at 12–14.

                    f.    Derrick Turner

        Mr. Turner53 is a Black resident of Baldwin County. Milligan Doc. 459-26 at

3, 7. Mr. Turner grew up in Prichard (north of Mobile) and holds a degree from

Tuskegee University. Id. at 6. He previously worked at the Alabama Department of

Industrial Relations 54 and now works at the Mobile Career Center. Id. at 8–12. Mr.

Turner testified about visiting other career centers in the state, estimated that there

are 57 career centers in the state, and confirmed that a brochure listed centers in

Choctaw, Clarke, Conecuh, Escambia, Monroe, Washington, and Wilcox Counties.

Milligan Doc. 459-26 at 12, 18, 21.

        Mr. Turner testified that the median income for Black Alabamians is lower

than for White Alabamians because “the employment rate [is] lower.” Id. at 26. Mr.



53
     Mr. Turner was deposed on August 26, 2024. Milligan Doc. 459-26.
54
  That agency later became the Department of Labor, Milligan Doc. 459-26 at 10,
and is now the Department of Workforce, see Ala. Code § 25-2-1.2.

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Turner testified that the “proportionality” of Black Alabama families living in

poverty is greater than that of White families. Id. Mr. Turner testified that “based

upon what [he has] heard from media in various stories, that the access to internet

and technology is more a regional thing than a racial thing,” but acknowledged that

Black Alabamians might proportionally have less access. Id. at 27.

        Mr. Turner testified that he initially became a Democrat because of his family,

but now affiliates with that party because it aligns with his beliefs about the middle

class and civil rights. Id. at 15. Finally, he testified that he believes Black

Alabamians have “traditionally” been underrepresented. Id. at 16–17.

                     g.    Jeff Williams

        Mr. Williams 55 works as the regional president for SmartBank and serves in

leadership positions at the Chamber of Commerce and Housing Authority in Dothan.

Milligan Doc. 459-27 at 7; Milligan Doc. 459-28 at 4, 5–6. At the bank, Mr.

Williams oversees mortgage operations and retail banking in Dothan, Auburn,

Destin, Panama City, and Tallahassee. Milligan Doc. 459-28 at 4.

        Mr. Williams testified that “the [W]iregrass is one cohesive unit, one cohesive

area that works together.” Milligan Doc. 459-27 at 5. He testified that he would have

concern about being placed in a congressional district with Mobile because it “is a




55
     Mr. Williams was deposed on September 6, 2024. Milligan Doc. 459-28.

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completely different geography and culture” with “different types of industries.” Id.

at 10. He testified that the Wiregrass lacks interstate access and a major airport and

centers around a military base and agriculture. Milligan Doc. 459-28 at 6–7.

      Mr. Williams testified that three counties overlap in the definitions of the

Wiregrass and Black Belt in the 2023 Plan. Id. at 8–9, 16. And he acknowledged that

the Special Master Plan kept the five counties around Dothan together, so his

representation would be unlikely to change in the 2024 election. Id. at 10–11.

      E.     Attacks on Section Two
             1.    Constitutionality of Race-Based Redistricting

      The State argues that even if Section Two “could have authorized race-based

redistricting in the past, race-based redistricting justified by §2 no longer passes

Constitutional muster today.” Milligan Doc. 481 at 220–21, ¶ 597. It argues that

since the Voting Rights Act was amended in 1982, “‘things have changed

dramatically’ in the South ‘in large part because of the Voting Rights Act.” Id. at

222, ¶ 604. The State asserts that “voter turnout and registration rates now approach

parity, blatant discriminatory evasions of federal decrees are rare, and minority

candidates hold office at unprecedented levels.” Id. at 223, ¶ 605.

             2.    Private Right of Action

      The State argues that “Congress has not expressly authorized private persons

to sue under §2” and “whether §2 contains an implied private right of action” has

been “an open question” unresolved by the courts. Id. at 226, ¶¶ 616–17. The State

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reasons that “Congress does not create substantive rights when enforcing the

provisions of the Fourteenth and Fifteenth Amendments,” and because the Voting

Rights Act “is Fifteenth Amendment enforcement legislation,” “it created only ‘new

remedies,’ not new rights” that are privately enforceable. Id. at 227, ¶¶ 620, 621.

The State further argues that Section Two “did not create the right to be free from

racial vote dilution” or “dilutive effects in voting.” Id. at 228, ¶¶ 622–23. It asserts

that “the right to an undiluted vote is a constitutional right recognized by the

Supreme Court before the [Voting Rights Act] was enacted,” and “[p]rotecting an

existing right is not creating a new one.” Id. at 228, ¶ 622.

V.     FINDINGS OF FACT AND CONCLUSIONS OF LAW – VOTING
       RIGHTS ACT

       We first consider whether the Plaintiffs have established their Section Two

claims. We reiterate that we rely on evidence adduced by all Plaintiffs because all

parties have stipulated that absent a specific objection, we may do so. Milligan Doc.

445 at 13 (pretrial order). We then address the State’s attacks on Section Two.

       A.    The Plaintiffs establish a Section Two violation.

             1.     Gingles I – Numerosity

       Based on the parties’ stipulation in Milligan and Caster, we find that “[t]here

is a numerically sufficient number of Black people of voting age in Alabama to draw

[] two majority-Black Congressional Districts.” Milligan Doc. 436 at 25.




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             2.     Gingles I – Reasonable Configuration

      We next find that the Plaintiffs have (again) established that, as a group, Black

voters in Alabama are “sufficiently . . . compact to constitute a majority in a [second]

reasonably configured district.” Allen, 599 U.S. at 18 (quoting Wis. Legislature, 595

U.S. at 402). We analyze this issue six ways, and we begin by making credibility

determinations.

                    a.     Expert Credibility Determinations
      Dr. Duchin

      We find Dr. Duchin’s testimony highly credible. Dr. Duchin is an eminently

qualified expert – she has earned relevant degrees from some of the world’s finest

educational institutions, her research focused on redistricting is regularly reviewed

by her peers and selected for publication in leading journals, and her work on

redistricting includes both academic and litigation work. See supra Part IV.A.1.

      Throughout Dr. Duchin’s reports and testimony, her opinions were clear and

consistent, and she explained the basis for each step of her analysis and every

conclusion she drew. She explained a complex process in a manner that was

sufficiently clear for non-mathematicians to understand it, evaluate it, and ask her

questions about it. See Milligan Docs. 68-5, 76-4, 385-3, 385-7; Tr. 279–366.

      Dr. Duchin subjected her work to very high standards and rigorous quality

control. Every time she was asked whether she had reviewed relevant materials, she



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had. See, e.g., Tr. 300, 321, 285–86, 325. She was careful not to overstate her

opinions or testify about matters outside their scope. See, e.g., Tr. 317–18, 320.

      During Dr. Duchin’s live testimony, we carefully observed her demeanor,

particularly as she was cross-examined. She consistently defended her work with

careful and deliberate explanations. Her testimony was internally consistent and

supported. We find that her work is highly reliable and helpful to the Court.

      We particularly credit Dr. Duchin’s extensive testimony that in her

experienced view, her remedial districts are reasonably configured. See, e.g.,

Milligan Doc. 385-3 at 4–5, 9; Tr. 282–313; Part IV.A.1. And we credit her

testimony that race did not predominate in her map-drawing process. See Tr. 287–

89, 292, 365 (testifying that “[a]s a matter of process, race is a consideration that

doesn’t dominate others”; that she “just did not look at race” as she placed district

lines; that she “periodically checked to see if the plan, as a whole, had that property

of two majority-Black districts”; and that when she ultimately decided which of her

maps she would submit to the Court, she screened out any that did not include two

majority-Black districts); see also supra Part IV.A.1; infra Part V.A.2.c.

      Mr. Cooper

      We also find Mr. Cooper’s testimony highly credible. Mr. Cooper has spent

the majority of his professional life drawing maps for redistricting and demographic

purposes, and he has accumulated extensive expertise (more so than any other


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Gingles I expert in the case) in redistricting cases, particularly in Alabama. See supra

Part IV.B.1. His command of districting issues in Alabama is sufficiently strong that

when he first became involved with these cases, he was immediately confident that

he could draw an appropriate remedial plan, and he was able to sketch out a draft in

less than a day. Tr. 229–31. We believe him when he says that “it is very obvious”

to him that a reasonably configured remedial district is possible, and that “[i]t would

just be a question of how you would draw them and how you improve what you may

have initially sketched out.” Id. at 230–31.

      Throughout Mr. Cooper’s reports and his live testimony, his opinions were

clear and consistent, and he had no difficulty articulating his basis for them, even on

aggressive cross-examination. See Caster Doc. 48; Caster Doc. 65; Caster Doc. 352-

1; Caster Doc. 352-2; Tr. 104–234. But he was not dogmatic: he took seriously Dr.

Trende’s criticism of the compactness of his first eight plans and prepared a ninth

plan in response. See Caster Doc. 352-2 at 6–7.

      Mr. Cooper’s testimony demonstrated his independence of thought and

integrity. See Tr. 121–22; 166–67 (testifying that he “routinely” consults with

counsel or potential plaintiffs and advises them that in his opinion, they cannot

satisfy the first Gingles precondition). This testimony enhances Mr. Cooper’s

trustworthiness and our regard for his opinions.

      During Mr. Cooper’s live testimony, we carefully observed his demeanor,


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particularly as he was cross-examined. He consistently defended his work with

careful and deliberate explanations. His testimony demonstrated his respect for the

role of the Court and his role as an expert. See supra Part IV.B.1. We observed no

internal inconsistencies or other defects in his testimony. We find his work highly

reliable and very helpful to the Court.

      As with Dr. Duchin, we particularly credit Mr. Cooper’s repeated testimony

that in his considerably experienced opinion, his remedial districts are reasonably

configured. See Caster Docs. 352-1, 352-2; Tr. 109–10, 115–17, 119–197; supra

Part IV.B.1. And we credit his extensive testimony that race did not predominate in

his map-drawing process. See, e.g., Tr. 124 (answering “[a]bsolutely not” to the

question whether race predominated in his plans); id. at 153–54 (testifying that he

never split a VTD for “the purpose of bolstering the Black Voting Age Population

in a particular district,” nor “for the purpose of creating a majority-Black district”);

id. at 172–73. (“I would not have gone to 50 percent plus one for a second majority-

Black district if I were not also balancing the other traditional redistricting

principles.”); id. at 124 (testifying that he knew race did not have to predominate to

draw two majority-Black districts because he “was looking at the traditional

redistricting principles” and “taking all of that into account”); see also supra Part

IV.B.1; infra Part V.A.2.c. This testimony echoed Mr. Cooper’s testimony at the

preliminary injunction hearing:


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      Q.    So what specific traditional districting principles did you
      consider in drawing the illustrative plans in this case?

      A.     Well, I took all of them into consideration. I examined the
      document produced back in May by the Alabama Legislature outlining
      the guidelines for redistricting. But a lot of that just incorporates the
      general concept of traditional redistricting principles. So I didn’t
      prioritize any of them. I tried to balance them.

      …

      Q.      So was any one factor of the ones we just mentioned
      predominant, the predominant factor when you were preparing your
      illustrative plans in this case?
      A.    Not really. I feel like I gave them equal weighting. It would be
      possible to prioritize others and come up with different configurations,
      but perhaps at the expense of one of the key redistricting principles. So
      you could draw very compact districts, but they might split numerous
      counties because they’re perfect squares. Or you draw a district that is
      -- two districts that are maybe 60 percent Black, but they wouldn’t be
      contiguous. That, you know, so you have to balance it.

      Q.      And did race predominate in your development of any of the
      illustrative plans?

      A.     No. It was a consideration. This is a Section 2 lawsuit, after all.
      But it did not predominate or dominate.

Jan. 5, 2022 Tr. 439–41.

      This testimony strikes us as particularly trustworthy for two reasons: first,

because Mr. Cooper explained the care he took not to alert himself to information

about race that might allow it to become predominant. See id. at 143 (testifying that

when he draws maps, he “[n]ever ever” “employ[s] color coding . . . by race at the

district level,” and he “never look[s] at” color-coded racial heat maps like those Dr.

Trende included in his analysis). Mr. Cooper identified with specificity the only

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information about race that he was aware of as he placed lines: (1) he was “generally

aware of where the municipalities that are predominantly Black are,” and (2) he

generally “knew where the precincts with a BVAP above [30 percent were].” Id. at

163–64.

      Second, Mr. Cooper’s testimony that race did not predominate in his

mapdrawing strikes us as especially trustworthy because Mr. Cooper explained what

did drive his decisions about where to place district lines: “[E]xisting lines or at least

existing demarcations by the Census Bureau.” Id. at 145–46. Mr. Cooper explained

that such “existing lines” could include “odd-shaped municipalities”; topographical

features like mountains, ridges, and valleys; precinct lines; and primary roads. Id. at

144–46. In Mr. Cooper’s view, this is the only way to do it properly, and others with

a different view (such as Dr. Trende) have misunderstood. Id. at 146–47. He

explained:

      I mean, [Dr. Trende is] treating Jefferson County like it’s just a flat
      plain that has a bunch of precincts that are only identifiable by whether
      or not they’re five percent Black versus 95 percent Black. I don’t -- I
      mean, I just do not approach a redistricting plan drawing in that fashion.

Id. at 146–47; see also id. at 223 (“municipal lines in and around Mobile are just as

tricky as they are in Jefferson County in terms of irregular shapes, water areas”).

      We do not have any doubt about the veracity of Mr. Cooper’s testimony that

race did not predominate, but if we did, it is resolved by his testimony that it would

be obvious to us if he had allowed race to predominate. See Caster Doc. 352-2 at 6;

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Tr. 169–70 (opining and then testifying that he could have drawn majority-Black

districts with higher BVAPs by placing communities with higher concentrations of

Black Alabamians in majority-Black districts, and communities with higher

concentrations of White Alabamians in majority-White districts).

        Dr. Trende

        We assign less weight to the testimony of Dr. Trende, the State’s only Gingles

I expert, for two reasons. First, compared to the work of Dr. Duchin and Mr. Cooper,

Dr. Trende’s work was limited: Dr. Duchin and Mr. Cooper based their opinions on

a wide-ranging consideration of the requirements of federal law and all or nearly all

traditional districting principles, but Dr. Trende studied only geographic

compactness scores and splits allegedly along racial lines. See supra Part IV.D.1;

Milligan Doc. 384-5 at 7; Tr. 1980–82, 2065. Like Dr. Duchin and Mr. Cooper, Dr.

Trende testified that there are “trade-offs built into the process,” and he described

their role in his work on other cases. See Tr. 1982–83, 2133–35.

        But in these cases, where Dr. Trende opines that the Plaintiffs’ illustrative

districts “are not reasonably configured,” Milligan Doc. 384-5 at 93; accord Tr.

1980, he did not examine any trade-offs made by Dr. Duchin or Mr. Cooper. See

e.g., Tr. 2134–35. It is difficult for us to assign substantial weight to his opinions

knowing that he understands the necessity of tradeoffs, but still did not consider

them.


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      We of course acknowledge that such considerations may have been outside

the scope of the work the State asked Dr. Trende to perform, and we do not diminish

Dr. Trende’s qualification, experience, or skill. We simply observe that we give his

work limited weight, in line with its limited scope.

      Second, at times Dr. Trende’s testimony was internally inconsistent. Despite

his ultimate opinion that the Plaintiffs’ districts “are not reasonably configured,”

Milligan Doc. 384-5 at 93; accord Tr. 1980, he was “reluctant” to say whether a plan

is reasonably compact because “[i]t’s unclear what the standard is to support that

opinion,” Milligan Doc. 384-5 at 17. He explained that “[w]hile there may be

extreme cases where no reasonable expert would dispute that a district is compact

(e.g., a district with a Reock score of 0.8) or that a district is substantially similar to

another district (e.g., a difference in Convex Hull scores of 0.00001), there’s

ultimately no clear way, at least from an expert perspective, to decide what

percentage of a bounding circle a district must fill before it becomes reasonably

compact.” Id. At trial, he reiterated that there are no bright-line standards for

reasonable compactness, see Tr. 2001, 2014, 2037–40, and offered an analogy:

“[I]n the same way that it’s difficult to say that . . . your previous counsel has a beard;

you’re clean-shaven, I can’t tell you exactly where in the line stubble turns into a

beard or clean-shaven turns into stubble. But I can tell the ultimate differences in

cases,” id. at 2001.


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      We accept the reality that there is not an objective numerical threshold for

reasonable compactness. But we cannot reconcile Dr. Trende’s hesitation to explain

his understanding of reasonableness with his experience in redistricting and his

willingness to opine that Plaintiffs’ “districts are not reasonably configured.” See

Milligan Doc. 384-5 at 93.

      We do not understand that reasonableness opinions have so eluded Dr. Trende

in other cases: surely when he is a plaintiff’s expert or consults for a jurisdiction, he

does not propose maps that he regards as not reasonably compact. Reasonableness

is ours to determine, and we would not accept from any expert an ipse dixit opinion

about it. We carefully study all the evidence. But the reality that this task is not as

simple as identifying a numerical threshold does not mean that we throw up our

hands and say that the mapmaker got it all wrong. Without some explanation of what,

in Dr. Trende’s view, makes a district reasonably compact, we cannot assign much

weight to his opinion that the illustrative districts are not reasonably configured.

      Further to our concerns about internal inconsistency, as we explain below, at

trial Dr. Trende was repeatedly forced to concede that on various scores, the Cooper

Plans and Duchin Plans outperform not only the 2023 Plan, but also plans and

districts that Alabama has enacted for the past thirty years. See infra Part V.A.2.b.

      The corollary of our decision to credit Dr. Duchin and Mr. Cooper, and to give

Dr. Trende’s opinions less weight, is a finding that the Black population in the


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majority-Black districts in the Duchin Plans and Cooper Plans is reasonably

compact.

                    b.    The “Meet or Beat” Standard

      We next explain how we assess the voluminous evidence about the

configuration of the Plaintiffs’ illustrative plans. Our task is not to compare the

Plaintiffs’ plans with the 2023 Plan to determine which plan would prevail in a

“beauty contest.” Allen, 599 U.S. at 21. As the Supreme Court affirmed in these very

cases, we do “not have to conduct a ‘beauty contest[]’ between plaintiffs’ maps and

the State’s.” Id.; see also Vera, 517 U.S. at 977 (plurality opinion) (“A § 2 district

that is reasonably compact and regular, taking into account traditional districting

principles such as maintaining communities of interest and traditional boundaries”

is not required “to defeat rival compact districts designed by [the State] in endless

‘beauty contests.’”).

      Nevertheless, the State urges us to reject the Plaintiffs’ maps in part because

they “fail to respect” the 2023 Plan. See, e.g., Milligan Doc. 481 at 71. And the State

attacks the Duchin Plans and Cooper Plans on the ground that they underperform

against the 2023 Plan on various metrics. See id. at 72 (charting comparisons).

      But “meet-or-beat” is not the controlling test. The essential question under

Gingles I is and has always been whether the minority group is “sufficiently large

and [geographically] compact to constitute a majority in a reasonably configured



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district.” Allen, 599 U.S. at 18 (quoting Wis. Legislature, 595 U.S. at 402). This

standard does not require that an illustrative plan outperform the 2023 Plan by a

prescribed distance on a prescribed number of prescribed metrics. An illustrative

plan may be reasonably configured even if it does not outperform the 2023 Plan on

every (or any particular) metric. The standard does not require the Plaintiffs to offer

the best map; they must offer a reasonable one.

       Indeed, requiring a plaintiff to meet or beat an enacted plan on every

redistricting principle a State selects would allow the State to immunize from

challenge a racially discriminatory redistricting plan simply by claiming that it best

satisfied a particular principle the State defined as non-negotiable.

       Accordingly, a finding that the 2023 Plan preserves communities of interest

differently from the Plaintiffs’ maps, or splits counties or municipalities differently

from the illustrative maps, does not automatically make the illustrative maps

unreasonable. Different maps will necessarily prioritize traditional districting

principles in different ways. This is why the maps offered by a Section Two plaintiff

are only ever illustrative; states are free to prioritize the districting principles as they

wish when they enact a remedial map, so long as they satisfy Section Two. The State

has essentially conceded that it failed to do so here, maintaining that it can skirt

Section Two by excelling at whatever traditional districting principle the Legislature

deems most pertinent.


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      In any event, as we explain below, we find that the Plaintiffs’ illustrative plans

often do meet or beat the 2023 Plan.

                    c.    Visual Assessments
      Because both Mr. Cooper and Dr. Trende acknowledged the role of the

“eyeball test” to assess compactness, we begin with two visual assessments. First,

we assess the geographic concentration of the Black population in Alabama. Dr.

Duchin prepared a map that reflects the geographic distribution of Black residents

across the state:




Milligan Doc. 68-5 at 12 fig. 3. She described the centers of Black population that

are apparent on this map – several urban population centers and the Black Belt. See


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id. at 12–13. She reported that the Black population in the four largest cities

(Birmingham, Huntsville, Montgomery, and Mobile) includes approximately

400,000 people and comprises approximately one-third of the Black population in

Alabama. Id. at 12. She also reported that the Black population in the Black Belt,

which stretches east to west across the state, includes approximately 300,000 people.

Id. at 12–13. These aspects of Dr. Duchin’s report are not in dispute.

      Our visual assessment of the geographic dispersion of Black population in

Alabama, together with statistics about Black population centers in the state, suggest

to us that Black voters in Alabama are relatively geographically compact. It is

obvious from the map that there are areas where much of Alabama’s Black

population is concentrated, and that many of these areas are in close proximity to

each other. Just by looking at the map, we can see why Dr. Duchin and Mr. Cooper

expected they could easily draw two reasonably configured majority-Black districts.

      Second, we consider our visual assessment of the majority-Black districts in

the Duchin and Cooper Plans. See Milligan Doc. 68-5 at 7 fig. 2; Milligan Doc. 385-

3 at 3 fig. 1; Caster Doc. 352-1 at 27, 29, 32, 34, 36, 38, 41, 44 figs. 10, 12, 14, 16,

18, 20, 22, 24; Caster Doc. 352-2 at 8 fig. 1. We do not see tentacles, appendages,

bizarre shapes, or any other obvious irregularities that would make it difficult to find

that District 2 is reasonably configured in these illustrative plans. We do see that

District 7 in all the illustrative plans has what has been referred to as a “finger” that


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reaches into Jefferson County. But that finger has been there (in some form, and

basically the same form) in every congressional map since Wesch, including the

2023 Plan, so it cannot mean that the illustrative plans are any less compact than the

2023 Plan.

                       d.     Geographic Compactness Scores
          We next consider industry-standard geographic compactness scores for the

Duchin Plans and Cooper Plans, and we find that these scores indicate that the

majority-Black congressional districts in those plans are reasonably configured. Dr.

Duchin and Mr. Cooper testified that the scores for their plans are reasonable, and

Dr. Trende made multiple concessions to that effect.

          Dr. Duchin testified that on a Polsby-Popper metric, Duchin Plans A, B, C,

and D “are superior to” and “more compact than most of the recent Alabama plans.”.

Milligan Doc. 68-5 at 9, 13; Tr. 304. Dr. Duchin made compactness her “top

priority” in Plan E and testified that “Plan E is especially compact.” Tr. 289. She

testified that the Polsby-Popper score differences between her Plan E and the 2023

Plan were minimal – less than one percentage point. Id. at 357; Milligan Doc. 385-

3 at 4.

          Dr. Trende opined that “the [Plaintiffs’] Illustrative Maps are all less compact

than the [2023 Plan],” Milligan Doc. 384-5 at 28, but elsewhere in his report and at

trial, he admitted that some Duchin Plans outperform the 2023 Plan. For example,



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he conceded that on a Polsby-Popper metric, Duchin Plan B outperforms the 2023

Plan, and that on a Convex Hull metric, Duchin Plans A, B, and C outperform the

2023 Plan. See Milligan Doc. 384-5 at 34. And he conceded that on a Polsby-Popper

metric, Duchin Plan E “gets in the ballpark” of the 2023 Plan; he reasoned that “you

get into this splitting hairs of, well, the score for E, on average, is nine-tenths of a

point lower than the 2023 Map.” Tr. 2001. Dr. Trende also admitted that on a Convex

Hull metric, Duchin Plans A, B, C, and D outperform at least four of the plans that

Alabama enacted since 1972, and Duchin Plan E outperforms two such plans. Id. at

2125. And he agreed that all the Duchin Plans “are more compact under the Convex

Hull measure than California, which [he] identified as a reasonable map.” Id.

      For his part, Mr. Cooper repeatedly testified that his plans score “within the

normal range.” See Tr. 128–31 (district level); id. at 134–37 (plan level). Based on

his work “in lots of states,” he was “comfortable saying that [his scores] . . . stack

up well nationwide,” and are “within the norm.” Id. at 191–92.

       We particularly focus on Cooper Plan 9, which Mr. Cooper drew in response

to criticisms about compactness and which he testified outperforms the 2023 Plan

on the Reock metric. Id. at 135. But Cooper Plan 9 goes much further: on the DRA

metric, Cooper Plan 9 outperforms not only the 2023 Plan, but also every plan

Alabama has used going all the way back to 1992. Id. at 135–38 (Cooper testimony

that on the DRA score, his Plan 9 is “significantly more compact” than Alabama’s


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1992, 2002, 2012, 2021, and 2023 congressional plans). Mr. Cooper described

Cooper Plan 9 as “the proof . . . in the pudding” to establish that it is “possible to

draw a congressional plan that contains two majority-Black districts that is more

compact overall than any of Alabama’s enacted plans over the last 30 years.” Id. at

138.

       We find multiple instances where Cooper Plan 9 forced Dr. Trende to abandon

his opinion that “[Plaintiffs’] Illustrative Maps are all less compact than the [2023

Plan],” Milligan Doc. 384-5 at 28. At trial, Dr. Trende conceded that Cooper Plan 9

is “more compact as measured by Reock score than the [2023 Plan],” and that it is

“in the same range of compactness as the [2023 Plan] on the Polsby-Popper score.”

Tr. 2042–43. He also agreed that on a DRA measure, Cooper Plan 9 is “more

compact than any plan that Alabama has drawn or used in the last 40 years,”

including the 2023 Plan. Id. at 2045.

       Because Dr. Trende cautioned against overreliance on plan-wide scores

(averages), id. at 1991, we next consider Mr. Cooper’s testimony about district-level

scores for his Districts 2 and 7.

       There is no dispute that Districts 2 and 7 in all the Cooper Plans score within

the range of what Alabama traditionally has considered acceptable. In the figures

that we have attached as Appendix E, Mr. Cooper compared the Reock and Polsby-

Popper scores for his Districts 2 and 7 with scores for districts in previously enacted


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Alabama plans, and he found that his Districts 2 and 7 “fall within the range [of

compactness scores] one would find if you just examined” congressional districts

Alabama has enacted since 1992. See id. at 131. Dr. Trende conceded this point at

trial. See id. at 2049–51. He first agreed “that the Reock compactness scores for all

of the majority-Black districts in Mr. Cooper’s illustrative plans are within the range

of compactness scores for congressional districts that Alabama has enacted since

1992,” and he next agreed that the data establish the same for Polsby-Popper scores.

Id. at 2050–51.

      Accordingly, we find that the Black population in the majority-Black districts

in the Duchin Plans and the Cooper Plans is sufficiently compact that those plans

and districts are reasonably configured according to industry-standard measures of

geographic compactness. We emphasize that we have not based this finding

exclusively on concessions by the State’s expert, but we could have: Dr. Trende’s

concessions about plan-wide scores for the Duchin Plans and Cooper Plans

(especially Cooper Plan 9), and district-level scores for the Cooper Plans, establish

beyond debate that it is possible to draw a second majority-Black district in Alabama

that scores reasonably well on measures of geographic compactness.

                    e.    Reasonable Compactness and Traditional Districting
                          Principles

      Ultimately, reasonable compactness is about more than scores and eyeball

tests. As Mr. Cooper explained:


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      I mean, and you can’t just look at a score absent a map, absent
      demographics of the place you’re examining and suddenly say, okay;
      this particular district has a low Reock score, therefore, the plan’s no
      good. Because there could be good reasons for a low Reock score, given
      the shape of the county, given the shape of the jurisdictions and the
      shape of the VTDs.

      So the Reock, Polsby-Popper scores are not the be all and the end all;
      they’re an indicator, and they have to be taken into consideration with
      the multitude of other redistricting principles that one deals with when
      you’re drawing a voting plan.
Id. at 175–76. Accordingly, we next evaluate whether the remedial districts in the

Duchin Plans and Cooper Plans are reasonably configured by analyzing whether

those Plans respect traditional districting principles.

      Every Gingles I expert, along with the State’s longtime cartographer, testified

that redistricting always involves tradeoffs between traditional districting principles.

See id. at 286–87 (Dr. Duchin); id. at 157–58 (Mr. Cooper); id. at 1982 (Dr. Trende);

Milligan Doc. 459-6 at 40 (Mr. Hinaman). Both Dr. Duchin and Mr. Cooper testified

about their extensive efforts to respect traditional districting principles, particularly

as enumerated in the 2023 legislative findings (in Duchin Plan E and Cooper Plans

8 and 9), and that they did not ignore any principle. See Tr. 138–42, 147–48, 157–

58, 160, 175–76 (Mr. Cooper); id. at 287–89, 293–94, 357, 359–63 (Dr. Duchin).

      We discuss each principle in turn.

      Population Deviation & Contiguity

      We find that the Duchin Plans and the Cooper Plans equalize population



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across districts because the parties agree, and the evidence makes clear that they do.

See id. at 2066, 119; Caster Doc. 352-1 at 31 fn. 18; Milligan Docs. 385-3 at 4, 68-

5 at 8. Likewise, we find that those Plans include only contiguous districts, which

the parties agree they do (as the evidence makes clear). See Caster Doc. 352-1 at 24,

¶ 58; Tr. 125, 2066–67; Milligan Docs. 385-3 at 4, 68-5 at 8.

      Respect for Political Subdivisions

      We next find that the Duchin Plans and the Cooper Plans respect political

subdivisions such as counties, cities, and towns. Multiple Duchin Plans and Cooper

Plans fall within the cap on county splits set in the 2023 legislative findings: Duchin

Plans D and E, and Cooper Plans 1, 3, 4, 5, 7, 8, and 9 all split six counties or fewer.

Milligan Doc. 68-5 at 8 tbl. 1; Milligan Doc 385-3 at 7 n.3, 4 tbl. 1; Caster Docs.

352-2 at 12 fig. 3, 352-1 at 50 fig. 28.

      When we consider municipality splits in addition to county splits, we see that

Duchin Plan E performs at least as well as the 2023 Plan. See Milligan Doc. 385-3

at 4 tbl. 1. Some other Duchin Plans underperform the 2023 Plan on this measure,

but Dr. Duchin prepared those plans before the 2023 Plan was enacted, so she did

not consider the 2023 legislative findings when she drew them. See Tr. 289–91.

      As for the Cooper Plans, Cooper Plans 7 and 9 outperform the 2023 Plan on

county splits and perform similarly on municipality splits. See Caster Doc. 352-1 at

50 fig. 28; Caster Doc. 352-2 at 12 fig. 3. And Cooper Plans 3, 7, 8, and 9 meet or


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beat the 2023 Plan on municipality splits. Id.; Tr. 140.

      Additionally, we credit the testimony of both experts that when they decided

where to place district lines, they often followed political subdivision boundaries.

Dr. Duchin testified that as she decided where to split Mobile County, she took

“guidance from the state board of education map” because that map was “considered

legitimate at some point in history by the state legislators.” Tr. 348–50.

      Mr. Cooper testified that when he split voting districts, he was “following

existing lines or at least existing demarcations by the Census Bureau,” which include

“odd-shaped municipalities” and precinct lines. Id. at 124, 144–46, 223. He

described the challenges attendant to respecting political subdivisions in Jefferson

County, home to much of the Birmingham metropolitan area and 29 separate

municipalities that are “just really odd-shaped . . . as a result of annexations and also

just because of the challenging topography in the county where you have lots of

ridges and valleys and almost mountains.” Id. at 144. Likewise, Mr. Cooper testified

that hewing to “municipal lines around the City of Mobile also is a way to split

Mobile County and create two majority-Black districts,” and that municipal lines “in

and around Mobile are just as tricky as they are in Jefferson County in terms of

irregular shapes, water areas. There are a lot of complications in Mobile County.”

Id. at 223.

      Dr. Trende did not consider in his report whether the Duchin Plans or Cooper


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Plans respect political subdivisions, see Milligan Doc. 384-5, but he testified at trial

that Mr. Cooper split some municipalities in Jefferson County, Tr. 2110. We are

unmoved by this testimony because Mr. Cooper did not say he kept all 29

municipalities in Jefferson County whole – he simply said that when he had to draw

a line, he tried to use municipal boundaries and other existing subdivisions as his

guide. See Tr. 124, 144–46. And nowhere did Dr. Trende address Mr. Cooper’s

consideration of topography in connection with political subdivision boundaries.

      Dr. Trende also opined that when the Duchin Plans and Cooper Plans split

counties, they “typically do so on racial lines.” Milligan Doc. 384-5 at 64. As we

explain fully below in our discussion of the State’s race predominance argument, see

infra Part V.A.2.f, we reject this accusation as unsupported. For now, we highlight

Mr. Cooper’s explanation of how Dr. Trende fundamentally missed the importance

of political subdivisions. Mr. Cooper explained with understandable frustration:

      I mean, [Dr. Trende is] treating Jefferson County like it’s just a flat
      plain that has a bunch of precincts that are only identifiable by whether
      or not they’re five percent Black versus 95 percent Black. I don’t -- I
      mean, I just do not approach a redistricting plan drawing in that fashion.
      Perhaps he does. I don’t know. But let him speak for himself on that.
Tr. 146–47.

      For all these reasons, we find that the Duchin Plans and Cooper Plans respect

political subdivisions.




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       Communities of Interest

       We next find that the Duchin Plans and the Cooper Plans respect communities

of interest. We apply the Legislature’s definition: “[A] defined area of the state that

may be characterized by, among other commonalities, shared economic interests,

geographic features, transportation infrastructure, broadcast and print media,

educational institutions, and historical or cultural factors.” Milligan Doc. 403-31 at

4 (Ex. MX-31). And we focus on the communities the Legislature identified, all in

South and Central Alabama: the Black Belt, Gulf Coast, and Wiregrass. 56

       This issue was hotly disputed and consumed significant time at trial. The State

objects to any plan that splits Mobile County (which is every Duchin Plan, every

Cooper Plan, and the Special Master Plan), and insists that there can be no legitimate

reason to split the Gulf Coast counties, particularly in the light of the 2023 legislative

findings. Plaintiffs argue that historic and socioeconomic ties connect the City of

Mobile to the Black Belt, stress the importance of the Black Belt, and argue that the

State overstates the need to keep the Gulf Coast counties whole and together.

       The record contains no map that includes two majority-Black districts without

splitting Mobile County, and all agree that it is not possible to draw such a map

without splitting Mobile County. Tr. 298–99, 340 (Dr. Duchin), 2648 (counsel for


56
   Obviously, these are not the only three communities of interest in Alabama. Yet,
in an apparent reference to this ongoing litigation, these are the only communities of
interest that the Legislature chose to define.

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the State). In the simplest terms, these arguments require us to decide whether a

district that splits Mobile County is (or can be) reasonably configured and respectful

of communities of interest.

       Communities of Interest – the Black Belt

       The Black Belt stands out to us as quite clearly a community of interest of

substantial significance. 57 That the Black Belt is an important community of interest

is common knowledge in Alabama; has been acknowledged in other redistricting

cases, see Ala. Legis. Black Caucus, 231 F. Supp. 3d at 1222; and is clear from the

record before us. The Milligan and Caster parties were able to stipulate what

counties it includes, where it is located, and why it is known as the Black Belt. See

Milligan Doc. 436 ¶¶ 71–73. They further stipulated that the Black Belt “has a

substantial Black population because of the many enslaved people forcibly brought

there to work before the Civil War.” Id. ¶ 72.

       The 2023 legislative findings expressly designate the Black Belt as a

community of interest and define it. See App. B. They list the 18 core counties and

five “sometimes” counties, and further provide:

       The Black Belt is characterized by its rural geography, fertile soil, and

57
   We refresh the reader’s recollection about the parties’ stipulated definition of the
Black Belt, which lists the 18 core counties and five “sometimes included” counties
and provides: “The Black Belt is named for the region’s fertile black soil,” and “has
a substantial Black population because of the many enslaved people forcibly brought
there to work before the Civil War.” Milligan Doc. 436 ¶¶ 71–73.

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      relative poverty, which have shaped its unique history and culture.

      The Black Belt region spans the width of Alabama from the Mississippi
      boarder [sic] to the Georgia border.

App. B at 3–4 (enumeration omitted).

      Dr. Bagley provided a fuller explanation of the tragic role that slavery played

in the shared demographic heritage of the Black Belt:

      White settlers began to flood into the state of Alabama when most of
      the remaining Creek Indians were forced out via the Indian Removal
      Act of 1830. By then, the United States government had banned the
      importation of slaves from abroad, so many settlers brought enslaved
      Black people with them from the older plantation areas of the Upper
      South. Others purchased them from slave markets in Montgomery,
      Mobile, Jackson, and other cities. American chattel slavery expanded
      dramatically between that time and the Civil War, giving rise to the
      “Cotton Kingdom” of the antebellum era when cotton was America’s
      most valuable export and enslaved Black people were its most valuable
      commodity. The Black Belt of Alabama became home to not only the
      wealthiest [W]hite plantation owners in the state, but to some of the
      wealthiest individuals in the young nation, some of whom held
      hundreds of people in bondage.
Milligan Doc. 76-2 at 1.

      Most Section Two experts testified about the Black Belt. They addressed a

range of demographic, cultural, historical, and political issues about how the Black

Belt became the Black Belt, how it has changed over time, and what shared

experiences and needs there make it unique today. A slew of lay witnesses testified

about their understanding of the Black Belt, their connections to it, and its

significance to them, their political participation, and Alabama politics. We further



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heard from those witnesses about meaningful connections between the City of

Mobile, the City of Montgomery, and the Black Belt.

      This substantial body of evidence established the shared history and economy

(or lack thereof) in the Black Belt; the overwhelmingly rural, agrarian experience;

the extreme poverty; and major migrations and demographic shifts that impacted

many Black Belt residents, just to name a few examples. See, e.g., Tr. 28–31 (Ms.

Dowdy), id. at 1092, 1125–26 (Pastor Jackson), id. at Tr. 1188, 1214–15 (Mr.

Milligan), Tr. 964–67 (Dr. Burch), Tr. 1299–300 (Dr. Bagley); Milligan Doc. 68-2

at 21. The Black Belt is overwhelmingly Black, but it blinks reality to say that it is

a proxy for race – the reasons why it is a community of interest have many more

dimensions.

      Although the foregoing sufficiently describes why we find that the Black Belt

is an important community of interest, it falls far short of adequately describing the

shared experience of intense poverty in the rural Black Belt, which is extreme by

any measure and so primitive that it often startles people. As just a few examples,

we received evidence that:

   • Certain Black Belt counties lack proper sewage disposal and drinking water
     systems. As a result, some rural Black Belt residents construct homemade
     systems and do not have consistent access to drinking water untainted by raw
     sewage. Milligan Doc. 68-2 at 21. A 2019 United Nations Report discussed
     how such residents “often fell ill, entire households at a time, with E. Coli and
     hookworm.” Id. The lack of proper sewage disposal also means that in some
     counties, children cannot play outside after it rains. Tr. 480. This problem
     continues today, and solutions are a “work in progress.” Id. at 481. Although

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   this problem is well-known in Alabama, see id. at 480–81, it was “a new one”
   for Dr. Burch, a seasoned expert who makes her living studying racial
   disparities on socioeconomic indicators such as poverty, see id. at 1054.

• Squalid living conditions are not limited to sewage problems. Pastor Jackson
  testified that in her work in healthcare in Montgomery and the rural Black
  Belt, she has observed families living with “rodents and roaches,”
  “[in]adequate heating,” “[in]adequate plumbing,” and without water. Id. at
  1091. She described a home visit in the Black Belt when she “could see the
  sky through the roof[,] and dirt floors,” with people “living off the land.” Id.
  at 1092. She testified that in some houses, “[t]hey may only have just one
  room that did not get rained on and maybe had a tarp that would blow off
  when it was bad weather.” Id. at 1126. She described how some homes “still
  had outhouses” and “didn’t have indoor plumbing” when she made home
  visits in the Black Belt around 2010. Id. Despite her decades of hands-on
  service in Montgomery and the rural Black Belt, Pastor Jackson “just did not
  realize how poor some of our rural areas and the living conditions of people”
  were and she thought she was “in a third-world country” when she saw these
  things. Id. at 1092.

• Many rural Black Belt residents struggle with illiteracy. Illiteracy primarily
  burdens Black Alabamians, to such a degree that Pastor Jackson testified that
  in all her years of work in the rural Black Belt, although she observed illiterate
  Black people hold government forms or church hymnals upside down, she
  never encountered an illiterate White adult. Id. at 1097–98, 1129. Dr. Burch
  testified that “in the Black Belt especially, there are . . . disproportionately
  high illiteracy rates, as high as 30 percent.” Id. at 938; see also id. at 998,
  1049.

• Basic communication infrastructure such as broadband internet access – and
  even cell service – are unavailable in many parts of the rural Black Belt, which
  isolates those who live there from the rest of the modern world. Id. at 715–16,
  444. This common reality for the Black Belt is apparently poorly understood
  outside the Black Belt; Mr. Smith testified about Black Belt students receiving
  laptops during the pandemic, and that “[y]ou [can] give them a laptop, but a
  laptop without access to broadband is like having a car without tires.” Id. at
  444.

   Under the 2023 Plan, the Black Belt is split into three districts: Districts 1 and


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2, which the Milligan Plaintiffs assert are cracked, and District 7, which the Milligan

Plaintiffs assert is packed. The 2023 legislative findings provide that the 18 core

Black Belt counties should be split into no more than two districts. See App. B at 4.

      The Duchin Plans contain the overwhelming majority of the Black Belt in two

districts, both of which are majority-Black, and Duchin Plans C and E keep all 18

core Black Belt counties in two districts, both of which are majority-Black. Milligan

Docs. 385-3 at 8, 5 tbl. 2, 68-5 at 13, 7 fig. 2. The Cooper Plans “place over 70% of

the Black Belt counties in a majority-Black district, and four of [his] plans place all

but one of the Black Belt counties in a majority-Black district.” Caster Doc. 352-2

at 14. In contrast, the 2023 Plan places “only half (nine) of the Legislature’s 18

identified Black Belt counties [] in a majority-Black district.” Id.; App. E at 3.

      We thus have no difficulty finding that the Plaintiffs’ plans respect the Black

Belt as an important community of interest, and that they respect it better – much

better – than the 2023 Plan does. The State offers no rebuttal; their position is that it

is per se unreasonable to split part of Mobile County away from the Gulf Coast to

connect it with the Black Belt. See Milligan Doc. 481 at 57, ¶ 146; Tr. 2625–27.

      Because we find that the illustrative plans respect the Black Belt, we need not

consider how illustrative Districts 2 and 7 might perform in a beauty contest against

other districts in other plans that respect other communities of interest. Together with

our finding that the Duchin Plans and Cooper Plans respect political subdivisions,


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our finding that these plans respect the Black Belt supports a conclusion that they

are reasonably configured. Nevertheless, we next consider carefully the other two

communities of interest the Legislature specified in the 2023 legislative findings: the

Gulf Coast and the Wiregrass.

      Communities of Interest – the Gulf Coast

      The 2023 legislative findings designate Alabama’s Gulf Coast counties

(Mobile and Baldwin) as a community of interest and describe it at length, for more

than two pages. See App. B at 4–7. The Legislature’s description discusses the

shared coastal geography (Mobile Bay and the Gulf of Mexico coastline) and

associated industries (the Port of Mobile, fishing, and tourism). See id. It also refers

to the “distinct culture” of the Gulf Coast “stemming from its French and Spanish

colonial heritage” and mentions Mardi Gras. Id. at 6. At trial, we heard from both

expert and lay witnesses about overlapping economic interests, commuting patterns,

shared heritage, cultural events, and unique challenges that connect the Gulf Coast

counties. See, e.g., Tr. 206–09, 405–06, 1417, 1467–68.

      Because the Legislature found that the Gulf Coast is a community of interest,

we find that it is a community of interest. We thus turn to the parties’ disputes about

the Gulf Coast, which pertain to (1) the steps the Legislature took to prioritize it, (2)

the weight it should be afforded as an inviolable community of interest, particularly

relative to Section Two, and (3) whether Plaintiffs’ illustrative maps respect it.


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      As to the first issue, we discuss at length below the unusual lengths to which

the Legislature went to prevent Alabama’s congressional districting plan from

splitting Mobile County. See infra Parts V.A.4 & VII. For present purposes, we find

that the 2023 legislative findings had the practical effect of elevating the Gulf Coast

as the most important community of interest in Alabama, decreeing that it may not

be split, and prescribing a majority-White district there. As Dr. Duchin explained,

the requirement to keep Mobile and Baldwin Counties whole and together “comes

close to prescribing” a majority-White district on the Gulf Coast because “those

[Counties] contain more than 90 percent of the population of a congressional

district” and “as a matter of mathematical necessity,” a district that fully includes

both Gulf Coast counties must be majority-White and would “submerge[]” the City

of Mobile. Tr. 298–99, 314. No document, testimony, or lawyer disputes Dr.

Duchin’s opinion on this point. Indeed, counsel for the State conceded in closing

argument that he is “not aware of a way to draw two majority-Black districts without

going against the Legislature’s priority of keeping Mobile and Baldwin County

whole.” Tr. 2648. We further find that the 2023 legislative findings had the practical

effect of elevating the Gulf Coast community of interest over all other traditional

districting principles in Alabama – including compliance with federal law and

nondilution of minority voting strength.

      As to the second issue, we reject the State’s argument that there can be no


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legitimate reason to split Mobile County because of the overriding importance of the

Gulf Coast community of interest. As these cases make abundantly clear, the Black

Belt and Gulf Coast communities of interest are in tension with one another, they

pull in different directions, and in fact, they overlap in some ways. We thus cannot

accept the suggestion that splitting one county in the Gulf Coast to better respect the

Black Belt reflects a wholesale refusal to consider communities of interest, or

dispositively establishes that the Plaintiffs’ plans are not reasonably configured. As

the Supreme Court explained the last time we considered this issue, upon our finding

that the Plaintiffs’ maps are reasonably configured because they join together the

Black Belt as a community of interest, we need not conduct a “‘beauty contest[]’

between plaintiffs’ maps and the State’s” as to the Gulf Coast — “[t]here would be

a split community of interest in both.” Allen, 599 U.S. at 21.

      To be clear, we accept that the Gulf Coast is a community of interest, but we

cannot accept the Legislature’s effective designation of it as unsplittable, nor its

designation of it as superlative to all other traditional districting principles. We

particularly cannot prioritize that effective designation above compliance with

Section Two, or above the Black Belt for that matter. If evading the requirement of

an additional opportunity district under Section Two were as easy as enacting a rule

against splitting a specific majority-White community of interest, Section Two

would have no meaning.


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      Likewise, neither the evidence nor the law supports a mandate that we or Dr.

Duchin or Mr. Cooper must prioritize the Gulf Coast above all other communities

of interest. The evidentiary record about the Gulf Coast (including the 2023

legislative findings) revolves primarily around shared economic interests in coastal

industries, commuting patterns, and cultural events like Mardi Gras. See, e.g., Tr.

206–09 (Mr. Cooper); Tr. 405–06 (Dr. Caster); Tr. 1417, 1467–68 (Dr. Bagley). The

evidentiary record about the Black Belt (including the 2023 legislative findings and

the parties’ stipulation) is broader and deeper; it includes evidence about a shared

life experience that is overwhelmingly rural, agrarian, and extremely impoverished,

major migrations and demographic shifts that impacted many Black Belt residents,

and a common heritage undeniably traceable to slavery. The record about the Gulf

Coast is fuller now than it was in the preliminary injunction proceedings, but it still

lacks a basis, if there could be one, for mandating the elevation of the Gulf Coast

above the Black Belt (and every other community of interest in Alabama) or

declaring it inviolable and therefore unsplittable. After all, Mobile and Baldwin

Counties were split for “nearly 100 years” “from 1875 until the 1970s,” during which

time Mobile was paired with large portions of the Black Belt to form a congressional

district. Tr. 1305. And as Dr. Bagley summarized in his expert report: “Mobile and

Baldwin were, first, united in order to prevent the reelection of a Black incumbent




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and, 100 years later, reunited in for similar racial reasons.” Milligan Doc. 385-1 at

9.

       We are also mindful that the Legislature splits the Gulf Coast in the State

Board of Education districting plans at present and that it decided to privilege the

Gulf Coast in the 2021 Plan at the same time it decided to split it in the Board of

Education map. Milligan Doc. 385-1 at 8–9; Tr. 1304–08.

       As to the third issue, we find that the Plaintiffs’ plans did not fail to give due

consideration to the Gulf Coast. The premise of the State’s argument that the

Plaintiffs’ plans are not reasonably configured because they split Mobile County and

splitting Mobile County is intolerably harmful to the Gulf Coast. Yet splitting a

community of interest does not always disrespect (or even disadvantage) that

community. We received testimony from multiple witnesses that splitting a county

in a community of interest does not necessarily harm the community — it may

increase its representation. Dr. Duchin explained that “[r]espect for communities of

interest can mean keeping them together. But there are times when respect or

consideration for communities of interest, instead, might call for a split.” Tr. 315.

She gave an example of when a fellow mapmaker revised a map to keep an area

together and was “pilloried in the press for taking away a representative” because

the area “used to have two representatives and now only has one.” Id. at 316. Mr.

Cooper explained that it is not always necessary to keep a community of interest


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whole to respect it. Id. at 195–96. And Dr. Trende agreed that “not every community

of interest will be or can be kept together in a congressional district.” Id. at 2133.

      At trial, Mr. Cooper testified that his plans respect Mobile County “even

though it’s divided between two districts.” Id. at 195–96. He previously explained:

      Well, in the illustrative plans, all of the illustrative plans include a
      significant portion of the city of Mobile, or in the case of District 6 and
      7, all of Mobile. In illustrative plan 1, the only -- the primary area of
      Mobile that I excluded from District 2 is the waterfront area of Mobile,
      which is actually a grouping of precincts that are predominantly
      African-American and I put into District 1 so that there was a
      transportation route between District 1 and Mobile County and District
      1 in Baldwin County. So you don’t need to drive outside of District 1
      to get from one part of District 1 to the other. You have a straight route
      going across U.S. 98 and Mobile Bay. And there are a few precincts
      that are split along that route I-10 area coming in to downtown Mobile.
      And that actually is a feature of most of my plans, except for illustrative
      Districts 6 and 7 -- illustrative plans 6 and 7, which keep all of Mobile
      whole, extending it right up to the waterfront.

Jan. 5, 2022 Tr. 451–52.

      And Dr. Duchin testified that her plans respect Mobile County at least as much

as the Legislature respected it in other districting maps. The Legislature has

repeatedly split Mobile and Baldwin Counties in districting maps for the State Board

of Education, and the Legislature did so at the very same time it drew the previous

congressional plans. See, e.g., Tr. 325–27, 348, 2090–97, 2024–30; Milligan Doc.

384-5 at 56–57. At trial, Dr. Duchin explained that she took “some guidance from

the state board of education map” because that was “considered legitimate at some

point in history by the state legislators.” Tr. 348. Dr. Trende diminished the State

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Board of Education plan as “a one-off configuration” that may be based on previous

federal preclearance requirements or “inertia,” but he conceded that in making that

guess, he did not speak with legislators, a historian, an expert, or anyone in Mobile

or Montgomery about potential educational needs or explanations. Milligan Doc.

384-5 at 93; Tr. 2094–97. We add that Dr. Trende’s speculation in no way answers

the fact that the Legislature split Mobile County from Baldwin County in drawing

the 2020 State Board of Education plan, seven years after the preclearance regime

had been eliminated in Shelby County.

      Split communities of interest are inevitable in any plan, and we must evaluate

them in an intensely local appraisal. We find that when Dr. Duchin and Mr. Cooper

split Mobile County, they made just such an appraisal. We further find that when

they explained it to us, they clearly and amply justified every districting decision the

State challenges. We thus find that their decisions to split Mobile County did not

violate communities of interest or produce unreasonably configured plans.

      Communities of Interest - The Wiregrass

      The 2023 legislative findings identify the Wiregrass as a community of

interest and offer a two-sentence definition that it “is characterized by rural

geography, agriculture, and a major military base” and “home to Troy University’s

flagship campus in Troy and its campus in Dothan.” App. B at 7. The 2023

legislative findings identify nine counties that comprise the Wiregrass (Barbour,


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Coffee, Covington, Crenshaw, Dale, Geneva, Henry, Houston, and Pike), three of

which overlap with the Black Belt (Barbour, Crenshaw, and Pike). Id. At trial,

testimony from expert and lay witnesses connected the Wiregrass counties to each

other. Tr. 1312–13 (Dr. Bagley); Milligan Doc. 459-11 at 7 (Mr. Kimbro); Milligan

Doc. 459-21 at 6–7 (Mr. Schmitz); Milligan Doc. 459-28 at 9–10 (Mr. Williams).

      Because three counties overlap the Black Belt and the Wiregrass, and together

they have more population than one congressional district can accommodate, it is

mathematically impossible to keep both communities of interest whole, and any

districting decision will necessarily prioritize one over the other. See Tr. 298; App.

B. The 2023 legislative findings address this reality by providing that the 2023 Plan

keeps all Wiregrass counties together in District 2, except that it places Covington

County “in District 1 so that the maximum number of Black Belt counties c[ould]

be included within just two districts.” App. B at 7.

      Although the State “introduced precious little evidence to establish the

existence of the Wiregrass community of interest” at the preliminary injunction

stage, we considered in our remedial order the fact that Remedial Plan 3 kept

together six Wiregrass counties, whereas Remedial Plan 2 kept together only five.

Milligan Doc. 311 at 38–39.

      When asked about the Wiregrass, Mr. Cooper testified that he accepted it as a

community of interest based on the Legislature’s definition. Tr. 205. He further


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testified that though he did not keep the Wiregrass in a single district because of

overlapping Black Belt counties (like Barbour), his plans still respect the Wiregrass

because “the counties are generally left intact.” Id. at 205–06. And Dr. Duchin

testified that she considered the Wiregrass when drawing her illustrative plans “once

the new guidelines had been issue[d].” Id. at 318–19.

      Because the Legislature found that the Wiregrass is a community of interest,

we find that the Wiregrass is a community of interest. But we do not find that the

failure of the Duchin Plans and Cooper Plans to keep the Wiregrass whole indicates

that the remedial districts in those plans violated communities of interest or are not

reasonably configured. Because the Duchin Plans and the Cooper Plans include

remedial districts that we find reasonably compact (in part because they respect the

Black Belt), we need not consider whether another plan could outperform them in a

beauty contest by respecting instead the Wiregrass (or the Gulf Coast). Because of

the demonstrable overlap between and the population of the three communities of

interest that the Legislature identified, no map can equally respect all three.

      Communities of Interest – Equal Treatment

      We specifically reject the State’s argument that the 2023 Plan “ended th[e]

inconsistent treatment” of these three communities of interest, Milligan Doc. 481 at

5, and treats them equally because it “employ[s] the same line-drawing standards in

minority communities of interest as it used elsewhere,” id. at 216, ¶ 582; accord


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Milligan Doc. 220 at 27, 42 (the State’s previous argument that the 2023 Plan

“rectifies what Plaintiffs said was wrong with the 2021 Plan” by “unifying the Black

Belt while also respecting the Gulf and Wiregrass communities of interest”); Aug.

14 Tr. 39 (the State’s oral argument that the 2023 Plan “cures the cracking” of the

Black Belt); Milligan Doc. 267 at ¶ 225 (the State’s earlier argument that “there is

no longer any need to split the Gulf” to respect the Black Belt, because the 2023 Plan

keeps the Gulf Coast together and splits the Black Belt into only two districts).

         The problem with this argument is the faulty premise that splitting the Black

Belt into only two districts remedies the cracking problem found in the 2021 Plan.

“Cracking” does not mean “divided,” and the finding of vote dilution in the 2021

Plan rested on a thorough analysis, not the bare fact that the 2021 Plan divided the

Black Belt into three districts. See, e.g., Milligan Doc. 107 at 55, 147–74; Allen, 599

U.S. at 19–20, 22–23. As the Supreme Court has explained, “cracking” refers to “the

dispersal of blacks into districts in which they constitute an ineffective minority of

voters.” Bartlett, 556 U.S. at 14 (plurality opinion) (quoting Gingles, 478 U.S. at 46

n.11).

         The Plaintiffs have established — and the State previously conceded — that

in the new District 2, Black voters remain an ineffective minority of voters. Milligan

Doc. 251 ¶¶ 5–9. This evidence — and concession — undermine the State’s

assertion that the 2023 plan remedies the cracking of Black voting strength in the


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Black Belt simply by splitting the Black Belt into fewer districts. In turn, it explains

the reason why there remains a need to split the Gulf Coast: splitting the Black Belt

as the 2023 Plan does (by placing half the core Black Belt counties in a majority-

White district) dilutes Black voting strength, while splitting the Gulf Coast

precipitates no such racially discriminatory harm.

      Incumbency Protection and Core Retention

      The 2023 legislative findings provide that “[t]he congressional districting plan

shall not pair incumbent members of Congress within the same district.” App. B at

2. We assign this principle little weight because after the Legislature enacted those

findings, we ordered Alabama to conduct the 2024 election with the Special Master

Plan, which paired two incumbents. In that election, one incumbent was not re-

elected to Congress (Congressman Carl), and Congressman Figures was elected for

the first time and remains the incumbent now. Moreover, while a state legislature

may consider incumbency and attempt to protect incumbents when redistricting, that

protection may not be used as a means to defeat the Voting Rights Act.

      Core retention “refers to the proportion of districts that remain when a State

transitions from one districting plan to another.” Allen, 599 U.S. at 21. The 2023

legislative findings provide that the plan shall “[p]reserve the cores of existing

districts” to the extent that core retention can be given effect consistent with the non-

negotiables enumerated in the findings. App. B at 2. We do not assign this principle


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substantial weight because, as the Supreme Court explained in these cases, it cannot

defeat an otherwise-meritorious Section Two claim:

      [The Supreme Court] has never held that a State’s adherence to a
      previously used districting plan can defeat a § 2 claim. If that were the
      rule, a State could immunize from challenge a new racially
      discriminatory redistricting plan simply by claiming that it resembled
      an old racially discriminatory plan. That is not the law: § 2 does not
      permit a State to provide some voters “less opportunity . . . to participate
      in the political process” just because the State has done it before.

Allen, 599 U.S. at 22 (quoting 52 U.S.C. § 10301(b)).

      In any event, although the 2023 Plan better maintains the cores of existing

districts than do the Duchin Plans, Cooper Plans, and Special Master Plan, it does

not follow that Dr. Duchin, Mr. Cooper, and the Special Master ignored core

retention. Dr. Duchin demonstrated a similar level of retention between Duchin Plan

E and the 2023 Plan as there was between the 2023 Plan and the 2011 Plan. See

Milligan Doc. 385-3 at 4, tbl. 1. And she demonstrated a higher level of core

retention for the Special Master Plan. See id. (Which is unsurprising because the

Special Master Plan “meaningfully chang[ed]” only two congressional districts.

Milligan Doc. 311 at 38–40.)

      Findings about Traditional Redistricting Principles

      Accordingly, we make three findings. First, we reject the State’s overdrawn

assertion that the Plaintiffs’ illustrative maps “chop up Alabama’s important

communities of interest.” Milligan Doc. 481 at 76. There is no fair reading of the


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record that suggests that splitting a single county that the State would prefer to keep

whole “chop[s] up” Alabama’s important communities of interest. Indeed, the State

does not deny that that split better serves a community of interest in the Black Belt

that all agree is important.

      Nor does the State deny that for many years, the Legislature has split the Gulf

Coast counties in the districting plan for the State Board of Education, even in

iterations of that plan enacted well after the ruling in Shelby County freed Alabama

from federal preclearance requirements. See Milligan Doc. 384-5 at 64; Tr. 2097–

98. The State’s accusation that the Plaintiffs’ plans “chop[ped] up” important

communities of interest by following the lead of a districting plan the Legislature is

overdrawn and wrong. Milligan Doc. 481 at 76.

      Second, we reject Dr. Trende’s unsupported and largely abandoned opinion

that “[Plaintiffs’] Illustrative Maps are all less compact than the [2023 Plan].”

Milligan Doc. 384-5 at 28. The foregoing analysis illustrates why Section Two

jurisprudence demands that our compactness analysis consider traditional districting

principles: because it is impossible to understand whether a plan is reasonable or

extreme without evaluating the extent to which the plan may be explained by

traditional districting principles. It will ordinarily be difficult to draw an

unreasonable district while respecting traditional districting principles, and it will

ordinarily be difficult to draw a reasonably configured district while ignoring


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traditional principles. Because Dr. Trende considered none of this, we cannot make

findings about reasonable compactness from his opinion.

      Third, we find that the evidence clearly establishes that Dr. Duchin and Mr.

Cooper studied the Legislature’s redistricting guidelines and 2023 legislative

findings, considered traditional districting principles, and made careful decisions

about how to prioritize principles when circumstances forced tradeoffs. Dr. Duchin

and Mr. Cooper not only respected traditional districting principles, but also

explained the many ways and reasons they did so. The State does not give Plaintiffs

enough credit on this traditional districting principle.

                    f.     Race Predominance

      Finally, we reject the State’s assertion that the Plaintiffs’ illustrative plans are

not reasonably configured because race predominated in their creation. The State

delivers this argument at top volume, arguing that Plaintiffs “aim [to] segregat[e]

voters on the basis of race,” “[d]irect evidence abounds that race was the

predominant motivating factor for Dr. Duchin and Mr. Cooper,” their testimony is

“saturated with express acknowledgment[]” that race predominated in their work,

and “no one disputes that [they] purposefully established a racial target” of two

majority-Black districts. See Milligan Doc. 481 at 77, 80 (internal citations and

quotation marks omitted).




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      We reject these accusations for three separate and independent reasons. First,

they badly misstate the record. As we have already explained, Dr. Duchin and Mr.

Cooper repeatedly testified at trial that race did not predominate in their mapdrawing

processes, and we credit that testimony. See supra Parts IV.A.1, IV.B.1, V.A.2.a.

The State ignores it. See Milligan Doc. 481 at 77–79.

      Rather, the State splices together Dr. Duchin’s preliminary injunction

testimony and trial testimony to suggest that she conceded at trial that she placed

district lines in her plans based on racial targets. See id. But Dr. Duchin was asked

about that at trial, expressly disclaimed it, and explained at length how she placed

lines based on traditional districting criteria. And when she testified that she would

“need to cross [the majority-Black] threshold in order to submit the map to the

Court,” she was not admitting that she set a racial target as she drew maps; she was

explaining that of the many maps she drew, she screened out of her expert report the

maps that did not contain two Black-majority districts. See Tr. 288.

      As for Mr. Cooper, the State impugns his belief that “the non-dilution of

minority voting strength is a traditional redistricting principle,” see Milligan Doc.

481 at 80 (quoting Tr. 156), but the Legislature shared that belief as recently as when

the Committee adopted the 2023 guidelines, see App. A. And the State describes his

testimony about how he considered race as “increasingly telling,” insinuating

impropriety, but each alleged admission is simply something Mr. Cooper explained


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he knew (for example, Mr. Cooper knows that much of the Black Belt is

predominantly Black). See Milligan Doc. 481 at 80. The law does not require that a

Gingles I expert be completely race-blind, and we will not infer from things Mr.

Cooper knew that he assigned race a predominant role in his mapmaking process,

particularly in the light of his testimony that he did not.

      Dr. Duchin and Mr. Cooper very much dispute that they purposefully set a

racial target for their work. Nowhere did they admit that they assigned race a

predominant role. And nowhere did the State engage, let alone rebut, Mr. Cooper’s

explanation of how obvious it would have been if he had assigned race a

predominant role. See generally id.

      As Gingles I experts, Dr. Duchin and Mr. Cooper were tasked with

determining whether it was possible to draw two reasonably configured majority-

Black districts consistent with traditional districting principles, and they found more

than a dozen ways to do it. They both testified that if a map did not include two

remedial districts while also respecting traditional principles, they would not submit

it to the Court. They both testified that they did not give race a predominant role as

they drew. Having exhaustively studied the issue, we credit that testimony.

      Second, we reject the State’s assertions because, as we also have explained

(see supra Part V.A.2.a), for every accusation of race predominance, Dr. Duchin and

Mr. Cooper provided a specific explanation (and a non-race-based explanation at


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that) for the placement of their lines, which Dr. Trende either attacked without

support or simply ignored, and which the State now ignores. In the State’s argument

that race predominated, it makes no mention of the oddly shaped municipalities and

topography in Jefferson County that Mr. Cooper discussed, nor the district

boundaries for the State Board of Education map in Mobile County that Dr. Duchin

discussed. See Milligan Doc. 481 at 77–81.

      In a later discussion about the oddly shaped municipalities in Jefferson

County, the State asserts that we should not credit Mr. Cooper because he split some

municipalities in Jefferson County, and Dr. Trende says those splits were along

racial lines. See id. at 88. But as we previously explained, this is an unsupported

swing at a straw man. Mr. Cooper did not testify that he kept all 29 municipalities in

Jefferson County whole – he simply said that when he had to draw a line, he tried to

use existing subdivisions as his guide. Dr. Trende offered no evidentiary basis for

his bald assertion that the splits were along racial lines. And nowhere did Dr. Trende

or the State address Mr. Cooper’s consideration of topography. See Milligan Docs.

384-5, 481.

      Similarly, in a later discussion about the State Board of Education map, the

State repeats Dr. Trende’s assertion that following that map is not a “race-neutral

reason” to “split Mobile County along racial lines” because it may include lines

drawn to satisfy the Voting Rights Act. See Milligan Doc. 481 at 92–96 (citing


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Milligan Doc. 384-5 at 56–57). But the State simply ignores Dr. Duchin’s testimony

that she was unaware of the reason (whatever it was) why the Legislature drew the

State Board of Education districts as it did. Compare id., with Tr. 325. Because any

potential racial considerations underlying the State Board of Education map (an

issue we need not and do not decide) were unknown to Dr. Duchin, they cannot

possibly have predominated in her map drawing process.

      Third, we reject the State’s assertion that race predominated in the Duchin

Plans and Cooper Plans because even Dr. Trende’s testimony does not support that

conclusion. Dr. Trende is the only expert who testified for the State about this issue.

At trial, Caster’s counsel repeatedly asked him whether his testimony was that race

predominated in the preparation of the Cooper Plans. See Tr. 2112–13. He

steadfastly refused to say. He repeated his accusations that Mr. Cooper’s lines

“follow the racial contours of Jefferson County pretty tightly,” and “follow the racial

contours of the various counties,” and he asserted that it was “obvious” that “when

[Mr. Cooper] splits municipalities, it’s on race.” Id. But he insisted that he was “not

offering a predominance opinion” because that was for us to determine after hearing

Mr. Cooper’s explanations for his lines. Id. And Dr. Trende either ignored or never

offered evidence to rebut those explanations. Id.

      We find no evidence that Dr. Duchin and Mr. Cooper allowed race to

predominate, and extensive evidence that they took great care to avoid that fault.


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                                          ***

      Ultimately, all the arrows point in the same direction: the Duchin Plans and

Cooper Plans, and the remedial districts in them, are reasonably configured.

Regardless whether we credit expert testimony, make our own visual assessment,

review statistical scores of geographic compactness, consider the extent to which

those Plans and districts respect traditional districting principles, or do all these

things, the result is the same: the Plaintiffs have offered at least one illustrative plan

that contains only equipopulous and contiguous districts that are reasonably

geographically compact; respects existing political subdivisions; protects important

and overlapping communities of interest; protects all incumbents except one; and

provides two majority-Black districts without allowing race to predominate in the

drawing process. Although Plaintiffs were not required to meet or beat the 2023 Plan

on these metrics, they quite often did.

      We emphasize that the Plaintiffs have far surpassed their burden here. Federal

law requires them to submit one map to show that it is possible to draw a reasonably

configured remedial district, and they have submitted more than a dozen such maps.

We have no doubt that a reasonably configured remedial district is achievable, and

we find that the Plaintiffs have established the first Gingles precondition.

             3.     Gingles II and III – Racially Polarized Voting

      We find (again) that there is no serious dispute that Black voters in Alabama



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are “politically cohesive,” nor that each challenged district’s “white majority votes

sufficiently as a bloc to enable it . . . to defeat the [Black] preferred candidate.” Allen,

599 U.S. at 18; see also Milligan Doc. 107 at Part V.B.3.

                     a.     Expert Credibility Determinations

       Dr. Liu and Dr. Palmer

       We credit the testimony of Dr. Liu and Dr. Palmer. Both experts have

credentials that include substantial academic work in electoral politics and

significant experience testifying in redistricting cases. See supra Parts IV.A.2,

IV.B.2. Both witnesses consistently and thoroughly explained their work in these

cases and the bases for the conclusions they reached; they employed commonly

accepted methodologies; and we discern no reason to question their methods or

conclusions. We carefully observed their demeanor, particularly on cross-

examination, and their testimony was internally consistent, thorough, and well-

supported. None of the State’s experts conducted a racial polarization analysis to

contradict their findings, and as we explain below, many of their conclusions are not

disputed. Accordingly, we find their opinions highly credible, reliable, and helpful.

       Dr. Hood and Dr. Bonneau

       Although we recite concessions by Dr. Hood and Dr. Bonneau in our analysis

of the second and third Gingles preconditions, because their testimony focuses on

the Senate Factors, we defer our credibility determination until that discussion.



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                    b.      Patterns of Racially Polarized Voting

      In our first preliminary injunction, we explained that there was no serious

dispute between the parties that Black voters in Alabama are “politically cohesive,”

nor that each challenged district’s “white majority votes sufficiently as a bloc to

enable it . . . to defeat the [Black-]preferred candidate.” Allen, 599 U.S. at 18

(quoting Gingles, 478 U.S. at 51). The record is more voluminous now, but the

reality remains the same.

      We credit Dr. Liu’s testimony that has consistently emphasized the clarity and

extremity of the pattern of racially polarized voting he observes in Alabama. When

he testified about biracial endogenous elections in the preliminary injunction

proceedings, he testified that racially polarized voting is “very clear” in Alabama,

Jan. 10, 2022 Tr. 1293; “Black support for Black candidates was almost universal”

and “overwhelmingly in the 90[%] range,” id. at 1271; Black voters were “super

cohesive,” id. at 1274; and the Black-preferred candidate was defeated in every

election outside the majority-Black district, id. at 1275. His exogenous election data

confirmed these findings. Id. at 1275–76.

      At trial, Dr. Liu reiterated these statistics, Tr. 573–76, and gave us some

perspective: he testified “in [his] more than 20 years [of] research, this is arguably

the highest level” of racially polarized voting that he has “ever seen,” id. at 576, and

that the level of racially polarized voting in Alabama (particularly in the challenged


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districts) is “one of the highest in the nation,” id. at 578.

      And we credit Dr. Palmer’s agreement. In the first preliminary injunction

proceedings, Dr. Palmer repeatedly invoked adjectives and adverbs that indicate to

us that voting in Alabama is clearly and intensely racially polarized: he opined that

“Black voters are extremely cohesive,” Caster Doc. 49 ¶ 16; “White voters are

highly cohesive,” id. ¶ 17; “[i]n every election, Black voters have a clear candidate

of choice, and White voters are strongly opposed to this candidate,” id. ¶ 18; and he

described the evidence of racially polarized voting across the districts he studied as

“very strong,” Jan. 6, 2022 Tr. 701. Dr. Palmer based these adjectives and adverbs

on statistical findings quite like Dr. Liu’s: Dr. Palmer found that “[o]n average,

Black voters supported their candidates of choice with 92.3% of the vote,” and “[o]n

average, White voters supported Black-preferred candidates with 15.4% of the vote,

and in no election did this estimate exceed 26%.” Caster Doc. 49 ¶¶ 16–17.

      At trial, we again heard from Dr. Palmer the adjectives, adverbs, and statistical

findings like Dr. Liu’s. See Caster Doc. 303-1 ¶¶ 14–15 (opining that in the elections

he studied, on average, “Black voters supported their preferred candidates with

93.0% of the vote,” and “White voters supported Black-preferred candidates with

14.3% of the vote, and in no election did this estimate exceed 26%”); Tr. 487.

      We see no dispute about these patterns. At the preliminary injunction hearing,

Dr. Hood conducted his own ecological inference analysis and repeatedly



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acknowledged that he either agreed with or did not dispute the findings of Dr. Liu

and Dr. Palmer that voting in Alabama (and specifically in the challenged districts)

is racially polarized. Jan. 11, 2022 Tr. 1421–22; Milligan Doc. 68-1 at 18; Caster

Doc. 49 ¶¶ 6, 13–22. Dr. Hood testified that he and Dr. Liu “both found evidence

of” racially polarized voting in Alabama, Jan. 11, 2022 Tr. 1421; he did not dispute

“Dr. Palmer’s conclusions that Black voters in the areas he examined vote for the

same candidates cohesively,” Jan. 11, 2022 Tr. 1445; he did not dispute “Dr.

Palmer’s conclusion that Black Alabamians and [W]hite Alabamians in the areas he

examined consistently preferred different candidates,” id.; he did not dispute “Dr.

Palmer’s conclusion that the candidates preferred by [W]hite voters in the areas that

he looked at regularly defeat the candidates preferred by Black voters,” id.; and both

he and Dr. Palmer found evidence of a “substantive pattern” of racially polarized

voting in District 7, id. at 1448.

      This testimony was unsurprising after Dr. Hood found in his report that

“racially polarized voting is present with Black voters overwhelmingly supporting

the Democratic candidate and more than a majority of [W]hite voters casting a ballot

for the Republican candidate.” Milligan Doc. 66-4 at 14.

      At trial, although Dr. Hood did not again perform an ecological inference

analysis, see Tr. 1882, he again conceded that Black voters in Alabama are

politically cohesive, id. at 1901. And he testified that when he compared Black


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voters in Alabama to Black voters elsewhere, he found that Black support for

Democrats in Alabama “is slightly higher than Black support for Democratic

candidates across” the comparison states. Id. And Dr. Hood again testified that he

does not dispute the conclusions of Dr. Liu and Dr. Palmer about racially polarized

voting. Id. at 1898.

      At trial, Dr. Bonneau also testified that he does not dispute Dr. Liu or Dr.

Palmer’s findings, id. at 1726, and he agreed that Dr. Palmer’s ecological inference

analysis established “that White voters in Alabama support White Democrats more

than they support Black Democrats,” id. at 1789.

      After trial, the State conceded in its proposed order that the Plaintiffs have

established the second Gingles precondition. See Milligan Doc. 481 at 99 (conceding

that “Plaintiffs’ evidence shows that Black Alabamians in the challenged areas are

politically cohesive.”) And the State did not dispute in that proposed order the

pattern of consistent (nearly invariant) electoral losses for Black-preferred

candidates in Alabama. See generally id.

      Accordingly, we see a clear consensus among all parties that Black voters in

Alabama (and particularly in the districts at issue) are “politically cohesive,” and

that each challenged district’s “white majority votes sufficiently as a bloc to enable

it . . . to defeat the [Black-]preferred candidate.” Allen, 599 U.S. at 18 (quoting

Gingles, 478 U.S. at 51).


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      Because of this consensus, we decline to decide the validity of the State’s

assertion that when Dr. Liu conducted his ecological inference analysis, he should

not have considered the race of candidates. See generally Milligan Doc. 481 at 104–

06. The agreement of all parties on the critical substantive issue obviates the need

for us to resolve methodological quibbles about how the ecological inference

analysis would best be conducted. And in any event, (1) like Dr. Liu, Dr. Bonneau

focused his analysis on the race of the candidate, not the race of the voter, see Tr.

1742–43, 1766, 1862, and (2) Dr. Palmer’s analysis is not vulnerable to this

criticism, id. at 1713–14 (Dr. Bonneau testifying that Dr. Palmer “analyze[d] both

biracial and uni-racial elections”); see Caster Doc. 303-1 at 3–4 (Dr. Palmer

describing an analysis focused on the race of the voter, not the candidates).

      Before we turn to the State’s legal arguments about these findings, we pause

to explain our confidence in the ecological inference method. Dr. Liu opined that

ecological inference “has been widely used as the most-advanced and reliable

statistical procedure for [racially polarized voting] estimates in not only academic

research but also voting rights cases in the last two decades.” Milligan Doc. 385-4

at 6–7. Dr. Palmer agreed. Tr. 491–92. And Dr. Bonneau conceded that ecological

inference is “the preferred method by the [c]ourts” and “probably” the best method

available. Id. 1859–60. Nevertheless, Dr. Bonneau also testified that Dr. Liu’s

exaltation of ecological inference as “one of the best methods in the history of


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political science” “is overstated significantly.” Id. at 1860. We do not suggest, let

alone hold, that ecological inference is perfect. We simply hold that because we have

(1) consensus use of that methodology by experts on both sides, (2) concessions

about its reliability, and (3) multiple analyses that all support the same findings, we

are satisfied that our conclusions are well-founded.

                    c.     Arguments About           Legally    Significant    Racially
                           Polarized Voting
      The State makes a novel legal argument that “[W]hite bloc voting in Alabama

is not legally significant,” even if it is “statistically significant,” Milligan Doc. 481

at 99, 106, ¶ 275 (internal quotation marks omitted). Citing Pierce v. North Carolina

State Board of Elections, 97 F.4th 194 (4th Cir. 2024), the State argues that “[d]ue

to increased registration, turnout, and political participation among Black voters (and

crossover voting by [W]hite voters) in Alabama, the historic need for majority-or

even large-majority-Black districts in order to ensure Black voters an ‘opportunity

to elect’ has substantially lowered.” Milligan Doc. 481 at 110, ¶ 288. The State

contends that “with that change, the point at which [W]hite bloc voting becomes

‘legally significant’ has risen.” Id. The State asserts “that [W]hite bloc voting in the

challenged areas is not ‘legally significant’ because there is enough [W]hite

crossover voting to obviate the need for court-ordered majority-minority districts.”

Id. at 112, ¶ 294. It argues that “[s]o long as additional majority-minority districts

are not ‘necessary for Black-preferred candidates to win,’ legally significant [W]hite


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bloc voting is absent.” Id. at 113, ¶ 297 (quoting Pierce, 97 F.4th at 217).

       These cases are fundamentally unlike Pierce because the challenged districts

are not functional crossover districts (as the challenged district was in Pierce),58 and

the Plaintiffs have developed more than a dozen illustrative plans with majority-

Black remedial districts. Further, although we understand that Section Two liability

is foreclosed when a challenged district functions as a successful crossover district

(which did not occur here), we do not see that Section Two liability is foreclosed

just because a functional remedial district may be drawn with a Black voting age

population slightly below a majority threshold (which did occur here, in the Special

Master Plan).

       As copious amounts of evidence make clear, it denies reality to call District 2

in Alabama’s previous redistricting cycle, under the 2021 Plan, or under the 2023

Plan, a “crossover district.” Indeed, Dr. Palmer’s functionality analysis of the 2023

Plan predicted that the Black-preferred candidate would lose sixteen out of

seventeen modeled elections in District 2, win all seventeen elections in District 7,

and lose every other election in every other district. Caster Doc. 303-1 at 6.

       Likewise, we cannot describe District 2 in the Special Master Plan as a



58
  In Pierce, the Fourth Circuit explained that a “crossover district” is one in which
“the minority population is not a majority but is large enough to elect the candidate
of its choice with help from voters who are members of the majority and who cross
over to support the minority’s preferred candidate.” 97 F.4th at 204.

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crossover district: Black Alabamians comprise 48.69% of the voting-age population

in that district, and we have no evidence that Congressman Figures won it with

significant support from White voters. Depending on turnout, Congressman Figures

may have won it with no support from White voters.

      In any event, we do not view the concept of crossover districts as particularly

relevant in these cases. Alabama’s patterns of racially polarized voting are about as

stark as they come. And Black candidates’ losing streak in statewide elections and

legislative elections in Alabama (outside majority-Black or very nearly majority-

Black districts) is about as bad as it comes. Although the Special Master configured

a functional remedial district with a BVAP of slightly less than 50%, we have no

evidence that a functional remedial district may depend on a Black-preferred

candidate receiving significant White support. In some jurisdictions, evidence may

establish that statistically observable differences in Black and White voting patterns

are of little practical or legal significance. Not in Alabama.

                    d.     Arguments About Party Politics

      Finally, we turn to the State’s argument that patterns of racially polarized

voting in Alabama are attributable more to political party affiliations than to race.

The State relies on Dr. Bonneau, but as we just discussed, he conceded at trial that

he does not dispute that “Black voters vote cohesively in Alabama,” nor that

“[W]hite voters ordinarily vote as a bloc sufficient to defeat those Black voters’



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choices.” Tr. 1862. Likewise, the State relies on Dr. Hood, who conceded at trial

that Black voters in Alabama are politically cohesive and that he does not dispute

Dr. Liu’s or Dr. Palmer’s conclusions about voting patterns. Tr. 1898, 1901.

      These concessions are dispositive of the second and third Gingles

preconditions. Under controlling precedent, those preconditions do not require that

we fully disentangle party and race. They direct us to assess only whether Black

voters in Alabama are “politically cohesive,” and whether each challenged district’s

“white majority votes sufficiently as a bloc to enable it . . . to defeat the [Black-

]preferred candidate.” Allen, 599 U.S. at 18 (quoting Gingles, 478 U.S. at 51). We

see those patterns clearly from the evidence, a consensus of experts agrees, and that

concludes our Gingles analysis.

      We consider causation in our analysis of the totality of the circumstances

(particularly Senate Factor 2). See infra Part V.A.4. We understand that the State

agrees with this approach. See Milligan Doc. 481 at 119 ¶ 317 (State’s proposed

order, explaining that Senate Factor 2 is not “redundant with the second and third

Gingles preconditions” because “[t]here, the inquiry focused solely on ‘how’ Black

and [W]hite voters voted. The focus . . . at the totality-of-circumstances stage, is on

evidence of causation . . .”) (quoting Ala. State Conf. of the NAACP, 612 F. Supp.




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3d at 1291). 59

                                          ***

       This record supports only one finding: that voting in Alabama, particularly in

the districts at issue in these cases, is intensely and extremely racially polarized for

purposes of the second and third Gingles preconditions. We cannot imagine a more

comprehensive record, and we really cannot imagine clearer proof.

               4.   The Senate Factors
       We begin our analysis of the totality of the circumstances aware that “it will

be only the very unusual case in which the [P]laintiffs can establish the existence of

the three Gingles factors but still have failed to establish a violation of § 2 under the

totality of circumstances.” Ga. State Conf. of the NAACP, 775 F.3d at 1342 (quoting

Jenkins, 4 F.3d at 1135). Consistent with this reality, we find that the Plaintiffs

(again) have established that the totality of the circumstances weighs decisively in

their favor.

       We first make credibility determinations, we next analyze the Senate Factors,

and we then consider the proportionality arguments that the Plaintiffs have raised.

                    a.     Expert and Legislator Credibility Determinations



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  See also, e.g., Pierce, 97 F.4th at 223; United States v. Charleston County, 365
F.3d 341, 347–49 (4th Cir. 2004); Solomon v. Liberty Cnty. Comm’rs, 221 F.3d
1218, 1225 (11th Cir. 2000) (en banc); Lewis v. Alamance County, 99 F. 3d 600, 615
n.12 (4th Cir. 1996); Nipper v. Smith, 39 F.3d 1494, 1536 (11th Cir. 1994).

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      Dr. Bagley

      We credit much of Dr. Bagley’s testimony. The parties do not dispute that Dr.

Bagley’s training and experience qualify him as an expert. See Tr. 1279. Dr.

Bagley’s credentials and familiarity with Alabama clearly qualify him to opine on

Alabama-specific matters. See Milligan Doc. 385-1 at 34; Tr. 1277–78. His research

and writing have focused on Alabama, and he has experience testifying as an expert

in voting rights cases, including in Alabama. See Milligan Doc. 68-2 at 1; Tr. 1278.

      At trial, Dr. Bagley walked back several overstatements in his report. See, e.g.,

Tr. 1376–77, 1408–10, 1393–96. These do not cause us to regard his testimony as

unreliable or assign it little weight. In general, we found Dr. Bagley’s opinions well-

supported, and he was able to explain his bases for his conclusions. When he was

confronted with an imprecise statement or overstatement, he responded candidly and

fairly, rather than dogmatically. See, e.g., Tr. 1410. We find all the statements we

rely on credible, reliable, and helpful to the Court.

      Dr. Burch

      Likewise, we credit much of Dr. Burch’s testimony. The parties do not dispute

that her training and experience qualify her as an expert. Tr. 927. Dr. Burch’s

opinions and testimony were thorough, consistent, and generally well-supported

with applicable social science literature and Alabama-specific data. Throughout her

testimony, including cross-examination, she had no difficulty articulating the basis


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for her opinions. Although the parties dispute the inferences we should draw from

her data, her data is not in dispute. See Tr. 2252 (Dr. Reilly). We do not adopt or

make findings about all of Dr. Burch’s testimony, but that is not because we found

her testimony unreliable – it is simply because we need not accept all of it to make

relevant findings and draw conclusions. We find all the statements we rely on

credible, reliable, and helpful to the Court.

      Dr. Hood

      Dr. Hood’s training and experience clearly qualify him to testify as an expert.

His extensive published scholarship focuses on electoral politics, racial politics,

election administration, and Southern politics, Milligan Doc. 409-7 at 2; Tr. 1873–

74, and he has qualified as an expert in multiple redistricting cases, including in

Alabama. Tr. 1875; Milligan Doc. 409-7 at 2.

      We credit some aspects of Dr. Hood’s testimony, but we cannot credit his

testimony (about Senate Factor 2) that voting patterns and election results in

Alabama are driven by party more than by race. Dr. Hood testified that “[W]hite

conservatives are more than willing to support minority Republican candidates,” Tr.

1892, and “the result of elections is impacted by ide[o]logical congruence rather than

race of the candidate,” id. at 1895; Milligan Doc. 409-7 at 21–22. These findings (1)

improperly draw broad conclusions from very limited, atypical data, and (2) are

widely inconsistent with Dr. Hood’s own scholarly work.


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      Dr. Hood’s findings are based primarily on the election of Representative

Paschal, a Black Republican, from a majority-White district. See Tr. 1893–95. But

it is a gross understatement to say that this election is atypical – as Dr. Bonneau

explained: it’s a “unicorn.” Id. at 1688. Representative Paschal was the first Black

Republican elected to the Legislature since Reconstruction, and he remains the only

Black Republican in the Legislature -- a Legislature that numbers 105 state

Representatives and 35 state Senators. Even Dr. Hood admitted that “you can’t make

a statewide generalization from a single state house election within Alabama.” Id. at

1921–24. And Representative Paschal’s district in Shelby County does not overlap

with the challenged districts in these cases. Id. at 1921. Accordingly, although we

do not diminish the importance of Representative Paschal’s election, it does not

support a finding that voting in Alabama, particularly in the districts at issue, is more

about party than race.

      Separately, we cannot reconcile Dr. Hood’s testimony with his published

scholarship. At trial, Dr. Hood testified about three of his publications that either do

not support or directly refute his litigation opinions. Dr. Hood conceded that his 2015

article about White support for minority Republican candidates (“True Colors”) did

not consider any Alabama races and “make[s] no specific findings as to [W]hite

voter support for Black Republican candidates.” Tr. 1912–15. And he conceded that

the article concludes that “[a]t a minimum, the level of [ideological] polarization in


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American politics masks racially prejudiced voting behavior and, at a maximum, it

renders it inoperable because White conservatives view recent minority Republican

nominees as at least as conservative as White GOP nominees, and their level of

support reflects this.” Tr. 1954–56 (reading from Milligan Doc. 456-2 at 2).

      Of far greater concern, Dr. Hood testified that in his 2012 book (The Rational

Southerner), he wrote that “the growth of [S]outhern Republicanism was primarily

driven by racial dynamics”; “Southern politics in the early 21st Century still revolves

around the issue of race”; “the partisan and political transformation of the [S]outh

over the past half-century has, most centrally, revolved around the issue of race”;

“the [S]outhern party system over the past half-century revolved around issues of

race”; “[m]uch of the recent work on the American party system has clearly then

underemphasized the crucial and distinctive role that race and racial dynamics have

played”; and “race has left an indelible imprint on the region, and it would certainly

be a mistake to ignore the potential future role of racial dynamics in [S]outhern

politics and, by implication, national politics.” Tr. 1929–31 (reading from Caster

Exhibits 157 and 159).

      And most recently, Dr. Hood testified that in his 2022 article about the role

the Civil War plays in today’s Southern politics (“Switching Sides”), he wrote

extensively about the primacy of race in Southern party politics:

      Not only does an overwhelmingly [W]hite electorate now favor the
      GOP in [S]outhern politics, but in this article we have also shown with

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      an inventory of public opinion data that the party’s adherents have
      reached back in time to defend the Lost Cause Myth. Thus, in this
      regard, our findings support racially motivated explanations for
      partisan change in the South.

      …

      Hence, it stands to reason that contemporary debates over Confederate
      symbolism and public memory reflect ongoing conflict over racial
      inequality. Today’s racialized partisan cleavage reflects a similar divide
      over views of a racially charged past.

      …

      It is true that the modern [S]outhern Republican Party stands for a host
      of things beyond being more racially conservative than its Democratic
      opponent. But it is also undeniable that the successful GOP strategy of
      attracting [S]outhern [W]hites by capturing the conservative position
      on African American civil rights has ultimately led to the reality that
      the Republican Party has now become the defender of the very flag that
      [W]hite [S]outherners once raised against the party of Lincoln on
      bloody battlefields and later in violent skirmishes over [B]lack equality.
      In addition, modern-day GOP adherents are also much more supportive
      of honoring the Confederate fallen, as we have shown with public
      opinion data on Confederate monuments. Finally, contemporary
      [S]outhern [W]hite Republicans are also the primary apologists for an
      almost universally disavowed historical argument that the “War
      Between the States” was mainly about states’ rights, as opposed to
      slavery. This development has come to fruition despite the fact that our
      data clearly show that [W]hite [S]outherners very much value the
      South’s history and a large majority still think the Civil War remains
      relevant to American politics. Thus, the weight of the evidence shows
      that in “still fighting the Civil War,” [W]hite [S]outherners have
      rewritten history, at least with respect to switching partisan sides in
      their defense of the Lost Cause.

Caster Doc. 374-2 at 13–14 (internal citations omitted); Tr. 1939–41.




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      We are not alone. At trial, Dr. Hood could not reconcile his litigation opinions

with these published works. Compare Tr. 1929–31, 1933–35 (reading excerpts from

Caster Exhibits 157 and 159), Caster Doc. 374-2 at 13–14, and Tr. 1939–41, with

Tr. 1947–53. On redirect, he simply reiterated his litigation opinions, with no

explanation for the glaringly obvious contradiction between the published analysis

and the testimony. Under this circumstance, we cannot credit his testimony that

voting in Alabama is polarized by party rather than race.

      Dr. Bonneau

      We credit Dr. Bonneau’s testimony. All parties agree that his training and

experience qualify him as an expert, his opinions were clear and consistent, and

(unlike some of the State’s other experts) he relied on Alabama-specific data. Tr.

1665, Milligan Doc. 384-1 at 2. We observed his demeanor as he testified, he was

careful not to overstate his opinions, and he acknowledged that the small number of

elections he studied limited them. Tr. 1819–20 (“you go to war with the data you

got, not the data you want”). When confronted with an error in his report, he

acknowledged it and testified candidly about its effects on his conclusions. See, e.g.,

id. at 1679–80. And when he used data only for a limited purpose, he explained it.

See id. at 1816–18. Accordingly, we find his testimony reliable and helpful.




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      Dr. Reilly

      We assign very little weight to Dr. Reilly’s testimony for three reasons. First,

most of Dr. Reilly’s opinions do not focus on and are not about Alabama. Dr. Reilly

admitted at trial that his expertise and academic research are not focused on

Alabama, and that in his report about racial socioeconomic gaps, he chose not to

examine Alabama-specific data. Tr. 2211–12, 2213–14, 2249–50, 2255–56.

      Second, Dr. Reilly repeatedly offered opinion testimony without support. We

distinguish these opinions from overstatements because their underlying support was

unreliable or completely absent. For at least four assertions in his report, he cited

only websites (including Wikipedia, Quora, and Reddit), with no scholarship or

peer-reviewed backup. Milligan Doc. 384-4 at 3 n.7; 8 n.17; 13 n.25; 20 n.41.

Indeed, these websites lack the reliability of scholarly work because of the ability

for any person to edit, add, or remove information without subject matter expertise

or verification. Dr. Reilly conceded at trial that some data in his report lacks any

citation. Milligan Doc. 384-4 at 29; Tr. 2306–07. When asked to explain certain

figures in his report, he was unsure about the source. Tr. 2342. And he conceded that

he reached conclusions on matters for which he conducted no analysis. Id. at 2251.

Standing alone, Dr. Reilly’s refusal to limit himself to well-founded opinions

forecloses our reliance on his testimony.




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      Third, we observed Dr. Reilly’s demeanor at trial, particularly when he was

cross-examined, and found that it was dogmatic, defensive, and deliberately

confrontational. His manner of testifying left us with the impression that his goal

was to be evocative (an adjective he used to describe himself, id. at 2232) rather than

reliable and persuasive.

      Dr. Reilly testified about some of his social media posts, and that testimony

confirms this impression. For example, he posted that “it is so silly to pretend IQ

science does not exist . . . U.S. Blacks at 92 [and] Whites at 103 . . . [is] correct.” Id.

at 2312. And that “[y]ou could literally pay smart Black people to have kids or boost

Black merit immigration, to boost Black IQ, which, given what we do know about

biracial scores, probably isn’t low’ish [sic] for genetic reasons. This is really a very

solvable problem.” Id. 2353–55.

       For all these reasons, we do not find Dr. Reilly’s methods or conclusions

reliable or helpful to the Court.

      Dr. Carrington

       We also assign no weight to Dr. Carrington’s testimony. Dr. Carrington

opined about “the historical development of party affiliations among Alabama voters

from comprising the core of the Democratic ‘Solid South’ to becoming a dependably

Republican-voting state.” Milligan Doc. 384-2 at 1. But he conceded that his

education and training “did not have a particular focus on the American [S]outh,” he


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has never taught courses about Alabama politics or history, and he is not an expert

in Alabama politics or history. Tr. 1549–50, 1583, 1585. He has published two

articles relating to Alabama in the nineteenth century, but no other work about

Alabama. Id. at 1584–85.

      At the outset, Dr. Carrington’s very limited familiarity with Alabama history

and politics greatly reduced the potential value of his testimony in our “‘intensely

local appraisal’ of the electoral mechanism[s]” in Alabama. Allen, 599 U.S. at 19

(quoting Gingles, 478 U.S. at 79). He exacerbated this limitation by making little to

no effort to learn about Alabama before opining about party affiliations here.

      Dr. Carrington admitted that he did not study any Alabama Democrat political

party platforms for his report. Tr. 1608. He testified that Alabama voting patterns

aligned with Southern patterns, but he did not study Alabama elections. Id. at 1608,

1628–31. He opined about “the sixth [Senate] factor, which confronts the question

of whether or not[] political campaigns have been characterized by overt or subtle

racial appeals,” Milligan Doc. 384-2 at 3 (internal quotation marks omitted), but

conceded that he did not evaluate any Alabama campaign materials other than those

Dr. Bagley identified, Tr. 1588.

      Dr. Carrington put forth so little effort to learn about Alabama that he opined

at length about former Governor Wallace while having no idea who Judge Frank

Johnson was. He likewise opined about segregationist viewpoints and party


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affiliations, but with no knowledge of relevant prominent civil rights figures. See id.

at 1622–23, 1645.

       Dr. Carrington’s willingness to opine about Alabama without first learning

about Alabama extends beyond the courtroom. Before he was retained as an expert

in these cases (he did not participate in the preliminary injunction proceedings), he

authored an opinion piece calling the Supreme Court’s ruling in these cases a

“missed opportunity.” Id. at 1625–28. On cross-examination about the piece, he

distinguished his work as an op-ed columnist from his scholarly work. Id. at 1626.

       Dr. Carrington’s lack of expertise and carelessness foreclose our reliance on

his testimony.

       Dr. Riser

       We credit Dr. Riser’s testimony. The parties do not dispute that his training

and experience qualify him as an expert, and his credentials and familiarity with

Alabama qualify him to opine on Alabama-specific matters. See Singleton Doc. 253-

1 at 3–5; Tr. 747, 750. His training focused on “U.S. Constitutional History and

Southern History, and [he] completed both a master’s thesis and doctoral dissertation

that examined Alabama’s 1901 Constitutional Convention.” Singleton Doc. 253-1 at

3. And he has testified as an expert in voting rights cases, including in Alabama. See

id. at 4.




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       Dr. Frederickson

       We credit Dr. Frederickson’s testimony. All agree that her training and

experience qualify her as an expert, and her credentials and extensive familiarity

with Alabama qualify her to opine on Alabama-specific matters. See Singleton Doc.

253-2 at 3; Tr. 804–05.

       The Legislators

       We have reviewed the videotaped depositions of Representative Pringle and

Senator Livingston, so we have limited exposure to their demeanor and manner of

testifying. From this limited exposure, we found Representative Pringle’s testimony

generally direct and frank, and we found Senator Livingston’s testimony less

helpful. We credit their testimony as explained below.

       In our first preliminary injunction, we found that Senate Factors 1, 2, 3, 5, 6,

and 7 weighed in favor of the Plaintiffs, and we made no findings about Factors 8

and 9. Milligan Doc. 107 at 178–93. In our second preliminary injunction, we

adopted the earlier findings about Factors 1, 2, 3, 5, 6, and 7, and found (based on

evidence about the 2023 Plan) that Factor 8 weighed in favor of the Plaintiffs. See

Milligan Doc. 272 at 178–84. We again made no findings about Factor 9. See id. at

184. 60



60
  Because there is not a slating process for Alabama’s congressional elections,
Senate Factor 4 is not relevant. See Milligan Doc. 481 ¶¶ 504–05.

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       We now have the benefit of full discovery and a trial, and the parties have

thoroughly litigated both our previous findings and presented new experts, evidence,

and arguments. We thus have a much fuller record now than we had before.

Nevertheless, our findings remain the same: as we explain below, Senate Factors 1,

2, 3, 5, 6, 7, and 8 weigh in favor of the Plaintiffs. We analyze Senate Factor 9 for

the first time and find that it also weighs in favor of the Plaintiffs.

       We begin our analysis of the Senate Factors with Factors 2 and 7, which

Gingles suggests are the “most important.” 478 U.S. at 48 n.15.

                     b.     Senate Factor 2

“[T]he extent to which voting in the elections of the state or political subdivision
is racially polarized.” Gingles, 478 U.S. at 37.
       We find that Senate Factor 2 weighs heavily in favor of the Plaintiffs. We

already have found that voting in the challenged districts is starkly and intensely

racially polarized, and that finding is based on substantial evidence, concessions,

and the material agreement of the State’s experts. See supra Part V.A.3. In its Senate

Factor 2 argument, the State urges us to examine the cause of that pattern and find

that it is attributable to party politics, not racial causes. See Milligan Doc. 481 at

119–58. The State draws on case law warning courts that patterns do not tell the

whole story of how voters vote because “what appears to be bloc voting on account

of race may, instead, be the result of political or personal affiliation of different racial




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groups with different candidates.” Solomon v. Liberty Cnty. Comm’rs, 221 F.3d

1218, 1225 (11th Cir. 2000) (en banc); see Milligan Doc. 481 at 119–120.

      But when we look past the pattern in these cases, we see no evidence that only

party politics are at work. We consider in turn each evidentiary basis the State offers.

First, the State offers Dr. Hood’s testimony to suggest that “[r]acial polarization in

Alabama is a product of political partisanship, not racial bias.” See id. at 119, 125–

26. But as we have already explained, see supra Parts IV.D.3.a & V.A.4.a, Dr.

Hood’s published scholarship tells the opposite story: that race remains the dominant

political influence in Southern politics today, and that race heavily influences the

positions that political parties take on racial issues. Indeed, Dr. Hood’s published

scholarship not only tells this story, but repeats it in multiple peer-reviewed

publications, some of them co-authored, spanning nearly a decade.

      Further, although Dr. Hood did not perform a racially polarized voting

analysis for his trial report, he performed one for his earlier report in these cases, and

he found racially polarized voting in Alabama. Tr. 1945; Milligan Doc. 66-4 at 14.

At trial, Dr. Hood testified he still agreed with that finding because “nothing’s

changed in regard to” the analysis he performed. Tr. 1945.

      Ultimately, Dr. Hood’s opinions support the Plaintiffs more than the State on

the issue of racially polarized voting. Standing alone, his published scholarship and

independent finding of racially polarized voting are sufficient to support our finding


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that Senate Factor 2 weighs in favor of the Plaintiffs. Nevertheless, we consider the

State’s other evidence and arguments.

      Second, the State offers the testimony of Dr. Bonneau that the evidence he

reviewed is “consistent with the story that political party is the most important factor

here and not race.” Id. at 1727; see Milligan Doc. 384-1 at 18. Dr. Bonneau examined

certain elections and straight-ticket voting. See Milligan Doc. 384-1.

      But we find Dr. Bonneau’s evidence limited and the State’s arguments from

it overdrawn. See supra Part IV.D.3.b. When Dr. Bonneau opined that “the better

explanation for the data we observe is political party,” he candidly acknowledged

that his limited opinion was based on a “subset” of Alabama elections. Tr. 1766. Dr.

Bonneau’s selected subset included certain judicial elections in the state (which he

has studied before, and which analysis contained a material error that reversed his

conclusions, see supra Part IV.D.3.b), one round of state legislative elections in 2022

(with a focus on the election of Representative Paschal, who Dr. Bonneau described

as a “unicorn”), the 2018 election of Judge Lewis to a circuit judgeship in Alabama

state court (which was flagged for him by counsel), and the 2024 primary elections

in the new District 2. See Milligan Doc. 384-1 at 4–13, Tr. 1688, 1766. Between

limitations and flaws, we do not see that this subset has the potential to tell us very

much about how to view the relative influence of race and party in modern Alabama

elections.


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      We also see significant limitations on Dr. Bonneau’s opinion about straight-

ticket voting – that approximately two-thirds of Alabamians vote by “straight-

ticket,” and “[t]he prevalence of straight-ticket voting means that most voters are

voting for a political party, not a candidate.” Milligan Doc. 384-1 at 5; Tr. 1694–95.

As Dr. Liu pointed out, “Dr. Bonneau does not explain whether he has any

knowledge of these voters directly, nor the racial identities of these straight-ticket

voters nor localities/precincts the voters resided in.” Milligan Doc. 385-8 at 4; Tr.

605–08. And even Dr. Bonneau acknowledged that he could not rule out that Black

candidates were penalized at the polls on account of race. See Tr. 1783–85. Further,

when Dr. Bonneau was asked why “Black voters overwhelmingly identify as

Democrats,” he repeatedly agreed that Black voters perceive the Democratic Party

as better on race-based issues such as the Voting Rights Act, Civil Rights Act, and

civil rights. Id. at 1788. Ultimately, Dr. Bonneau’s limited evidence simply does not

support the State’s assertion that it has “presented substantial evidence that a

majority of [W]hite voters in Alabama vote for someone other than the minority-

preferred candidate not for racial reasons, but for partisan and ideological ones.”

Milligan Doc. 481 at 125.

      Third, in connection with the State’s reliance on Dr. Bonneau, the State relies

on a recent case involving a Section Two challenge to Alabama’s at-large process

for electing appellate judges: Alabama State Conference of the NAACP v. Alabama,


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612 F. Supp. 3d 1232 (M.D. Ala. 2020). That court found that Alabama is a “ruby

red” state, which has made it “virtually impossible for Democrats – of any race – to

win statewide in Alabama in the past two decades.” Id. at 1291.

      But that finding was based on an evidentiary record – trial testimony from two

expert witnesses, one of whom (Dr. Bonneau) conducted a multivariate regression

statistical analysis – that is absent here. And read in context, that finding does not

stand for the broad proposition that racially polarized voting in Alabama is always

simply party politics; rather, it supports the more limited proposition that in that case,

“the notion that African-American candidates lose solely because of their skin color

[wa]s not supported by the evidence.” Id. at 1293.

      Further, we are not looking at a record about two decades’ worth of racially

polarized voting in some judicial elections – we see a near-total absence of Black

Alabamians in statewide office and legislative office (outside of Black-opportunity

districts) that dates all the way back to Reconstruction. Accordingly, we cannot reach

the same conclusion that the Alabama State Conference of the NAACP court reached,

and we cannot assign the weight to its conclusion that the State urges us to assign.

      Fourth, the State repeatedly relies on the recent election of Representative

Paschal from a majority-White Alabama House district. See, e.g., Milligan Doc. 481

at 134, 138. We do not diminish the inherent significance of Representative

Paschal’s unusual election, but one election of one Black Republican from one


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majority-White district in 150 years is hardly a sufficient basis for us to find that

patterns of racially polarized voting are caused by party more than race. Dr. Hood

and Dr. Bonneau cannot help but agree. Tr. 1924 (Dr. Hood), 1688 (Dr. Bonneau).

Dr. Bonneau was right — Representative Paschal’s election is a “unicorn.” Id. at

1688.

        Representative Paschal’s unicorn status tells us that the State may be

substantially overstating White voters’ willingness to support minority candidates,

and Dr. Liu provides further insight. Dr. Liu testified about two elections that may

allow us to estimate White support for Black candidates in both political parties –

the 2008 presidential election, and the 2024 Republican congressional primary in

District 2. In the 2008 presidential election, Dr. Liu found that exit poll data showed

that 51 percent of White Alabama Democrats supported Senator John McCain over

then-Senator Barack Obama; from this, Dr. Liu reasoned that those “White

Democrats showed in their vote choice that race mattered instead of party.” Tr. 588–

90 (referring to Milligan Doc. 403-13 at 14). In the 2024 Republican primary in

District 2, Dr. Liu explained that the four Black candidates finished behind the four

White candidates, and the four Black candidates “together received only 6.2% of the

total vote,” which suggests that White Republicans are not willing to support

minority candidates in large numbers. Milligan Doc. 385-8 at 4.

        We cannot reconcile the State’s assertion that White voters are willing to


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support minority candidates in large numbers with the political reality we see. If the

State were right about this, Representative Paschal would not be a unicorn, and four

Black Republican candidates would not have amassed only 6% of the vote in a

primary election in a Black-opportunity district.

      Ultimately, Dr. Palmer’s testimony tells us that there is a fictional premise at

the heart of the State’s argument about party polarization — namely, that race and

party are separate and independent factors that influence vote choice. See Caster

Doc. 303-2 at 6–7. Tr. 519–20. In truth, Dr. Palmer opined, race is a critical factor

in how and why voters form partisan attachments:

      Implicit in Dr. Bonneau’s incorrect conclusion about the role of party
      is his assumption that the effects of race and party are separable. In
      other words, Dr. Bonneau assumes (without any evidence) that an
      individual’s race and an individual’s political party are two separate and
      independent factors that influence vote choice. A long literature in
      political science about how voters develop partisan attachments and
      make decisions about voting shows the opposite: an individual’s
      background, including their race, is a key factor in their politics and
      party preferences. This means that even if members of a racial group
      strongly support candidates of a single party, race, as a key factor in
      driving their support for that party, is an inseparable part of their
      support for those candidates. If race causes party, then we can’t find
      that party alone, without race, can cause vote choice. Due to the
      fundamental linkage of race and party, the effects of the two cannot be
      separated. In other words, the strong support of Democratic candidates
      by Black voters cannot be attributed to partisan preferences alone, but
      to a mix of personal and political factors and experiences of which race
      is an essential part.

Caster Doc. 303-2 at 6–7; see also Tr. 519–20 (explaining why “we can’t just isolate

party from race alone because they’re fundamentally linked”).


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       We credit Dr. Palmer’s analysis on this issue for four reasons. First, no one

disputes it. Indeed, Dr. Palmer’s testimony that race drives party attachments fits

better with Dr. Hood’s published scholarship about how race remains the primary

driver of party politics in the South than does Dr. Hood’s litigation opinion that

ideological and policy preferences drive Black voting patterns.

       Second, Dr. Palmer’s testimony that race drives party attachments is realistic.

It allows us to hold in the same space the obvious truths that partisan affiliations

drive voting patterns and issues of race drive Black voters’ choices at the polls. We

have an overwhelming evidentiary record about the importance of race in Alabama

politics, both historically and today. Again, it denies reality for us to say that at the

end of the day, all of that is just party politics.

       Third, Dr. Palmer’s testimony fits with the lay testimony we heard from

multiple Black voters. For example, Dr. Caster testified that racial concerns drive

his affiliation with the Democratic Party: “The principles of the Democratic party as

far as they help and support . . . the African-American community and Blacks align

more with [his] core values,” he explained. Tr. 383. “And so that’s why [he] ran with

the Democratic party.” Id. Similarly, Mr. Love explained that racial concerns drive

his affiliation with the Democratic Party. See Milligan Doc. 459-14 at 19.

       And as other witnesses explained, the position of the Democratic Party on

both racial issues and other issues that are important to Black Alabamians overrides


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the obvious alignment between these voters’ conservative Christian beliefs and the

Republican Party. See, e.g., Tr. 1106–11 (Pastor Jackson); Tr. 1174 (Mr. Milligan).

      We see no reason to think that these Black voters are unusual. If they were, or

if their explanations were flawed, we would expect Black Alabamians to cast their

votes for Republican candidates – particularly conservative Christian Republican

candidates – far more than the evidence tells us that they do.

      Fourth, acknowledging that race plays a central role in party attachments

keeps the controlling legal standard honest and workable. It would be deeply

contradictory for that standard to demand political cohesion in a minority group for

the second and third Gingles preconditions, then deny Section Two relief based on

that same cohesion because party politics tilt Factor 2 against the minority group.

      Put differently, our analysis is not confounded by partisanship based on race.

As we understand it, Gingles accounts for partisanship based on race in its demand

for political cohesion among the minority group, which will be absent in times or

places where party affiliations are driven primarily by something other than race.

      We understand the statutory command about the totality of the circumstances

as an instruction to look at the whole picture, not as permission (let alone a

requirement) to carve it up into parts and examine each part in isolation from the

others. When we consider the whole picture, we cannot understand the patterns we

see as mere party politics. We acknowledge the well-known reality that party


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affiliations drive voting patterns, but we understand this evidentiary record as telling

us that we cannot separate voters’ racial considerations from their party affiliations,

and that we must not ignore the powerful role that voters’ race plays in their partisan

attachments. Accordingly, we find that when we look at racial cleavages in voting

patterns in Alabama, what we are seeing is appropriately described as racially

polarized voting, and Senate Factor 2 weighs heavily in favor of the Plaintiffs.

                    c.     Senate Factor 7
“[T]he extent to which members of the minority group have been elected to
public office in the jurisdiction.” Gingles, 478 U.S. at 37.
       Likewise, we find that Senate Factor 7 weighs heavily in favor of the

Plaintiffs. Four stipulated or undisputed facts do the heavy lifting here:

             (1) Since 1994, no Black Alabamian, regardless of party, has won a
       statewide race, see Milligan Doc. 403-1 at 29 61;
             (2) in 1992, Representative Earl Hilliard was the first Black Alabamian
       elected to Congress since Reconstruction, Milligan Doc. 436 ¶ 103;

             (3) Representative Shomari Figures is the first Black Alabamian to be
       elected to Congress outside of District 7 since Reconstruction, see Milligan
       Doc. 436 ¶¶ 103, 106, 108, 113–14, 151; and
             (4) “Thirty-two (32) out of thirty-three (33) Black Alabamians
       currently serving in the Alabama Legislature were elected from majority-
       Black districts,” Milligan Doc. 436 ¶ 155, which were created to comply with
       the Voting Rights Act or the Constitution, Tr. 1927–28 (Dr. Hood
       acknowledging that those majority-minority districts were the product of and


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  There is one Black statewide official in Alabama today who occupies an elected
office – Judge Lewis. Governor Ivey appointed Judge Lewis in 2024 and he will
need to run for election to keep his position. Milligan Doc. 436 ¶ 153.

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      maintained by the Voting Rights Act and associated litigation).

      The State is given “no pause” by these facts “because every one of those 32

legislators ran as a Democrat,” Milligan Doc. 481 at 159–60, so the State directs us

back to arguments about party affiliations that we already have rejected, see supra

Part V.A.4.b. But the State does not (because it cannot) rebut the reality that Black

Alabamians enjoy zero success in statewide elections, and near-zero success in

legislative elections outside of Black-opportunity districts protected by federal law.

Indeed, it was the State’s own expert who described the one-time election of a Black

Republican from a majority-White state legislative district as a “unicorn” because

“you have a Black Republican winning an election in Alabama.” Tr. 1688.

      To be sure, Black Alabamians have made progress in electoral success. Dr.

Hood reported that there were no Black senators or representatives in the Legislature

in 1965, three Black senators and thirteen Black representatives in 1981, and there

are currently seven Black senators and twenty-six Black representatives. Milligan

Doc. 384-3 at 22; see Tr. 1896.

      But just as we refused to evaluate Black voters’ partisan affiliations in a

vacuum, likewise we refuse to evaluate their electoral gains in a vacuum. Every gain

in congressional elections has come as a result of federal law (primarily Section

Two), and even Dr. Hood acknowledges that the reality is much the same for the




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gains in state legislative elections. Senate Factor 7 weighs decidedly in favor of the

Plaintiffs.

                    d.    Senate Factors 1, 3, and 5

Senate Factor 1: “[T]he extent of any history of official discrimination in the
state . . . that touched the right of the members of the minority group to register,
to vote, or otherwise to participate in the democratic process.” Gingles, 478 U.S.
at 36–37.

Senate Factor 3: “[T]he extent to which the state . . . has used . . . voting practices
or procedures that may enhance the opportunity for discrimination against the
minority group.” Id. at 37.
Senate Factor 5: “[T]he extent to which members of the minority group in the
state . . . bear the effects of discrimination in such areas as education,
employment and health, which hinder their ability to participate effectively in
the political process.” Id.

       We analyze these Senate Factors together because much of the evidence that

is probative of one of them is probative of more than one of them. Alabama’s terrible

history of racial and voting-related discrimination is undeniable and well

documented. The State argues that Alabama has come a long way, but the question

for us is more pointed: has it come far enough for these factors to be neutral or to

weigh in favor of the State?

       We are keenly aware of the instruction that “[p]ast discrimination cannot, in

the manner of original sin, condemn governmental action that is not itself unlawful.”

Abbott, 585 U.S. at 603 (quoting City of Mobile, 446 U.S. at 74). It should be

apparent that we do not assign Alabama’s shameful history dispositive weight, and

we do not grant Section Two relief simply because we condemn past discrimination.

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It would not take us five hundred pages to explain that logic if we adopted it. We

have carefully considered an extensive record about both past and present

discrimination (some of it in these very cases), and a wealth of expert analysis of

recent data about Black Alabamians’ lives and voting patterns, along with other

evidence.

      All the evidence about Senate Factors 1, 3, and 5 tells the same story: official

discrimination on the basis of race has affected Black Alabamians’ lives and political

participation for a long time, and it continues to affect Black Alabamians’ lives and

political participation today. We first discuss findings we made in our first

preliminary injunction, we then consider the lay testimony that offered firsthand

recollections about official discrimination, we then consider the expert testimony

about socioeconomic disparities and their impact on political participation, and we

finally consider the lay testimony about the same.

      Findings from the Preliminary Injunction

      In our first preliminary injunction, we made findings about Alabama’s history

of official discrimination based on stipulated facts and judicial findings. See Milligan

Doc. 107 at 182–88. The parties revised their stipulations, but nothing has changed

about the judicial precedents. So, we again find that:

   • Prior to 1960, the Legislature failed to reapportion for 50 years. As a result,
     Alabama’s entire legislative apportionment scheme was struck down for
     violating the principle of one person, one vote. Reynolds, 377 U.S. at 568. On
     remand, a three-judge court found that, in devising remedial maps to correct

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   the malapportionment, the “Legislature intentionally aggregated
   predominantly Negro counties with predominantly white counties for the sole
   purpose of preventing the election of Negroes to [State] House membership.”
   Sims, 247 F. Supp. at 109.

• Following Reynolds and the 1970 Census, the Legislature again failed to
  redistrict and a three-judge federal court was forced to draw new district lines.
  Sims, 336 F. Supp. at 940. The court rejected the Alabama Secretary of State’s
  proposed map because of its racially “discriminatory effect” on Black voters.
  Id. at 936.

• In the 1980s, the United States Attorney General denied preclearance under
  the Voting Rights Act to maps drawn by the Legislature to redistrict State
  House and Senate maps because of their discriminatory effect on Black voters
  in Jefferson County and the Black Belt. Letter from Wm. Bradford Reynolds,
  Assistant Att’y Gen., C.R. Div., U.S. Dep’t of Just., Hon. Charles A.
  Graddick, Ala. Att’y Gen. (May          6,     1982),
  https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/AL-
  1520.pdf. Shortly thereafter, a three-judge court rejected Alabama’s proposed
  interim remedial state maps in part because Alabama’s maps “had the effect
  of reducing the number of ‘safe’ [B]lack districts” in and near Jefferson
  County. Burton v. Hobbie, 543 F. Supp. 235, 237 (M.D. Ala. 1982).

• After the 1990 census, the State entered a consent decree to resolve a Voting
  Rights Act lawsuit filed on behalf of Black voters. See Brooks, 631 So. 2d at
  884.

• In 1986, a federal court found that the state laws requiring numbered posts for
  nearly every at-large voting system in Alabama had been intentionally enacted
  to dilute Black voting strength, and that numbered posts had the effect of
  diluting Black voting strength in at-large elections. Dillard v. Crenshaw
  County, 640 F. Supp. 1347, 1357 (M.D. Ala. 1986). The court also found that
  from the late 1800s to the 1980s, Alabama had purposefully manipulated the
  method of electing local governments as needed to prevent Black citizens
  from electing their preferred candidates. See id.

• Federal courts recently ruled against or altered local at-large voting systems
  with numbered posts created by the Legislature to address their alleged racially
  discriminatory purpose or effect. See, e.g., Jones v. Jefferson Cnty. Bd. of
  Educ., No. 19-CV-01821, 2019 WL 7500528, at *2, *4, 2019 U.S. Dist.
  LEXIS 223556, at *9 (N.D. Ala. Dec. 16, 2019); Ala. State Conf. of the

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   NAACP v. City of Pleasant Grove, No. 18-cv-02056, 2019 WL 5172371, at
   *1, 2019 U.S. Dist. LEXIS 179206 (N.D. Ala. Oct. 11, 2019).

• The Supreme Court struck down Alabama’s discriminatory misdemeanant
  disfranchisement law, Hunter v. Underwood, 471 U.S. 222, 225 (1985), and
  a state law permitting certain discriminatory annexations, City of Pleasant
  Grove v. United States, 479 U.S. 462, 466–67, 472 (1987).

• Since the decision in Shelby County v. Holder, federal courts have ordered
  more than one political subdivision in Alabama to be bailed back into
  preclearance review under Section 3(c) of the Voting Rights Act. See Jones,
  2019 WL 7500528, at *4–5, 2019 U.S. Dist. LEXIS 223556, at *12; Allen v.
  City of Evergreen, No. 13-0107, 2014 WL 12607819, at *2, 2014 U.S. Dist.
  LEXIS 191739, at *3–4 (S.D. Ala. Jan. 13, 2014).

• In 2018, in a case challenging the attempt by the City of Gardendale, which is
  85% White, to form a school district separate from Jefferson County’s more
  racially diverse district, the Eleventh Circuit affirmed a finding that “race was
  a motivating factor” in the city’s effort. Stout ex rel. Stout v. Jefferson Cnty.
  Bd. of Educ., 882 F.3d 988, 1000, 1009 (11th Cir. 2018).

• Alabama was subjected to a statewide injunction prohibiting the state from
  failing to disestablish its racially dual school system. Lee v. Macon Cnty. Bd.
  of Educ., 267 F. Supp. 458, 480 (M.D. Ala. 1967) (per curiam), aff’d sub nom.
  Wallace v. United States, 389 U.S. 215 (1967). The order resulted from the
  court’s finding that the State Board of Education, through Governor George
  Wallace, had previously wielded its powers to maintain segregation across the
  state. Id. at 462. A trial court found that for decades, state officials ignored
  their duties under the statewide desegregation order. See Lee v. Lee Cnty. Bd.
  of Educ., 963 F. Supp. 1122, 1128–30 (M.D. Ala. 1997). A court also found
  that the state did not satisfy its obligations to remedy the vestiges of
  segregation under this order until as late as 2007. Lee v. Lee Cnty. Bd. of Educ.,
  476 F. Supp. 2d 1356, 1367–68 (M.D. Ala. 2007).

• In 1991, a trial court in Knight v. Alabama, 787 F. Supp. 1030 (N.D. Ala.
  1991), found that Alabama had failed to eliminate the lingering and continued
  effects of segregation and discrimination in the University of Alabama and
  Auburn University, and at the state’s public Historically Black Colleges and
  Universities. See id. at 1377–78. In 1995, the trial court issued a remedial
  decree analogous to the statewide injunction issued in Lee v. Macon, and the
  court oversaw implementation of that order for over a decade. Knight v.

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      Alabama, 900 F. Supp. 272, 349–73 (N.D. Ala. 1995). Alabama did not satisfy
      its obligations under that order until 2006. Knight v. Alabama, 469 F. Supp.
      2d 1016, 1039 (N.D. Ala. 2006).

   • After the 2010 census, Black voters and legislators successfully challenged
     twelve state legislative districts as unconstitutional racial gerrymanders. See
     Ala. Legis. Black Caucus, 231 F. Supp. 3d at 1348–49.

   • In United States v. McGregor, 824 F. Supp. 2d 1339, 1345–47 (M.D. Ala.
     2011), a federal court found that Alabama State Senators conspired to depress
     Black voter turnout by keeping a referendum issue popular among Black
     voters (whom the Senators called “Aborigines”) off the ballot.
      These judicial precedents illuminate a pervasive and protracted history of

official discrimination in voting rights in Alabama. This history spans numerous

electoral contexts, census cycles, and jurisdictions. In multiple cases it has run well

into the present era: several of the decisions recited above were issued in the last ten

years by federal judges who remain in service today. Against that backdrop, we turn

to the evidentiary record in the cases before us.

      Lay Testimony About Firsthand Experiences of Official Discrimination

      We heard at trial extensive and compelling testimony from Black Alabamians

who personally experienced official discrimination, including several who attended

segregated public schools. They described their experiences in detail:

   • Robert Clopton, a Black Alabamian born in 1954, testified about his family’s
     experiences as sharecroppers, his understanding from childhood that he
     should not go to sundown areas because “people were beaten [and] hung,”
     and his experiences in dilapidated segregated public schools, Tr. 236–38,
     240–43.

   • Letetia Jackson, a Black Alabamian born around the same time as Mr.
     Clopton, testified about her experiences attending segregated public schools

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      and living with official segregation in public spaces. Id. at 684–92.

   • Ronald Smith, a Black Alabamian born in 1954, testified about his experience
     attending segregated public schools and living with official segregation in
     public spaces. Id. at 416, 418, 428–31. He is an articulate person who testified
     that “words can[not] adequately describe” the feeling “[w]hen you live on one
     side of the railroad track and you see your White counterparts enjoying some
     of the amenities that are government sponsored and it’s taboo for you.” Id. at
     428.

   • Janice Malone, a Black Alabamian born in 1955, testified about her
     experience attending segregated public schools and living with official
     segregation in public spaces. Id. at 1130–35.

   • Valtoria Jackson, a Black Alabamian born in 1961, testified about her
     memories of her mother paying the poll tax to vote. Id. at 1069–70.

   • Bobby Lee DuBose, a Black Alabamian born in 1963, testified about growing
     up on a plantation. Milligan Doc. 459-5 at 7, 10, 29.

   • Benjamin Jones, a Black Alabamian born in 1965, testified about his
     childhood memories of his parents going to jail “on a number of occasions for
     voting,” and their strategy of not going to civil rights marches together
     because one of them had to be reliably out of jail to parent him and his fifteen
     siblings. Milligan Doc. 459-8 at 6; Jan. 10, 2022 Tr. 1345.

   • Evan Milligan, a Black Alabamian who was forty-three years old at the time
     of trial, testified about witnessing demonstrations by the Ku Klux Klan while
     growing up in Montgomery. Tr. 1159, 1238.

      The State does not dispute these firsthand recollections. Instead, the State

asserts that this evidence cuts in its favor – that the Plaintiffs “did not present a lay

witness whose political participation was hampered by past discrimination” because

the witnesses who are “old enough to have attended segregated schools . . . are all

extremely politically active.” Milligan Doc. 481 at 184.




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      We emphatically reject this assertion. We do not see political activism as

evidence that these witnesses were not adversely affected by the official

discrimination they experienced. We see that they are politically active despite that

discrimination and because they experienced its harmful effects. Additionally, we

refuse to give punitive effect to the political participation of Black Alabamians who

have personally suffered the ill effects of official discrimination and responded with

civic engagement in the democracy that discriminated against them.

      Expert Testimony

      We also have the benefit of extensive expert testimony about these Senate

Factors – from Dr. Bagley and Dr. Burch for the Plaintiffs, and Dr. Reilly and Dr.

Carrington for the State. As an initial matter, we repeat our findings that both Dr.

Bagley and Dr. Burch are credible experts (even though we do not adopt or rely on

every aspect of their testimony), and that we assign less or no weight to the testimony

of Dr. Reilly and Dr. Carrington. See supra Part V.A.4.a.

      Dr. Bagley opined at length about Alabama’s history of official

discrimination, particularly with respect to voting rights and redistricting. See

Milligan Docs. 68-2, 385-1; Tr. at 1282–92, 1297–98, 1307–24, 1376–77. We

already made findings about that history based on extensive judicial precedents, and

we regard those precedents as generally sufficient to establish the history.




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      But Dr. Bagley did tell us two additional details about the history that we find

helpful to illuminate its scope and recency: that (1) Alabama is the only state to have

more than one jurisdiction bailed back into federal preclearance requirements since

Shelby County, id. at 1288; and (2) school desegregation litigation in three major

school districts (Jefferson County, Huntsville City, and Madison County) remains

ongoing in federal courts to this day, id. at 1291–92.

      Dr. Bagley and Dr. Burch both opined about pressing socioeconomic

disparities between Black Alabamians and White Alabamians on numerous

dimensions: education, economics, housing, and health, among others. See Milligan

Docs. 68-2, 385-2. We again find that many of these disparities are substantial and

undeniable. See Milligan Doc. 107 at 185–87.

      As one example, Dr. Bagley opined that “Black communities in the Black Belt

continue to struggle in primitive conditions and suffer unusual health difficulties and

lack of even the most basic services.” Milligan Doc. 68-2 at 21. He described the

2019 United Nations report that found that extreme poverty conditions in the Black

Belt were “very uncommon in the First World,” reported that Black residents

“lacked proper sewage and drinking water systems and had unreliable electricity,”

and described instances in which whole households fell ill with infections contracted

from drinking water contaminated with raw sewage. See id. As another example, Dr.

Bagley reported that Black Alabamians are less likely to have access to a vehicle



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than are White Alabamians. Id. at 17. And as another example, he reported that for

2020–21, “the bottom 6 percent of the state’s schools,” labeled as “failing” under

Alabama law, “were majority Black, most overwhelmingly so” and “in or around

Birmingham, Montgomery, and Mobile, or in the Black Belt.” Id. at 24–25.

      Dr. Burch also identified substantial disparities from a systematic, statistical

perspective. She testified that the unemployment rate for Black workers in Alabama

(10%) is more than twice that of White workers (4%), Milligan Doc. 385-2 at 21, 24

tbl. 5; the family poverty rate for Black Alabamians (24%) is more than triple the

rate for White Alabamians (7%), id. at 21, 25 tbl. 6; the infant mortality rate for

Black infants in Alabama (12.4 deaths per 1,000 births) is nearly three times higher

than the rate for White infants in Alabama (4.3 deaths per 1,000 births), id. at 30;

Black Alabama households (12%) are more than twice as likely to lack access to a

vehicle at home than White Alabama households (4%), id. at 21, 29 tbl. 10; and the

percentage of Black households in Alabama without internet access at home (26%)

is nearly double the percentage of White households in Alabama without access

(14%), id. at 21, 28 tbl. 9; see also Tr. 928, 943, 946, 957–67.

      We assign particularly substantial weight to Dr. Burch’s explanation that

many of these disparities are pronounced in the Black Belt. As to poverty, she

testified that in Greene County “40 percent of Black families . . . live below the

poverty lines compared with five percent of White families,” and that the situation


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is similar in Perry County. Tr. 957. As to communication infrastructure, she testified

that in Escambia County, “43 [percent] of Black households don’t have access to the

Internet at home compared with 26 percent of White households,” and the situation

is similar in Crenshaw County. Id. at 960–61. As to transportation access, she

testified that in Hale County, “16 percent of Black families don’t have access to a

car at home compared with three percent of White families,” and the situation is

similar in Dallas County. Id. at 962.

      We also assign particularly substantial weight to Dr. Burch’s testimony that

Black Alabamians have significantly lower educational attainment than White

Alabamians. She reported that “[s]tatewide and at the county level, Black adult

Alabamians were less likely to have graduated from high school or to have attained

a bachelor’s degree than White Alabama adults.” Milligan Doc. 385-2 at 4. She also

reported recent data establishing stark disparities among school-aged children: “[I]n

2022, only 9 percent of Black Alabama 8th Graders were proficient in reading,

compared with 30% of White Alabama 8th Graders. Likewise, only 7% of Black

Alabama 8th Graders were proficient in Math, compared with 27% of White

Alabama 8th Graders.” Id. at 12. And she testified about the effects of such

disparities, explaining that “in the Black Belt especially, there are . . .

disproportionately high illiteracy rates, as high as 30 percent.” Tr. 938, 998, 1049.

      Dr. Bagley and Dr. Burch both opined that these disparities are inseparable



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from (and in large part the result of) the state’s history of official discrimination.

See, e.g., Milligan Docs. 68-2 at 17, 385-2 at 12; Tr. 934–35, 1396–98. Dr. Bagley

explained that from a historian’s perspective, there is “no other explanation for this

— these kinds of widespread myriad disparities other than the history of

discrimination.” Tr. 1397. And Dr. Burch explained that Black Alabamians’ lower

educational attainment in particular is “caused, in part, by historical and

contemporary discrimination in elementary, secondary, and higher education,”

including “separate-but-unequal” education. Milligan Doc. 385-2 at 12; see Tr. 934–

35. And Dr. Burch linked educational attainment with “income, poverty, and

employment,” meaning that Black Alabamians’ lower educational attainment in turn

drives other socioeconomic disparities. Milligan Doc. 385-2 at 19–20.

      We credit these explanations: it seems near-obvious to us that Black

Alabamians’ lower educational attainment and higher rates of illiteracy are directly

traceable to segregated public schools and dilapidated schools in predominantly

Black areas. Likewise, it seems near-obvious to us that communities with lower

educational attainment are at greater risk for widespread unemployment and poverty

than communities with higher educational attainment.

      Dr. Bagley and Dr. Burch also opined that many of these disparities hinder

Black Alabamians’ opportunity to participate in the political process. See, e.g.,

Milligan Docs. 68-2 at 17, 385-2 at 19–20; Tr. 929, 936–38, 950, 952, 956–57, 960–



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62, 969, 972. Dr. Bagley explained (1) that because White Alabamians tend to have

“more education and therefore higher income” than Black Alabamians, they tend to

be better able than Black Alabamians to “afford a car, internet service, a personal

computer, or a smart phone; . . . take time off from work; . . . afford to contribute to

political campaigns; . . . afford to run for office; . . . [and to] have access to better

healthcare,” and (2) that “[e]ducation has repeatedly been found to correlate with

income [and] independently affects citizens’ ability to engage politically.” Milligan

Doc. 68-2 at 17.

      Dr. Burch relied on a well-established scholarly consensus linking critical

disparities to political participation. She testified that “socioeconomic variables have

consistently been related to political participation and voting participation

throughout the political science literature”; that “educational attainment has been

shown over and over again by political scientists to be the most important predictor

of voting”; and that “the relationship between education and voting isn’t just

associational; it’s causal.” Tr. 929; Milligan Doc. 385-2 at 11.

      Dr. Burch specifically explained how Alabama’s history of segregated public

schools still impacts voting participation today: “[I]n 2020 . . . 38.6 percent of votes

in the Alabama general election were cast by people age 60 and older. So those were

people who were at least school age in 1970 when Alabama still maintained those

separate and unequal schools for Black and White students.” Tr. 936. And she


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testified that segregation resulted in fewer opportunities for Black people to attend

college and access educational resources, which is why Black people today “are

disproportionately concentrated in these lower educational attainment -- lower voter

turnout groups.” Id. at 937–38.

      Dr. Burch further explained that lower educational attainment impacts other

socioeconomic factors that also affect voting rates for Black Alabamians. See id. at

938; Milligan Doc. 385-2 at 19–20. She explained how racial disparities in family

poverty, internet access, and access to transportation hamper voting participation

due to an inability to read ballots, learn about candidates, absentee vote, locate voting

information, and travel to polls. See Tr. 938, 950, 952, 956–57, 960–62.

      We credit this testimony, which is not disputed, and we say again that it

explains dynamics that strike us as near-obvious. That said, we do not make findings

about all of Dr. Bagley’s testimony, nor all of Dr. Burch’s. We make only the

findings that we have just described. We do not make findings about every instance

of alleged official discrimination that was discussed in expert reports or at trial, nor

every disparity that was discussed. For example, we make no findings about racial

disparities in interactions with the criminal justice system. Further, we make no

findings about the idea that Dr. Burch testified about, sometimes labeled as

“structural racism,” that attributes most or all socioeconomic disparities or other

differences in the lives of Black Alabamians and White Alabamians to



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discrimination. And we make no findings about whether or how Black Alabamians

and White Alabamians worry differently about the price of eggs. We make only

those findings necessary to reach a conclusion about these Senate Factors, and no

more.

        In that regard, we say simply that when we consider critical disparities –

disparities in access to decent, integrated public schools and basic infrastructure in

the modern world (water, sewage, electricity, communication, and transportation),

we see stark racial disparities, particularly in the rural Black Belt, that (1) are clearly

traceable to Alabama’s lengthy and terrible history of official discrimination, and

(2) unsurprisingly hinder Black Alabamians’ political participation.

        Lay Testimony About Disparities and Political Participation

        Several fact witnesses corroborated the experts’ studies. Thematically, they

testified that educational disparities, primitive conditions and extreme poverty, and

lack of internet, transportation, and healthcare access make political participation

difficult and unlikely for many Black Alabamians.

        Pastor Jackson testified that economic destitution in the rural Black Belt,

persistent effective segregation in public schools, lack of internet access, illiteracy,

and living in economic survival mode are realities in the Black community that

hinder political participation. Id. at 1091–99, 1101, 1126. Ms. Letetia Jackson

testified about the lack of broadband and cell service in the Black Belt and explained



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that voters cannot “look up [their] polling place,” “determine whether [they are]

actually still registered to vote,” determine whether they “were being purged off of

the voter list,” or “download a voter registration . . . form,” Id. at 698, 715–16, 727–

28. And Mr. Smith testified that “there is no equivalence between Black and White

education in Bullock County and throughout the Black Belt,” and that “Black

children face obstacles getting into college” because of “bottom-of-the-barrel

instructors.” Id. at 435–37. He also testified about lack of access to broadband, health

insurance, and healthcare in his community, and he too explained that these

circumstances present real problems for political participation. See id. at 442–44.

We see clearly from this testimony, as we did the expert testimony, how critical

racial disparities with roots in official discrimination hinder Black Alabamians’

political participation.

      Accordingly, based on the great weight of the evidence, we reject the State’s

accusation that Plaintiffs “simply assume” that Black Alabamians’ disparate

socioeconomic status hinders their political participation, Milligan Doc. 481 at 11,

and its assertion that racial parity in rates of voter registration and turnout means that

Plaintiffs cannot demonstrate depressed political participation, id. at 173 ¶ 463; 178

¶ 475; 187 ¶ 500; 223 ¶ 605. We regard those arguments as both unsupported and

too formulaic. They are unsupported because Dr. Bagley and Dr. Burch provided

evidence and analysis for their explanations, not mere assumptions. And they are too



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formulaic because the point of Factor 5 is for us to consider whether the lasting

effects of official discrimination “hinder” the ability of Black Alabamians to

participate in the political process, Gingles, 478 U.S. at 37, and a laser focus on

parity in registration and turnout rates would overlook (1) other aspects of political

participation, and (2) the question of whether the lasting effects of discrimination

make it harder for Black Alabamians to participate at the levels that they do, even if

those levels are nearly on par or on par with the levels of White participation.

      We also reject the State’s argument, based on the testimony of Dr. Hood and

Dr. Reilly, that these kinds of racial disparities are everywhere in the United States,

including places with “very different histories,” such that if they are assigned

substantial weight, they will invariably drive a finding that the totality of the

circumstances supports a Section Two plaintiff. Milligan Doc. 481 at 11–12. This is

for two reasons. First, the State’s assertion is overwrought: we do not consider

socioeconomic disparities, nor their causes or effects, nor any other Senate Factor,

in a vacuum. And we do not grant Section Two relief simply because Black

Alabamians are worse off than White Alabamians on various metrics – we have

analyzed substantial other evidence.

      Federal law makes crystal clear that this is the way, as it has for forty years,

so we harbor no concern that any other federal court will grant Section Two relief

simply because of socioeconomic disparities across races. For example, when



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racially polarized voting is absent, socioeconomic disparities alone will not support

Section Two relief. Likewise, when a reasonably configured remedial district cannot

be drawn because the minority population is too geographically dispersed,

socioeconomic disparities alone will not support Section Two relief.

      Second, the State’s assertion is too narrowly focused. We must do more than

simply crunch numbers to analyze these Senate Factors properly. The bare fact of a

statistical disparity is important, but insufficient, to generate a clear understanding

of the presence or absence of the Factors.

      The other intensely local information that we have considered tells us that the

statistical disparities in Alabama (and their causes and effects) are not like

everywhere else, even if some of Alabama’s statistics might be similar in some ways

to statistics from other places. As just a few examples: the conditions in Alabama’s

Black Belt are sufficiently unique to startle seasoned, leading national scholars;

school desegregation cases are still pending in federal courts in Alabama; and

Alabama is the only state to have multiple jurisdictions bailed back into federal

preclearance in the last ten years. To repeat what we have already said in another

context (about crossover districts): things are different here.




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                    e.    Senate Factor 6

Senate Factor 6: “[W]hether political campaigns have been characterized by
overt or subtle racial appeals.” Gingles, 478 U.S. at 37.

      We find that Senate Factor 6 weighs in favor of the Plaintiffs, but to a lesser

degree than do Senate Factors 2, 7, 1, 3, and 5 (and 8 and 9, as we next explain). Dr.

Bagley offered several examples of racial campaign appeals in his reports, see

Milligan Docs. 68-2 at 26–28, 385-1 at 31–32, some of which he testified about at

trial. We do not need to decide whether every example reflected a racial appeal, but

at least three of them did, and all three were in recent congressional elections.

      First, when a former Chief Justice of the Alabama Supreme Court, Roy

Moore, ran for Senate in 2017, he won the Republican Party nomination. In 2011,

the year before he was elected to the Alabama Supreme Court, he said during a radio

interview that the amendments to the Constitution that follow the Tenth Amendment

(including the Thirteenth Amendment, which abolished slavery, the Fourteenth

Amendment, which requires States to provide equal protection under the law to all

persons, and the Fifteenth Amendment, which provides that the right to vote shall

not be denied or abridged on the basis of color or previous enslavement) have

“completely tried to wreck the form of government that our forefathers intended.”

See Milligan Doc. 68-2 at 27.

      Later, during his 2017 Senate campaign, Mr. Moore acclaimed the antebellum

period in the South: “I think it was great at the time when families were united –


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even though we had slavery. They cared for one another. People were strong in the

families. Our families were strong. Our country had a direction.” See id.

       Second, former Congressman Mo Brooks, a White Republican who

represented District 5 and ran for the open Senate seat that Senator Katie Britt now

occupies, has repeatedly claimed that Democrats are waging a “war on [W]hites.”

See Milligan Doc. 68-2 at 27–28 & n.94.

       Although the State suggests that the Plaintiffs have misunderstood other

campaign ads that they claim are racial appeals, the State does not contest these two

examples, which we find are obvious and overt appeals to race.

       Third, we considered the campaign ad from former Congressman Bradley

Byrne, a White Republican who represented District 1, that Dr. Bagley considered

in in his opinion about Senate Factor 6. Id. at 28; Milligan Doc. 107 at 189–91.62

Even if Mr. Byrne did not intend his campfire commercial to be a racial appeal (a

question that we need not and do not decide), a reasonable viewer might have

perceived it as one. We do not disagree with the Plaintiffs that the video of a White

man narrating as images of prominent persons of color (and only persons of color)

are juxtaposed with images of the 9/11 terrorist attacks, in or on or hovering above

a crackling fire, could be understood as a racial appeal.



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  The Caster Plaintiffs provided the ad, which is entitled “Dale,” on a USB drive
for the Court’s viewing. Caster Doc. 319-133.

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      Accordingly, we cannot accept the State’s argument that we should find, as

the court found in the case about judicial elections in Alabama, that “[t]here is no

evidence that Alabama political campaigns generally . . . are characterized by racial

appeals.” Milligan Doc. 481 at 191, ¶ 513 (quoting Ala. State Conf. of the NAACP,

612 F. Supp. 3d at 1311). That was a statement about a different record – a record

that did not include testimony from Dr. Bagley, one that made no mention of Roy

Moore’s affection for slavery or a “war on [W]hites,” and one that primarily was

focused on Alabama judicial elections (128 statewide judicial races over ad period

of 38 years). See Ala. State Conf. of NAACP, 612 F. Supp. 3d at 1311.

      But at the same time, we cannot find that this factor weighs as heavily in favor

of the Plaintiffs as do the other factors we have discussed. Although the three

examples we just described are prominent and recent, the record does not contain

any systematic or statistical evaluation of the extent to which political campaigns are

characterized by racial appeals, so we cannot determine whether these examples

indicate that racial appeals occur frequently, regularly, occasionally, or rarely.

Accordingly, we find that there is some evidence that political campaigns (more

particularly, congressional campaigns) in Alabama are characterized by overt or

subtle racial appeals.




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                    f.    Senate Factor 9

Senate Factor 9: Whether the policy underlying the Plan is “tenuous.”

      In our first preliminary injunction, we made no finding about Senate Factor 9.

See Milligan Doc. 107 at 193. In our second preliminary injunction, we again made

no finding about Senate Factor 9. See Milligan Doc. 272 at 184. After full discovery

and a trial, we find that Senate Factor 9 weighs strongly in favor of the Plaintiffs.

      The Supreme Court has made clear that the policies underlying a districting

plan may be tenuous if they entrench racial vote dilution, even if those policies might

be legitimate in another context. See, e.g., LULAC, 548 U.S. at 441 (citing the

tenuousness factor in explaining that using incumbency protection to exclude “voters

from the district simply because they are likely to vote against the officeholder . . .

cannot justify the effect on Latino voters”).

      Here, the unusual genesis of the 2023 Plan, the novelty, substance, and effect

of the embedded legislative findings, and the effect of the 2023 Plan support a

finding of tenuousness. This is so even though some of the individual districting

decisions reflected in the 2023 Plan, including some of the legislative findings, might

be legitimate in another context.

      We told the Legislature in 2022 that a districting plan with only one Black-

opportunity district (the 2021 Plan) very likely violated Section Two. See Milligan

Doc. 107. In that order, we explained that “any remedial plan will need to include



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two districts in which Black voters either comprise a voting-age majority or

something quite close to it.” Id. at 6. The State appealed that decision to the Supreme

Court, which affirmed our ruling in all respects. Allen v. Milligan, 599 U.S. at 16–

17. When the case returned to us, we discerned no confusion or mystery about

whether a plan with only one Black-opportunity district could comply with Section

Two. Senator Livingston testified that he had the same understanding, as did

Representative Pringle, who issued instructions about it to Mr. Hinaman. See

Milligan Docs. 459-13 at 14, 459-20 at 8; supra Part I.I.3.a, b, c.

      On remand, the Legislature asked for time to enact a new plan, and we allowed

that time (approximately five weeks). The Legislature then purposefully enacted a

plan with only one majority-Black or Black-opportunity district. Aug. 14, 2023 Tr.

75, 159–64; Milligan Doc. 409-85 (Ex. DX-87) (2023 Plan statistics).

      If we had any doubt about what had just happened, the State resolved it when

it sent a lawyer into court to concede that the 2023 Plan has only one Black-

opportunity district and assert that notwithstanding our order and the Supreme

Court’s affirmance, the Legislature was not required to add another opportunity

district. Aug. 14, 2023 Tr. 75, 159–64. The State told us that we would violate the

Supreme Court’s affirmance if we were to again require a second opportunity

district, and that the Legislature’s findings about communities of interest (which

were Alabama law because they were embedded in the enacted plan) justified the



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State’s decision to refuse to provide an additional opportunity district. Id.

      It is a gross understatement for us to describe the Legislature’s choices as

tenuous. See infra Part VI (holding that they were intentionally discriminatory).

After two federal court orders (one from us and one from the Supreme Court)

explained in detail that the 2021 Plan, with only one majority-Black district, likely

diluted Black Alabamians’ votes, the Legislature simply doubled down – it passed

another map with only one Black-opportunity district.

      But there is more. This time, the Legislature did not simply pass a new map.

For the first time that anyone involved in these cases can remember or find, the

Legislature included in the state law with the map extensive legislative findings --

the contents of which were unbeknownst to the two co-chairs of the

Reapportionment Committee (Representative Pringle and Senator Livingston), who

played no role in their drafting. Those novel findings had several notable features:

      (1)    they identified three communities of interest and went on for pages
             about only one of those (the Gulf Coast);
      (2)    that one community of interest was the community that would be served
             at the expense of the additional opportunity district;
      (3)    they identified no communities of interest in the northern half of the
             state;
      (4)    the cumulative effect of the “non-negotiable” provisions of the findings
             was to prescribe a majority-White district in an unsplittable community
             of interest, such that an additional opportunity district would be
             mathematically impossible to draw consistent with state law, see Tr.
             298–99 (Dr. Duchin);
      (5)    although previous iterations of the Committee Guidelines (including


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             the weeks-old 2023 guidelines) specified both that the Legislature
             intended to comply with the Voting Rights Act and that the plan “shall
             have neither the purpose nor the effect of diluting minority voting
             strength,” the 2023 legislative findings do not expressly prohibit a plan
             with the purpose or effect of diluting minority voting strength, see
             Apps. A, B.

See supra Parts I.D, I.I.3. This was not merely doubling down – this, the Legislature

hoped, was checkmate.

      But there is still more. Substantial evidence establishes that the Legislature’s

process to enact the 2023 Plan was anything but normal. The process began as

normal: Governor Ivey called a special session, discussions between stakeholders

began, and the Committee readopted the usual guidelines. Milligan Doc. 459-20 at

12–13. Then the Legislature took a series of unusual turns.

      On the House side, Representative Pringle said that his own “overriding

principle [was] complying with what the United States Supreme Court told me to

do.” Milligan Doc. 459-20 at 6. According to Representative Pringle, that required

a map with “[e]ither two majority minority districts or something close to it.” Id. at

5. Representative Pringle told Mr. Hinaman “to follow the guidelines and comply

with what the Supreme Court told us. And that was to draw two districts which had

the ability to elect a Black candidate.” Id. at 8. Eventually, Mr. Hinaman provided

the map to Representative Pringle that he would introduce as the Community of

Interest Plan. Id. at 9. In Representative Pringle’s view, based on a performance

analysis he reviewed, that Plan would “comply with what the Supreme Court


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ordered,” so he supported that Plan. Id. at 11, 18.

      On the Senate side, things were different. Senator Livingston understood that

federal courts had “ordered [the State] to provide two opportunity districts.” Milligan

Doc. 459-13 at 6, 13–14. (He later testified that what it means to provide “two

minority opportunity districts” is “vague,” and a “matter of interpretation,” and that

he did not have an interpretation of his own. Id. at 6–7.) Despite that understanding,

Senator Livingston did not support the Community of Interest Plan, which was the

first plan reported out of the Committee during the 2023 Special Session. Id. at 16.

He testified that the Community of Interest Plan “might have” “provided a fair

opportunity for African American voters to elect preferred candidates in the second

district” based on the performance analysis, but he shifted away from it because the

Committee members did, and he “was going to be left behind.” Id. at 16–17.

      The shift, Senator Livingston testified, was caused by “some additional

information” Committee members received. Id. at 17. According to Senator

Livingston, this information was the reason why “the committee moved” away from

Representative Pringle’s plan. Id. But Senator Livingston testified that he did not

know what the “information” was, where it had come from, or even who received it.

Id. at 17. He first learned of the “information” in a “committee conversation,” but

he did not recall who told him about it and had no “idea at all” of its source. Id. This

strains credulity.


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      Though the record does not tell us what that “additional information” was, it

tells us that it was of great significance because it precipitated unusual political

maneuvers from involved legislators, as well as an unusual result. Representative

Pringle testified with apparent frustration about those unusual maneuvers. See supra

Parts I.I.3.c, V.A.4.a; Milligan Doc. 459-20. While senators met with lawyers about

what would eventually become the Livingston Plans, Representative Pringle was

shut out, as was his plan. Milligan Doc. 459-20 at 7, 26. Then Senator Livingston

told Representative Pringle that the Legislature would pass a Livingston Plan with a

House bill number and Representative Pringle’s name on it, and Representative

Pringle refused out of a concern about compliance with federal law. Id. at 26. When

Representative Pringle was later asked why the Senate chose the BVAP it did for

District 2, he responded: “You’re going to have to talk to Senator Livingston and

[the Solicitor General].” Id.

      At the end of all this, Representative Pringle saw the 2023 legislative findings

for the first time the morning the 2023 Plan was passed; he did not know who drafted

them, that they would be in the bill, or why they were in the bill. Id. at 23.

Nevertheless, he voted for the bill.

      Ultimately, when the Legislature passed the 2023 Plan, staked on an adamant

refusal to split Mobile County to remedy unlawful vote dilution, the Legislature

knew (1) that a plan with only one majority-Black district likely diluted Black



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Alabamians’ votes, in violation of the Voting Rights Act; and at least the conference

committee also knew (2) that in a performance analysis of that plan, the Black-

preferred candidate lost every race in District 2. Id. at 24–25. According to Senator

Livingston, that analysis showed that the Black-preferred candidate would lose all

seven races in District 2 by an average of seven points. Milligan Doc. 459-13 at 23.

      But there is more. After all this, at least one legislator – an important one, the

Speaker of the Alabama House – took to the media to explain that when the

Legislature refused to provide an additional opportunity district, the Legislature was

trying to get a different result at the Supreme Court. See, e.g., Milligan Doc. 403-4

at 28; Tr. 1342–43. (Nineteen months later, counsel for the State said at trial that

when the Legislature passed the 2023 Plan without a second opportunity district, it

“may have been hoping” to “find another argument” to persuade this Court and/or

the Supreme Court that our orders were wrong. Tr. 2649.)

      We observed the public aspects of these events as they unfolded and have now

heard extensive testimony about them, and we are disturbed by them. The

Legislature considered and rejected a map that might have provided the required

remedy (an issue we need not and do not decide), in favor of a map that it knew in

real time and later admitted in court certainly does not provide the required remedy.

All to prescribe a majority-White congressional district in an exalted, unsplittable

community of interest that was prioritized over every other districting principle,



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including compliance with federal law. This was not about compactness.

      We thus find that the policy underlying the 2023 Plan is (at a minimum)

tenuous. We do not make this finding because lawyers assisted with the mapmaking,

nor because a lawyer drafted the 2023 legislative findings, nor because a lawyer

made an argument in court. Lawyers regularly advise legislators about legislation

and make arguments in court. It is the unusual process; novelty, substance, and effect

of the 2023 legislative findings; and the effect of the legislation that compel this

finding. The lawyer’s concessions simply confirm it. United States v. Lopez, 590

F.3d 1238, 1256 (11th Cir. 2009) (“[S]tatements and arguments of counsel are not

evidence . . . .” (quoting United States v. Smith, 918 F.2d 1551, 1562 (11th Cir.

1990))); United States v. Horn, 129 F.4th 1275, 1291 (11th Cir. 2025) (“[A] a

statement made by [counsel] in argument . . . is not evidence.”).

                    g.     Senate Factor 8
Senate Factor 8: “[W]hether there is a significant lack of responsiveness on the
part of elected officials to the particularized needs of the members of the
minority group.” Gingles, 478 U.S. at 37.
      In our first preliminary injunction, we made no finding about Senate Factor 8.

See Milligan Doc 107 at 192–93. The parties “vehemently dispute[d] whether the

decisions that form the basis for the arguments of the Milligan plaintiffs and the

Caster plaintiffs about this factor are political or race-based,” and on the record then

before us, we could not “make a well-reasoned finding whether there is a lack of



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responsiveness on the part of elected officials in Alabama to the needs of the Black

community, nor whether such lack of responsiveness (if it exists) is significant.” Id.

      We again make no finding about Senate Factor 8 based on the Plaintiffs’

public policy arguments. See Milligan Doc. 485 at Part V.G.

      In our second preliminary injunction, we found that “the circumstances

surrounding the enactment of the 2023 Plan reflect ‘a significant lack of

responsiveness on the part of elected officials to the particularized needs’ of Black

voters in Alabama.” Milligan Doc. 272 at 179–80 (quoting Gingles, 478 U.S. at 37).

We rested that finding on three undisputed facts, all of which we just discussed in

connection with Senate Factor 9:

      First, we discussed the unusual process in which the Legislature enacted the

2023 Plan, as well as its mysterious provenance. See id. at 180–81. We emphasized

that the original source and cartographer for the map that eventually passed the

Senate as a Livingston Plan and later (with the conference committee’s adjustments)

became the 2023 Plan were purportedly unknown to Senator Livingston when he

voted on it. We discussed Representative Pringle’s concern (after seeing a

performance analysis) that the 2023 Plan did not or might not comply with Section

Two. See id. at 181. And we discussed Representative Pringle’s testimony that he

“was not ‘attempting to get a justice to see something differently,’ but he did not




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‘want to speak on behalf of 140’ Legislators.” Id. at 182 (quoting Milligan Doc. 261-

5 at 109–10).

      Second, we discussed the 2023 legislative findings. Id. at 182–83. We focused

on the fact that “[a]lthough the findings eliminated the requirement of nondilution,

they prioritized as ‘non-negotiable’ the principles that the 2023 Plan would ‘keep

together communities of interest’ and ‘not pair incumbent[s].’” Id. at 183 (quoting

2023 legislative findings). We thus could not infer, let alone find, “that when the

Legislature passed the 2023 Plan, it was trying to respond to the need that we

identified for Black Alabamians not to have their voting strength diluted.” Id.

      Third, we discussed the undisputed testimony of the Legislators, both of

whom testified that they did not draft the 2023 legislative findings and did not know

why they were included in the 2023 Plan. Id. at 183. We observed that

Representative Pringle testified that he had not seen another redistricting bill contain

similar (or any) findings. Id. In the light of this undisputed testimony, we “[could]

not conclude that the findings weigh in favor of the 2023 Plan.” Id. at 183–84.

      Ultimately, we “infer[red] from the Legislature’s decision not to create an

additional opportunity district that the Legislature was unwilling to respond to the

well-documented needs of Black Alabamians in that way.” Id. at 184. We were clear

that we had not deprived the Legislature of the presumption of good faith. See, e.g.,

Abbott, 585 U.S. at 603. We simply found “that on the undisputed evidence, Factor



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8, like the other Factors, weighs in favor of the Plaintiffs.” Milligan Doc. 272 at 184.

       For these same reasons, which remain undisputed after full discovery and a

trial, we again find that Senate Factor 8 weighs heavily in favor of the Plaintiffs.

                                          ***

       Accordingly, we find that every relevant Senate Factor weighs in favor of the

Plaintiffs, and none is neutral or weighs in favor of the State. On balance, the analysis

is not a close call.

                       h.   Proportionality
       Although Section Two expressly provides that “nothing in this section

establishes a right to have members of a protected class elected in numbers equal to

their proportion in the population,” 52 U.S.C. § 10301(b), the Supreme Court has

held that “whether the number of districts in which the minority group forms an

effective majority is roughly proportional to its share of the population in the relevant

area” is a “relevant consideration” in the totality-of-the-circumstances analysis.

LULAC, 548 U.S. at 426; accord De Grandy, 512 U.S. at 1000.

       More particularly, “proportionality . . . is obviously an indication that minority

voters have an equal opportunity, in spite of racial polarization, ‘to participate in the

political process and to elect representatives of their choice.’” De Grandy, 512 U.S.

at 1020 (quoting 42 U.S.C. § 1973(b) (current version at 52 U.S.C. § 10301(b)));

accord Ala. Legis. Black Caucus, 989 F. Supp. 2d at 1286–87 (concluding that the



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totality of the circumstances weighed against a finding that the state legislative map

violated Section Two in part because the number of majority-Black districts in the

Legislature is “roughly proportional to the black voting-age population”), vacated

on other grounds, 575 U.S. 254 (2015).

      At the preliminary injunction stage, we did not resolve the Plaintiffs’ claims

for relief solely (or even mainly) by conducting a proportionality analysis; consistent

with LULAC and De Grandy, we considered proportionality as part and parcel of the

totality of the circumstances, and we drew the limited and obvious conclusion that

this consideration weighed in favor of the Plaintiffs.

      On appeal, the Supreme Court explained the history of controversy tied to

proportionality and Section Two. See Allen, 599 U.S. at 11–14. The Supreme Court

further explained that “the Gingles framework itself imposes meaningful constraints

on proportionality.” Id. at 26. The Supreme Court named cases in which it denied

additional majority-minority districts on the ground that the proposed districts

violated traditional districting criteria in service of proportional representation. Id.

at 27–28 (citing Shaw v. Reno, Miller v. Johnson, and Bush v. Vera). The Supreme

Court reiterated that “[f]orcing proportional representation is unlawful and

inconsistent with [its] approach to implementing § 2.” Id. at 28.

      The dissenting Justices saw the issue differently. Justice Thomas described

the dispositive question before the Court as “whether [Section Two], as amended,


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requires the State of Alabama to intentionally redraw its longstanding congressional

districts so that black voters can control a number of seats roughly proportional to

the black share of the State’s population.” Id. at 46 (Thomas, J., dissenting). In his

view (shared by the joining Justices), vote dilution cases require a race-neutral

benchmark for comparison, and the Supreme Court has “never succeeded in

translating the Gingles framework into an objective and workable method of

identifying the undiluted benchmark.” Id. at 69. This void, they reasoned, resulted

in us applying “the decidedly nonneutral benchmark of proportional allocation of

political power based on race.” Id. at 51.

      Accordingly, we have not considered proportionality in this Order and do not

rely on it for any purpose. We proceed in this manner (1) out of an abundance of

caution, to avoid any risk of error, and (2) because although we discern a diversity

of opinion on the Supreme Court about proportionality, we are aware of no such

diversity on another question now in these cases, about a state legislature’s

intentional decision to refuse a remedy that a federal court order requires.

                                          ***

      We thus find that Plaintiffs have established that: (1) as a group, Black

Alabamians are sufficiently numerous and geographically compact to constitute a

voting-age majority in a second reasonably configured district; (2) voting in the

challenged districts is intensely racially polarized, such that Black voters are (nearly


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always) politically cohesive and (3) White voters ordinarily (nearly invariably) vote

as a bloc to defeat Black-preferred candidates; and (4) under the totality of the

circumstances in Alabama today, including all the relevant Senate Factors that we

must consider, Black voters have less opportunity than other Alabamians to elect

candidates of their choice to Congress. We turn to the State’s two legal arguments.

      B.     Section Two Is Privately Enforceable

      Since the passage of the Voting Rights Act, federal courts across the country,

including both the Supreme Court and the Eleventh Circuit, have considered

numerous Section Two cases brought by private plaintiffs. See, e.g., Allen, 599 U.S.

1; Brnovich, 594 U.S. 647; Bartlett, 556 U.S. 1; LULAC, 548 U.S. 399; Voinovich,

507 U.S. 146; Chisom v. Roemer, 501 U.S. 380 (1991); Hous. Laws.’ Ass’n v. Att’y

Gen. of Tex., 501 U.S. 419 (1991); Gingles, 478 U.S. 30; Wright, 979 F.3d 1282.

And on the other side of the scale, only one federal appellate court—the United

States Court of Appeals for the Eighth Circuit—has held that private parties may not

sue to enforce Section Two. See generally Ark. State Conf. NAACP v. Ark. Bd. of

Apportionment, 86 F.4th 1204 (8th Cir. 2023).

      Accordingly, if we were to accept the State’s argument that private parties

may not enforce Section Two, we would seriously disrupt longstanding and

consistent federal law on this issue. We are not inclined to take that step.

      We already rejected the State’s argument that Section Two is not privately



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enforceable in our July 11, 2024 order during the preliminary injunction stage of

these proceedings. Milligan Doc. 372. Because the State has repeated its argument,

we repeat our answer here:

             1.     Text of Section Two

      Federal law supplies two potential vehicles for private plaintiffs to sue under

Section Two: either by way of a private right of action contained in Section Two

itself, or pursuant to 42 U.S.C. § 1983 (“Section 1983”). Section Two contains no

express private right of action, so the dispositive question is whether one is implied.

To establish an implied private right of action, plaintiffs must show that Section Two

confers both a private right and a private remedy. Alexander v. Sandoval, 532 U.S.

275, 286 (2001). If there is a private right, then private plaintiffs can presumptively

sue under Section 1983, unless defendants show that Congress shut the door to a

Section 1983 suit. Gonzaga Univ. v. Doe, 536 U.S. 273, 284 & n.4 (2002). Then–

Chief Justice Rehnquist, writing for the majority in Gonzaga, reasoned this way:

      Plaintiffs suing under § 1983 do not have the burden of showing an
      intent to create a private remedy because § 1983 generally supplies a
      remedy for the vindication of rights secured by federal statutes. Once a
      plaintiff demonstrates that a statute confers an individual right, the right
      is presumptively enforceable by § 1983.

Id. at 284 (internal citation omitted). And then, the State must “demonstrate that

Congress shut the door to private enforcement.” Id. at 284 n.4.

      The State concedes that Section Two created “new remedies,” but contends



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those remedies were only public, not private. See Milligan Doc. 481 at 228–29;

Milligan Doc. 331 at 17; Caster Doc. 273 at 17. And the State has not given any

reasons why it believes Section Two did not create a private remedy separate and

apart from the reasons why it asserts Section Two did not create a private right. See

Milligan Doc. 481 at 226–29; Milligan Doc. 331 at Part I.A; Caster Doc. 273 at Parts

I, II.

         All three sets of Plaintiffs have availed themselves of Section 1983, Singleton

Doc. 229 ¶ 5; Milligan Doc. 329 ¶ 11; Caster Doc. 271 ¶ 129, and the State does not

assert that Congress has shut the door to a remedy under Section 1983. See Milligan

Doc. 481 at 226–29; Singleton Docs. 233, 239; Milligan Docs. 331, 342; Caster

Docs. 273, 282. Accordingly, the essential question before us is whether Section

Two creates a private right. If we conclude that it does, there is no basis to accept

the State’s argument that Section Two is not privately enforceable.

         Although the task of determining whether Section Two contains a private right

is ours, the creation of that right (if it exists) is an exclusively legislative authority.

“Like substantive federal law itself, private rights of action to enforce federal law

must be created by Congress. The judicial task is to interpret the statute Congress

has passed to determine whether it displays an intent to create not just a private right

but also a private remedy.” Sandoval, 532 U.S. at 286 (internal citation omitted).

Accordingly, we examine at the threshold “whether Congress intended to create a


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federal right.” Gonzaga, 536 U.S. at 283.

      A statute confers a private right “where the provision in question is phrased

in terms of the persons benefitted and contains rights-creating, individual-centric

language with an unmistakable focus on the benefited class.” Health & Hosp. Corp.

of Marion Cnty. v. Talevski, 599 U.S. 166, 183 (2023) (internal quotation marks

omitted) (quoting Gonzaga, 536 U.S. at 284, 287). A statute does not confer a private

right when it contains no rights-creating language or focuses on persons or entities

other than the benefited class. See, e.g., Sandoval, 532 U.S. at 288–89.

      The most recent binding Supreme Court precedent about rights-creating

language is Health & Hospital Corporation of Marion County, 599 U.S. 166 (2023),

a case concerning two statutory provisions about the rights of nursing home

residents. Id. at 171. We apply here the same methodology the Supreme Court used

to decide that case, which can be summarized in this way:

   • First, the Court began its analysis by observing that the statutory provisions at
     issue “reside in” a statutory section that “expressly concerns ‘[r]equirements
     relating to residents’ rights.’” Id. at 184 (emphasis omitted) (quoting 42
     U.S.C. § 1396r(c)). In assigning weight to this observation, the Supreme
     Court relied on (1) the rule that “statutory provisions ‘must be read in their
     context,’” and (2) the recognition in Gonzaga that “[t]his framing is indicative
     of an individual ‘rights-creating’ focus.” Id. (first quoting West Virginia v.
     EPA, 597 U.S. 697, 721 (2022); and then quoting Gonzaga, 536 U.S. at 284).

   • Next, the Court reviewed each statutory provision at issue and found that each
     one (1) discussed a specific right held by residents, with (2) a repeated focus
     on residents. See id. at 184–85.

   • Then, the Court observed that the statutory provisions also discussed nursing


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      homes, but found that this discussion did not undermine the focus of the
      provisions on residents’ rights. The Court reasoned that “it would be strange
      to hold that a statutory provision fails to secure rights simply because it
      considers, alongside the rights bearers, the actors that might threaten those
      rights.” Id. at 185.

   • Finally, the Court distinguished the statutory provisions from the provisions
     in Gonzaga, which “lacked ‘rights-creating language,’ primarily directed the
     Federal Government’s distribution of public funds, and had an aggregate, not
     individual, focus.” Id. at 185–86 (quoting Gonzaga, 536 U.S. at 290).
      Like the provisions at issue in Health & Hospital Corporation of Marion

County, Section Two resides in a statutory section that expressly concerns rights—

in this case, voting rights for members of a class protected from discrimination based

on race or color. The title of Section Two is “[d]enial or abridgement of right to vote

on account of race or color through voting qualifications or prerequisites;

establishment of violation.” 52 U.S.C. § 10301. Following the Supreme Court’s lead,

we take this context and framing as “indicative of an individual ‘rights-creating’

focus.” Health & Hosp. Corp. of Marion Cnty., 599 U.S. at 184 (quoting Gonzaga,

536 U.S. at 284).

      Further, subsection (a) of Section Two expressly discusses “the right of any

citizen of the United States to vote,” and it expressly prohibits voting practices that

abridge voting rights based on race, color, or language-minority status. 52 U.S.C.

§ 10301(a) (incorporating by reference 52 U.S.C. § 10303(f)(2)). And subsection (b)

expressly discusses the voting rights of persons who are “members of a class of

citizens protected by subsection (a).” Id. § 10301(b). In the next sentence, subsection


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(b) refers twice to “members of a protected class.” Id. Together, these subsections

protect citizens in the enumerated class from voting practices with discriminatory

results, not just voting practices based on discriminatory intent (which the Fifteenth

Amendment forbids based on race or color). See Reno v. Bossier Par. Sch. Bd., 520

U.S. 471, 482 (1997); U.S. Const. amend. XV. Because Section Two is comprised

only of a title and three sentences of text, the upshot of the foregoing analysis is that

every sentence of Section Two either refers to rights of the benefited class, contains

rights-creating language that creates new rights for that specific class, or expressly

focuses on the benefited class.

      This precise and repetitive focus on the benefitted class distinguishes Section

Two from the statutes at issue in Sandoval and Gonzaga, which the Supreme Court

concluded did not confer implied private rights of action. In Sandoval, the statute at

issue—Section 602 of Title VI of the Civil Rights Act, 42 U.S.C. § 2000d-1—did

not even mention the benefited class: it said merely that “[e]ach Federal department

and agency . . . is authorized and directed to effectuate the provisions of

[Section 601].” 532 U.S. at 288–89 (quoting 42 U.S.C. § 2000d-1). Thus, the Court

found that “the focus of § 602 is twice removed from the individuals who will

ultimately benefit from Title VI’s protection” because it “focuses neither on the

individuals protected nor even on the funding recipients being regulated, but on the

agencies that will do the regulating.” Id. at 289.


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      Likewise, Gonzaga considered provisions of the Family Educational Rights

and Privacy Act of 1974, 20 U.S.C. § 1232g (“FERPA”). Gonzaga, 536 U.S. at 278.

One such provision stated that: “No funds shall be made available under any

applicable program to any educational agency or institution which has a policy or

practice of permitting the release of education records . . . of students without the

written consent of their parents . . . ,” id. at 279 (quoting 20 U.S.C. § 1232g(b)(1)),

while another “direct[ed] the Secretary of Education to enforce this and other of the

Act’s spending conditions,” id. (citing 20 U.S.C. § 1232g(f)). The Court found that

the focus of these provisions was also “two steps removed from the interests of” the

benefited class because they “speak only to” the regulating agency. Id. at 287. The

Court concluded that the provisions at issue did not imply a private right because

they “contain no rights-creating language, they have an aggregate, not individual,

focus, and they serve primarily to direct the [regulating agency’s] distribution of

public funds to educational institutions.” Id. at 290.

      Unlike the statutes in Sandoval and Gonzaga, the language of Section Two

“focuses . . . on the individuals protected.” Sandoval, 532 U.S. at 289. It explicitly

protects “the right of any citizen of the United States to vote” without being

discriminated against, and then refers repeatedly to “members of a protected class,”

or some variation of that phrase. See 52 U.S.C. § 10301. It “serve[s] primarily” to

protect citizens’ rights and to prevent states from interfering with those rights. See


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Gonzaga, 536 U.S. at 290. If all of this is not rights-creating language with an

“unmistakable focus on the benefited class,” Cannon v. Univ. of Chi., 441 U.S. 677,

691 (1979), it is difficult to imagine what is.

      Indeed, Section Fourteen of the Voting Rights Act reinforces the idea that

Congress contemplated suits by private parties when it enacted Section Two. Section

14(e) provides: “In any action or proceeding to enforce the voting guarantees of the

fourteenth or fifteenth amendment, the court, in its discretion, may allow the

prevailing party, other than the United States, a reasonable attorney’s fee, reasonable

expert fees, and other reasonable litigation expenses as part of the costs.” 52 U.S.C.

§ 10310(e). “[A]ny action or proceeding to enforce the voting guarantees of the

fourteenth or fifteenth amendment” means all such actions or proceedings, because

where Congress uses the word “any” and “‘did not add any language limiting the

breadth of that word,’ . . . ‘any’ means all.” Merritt v. Dillard Paper Co., 120 F.3d

1181, 1186 (11th Cir. 1997) (quoting United States v. Gonzales, 520 U.S. 1, 5

(1997))); see also Deroy v. Carnival Corp., 963 F.3d 1302, 1316 (11th Cir. 2020)

(recognizing that, in a statute, “‘any’ means ‘every’ or ‘all’” (citing United States v.

Castro, 837 F.2d 441, 445 (11th Cir. 1988))). And Section Two is unambiguously

an action or proceeding to “enforce the voting guarantees of the . . . fifteenth

amendment.” 52 U.S.C. § 10310(e); see Brnovich, 594 U.S. at 656. Section Fourteen

therefore anticipates that private litigants will sue to “enforce the guarantees of the


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. . . fifteenth amendment” alongside the United States. 52 U.S.C. § 10310(e).

       The Eighth Circuit says, however, that the term “prevailing party” here refers

only to defendants. Ark. State Conf. NAACP, 86 F.4th at 1213 n.4. As we see it, that

offers too strained a reading of the statute. Congress specified that a “prevailing

party, other than the United States” should receive attorneys’ fees, not that a

“defendant” should receive attorneys’ fees—which would have been a much simpler

and more direct way to prescribe that outcome, if that is what Congress had intended.

In fact, the Supreme Court has construed identical language found in the attorney-

fee provision of Title II of the Civil Rights Act of 1964, 42 U.S.C. § 2000a-3(a)

(“CRA”), 63 to refer to private plaintiffs. See Newman v. Piggie Park Enters., Inc.,

390 U.S. 400, 401 n.1, 402 (1968) (per curiam) (holding that the term “prevailing

party, other than the United States” in Title II’s attorney-fee provision refers to

private plaintiffs); see also id. at 402 (“Congress . . . enacted the provision for

counsel fees [in Title II of the CRA] . . . to encourage individuals injured by racial

discrimination to seek judicial relief under Title II.”). Moreover, Congress has

specifically told us that it intended private parties to be able to recover attorneys’




63
  The CRA’s attorney-fee provision reads as follows: “In any action commenced
pursuant to this subchapter, the court, in its discretion, may allow the prevailing
party, other than the United States, a reasonable attorney’s fee as part of the costs,
and the United States shall be liable for costs the same as a private person.” 42 U.S.C.
§ 2000a-3(b).

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fees if they prevailed on Section Two claims: Congress explained that “[f]ee awards

are a necessary means of enabling private citizens to vindicate these Federal rights.”

See S. Rep. No. 94-295, at 40 (1975) (emphasis added); see also H. Rep. No. 97-

227, at 32 (1981) (“It is intended that citizens have a private cause of action to

enforce their rights under Section 2. . . . If they prevail they are entitled to attorneys’

fees under [Section 14(e)] and [42 U.S.C. §] 1988.”).

       “[T]he words of a statute must be read in their context and with a view to their

place in the overall statutory scheme.” West Virginia, 597 U.S. at 721. Thus, the

reference in Section Fourteen of the Voting Rights Act to private plaintiffs suing to

enforce their voting rights supports the determination that Section Two contains a

private right of action. Viewing Section Two along with Section Fourteen reinforces

Congress’s intention to allow private parties to sue to enforce their right to vote free

from discrimination. See Morse v. Republican Party of Va., 517 U.S. 186, 234 (1996)

(reasoning that the language referring to a “prevailing party, other than the United

States” in Section Fourteen indicates “the existence of a private right of action under

§ 10”).

      As far as we can tell, no court has held under the first step of the analysis that

Section Two does not create a private right. Rather, the one circuit court that has

concluded that Section Two does not confer a private right of action, the Eighth

Circuit, rested its decision on the second step of the analysis—a determination that


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Section Two does not create a private remedy. See Ark. State Conf. NAACP, 86 F.4th

at 1216. Notably, the Eighth Circuit did not address the question whether private

plaintiffs may sue under Section 1983 to enforce Section Two because the plaintiffs

had not raised the issue. Id. at 1218.

       The Eighth Circuit viewed the question whether Section Two creates a private

right as an open one because, in addition to the rights-creating language we have

described, Section Two also contains language that refers to states, and the court was

unsure “what to do when a statute focuses on both.” Id. at 1209–10. But the Supreme

Court has provided an unambiguous answer to that question that the Eighth Circuit

did not consider.64 In Health & Hospital Corporation of Marion County, the statutes

at issue (like Section Two) referred to the rights of the benefitted class, but also

directed requirements at “actors that might threaten those rights,” and the Supreme

Court still held that the statutes created private rights. 599 U.S. at 185. That a

statutory provision discussing the rights of a benefitted class “also establish[es] who

it is that must respect and honor these statutory rights,” the Court explained, “is not

a material diversion from the necessary focus on the [rights-holders].” Id. The Court

further reasoned that “[t]he Fourteenth Amendment hardly fails to secure



64
  The Supreme Court issued Health & Hospital Corporation of Marion County after
the Eighth Circuit heard oral argument but before the Eighth Circuit issued its
decision. See Health and Hosp. Corp. of Marion Cnty., 599 U.S. at 166; Ark. State
Conf. NAACP, 86 F.4th at 1204.

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§ 1983-enforceable rights because it directs state actors not to deny equal

protection.” Id. at 185 n.12.

       Based on case precedent and the text of Section Two, we see a clear answer

to the question whether Section Two creates a private right: it does. Nevertheless,

the State urged us in its earlier motion to hold that Section Two does not confer a

private right for four reasons. We discuss each in turn.

       First, the State argued in its earlier motion that for Section Two to create a

private right of action, it must create a new right not found elsewhere in federal law.

See Singleton Doc. 233 at 23–24; Milligan Doc. 331 at 17. The State claims that

Section Two cannot do this because it was passed pursuant to Congress’s power

under Section Two of the Fifteenth Amendment, which gives Congress the power to

enforce the rights guaranteed in the Fifteenth Amendment, but not the power to

create new rights. See U.S. Const. amend. XV; Brnovich, 594 U.S. at 656; see

Milligan Doc. 331 at 17–18.65

       The State is wrong that to create a private right of action, Section Two must

create a new right not found elsewhere in federal law. That premise runs headlong

into controlling precedent. For example, in Morse, 517 U.S. 186, the Court found an




65
   The Supreme Court already has rejected, in this very case, the argument that
Section Two exceeds congressional authority under the Fifteenth Amendment. See
Allen, 599 U.S. at 41.

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implied private right of action in Section Ten of the Voting Rights Act, which, on

the State’s logic, would also merely be protecting preexisting Fifteenth Amendment

rights. See id. at 233 (holding that § 10 “established a right to vote without paying a

fee”). And in Allen v. State Board of Elections, 393 U.S. 544 (1969), abrogated by

Ziglar v. Abbasi, 582 U.S. 120, 132 (2017), the Supreme Court found an implied

private right of action in Section Five of the Voting Rights Act. See id. at 557; cf.

Schwier v. Cox, 340 F.3d 1284, 1297 (11th Cir. 2003) (finding an implied private

right of action in the materiality provision of a similar statute passed under

congressional Fifteenth Amendment enforcement power).

      It is unsurprising, then, that the State has cited no precedent holding that

Congress cannot imply a private right of action to enforce an existing federal right.

It relies on language found in Sandoval (quoted later in Gonzaga) referring to “new

rights,” but that language did not hold (or even suggest, in the context of those cases),

that the protected right must be completely novel and found nowhere else in federal

law. In Sandoval, the Court used the term “new rights” to explain that rights-creating

language in one section of a statute did not necessarily imply a private right of action

to enforce another section of the same statute. See 532 U.S. at 289 (cleaving a

difference between Sections 601 and 602 of Title VI of the Civil Rights Act of 1964).

Sandoval did not address the question whether Congress may grant a private right of

action to enforce an existing federal right. Nor did Gonzaga, which merely quoted


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the sentence from Sandoval referring to “new rights” when explicating the general

background principles for discovering congressional intent. See Gonzaga, 536 U.S.

at 286–87. There was no discussion in Gonzaga of whether the rights referred to in

the statute at issue were new or not. See id.

      Second, the State argued in its earlier motion that Section Two does not

unambiguously confer individual rights because there is ambiguity about its focus,

which the State says one court has held is “unclear” because it includes both the

conduct prohibited and the party regulated. Milligan Doc. 331 at 20 (citing Ark. State

Conf. NAACP, 86 F.4th at 1209–10). But like the Eighth Circuit, the State does not

account for the instructions found in Health & Hospital Corporation of Marion

County. See 599 U.S. at 185. As we have already explained, see supra pp. 420–21,

if the statutory text at issue in that case created private rights while also mentioning

actors and conduct that could threaten those rights, then we can discern no principled

basis to conclude that Section Two does not likewise create private rights.

      Third, the State argued it is earlier motion that the mere use of the term

“rights” is not enough to create a private cause of action, citing Pennhurst State

School & Hospital v. Halderman, 451 U.S. 1 (1981). See Milligan Doc. 342 at 10.

But our analysis doesn’t rest exclusively on the use of the word “rights.” See supra

pp. 418–24; infra Part V.B.2. In any event, Pennhurst State does not help the State.

There, the Supreme Court declined to find an implied right in a statute that provided


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that mentally handicapped persons “have a right to appropriate treatment, services,

and habilitation” in “the setting that is least restrictive of . . . personal liberty,”

Pennhurst State, 451 U.S. at 13 (quoting 42 U.S.C. § 6010). The Court held that the

reference to “a right” was precatory because it was found only in a “bill of rights”

provision of the statute, while the enabling provisions of the statute were funding-

related, and the bill of rights provision lacked “any language suggesting that [it] is a

‘condition’ for the receipt of federal funding” under the statute. Id. To the contrary,

the Court reasoned, the language and structure of the statute “demonstrate[d] that it

is a mere federal-state funding statute.” Id. at 18. Pennhurst State thus cautions that

“[i]n expounding a statute, we must not be guided by a single sentence or member

of a sentence, but look to the provisions of the whole law, and to its object and

policy.” Id.

      We have not looked at the word “rights” in a vacuum; rather, we have

considered the word within the statutory provision and the statute taken as a whole,

in order to see whether the statutory provision is using “rights-creating language.”

Sandoval, 532 U.S. at 288 (quotation marks and citation omitted). And it is not

merely the presence of the term “rights” in Section Two, but rather the entire

provision’s focus on the rights of “members of a protected class” and its place within

the Voting Rights Act—a statute created, after all, for the sole purpose of enforcing

a citizen’s right to vote free from discrimination.


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      Fourth, the State asserted in its earlier motion that the “federal review

mechanism” in the Voting Rights Act indicates that Congress did not mean to imply

a private right of action in Section Two. Caster Doc. 273 at 27. The State relies on

Gonzaga to argue that “where a statute provides a federal review mechanism, the

Supreme Court has been less willing to identify individually enforceable private

rights.” Id. (internal quotation marks omitted).

      This argument fails at the gate because FERPA, the statute at issue in

Gonzaga, is fundamentally unlike Section Two. In Gonzaga, the Supreme Court

observed that its “conclusion that FERPA’s nondisclosure provisions fail to confer

enforceable rights [wa]s buttressed by the mechanism that Congress chose to provide

for enforcing those provisions.” 536 U.S. at 289. FERPA “expressly authorized the

Secretary of Education to ‘deal with violations’ of the Act,” and the Secretary did so

by creating an office to field complaints from individuals and then initiate

investigations, request a response from the institution subject to the complaint, find

violations, and mandate steps to resolve them. Id. at 289–90 (emphasis omitted)

(quoting 20 U.S.C. § 1232(g)(f)). But Congress chose no such extensive

administrative procedures for Section Two, and they differ in kind from the Attorney

General’s prosecutorial discretion to bring Section Two lawsuits in court. Allowing

the Attorney General to elect to bring a lawsuit is not the kind of detailed alternative

“federal review mechanism” Congress created to enforce FERPA, which the


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Gonzaga Court was discussing. See id. at 290.

      Even if the Attorney General’s power to sue were like the elaborate federal

review mechanism described in Gonzaga (and it is not), Gonzaga clarifies that the

likeness is not “an independent basis for precluding private enforcement.” Id. at 290

n.8. This fits with other jurisprudence allowing both private and public lawsuits to

enforce federal rights. See, e.g., Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246,

255 (2009) (finding a private right of action in Title IX of the Civil Rights Act

despite it having an “express enforcement mechanism” in the form of “an

administrative procedure”). Put simply, the reality that the Attorney General may

bring a lawsuit in federal court does not compel, or even suggest, the conclusion that

Congress meant to imply no right of action for private individuals also to bring

enforcement actions pursuant to Section Two of the Voting Rights Act.

             2.     Section Two Precedents
      Standing alone, our conclusion that the text of Section Two implies a private

right of action is a sufficient reason to hold the statute privately enforceable. But

there is more. Relevant precedent also supports our conclusion, including in

particular two Supreme Court cases: Morse and Allen. And principles of

congressional ratification and statutory stare decisis reinforce that result.

                    a.     Relevant Precedent

      As we previously explained, “[a] ruling that Section Two does not provide a



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private right of action would badly undermine the rationale offered by the Court in

Morse.” Singleton, 582 F. Supp. 3d 924, 1031 (N.D. Ala. 2022). In Morse, the

Supreme Court held that Section 10 of the Voting Rights Act contained a private

right of action, reasoning that:

      Although § 2, like § 5, provides no right to sue on its face, “the existence
      of the private right of action under Section 2 . . . has been clearly
      intended by Congress since 1965.” S. Rep. No. 97–417, at 30. We, in
      turn, have entertained cases brought by private litigants to enforce § 2.
      It would be anomalous, to say the least, to hold that both § 2 and § 5
      are enforceable by private action but § 10 is not, when all lack the same
      express authorizing language.

517 U.S. at 232 (opinion of Stevens, J., with Ginsburg, J. joining) (some internal

citations omitted); see id. at 240 (opinion of Breyer, J., with O’Connor, J. and Souter,

J. joining) (agreeing that Section 10 confers a private right of action because

Sections Two and Five do).

      The Court’s conclusion that Section 10 affords a private right of action turns

in no small measure on its foundational observation that Section Two, like Section

Five, is indeed enforceable by private right of action. See id. at 232. And the Court

saw no reason for treating Section Ten any differently. Id. The very rationale for the

Supreme Court’s determination that Section Two affords a private right of action is

that Congress has “clearly intended” that since 1965. Id. (quoting S. Rep. No. 97–

417, at 30); see also Singleton, 582 F. Supp. 3d at 1031 (“[T]he understanding [in

Morse] that Section Two provides a private right of action was necessary to reach


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the judgment that Section Ten provides a private right of action.”). 66

       “When an opinion issues for the Court, it is not only the result but also those

portions of the opinion necessary to that result by which we are bound.” Seminole

Tribe of Fla. v. Florida, 517 U.S. 44, 67 (1996); see also Dana’s R.R. Supply v. Att’y

Gen., 807 F.3d 1235, 1240 n.3 (11th Cir. 2015) (noting that a statement is dicta only

if it “could have been deleted without seriously impairing the analytical foundations

of the holding” (quoting Denno v. Sch. Bd. of Volusia Cnty., 218 F.3d 1267, 1283

(11th Cir. 2000) (Forrester, J., concurring in part))); United States v. Crawley, 837

F.2d 291, 292 (7th Cir. 1988) (Posner, J.) (same). This holds true for any analysis

that the court “explicat[es] and appl[ies],” even where the court “could have decided

the case on other grounds.” United States v. Kaley, 579 F.3d 1246, 1253 n.10 (11th

Cir. 2009).

       However, even if we were to treat Morse’s statements as dicta, we are

“obligated to respect [them].” Henderson v. McMurray, 987 F.3d 997, 1006 (11th

Cir. 2021) (Pryor, C.J.). “[T]here is dicta and then there is dicta, and then there is



66
   In addition to observing that Sections Two and Five conferred private rights of
action, the Court in Morse supported its conclusion that Section Ten confers a private
right of action by reasoning that: the achievement of the Voting Rights Act’s goals
would be severely hampered if only the Attorney General could sue to enforce
Section Ten; the Attorney General had urged the Court to find a private right of
action; and other sections of the Voting Rights Act (specifically, Sections Three and
Fourteen) contain language recognizing that private persons can sue to enforce their
rights under the Voting Rights Act. See Morse, 517 U.S. at 231–34.

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Supreme Court dicta.” Schwab v. Crosby, 451 F.3d 1308, 1325 (11th Cir. 2006). As

far as we see it, at the very least, this is Supreme Court dicta with the support of five

justices; and if it is a holding, plainly it would be controlling, despite the fractured

votes. See Marks v. United States, 430 U.S. 188, 193 (1977). We will not upend it.

      In the 310-page proposed order the State submitted after trial, it did not

mention Morse, either in connection with its argument that Section Two is not

privately enforceable or otherwise. See Milligan Doc. 481 at 226–29. In its earlier

motion, the State urged us to ignore the Morse language on the ground that it is

gravely wounded by Sandoval. See Milligan Doc. 331 at 22–23; Caster Doc. 273 at

34–35. The Supreme Court has spurned some private-right-of-action cases that were

decided before Sandoval, describing them as part of an “ancien regime” in which

“the Court assumed it to be a proper judicial function to provide such remedies as

are necessary to make effective a statute’s purpose.” Ziglar, 582 U.S. at 131–32

(internal quotation marks and citation omitted). But Morse is not even mentioned in

Sandoval and it is not part of the ancien regime that Sandoval criticized. As the

Supreme Court explained in Sandoval, the headline case for abandoning the ancien

regime was Cort v. Ash, 422 U.S. 66 (1975). See Sandoval, 532 U.S. at 287. Morse

was decided twenty-one years after Cort. As an inferior federal court, we are

required to “leav[e] to [the Supreme Court] the prerogative of overruling its own

decisions.” Agostini v. Felton, 521 U.S. 203, 237 (1997) (citation omitted); see also


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United States v. Gibson, 434 F.3d 1234, 1246 (11th Cir. 2006) (“It is not given to us

to overrule the decisions of the Supreme Court.”).

      Furthermore, Shelby County v. Holder also suggested, albeit in dicta, that

Section Two implies a private right of action, and Shelby County postdates Sandoval.

In Shelby County, the Supreme Court invalidated Section Five’s preclearance regime

as unconstitutional. 570 U.S. at 537–38. In describing the statutory scheme, the

Court explained that “[b]oth the Federal Government and individuals have sued to

enforce § 2, and injunctive relief is available in appropriate cases to block voting

laws from going into effect.” Id. at 537 (citations omitted). And in the final paragraph

of the opinion, the Court ruled that its decision about Section Five “in no way affects

the permanent, nationwide ban on racial discrimination in voting found in § 2.” Id.

at 557. The State’s earlier argument about Sandoval did not account for Shelby

County either. See Milligan Doc. 331 at 22–23; Caster Doc. 273 at 34–35; Milligan

Doc. 481 at 227.

      Other federal circuits apparently share our understanding of Supreme Court

jurisprudence, including the Eleventh Circuit. See Ala. State Conf. NAACP v.

Alabama, 949 F.3d 647, 649 (11th Cir. 2020), vacated on other grounds sub nom.

Alabama v. Ala. State Conf. NAACP, 141 S. Ct. 2618 (2021); see also Robinson v.

Ardoin, 86 F.4th 574, 587–88 (5th Cir. 2023) (“We conclude that . . . there is a right

for these [private] Plaintiffs to bring these [Section Two] claims.”); Mixon v. Ohio,


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193 F.3d 389, 406 (6th Cir. 1999) (“An individual may bring a private cause of

action under Section 2 of the Voting Rights Act.”).67

       In 2020, the Eleventh Circuit explained the history of private enforcement of

Section Two this way:

       The Voting Rights Act (VRA) is widely considered to be among the
       most effective civil rights statutes ever passed by Congress. Its success
       is largely due to the work of private litigants. For more than fifty years,
       private parties have sued states and localities under the VRA to enforce
       the substantive guarantees of the Civil War Amendments. Today,
       private parties remain the primary enforcers of § 2 of the VRA.
Ala. State Conf. NAACP, 949 F.3d at 649 (footnotes omitted). The Eleventh Circuit

went on to observe that “[t]he Department of Justice has filed only 4 of the 61

enforcement actions under § 2 since 2013.” Id. n.2.68 And the Circuit held that “[t]he

VRA, as amended, clearly expresses an intent to allow private parties to sue the

States. The language of § 2 and § 3, read together, imposes direct liability on States


67
  Most recently, a three-judge district court in the Southern District of Mississippi
has followed Robinson and relevant Supreme Court precedent in holding that
Section Two confers a private cause of action. See Miss. State Conf. NAACP v. State
Bd. of Election Comm’rs., No. 3:22-cv-00734-DPJ-HSO-LHS (July 2, 2024) (per
curiam).
68
  Indeed, the Department of Justice has previously observed that private plaintiffs
have brought over 400 Section Two cases resulting in judicial decisions since 1982,
while the Department of Justice itself has brought just 44 cases. See Brief of United
States as Amicus Curiae at 1–2, Turtle Mountain Band of Chippewa Indians v.
Howe, No. 23-3655, 2024 WL 1417744 (8th Cir. Mar. 25, 2024) (citing Ellen D.
Katz et al., To Participate and Elect: Section 2 of the Voting Rights Act 40, Univ.
Mich. L. Sch. Voting Rts. Initiative (2024), https://voting.law.umich.edu; Voting
Section Litigation, U.S. Dep’t of Just. (2024), https://perma.cc/V5XK-Z7L8).

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for discrimination in voting and explicitly provides remedies to private parties to

address violations under the statute.” Id. at 652. Although we are not bound by this

Circuit precedent because it was vacated on mootness grounds, the analysis is

persuasive.

      We next turn to the Supreme Court’s decision in these very cases. Although

Allen did not resolve the specific question whether Section Two provides a private

right of action, it is nevertheless instructive. In Allen, the Supreme Court recognized

that “[b]y 1981, . . . only sixteen years[] [after the VRA was passed in 1965], many

considered the VRA ‘the most successful civil rights statute in the history of the

Nation.’” Allen, 599 U.S. at 10 (quoting S. Rep. No. 97–417, at 111 (1982)). “The

Act ‘create[d] stringent new remedies for voting discrimination,’ attempting to

forever ‘banish the blight of racial discrimination in voting.’” Id. (quoting South

Carolina v. Katzenbach, 383 U.S. 301, 308 (1966)). The Court described important

amendments to Section Two enacted in 1982, and observed that since then, “[f]or

the past forty years, [the Court has] evaluated claims brought under § 2 using the

three-part framework developed in [its] decision in Thornburg v. Gingles, 478 U.S.

30 . . . (1986).” Allen, 599 U.S. at 17. That jurisprudence includes legions of Section

Two claims asserted by private plaintiffs and adjudicated by the Supreme Court:

Gingles, 478 U.S. 30; Voinovich, 507 U.S. 146; Growe, 507 U.S. 25; De Grandy,

512 U.S. 997; Holder v. Hall, 512 U.S. 874 (1994); Vera, 517 U.S. 952; Shaw II,


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517 U.S. 89; Abrams, 521 U.S. 74; LULAC, 548 U.S. 399; Cooper, 581 U.S. 285;

Abbott, 585 U.S. 579; Brnovich, 594 U.S. 647; Wis. Legislature, 595 U.S. 398; Allen,

599 U.S. 1.

                    b.    Congressional Ratification

        As the Allen Court explained repeatedly in the context of other attacks on

Section Two, this long history of private plaintiffs bringing Section Two challenges

means that Congress is “undoubtedly aware of [the Court’s] constru[ction of] § 2,”

and “Congress has never disturbed [the Court’s] understanding of § 2 as Gingles

construed it.” 599 U.S. at 19, 39. And Congress “can change that if it likes” Id. at

39.

        It has long been the rule that “Congress is presumed to be aware of an

administrative or judicial interpretation of a statute and to adopt that interpretation

when it re-enacts a statute without change.” Forest Grove Sch. Dist. v. T.A., 557 U.S.

230, 239–40 (2009) (citation omitted). In none of its amendments to the Voting

Rights Act has Congress ever questioned the then-unanimous view of the courts that

Section Two was privately enforceable. See generally Pub. L. No. 91-285, 84 Stat.

314 (1970); Pub. L. No. 94-73, 89 Stat. 400 (1975); Pub. L. No. 97-205, 96 Stat. 131

(1982); Pub. L. No. 109-246, 120 Stat. 577 (2006). In its most recent amendment, in

2006, Congress expressly noted “the continued filing of section 2 cases that

originated in covered jurisdictions” as “[e]vidence of continued discrimination” that



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supported the need to strengthen certain provisions of the Voting Rights Act. Pub.

L. No. 109-246, 120 Stat. 577 (2006).

      Indeed, the Senate Report to the 1982 amendment, which the Supreme Court

has called the “authoritative source for legislative intent” behind Section Two,

Gingles, 478 U.S. at 43 n.7, said that it “reiterates the existence of the private right

of action under Section 2, as has been clearly intended by Congress since 1965,” S.

Rep. No. 97-417, at 30 (citing Allen, 393 U.S. 544). The House Report to the 1982

amendment echoes precisely the same congressional intent. See H. Rep. No. 97-227,

at 32 (1981) (“It is intended that citizens have a private cause of action to enforce

their rights under Section 2.”). And the Senate Report to the 1975 amendment

explains that fee awards under Section Fourteen of the Voting Rights Act “are a

necessary means of enabling private citizens to vindicate these Federal rights.” S.

Rep. No. 94-295, at 40 (1975) (emphasis added). Congress has not only ratified the

federal courts’ longstanding interpretation that Section Two may be enforced by

private plaintiffs through inaction by failing to change the law, but it has also

explicitly stated that it agrees with this interpretation.

      In its earlier motion, the State nevertheless urged us that because the Supreme

Court has not definitively decided the issue, there is no interpretation for Congress

to ratify. See Milligan Doc. 331 at 21, 23. This argument ignores the reality that (but

for one very recent occasion), no federal court has ever closed its doors to a private


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plaintiff seeking to enforce Section Two on the ground that it implies no private right

of action. The point is simple: if we have consistently misunderstood a congressional

enactment in case after case, court after court, decade after decade, surely Congress

would have told us so by now. Nearly forty years after Gingles—and nearly sixty

years after the passage of the Voting Rights Act—it is appropriate to assign some

degree of legal significance to this reality, even if only as a data point that confirms

our reading of the text.

                    c.     Statutory Stare Decisis
      In addition, statutory stare decisis principles counsel that we should stay the

course in allowing private plaintiffs to sue under Section Two. “[S]tare decisis

carries enhanced force when a decision . . . interprets a statute” because “unlike in a

constitutional case, critics of our ruling can take their objections” to Congress, which

“can correct any mistake it sees.” Kimble v. Marvel Ent., LLC, 576 U.S. 446, 456

(2015); see also Bryan A. Garner et al., The Law of Judicial Precedent 333 (2016)

(“Stare decisis applies with special force to questions of statutory construction.

Although courts have power to overrule their decisions and change their

interpretations, they do so only for the most compelling reasons — but almost never

when the previous decision has been repeatedly followed, has long been acquiesced

in, or has become a rule of property.”). We are guided by decades of unbroken

controlling precedent suggesting that Section Two implies a private right of action,



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and we see no congressional effort to course correct. Accordingly, we think

“statutory stare decisis counsels our staying the course.” Allen, 599 U.S. at 39.

      The Supreme Court has “identified several factors to consider in deciding

whether to overrule a past decision, including . . . the workability of the rule it

established . . . and reliance on the decision.” Knick v. Twp. of Scott, 588 U.S. 180,

203 (2019) (internal quotation marks omitted) (quoting Janus v. State, Cnty., & Mun.

Emps., 585 U.S. 878, 917 (2018)). Allowing private plaintiffs to bring Section Two

claims has proven to be a workable rule—having gone unquestioned for decades in

multiple Supreme Court decisions. In fact, the ability of private parties to bring

Section Two claims has become “the sort of stable background rule that fosters

meaningful reliance.” Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2272

(2024) (internal quotation marks and citation omitted). There has been no

“tinkering” with the ability of private parties to bring Section Two claims by the

Supreme Court, lower courts (with one, lone exception), or Congress. Id. And

because “Congress has spurned multiple opportunities to reverse” the Supreme

Court’s and lower courts’ treatment of private-plaintiff Section Two actions, we

think “a superspecial justification” would be necessary to reverse course, and we see

none here. Kimble, 576 U.S. at 456, 458.

      In its earlier motion, the State distinguished statutory stare decisis arguments

on the same ground it attacks any suggestion of congressional ratification: it asserts


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that because the Supreme Court has not definitively decided the issue, the doctrine

does not apply. See Milligan Doc. 331 at 23. We see the point and have taken care

to rest our ruling on the statutory text. But we reject the argument that we must

otherwise close our eyes to Congressional intent. The federal courts (including the

Supreme Court) have consistently and uniformly allowed private plaintiffs to

enforce a high-profile congressional enactment for nearly sixty years, and we see no

indication in any congressional record that Congress believes all of that (or any of

it) was mistaken.

                                         ***

      In our view, the text of Section Two compels the conclusion that private

plaintiffs may enforce it, either through an implied private right of action, Section

1983, or both. And other doctrines confirm our understanding of the text. It is

difficult in the extreme for us to believe that for nearly sixty years, federal courts

have consistently misunderstood one of the most important sections of one of the

most important civil rights statutes in American history, and that Congress has

steadfastly refused to correct our apparent error.

      C.     Section Two Is Constitutional

      We reject the State’s argument that “race-based redistricting justified by §2

no longer passes Constitutional muster today,” Milligan Doc. 481 at 221, ¶ 597, for

two reasons. First, by its own terms, Section Two is always rooted in today’s



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circumstances – the totality of them. See 52 U.S.C. § 10301(b). The Senate Factors

instruct us to consider some historical patterns and circumstances, but only insofar

as they drive present patterns and circumstances, are on repeat, or otherwise tell us

something of value about whether individuals are disabled from meaningful political

participation at the present time.

      It would be erroneous for us to grant Section Two relief solely based on

historical patterns and circumstances, and we do not do so here. We have taken great

care not to allow the terrible backdrop of Alabama’s history of official racial

discrimination to dictate the outcome of these cases, and we have attended to the

State’s presentation about present circumstances in Alabama at length and in

comprehensive detail. In this regard, “what [we] did here is essentially no different

from what many courts have done for decades under [the Supreme] Court’s

superintendence[.]” Allen, 599 U.S. at 90–91 (Thomas, J., dissenting). We cannot

hold that the mere passage of time renders unconstitutional a statute that, on its face

and by its terms, accounts for that passage of time.

      Second, we reject the State’s argument because the record compels us to

conclude that even if Congress’s justifications for Section Two may expire at some

point, we are certainly not yet there. There can be no serious dispute that Alabama

has made substantial progress away from its terrible history of official

discrimination. But based on the evidence in these cases, much of which is not


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contested, there also can be no serious dispute that that terrible history still

significantly affects the ability of many Black Alabamians, particularly in the rural

Black Belt, to participate in the democratic process. Having heard testimony about

extreme destitution and steep illiteracy rates among Black Alabamians in the rural

Black Belt, and personal experiences in segregated public schools and spaces from

Black leaders of those communities, we cannot hold that Alabama has yet outrun the

effects of its past.

       And as we have said previously and explain below, we were and are disturbed

by the Legislature’s deliberate decision to refuse the remedy we said was required.

It has been nearly sixty years since the Alabama Legislature last purposefully refused

to satisfy the requirements of a federal court order about redistricting, particularly

one affirmed by the Supreme Court. In our view, that refusal precludes a finding that

Congress’s original justifications for Section Two no longer apply in today’s

Alabama.

       We see clearly the practical realities. It is not lost on us that the Legislature’s

decision not to provide the required remedy came in Alabama’s first opportunity to

redistrict its congressional map free of federal preclearance. Nor is it lost on us that

Section Two protects what few opportunities Black Alabamians have to select a

candidate of their choice.

       Nor is it lost on us that the Legislature’s deliberate decision not to satisfy our


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order about Section Two was an avoidable and self-inflicted wound: although state

legislatures may sometimes face the “competing hazards of liability” created by

Section Two and the Equal Protection Clause, Abbott, 585 U.S. at 587 (quoting Vera,

517 U.S. at 977); see Louisiana v. Callais, No. 24-109 (U.S.), the Alabama

Legislature was not facing that risk in 2023, after we and the Supreme Court had

held that in these Section Two cases, the record contained lawful remedial maps.

Nor is it lost on us that we have been warned by the State that in its view, if we

enjoin the 2023 Plan under Section Two, we will be right back where we started:

with the Legislature free to enact another plan that contains only one Black-

opportunity district, on the reasoning that we may then (again) reject it.

      In these circumstances, we cannot see how Section Two has outlived the

purpose Congress intended. Accordingly, even if Section Two “cannot extend

indefinitely into the future,” Allen, 599 U.S. at 45 (Kavanaugh, J., concurring in

part), we hold that it extends at least past today.

VI.   ANALYSIS – CONSTITUTIONAL CLAIMS

      A. The Singleton Plaintiffs’ Arguments

      The Singleton Plaintiffs raised two constitutional claims. Both claims focus

on Jefferson County, which includes Districts 6 and 7.

             1. Racial Gerrymandering

      The Singleton Plaintiffs claim that the 2023 Plan is racially gerrymandered, in

violation of the Equal Protection Clause and Article I, § 2 of the Constitution.

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Singleton Doc. 229 ¶ 67. They allege that the violation originated in the 1992 map

that resulted from Wesch, which they say was a racial gerrymander because it split

seven counties expressly “for the purpose of drawing one majority-Black district”

that was “packed at 67.53% Black.” Id. ¶¶ 22, 25. They allege that “Alabama

continued the 1992 racial gerrymander in the Congressional redistricting plans

enacted after the 2000 and 2010 censuses,” which left District 7 “packed at 63.57%

Black.” Id. ¶ 27. And they allege that the State conceded that the plan enacted in

2011 was racially gerrymandered, and “the Legislature preserved the racial

gerrymander” when it enacted the 2021 Plan and the 2023 Plan. Id. ¶¶ 46, 55.

      The Singleton Plaintiffs allege that “District 7 contains about 54% of Jefferson

County’s population, but more than 71% of its Black population, resulting in a thirty-

point gap between the proportion of the population that is Black inside and outside

the district (57% inside, compared to 27% outside).” Id. ¶ 55. They also allege that

“[t]his is no accident: District 7 sharply separates majority-Black Birmingham from

the relatively White ‘Over the Mountain’ suburbs like Mountain Brook and Vestavia

Hills.” Id. They say that “[w]ith 2020 census data, it is practicable to end the 1992

racial gerrymander and draw a seven-district Congressional plan without splitting a

single county and with only slight population deviations.” Id. ¶ 39. They offer their

Whole County Plan as such a plan. And they claim that the Legislature acted with

discriminatory purpose when it enacted the 2023 Plan that “intentionally perpetuates


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the unconstitutional racial gerrymandering of Jefferson County.” Id. ¶ 2.

             2. Intentional Discrimination
      The Singleton Plaintiffs also claim that the State violated the Fourteenth and

Fifteenth Amendments by “enacting and carrying out a legislative plan for

Alabama’s congressional districts that intentionally discriminates against Black

Alabamians.” Milligan Doc. 445 at 9 (pretrial order). They say that the drafters of

the 2023 Plan “intentionally d[rew] Congressional District lines in order to destroy

otherwise effective crossover Districts.” Singleton Doc. 229 ¶ 75. They allege that

the drafter excluded Jefferson County from the communities of interest the 2023

Plan protects because it “is the one county in the state with a proven record of

effective and persistent biracial politics.” Id. ¶ 64.

      They further assert that the drafter “knew that White voters in Jefferson

County are more likely to share the equal rights and progressive political agenda of

Black voters than do White voters in the Wiregrass.” Id. ¶ 65. They allege that this

is why the 2023 Plan “places Black voters in the eastern Black Belt in the same

district with the Wiregrass counties, ensuring they would have no opportunity to

elect a candidate of their choice.” Id. And they allege that by splitting Jefferson

County and the Black Belt, the 2023 Plan “perpetuates Alabama’s policy since

Reconstruction of creating and maintaining election systems that are designed to

encourage White electoral solidarity.” Id. ¶ 66.



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      At trial, the Singleton Plaintiffs offered two experts (Dr. Riser and Dr.

Frederickson) and two lay witnesses (Ms. Slay, who testified live, and Senator

Smitherman, who testified by deposition) to support these claims. In their proposed

order, they also rely on the trial testimony of Senator Singleton. See Singleton Doc.

320. We already have discussed some of this testimony. See supra Part IV.C.

      B. The Milligan Plaintiffs’ Arguments

      The Milligan Plaintiffs assert one constitutional claim, which focuses on the

Districts in the Black Belt and Gulf Coast and asserts that the 2023 Plan violates the

Fourteenth Amendment because it intentionally discriminates against Black

Alabamians. Milligan Doc. 445 at 9 (pretrial order). They allege that the 2023 Plan

is “Alabama’s latest discriminatory scheme, designed with the intent to crack Black

voters into congressional districts in a manner that prevents the creation of two

congressional districts in which Black voters have an equal opportunity to elect

candidates of their choice.” Id. They claim that this racially discriminatory purpose

motivated both the drawing and passage of the 2023 Plan. Milligan Doc. 329 ¶ 199.

They allege that the 2023 Plan “was drafted and passed at least in part to minimize

the political power of Black Alabamians by limiting their ability to influence

congressional elections to a single district,” and to the part of the state that contains

District 7, “despite substantial clusters of Black Alabamians living in concentrated

areas of the State outside of [District 7].” Id. ¶¶ 199–200.



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      The Milligan Plaintiffs further claim that the “2023 Plan intentionally

perpetuated the discriminatory effects of the 2021 Plan.” Milligan Doc. 445 at 9.

They allege that in 2023, “the Legislature ignored this Court’s orders and the

repeated requests from Black legislators to draw two majority-Black, or opportunity,

districts.” Milligan Doc. 329 ¶ 204. They allege that the State was “aware that Black

Alabamians could elect candidates of their choice in two congressional districts in

the state in a manner that complies with the U.S. Constitution and federal law, yet

purposefully drew the congressional maps to prevent this.” Id. ¶ 200.

      To support these allegations, the Milligan Plaintiffs rely on testimony from

Dr. Bagley, Representative Pringle, Senator Livingston, Mr. Hinaman, Dr. Hood,

Ms. Dowdy, Mr. Milligan, Mr. Clopton, and Dr. Duchin. See Milligan Doc. 485 ¶¶

757, 780, 787, 810, 846, 847, 851, 875.

      In their proposed order, the Milligan Plaintiffs discuss each part of the

Arlington Heights test.

             1.    Historical Background of the 2023 Plan

       The Milligan Plaintiffs begin with Alabama’s history of discriminatory

redistricting. See id. at 287–93. They argue that although we should not

automatically assign the invidious intent of prior legislatures to the Legislature,

under controlling precedent, the historical patterns “are relevant to the extent that

they naturally give rise to—or tend to refute—inferences regarding the intent of” the



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current Legislature. Abbott, 585 U.S. at 607.

      The Milligan Plaintiffs identify two salient histories: first, they argue that the

Legislature’s current insistence that Mobile and Baldwin Counties be kept whole

and together in a majority-White district is “part of [a] historical pattern of

manipulating the pairing or separation of these two counties for discriminatory

reasons.” Milligan Doc. 485 ¶¶ 758, 760–76. And second, they argue that the

Legislature’s insistence on a majority-White district on the Gulf Coast is “part and

parcel” of a broader, “continuous pattern of whichever party is in power targeting

Black voters.” Id. ¶ 759. They agree with a public comment by Representative

England to the effect that the Legislature’s response to our order “proved that

Alabama was still the ‘make me’ state when it came to affording Black citizens their

rights.” Id. ¶ 757 (citing Milligan Doc. 385-1 at 2, 28).

      The Milligan Plaintiffs discuss at length the Legislature’s historical treatment

of the Gulf Coast counties in congressional districting. They argue that although the

Legislature now insists that Mobile and Baldwin Counties must be kept whole and

together because they “comprise a well-known and well-defined community with a

long history and unique interests,” “this has not always been the case.” Id. ¶ 760.

They trace Dr. Bagley’s exposition of the historical evidence that “the separation of

Baldwin and Mobile counties in the 1870s and the unification of these counties in

the 1970s were substantially motivated by race.” Id. ¶ 761.


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      Dr. Bagley reported that during Reconstruction, Alabama had two majority-

Black congressional districts: Districts 1 and 2, based in the Black Belt and Mobile

County. Id. ¶ 762. Three Black congressmen won elections from these districts, one

each in 1870, 1872, and 1874. Id. ¶¶ 762–63. Dr. Bagley reported that these elections

triggered a backlash from White legislators who set out to redraw the districts. Id. ¶

764. In 1875, they created a “shoestring” district to pair two Black incumbents. Id.

¶ 765. That district split Baldwin County (which was then approximately half Black)

and united Mobile County with several Black Belt counties. Id. It also eliminated

one of Alabama’s majority-Black districts. Id. The Milligan Plaintiffs discuss Dr.

Bagley’s explanation that the shoestring district was “widely understood as being

done for the purpose of diluting the Black vote.” Id. ¶ 766. And they cite his analysis

that from 1875 to 1970, with one brief exception, the Legislature separated Mobile

and Baldwin Counties and continued to unite the City of Mobile with the western

Black Belt. Id. ¶ 767.

      The Milligan Plaintiffs then discuss Dr. Bagley’s analysis of the 1972 Plan, in

which the Legislature united Mobile and Baldwin Counties in one district. Id. ¶¶

772–74. They rely on Dr. Bagley’s explanation that in the 1972 Plan, the Legislature

“did not act to unite a purported community of interest,” but acted “for racial reasons

and with racial effects.” Id. ¶ 774. According to Dr. Bagley, the 1972 Plan reduced

the BVAP in Districts 1, 2, and 3 “from around 40% Black under the prior plan to


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only around 30 percent in all three districts,” and the Legislature’s decision to unite

Mobile and Baldwin Counties “together in a way that significantly dropped the

Black population in these districts occurred just as Black people began registering

to vote” after the passage of the Voting Rights Act. Id.

      The Milligan Plaintiffs thus argue from Dr. Bagley’s testimony that “[i]n

maintaining the split of southern Alabama into three congressional districts since

1972, pairing Mobile and Baldwin counties, the Legislature continued to crack the

Black vote to prevent the election of a Black Congressperson,” id. ¶ 775, and that

the 2021 Plan and 2023 Plan followed this pattern, id. ¶ 776.

             2.     Sequence of Events Leading to the Passage of the 2023 Plan
      The Milligan Plaintiffs next argue that the events leading to the passage of the

2023 Plan evince discriminatory intent, and they discuss those events in great detail.

Milligan Doc. 485 at 294–315. The Milligan Plaintiffs rely largely on stipulated

facts, the Legislators’ testimony, and Mr. Hinaman’s testimony. First, they cite

Representative Pringle’s and Senator Livingston’s testimony that they understood

what was required by Section Two and our preliminary injunction. Id. ¶¶ 780–86.

      Second, they cite Mr. Hinaman’s testimony that he understood he was tasked

with drawing a second opportunity district, and that such a district was one where

Black-preferred candidates “had a ‘50/50’ chance of winning an election.” Id. ¶¶

790–91. They also cite Mr. Hinaman’s testimony that no one instructed him to try to



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add a second majority-Black district, and he did not attempt to do so. Id. ¶ 792. And

they cite his testimony that he drew three plans for the Committee chairs and

understood that they preferred the Community of Interest Plan and would sponsor it

in their respective chambers. Id. ¶¶ 793–96.

      Third, the Milligan Plaintiffs discuss the Committee’s pre-session hearings.

Id. ¶¶ 797–805. They point out that the only plans available for public input at those

hearings were plans prepared by the Plaintiffs, and that Representative Pringle “said

the Community of Interest Plan was not yet done.” Id. ¶¶ 800–01. They recall that

although Representative Pringle invited a historian to testify at one of the hearings

about the historical connections between Mobile and Baldwin Counties, he “did not

ask anyone to speak on behalf of the need for two districts in which Black voters

could elect candidates of their choice.” Id. ¶ 802. And they describe his rejection of

an amendment to the 2023 guidelines offered by Representative England (who is

Black), about how to remedy the likely Section Two violation we found. Id. ¶ 803.

      Next, the Milligan Plaintiffs argue that when the Committee passed the

Community of Interest Plan, it ignored the objections of Black Legislators. Id. ¶¶

806–15. The Milligan Plaintiffs argue (as is stipulated) that when Representative

Pringle introduced the Community of Interest Plan in the Committee, he said that it

preserved the cores of existing congressional districts. Id. ¶ 807. They also argue (as

is stipulated) that Dr. Hood’s performance analysis of that Plan showed that the


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Black-preferred candidate would have won two of four modeled races in District 2:




Id. ¶ 808; Milligan Doc. 436 at 19 (stipulations). The Milligan Plaintiffs argue that

Dr. Hood’s analysis was flawed because two of the four elections he analyzed

involved unusually popular White Democratic candidates, Milligan Doc. 485 ¶¶

811–12, but that Mr. Hinaman trusted the analysis anyway, id. ¶ 813. And they

observe that every Black member of the Committee voted against the Community

of Interest Plan. Id. ¶ 815.

      Next, the Milligan Plaintiffs argue that Senators “turned against” the

Community of Interest Plan to “pursue a more aggressive plan for preserving power

at Black voters’ expense.” Id. ¶¶ 816–26. The Milligan Plaintiffs describe the

“additional information” that Senator Livingston discussed in his deposition, its

mysterious and allegedly unknown provenance, and the Opportunity Plan (in which

District 2 had a BVAP of 38.31%) that Senator Livingston introduced in Committee

and was drafted by Mr. Brown and his political consulting firm, Red State Strategies.


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Id. ¶¶ 816, 819. They cite text messages between Senator Livingston and Mr. Brown

that (1) discuss the possibility of a higher BVAP (Mr. Brown asked Senator

Livingston if a BVAP of 41.6% would “work”), and (2) contain a reference by

Senator Livingston to “monkey town,” which the Plaintiffs assert is a racist

nickname for Montgomery. Id. ¶ 820. The Milligan Plaintiffs make the point that

according to Senator Livingston’s testimony, when his Opportunity Plan (also

known as the Livingston 2 Plan) passed the Senate, he had no belief one way or the

other about whether it contained two opportunity districts. Id. ¶¶ 821–22. And they

point out that according to Representative Pringle’s testimony, he also did not have

a view on that issue. Id.

      The Milligan Plaintiffs argue that even though the configuration of District 2

in the Opportunity Plan was identical to its configuration in the predecessor plan (the

Livingston 1 Plan, which was only slightly adjusted to become the Livingston 2

Plan), Senator Livingston testified that he believed that the Opportunity Plan

provided a better opportunity for Black Alabamians to elect a representative of their

choice than the Livingston 1 Plan provided. Id. ¶ 824. They point out that Senator

Livingston had no explanation for this belief. Id.

      The Milligan Plaintiffs cite Representative Pringle’s refusal to pass the

Opportunity Plan in the House, or to substitute it for the Community of Interest Plan,

or to attach his name to it. Id. ¶ 825. And they describe that each plan passed its


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respective chamber entirely along racial lines, with one exception in the House

(Representative Paschal – the sole Black Republican). Id. ¶ 826.

       The Milligan Plaintiffs next argue that the Alabama Solicitor General worked

with Senator Livingston and other Senators to draft the Livingston Plans, including

the compromise plan that ultimately became the 2023 Plan. Id. ¶ 828. The Milligan

Plaintiffs point out that when Senator Livingston was asked about the decision to

draw District 2 with a BVAP under 40 percent in SB5, Senator Livingston said only

that “this is the plan that was brought forward in the end and was compromised

upon.” Id. ¶ 830. And that when Representative Pringle was asked about that

decision, he responded: “You’re going to have to talk to Senator Livingston and [the

Solicitor General],” and “[t]hat’s what the senate came up with, and they were not

going to allow us to pass the house plan.” Id. ¶ 831.

       Ultimately, the Milligan Plaintiffs say, the Legislature “knew that the 2023

Plan lacked a second opportunity district” and that the changes the Senate made to

the Community of Interest Plan “would harm Black-preferred candidates’ chances.”

Id. at 307. The Milligan Plaintiffs explain (as is stipulated) that before the Legislature

passed the 2023 Plan, it conducted a performance analysis that modeled seven

elections and predicted Black-preferred candidates would lose every election in

District 2:




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Id. ¶ 833; Milligan Doc. 436 at 21 (stipulations).

      To support their assertion about the Legislature’s knowledge, the Milligan

Plaintiffs cite three pieces of evidence. First, they cite Representative Pringle’s

testimony that he saw the performance analysis before the Legislature voted on the

2023 Plan and that it was available to all members of the conference committee.

Milligan Doc. 485 ¶ 834. Second, they explain (as is stipulated) that Representative

England told legislators before the final vote that in his view, SB5 was noncompliant

with our order and we would reject it. Id. ¶ 835. Third, they cite Mr. Hinaman’s

testimony that at least some legislators knew from Dr. Hood’s earlier performance

analysis of the Community of Interest Plan that without Dallas County (home to

Selma) in District 2, Black-preferred candidates would have no chance of winning

that District. Id. ¶ 837. According to Mr. Hinaman, the Black-preferred candidate


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lost every election Dr. Hood modeled in that District, if Selma was not in the District.

Id. To explain the importance of Dallas County to District 2, the Milligan Plaintiffs

describe the well-known history of political mobilization in Selma and explain that

it is either the residence or hometown of several prominent Black Alabamians. Id. ¶

838.

       The Milligan Plaintiffs next turn to the 2023 legislative findings, which they

assert the Solicitor General drafted and inserted into SB5. Id. at 309. They make

several arguments from the findings:

       • They identify several differences between the findings and the 2023
         Committee guidelines, which were separated by only a week’s time. Id. ¶
         839; see also supra Part I.D.

       • They observe that in the findings, the Legislature described some
         traditional districting principles as “non-negotiable,” which the
         Legislature had never done before, and that neither compliance with the
         Voting Rights Act, nor nondilution of minority voting strength, were
         included on that list. Milligan Doc. 485 ¶ 840.

       • They observe that in the findings, the Legislature recognized only three
         communities of interest in the state and removed from the definition of
         “community of interest” in the 2023 guidelines any reference to shared
         “ethnic, racial, tribal, [or] social . . . identities.” Id. ¶ 842.

       • They observe that the findings reference the “French and Spanish colonial
         heritage” or “culture” of Mobile and Baldwin Counties four times in one
         paragraph but make no mention (anywhere) of the culture or heritage of
         the Black Belt, Mobile, or any other community of interest anywhere in
         Alabama. Id. ¶ 844. They contend that the reference to “French and
         Spanish colonial heritage” is a reference to White people. Id. ¶ 845.

       • They observe that the findings were not requested by the Committee
         chairs, who did not know why they were in the bill and did not see them


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         until the morning of the vote. Id. ¶¶ 848–50.

      • They observe that Mr. Hinaman was never given the instructions in the
        findings when the Legislators asked him to draw maps. See id. at 30
        (citing Milligan Doc. 459-7 at 94–95).

      • They observe that the findings do not mention an additional opportunity
        district. See id. ¶ 874.

      • And they observe that the findings eliminated the reference in the
        Committee guidelines to the nondilution of minority voting strength, and
        that the findings do not mention Black people at all. See id. at 320.

            3.     Substantive and Procedural Departures from the Norm
      Next, the Milligan Plaintiffs discuss the evidence of substantive and

procedural departures from the norm during the 2023 Special Session. Here again,

they rely principally on stipulated facts, the Legislators’ testimony, and Mr.

Hinaman’s testimony:

      • They observe that “[t]he Committee Co-Chairs failed to present any of
        their plans for input at the public hearings.” Id. ¶ 856.

      • They observe that despite the Committee chairs asking Mr. Hinaman to
        draft the plans for consideration, “Senator Livingston had been
        communicating (apparently without knowledge of his Co-Chair,
        Committee counsel, or Mr. Hinaman), with another mapdrawer, Chris
        Brown.” Id. ¶ 857. Accordingly, the Milligan Plaintiffs contend that
        Senator Livingston’s testimony that he was unsure why the Senate
        suddenly backed another plan (the one Brown was drafting) “blinks
        reality” and “raises questions about the import of then-U.S. House Speaker
        Kevin McCarthy’s call to Senator Livingston asking him to consider his
        thin Republican majority in the House.” Id. ¶¶ 858–59.

      • They contend that “the only two criteria that Mr. Brown raised with
        Senator Livingston” were the BVAP in his plan and whether a White
        incumbent (Congressman Moore) would still be able to beat a Black-
        preferred candidate. Id. ¶ 860. And that “[g]iven the use of racial targets in


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     terms of BVAP, this either suggests that race was the real motive, or that
     Sen. Livingston was being untruthful about using race for partisan ends.”
     Id. ¶ 859.

  • They assert that “the involvement of the Solicitor General both as a
    mapdrawer and drafter of legislative purpose also reveals a bizarre
    procedural and substantive departure.” Id. ¶ 861.

  • They observe that “no redistricting bill in Alabama history contained
    similar legislative findings,” and that the Legislators and Mr. Hinaman
    “pointed to the unprecedented nature of the findings.” Id. ¶ 862. They cite
    Representative Pringle’s testimony that the findings “were not debated by
    the Legislature and were not revealed until the members were asked to vote
    on the bill[.]” Id. ¶ 863. Likewise, Mr. Hinaman testified that he was never
    given the instructions in the findings when the Legislators asked him to
    draw the maps. Id. ¶ 864. And “Senator Livingston was also unaware of
    why the legislative findings were included.” Id. ¶ 865.

  • And they argue that the findings reflect several substantive departures from
    the norm of redistricting in Alabama:

     o They recite Representative Pringle’s agreement that “some of [the
       Legislative findings] look like they are” in conflict with the guidelines
       adopted the week before. Id. ¶ 868.
     o They reiterate that “the findings excluded the statement from the 2021
       and 2023 guidelines that ‘[a] redistricting plan shall have neither the
       purpose nor the effect of diluting minority voting strength.’” Id. ¶ 869.
     o They observe that the 2023 Plan enumerated communities of interest
       for the first time, and that it enumerated only three communities
       statewide: the Black Belt, the Gulf Coast, and the Wiregrass. Id. ¶ 870.

     o They reiterate that the findings “altered the Guidelines’ definition of
       ‘community of interest’ to remove from the definition shared ‘ethnic,
       racial, tribal, social . . . identities,’ and add similarity of ‘transportation
       infrastructure, broadcast and print media, educational institutions.’” Id.
     o They observe that “[w]hile several pages of findings are devoted to
       linking Mobile and Baldwin, including reference to its shared ‘French
       and Spanish colonial heritage,’ only five lines are provided to the Black
       Belt.” Id. ¶ 871.

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             4.     Direct Evidence of Intent and Other Contemporaneous
                    Statements

      Finally, the Milligan Plaintiffs argue that the record contains direct evidence

of discriminatory intent and other contemporaneous statements that suggest a

discriminatory intent. See id. at 318–26. They identify the “unprecedented” 2023

legislative findings as direct evidence, and they repeat many of their earlier

observations about the findings. See id. They recite Dr. Duchin’s testimony that the

findings “come close to prescribing” a majority-White congressional district in

Mobile and Baldwin Counties and make it mathematically impossible to draw an

additional Black-opportunity district, and they cite the State’s counsel’s concession

to the same effect. See id. ¶¶ 879–82. The Milligan Plaintiffs argue that this evinces

a purposeful effort by the Legislature to prevent the creation of an additional Black-

opportunity district and require the dilution of Black votes. See id.

      The Milligan Plaintiffs also rely on statements by the State’s lawyers as

indicative of the State’s purpose to discriminate. Id. ¶¶ 885–93. They argue that the

Solicitor General’s arguments in court, as well as statements by other counsel for the

State at trial, confirm that the Legislature’s intent was to avoid creating an additional

opportunity district, and its effect was to prevent the creation of an additional

opportunity district. Id. ¶¶ 886–87.

      The Milligan Plaintiffs claim that the Community of Interest Plan disproves

the Solicitor General’s argument in court that the 2023 Plan was “as close as you are

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going to get to a second majority-Black district” without violating traditional

districting principles. Id. ¶¶ 890–92. The Milligan Plaintiffs do not concede that the

Community of Interest Plan would remedy the likely Section Two violation we

found, but they argue that it would have provided Black Alabamians greater

opportunity than the 2023 Plan provides. Id.

      Ultimately, the Milligan Plaintiffs argue that “White legislative leaders knew

that absent a majority-minority district a Black candidate would lose and [W]hite

voters would elect a [W]hite Republican instead” in District 2. Id. ¶ 894. They say

that despite this understanding, the Legislature never even attempted to draw that

district. Id. ¶ 895. And they point to Speaker Ledbetter’s explanation why: to have a

“good shot” at changing the mind of one Justice on the Supreme Court. Id. ¶ 897.

      C. The State’s Arguments

             1. Singleton Plaintiffs’ Racial Gerrymandering Claim
      The State argues that the Singleton Plaintiffs’ claim that the 2023 Plan is a

racial gerrymander is unfounded because they “have not shown that the ‘statistical

disparities’ are so stark that they are ‘tantamount for all practical purposes to a

mathematical demonstration’ that the State acted with a discriminatory purpose.”

Milligan Doc. 481 ¶ 885. It argues that “Plaintiffs have not attempted to demonstrate

that dividing Jefferson County where the Legislature chose to is ‘unexplainable on

grounds other than race.’” Id. ¶ 886. It also argues that “Plaintiffs have not proffered



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‘an alternative map that would have allowed the State to achieve its districting goals’

‘with greater racial balance.’” Id. ¶ 887.

              2. Singleton and Milligan Plaintiffs’ Intentional Discrimination
                 Claims
        The State argues that the intentional discrimination claims of both the

Singleton and Milligan Plaintiffs fail because they failed to establish that “the

Legislature relied on race for an invidious reason: to harm a racial group’s ability to

elect the group’s preferred candidates.” Milligan Doc. 481 ¶ 631. The State argues

that “Plaintiffs ‘cannot prove this invidious reason merely by showing that the

legislature knew that the revised map would have such harmful effects on the racial

group.’” Id. ¶ 632. The State asserts that Plaintiffs must prove that “the [L]egislature

must have drawn the map ‘because of, not merely in spite of, those adverse effects.’”

Id.

        The State claims that the Singleton and Milligan Plaintiffs fail to make this

showing with direct or circumstantial evidence, and that we must presume the

Legislature’s good faith. Id. ¶¶ 636, 641. To support its argument about an

evidentiary deficit, the State contends that the Plaintiffs “have not presented a single

‘express acknowledgement,’ ‘confession,’ . . . or statement showing that any

Legislator who voted for the 2023 Plan ‘did so for a racist reason.’” Id. ¶ 656. The

State argues that “the Alabama Legislature never exalted any ‘[W]hite community’

as ‘more important’ than a ‘cohesive [B]lack community,’” id. ¶ 666, and it “place[d]


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Mobile and Baldwin together [not] to make [District 1] ‘more Anglo,’” but to

“respect . . . the counties’ shared cultural and economic ties, which are felt by Gulf

Coast residents of all races,” id. ¶ 667.

      To support its argument about good faith, the State takes two approaches: it

challenges the Plaintiffs’ arguments about the Legislature’s failure to satisfy the

requirements of our preliminary injunction, and it defends the 2023 legislative

findings as having been made in good faith. We consider each argument in turn.

                    a.     Intentional Refusal to Satisfy Requirements of Federal
                           Court Orders
      The State argues that the Legislature acted in good faith when it enacted the

2023 Plan because the 2023 Plan did not defy our preliminary injunction. The State

describes the Plaintiffs’ argument in this regard as an assertion that the 2023 Plan

“defies this Court and violates the Equal Protection Clause because the Legislature

enacted the plan after the Court’s 2022 preliminary injunction order without

including two districts likely to favor Democrats.” Id. at 14.

      The State makes four points. First, the State argues that “this Court barred the

Secretary from using the 2021 Plan; it did not order the Legislature to enact any

particular map,” so “[t]he Court’s order was not violated.” Id. Second, the State

argues that it actually “respect[ed]” our order because the Legislature “did not

simply pass the same plan with minor tweaks and try to evade federal court review,”




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and “the law was passed in time for this Court to preliminarily assess it before the

2024 elections.” Id.

       Third, the State argues that preliminary injunctions are not final, and it “makes

no sense to fault the State for curing the alleged ‘inconsistent treatment’ in [the 2021

Plan] . . . before going to trial.” Id. at 14–15. And fourth, the State argues that even

if the Plaintiffs prevail, “the suggestion” that the law is “so clear” that any

interpretation other than the Plaintiffs’ “could only be driven by racial animus is as

baseless as it is divisive.” Id. at 15. On this last point, the State argues that it is

“perfectly plausible” that the “Legislature believed it could remedy a likely § 2

violation by eliminat[ing] racial disparities – i.e., inconsistent treatment of the Gulf

Coast and the Black Belt,” or that “Justice Kavanaugh was right to question whether”

race-based redistricting can continue. Id. (internal quotation marks and citations

omitted). The State reiterates that even if its legal arguments fail, “it is neither defiant

nor racist to enact a law based on them and then test them in federal court.” Id.

                     b.     The 2023 Legislative Findings

       The State also challenges the Plaintiffs’ argument that the 2023 legislative

findings rebut the presumption of legislative good faith. The State argues that the

findings state the Legislature’s intention to comply with the Voting Rights Act, and

that the elimination of the provision about nondilution of minority voting strength

simply resulted in an “absence of superfluous language.” Id. ¶¶ 778–79.



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      The State argues that we should not infer bad faith “from the Legislature’s

decision to include findings about the Black Belt, Wiregrass, and Gulf Coast, but not

about communities lying elsewhere in the State.” Id. ¶ 668. It asserts that “[t]he

‘obvious alternative explanation’ . . . for this decision is that the 2021 Plan had been

enjoined under §2 in large part because of the Legislature’s ‘inconsistent treatment’

of Black and White Communities.” Id. It argues that “[t]he 2021 Plan’s treatment of

communities north of Montgomery was not at issue, so the 2023 Legislature had no

reason to articulate its intent with respect to those communities.” Id. ¶ 669.

      And the State argues that the reference in the legislative findings to the shared

“French and Spanish colonial heritage” in the Gulf Coast was not a reference to

White people, but a reference to “cultural influences in a region that flow from its

unique history,” which is not improper. Id. at 13.

                    c.     Alternative Explanations for the 2023 Plan
      The State next argues that “there are at least two obvious and broad reasons

for the 2023 Plan other than racial animus: (1) avoiding a racial gerrymandering suit;

and (2) achieving partisan goals.” Id. ¶ 815. To support the argument about a racial

gerrymandering suit, the State claims that the “Legislature could have been aware

that Plaintiffs’ expert, Dr. Imai” ran simulations in the preliminary injunction

proceedings, and could have been aware of those results. Id. ¶ 825. The State cites

no evidence that any legislator is aware of Dr. Imai’s existence, let alone his



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simulations or testimony. See id.

      The State argues that “[t]here’s an obvious ‘damned if you do, damned if you

don’t’ nature to this endeavor” as the State “navigate[s] the precarious waters of vote

dilution jurisprudence while avoiding racial gerrymandering claims.” Id. ¶ 841. And

the State points out that the 2023 Plan, despite having a larger BVAP in District 2,

drew a racial gerrymandering lawsuit (Singleton). Id. ¶ 828. But see Singleton Doc.

288 at 10–11 (describing Singleton gerrymandering claim as relating to Jefferson

County, which is in Districts 6 and 7, not 1 and 2).

      The State further argues that “at least eight Justices in Allen agreed that race

cannot predominate in an illustrative map, while only four expressly held that race

did not predominate in some of Mr. Cooper’s maps,” and both concurring and

dissenting Justices “questioned the constitutionality of continued race-based

redistricting” under Section Two. Id. ¶ 833; but see Allen, 599 U.S. at 9, 17, 19, 21,

23 (a majority of Justices repeatedly affirming our ruling).

      Thus, the State reasons, “[t]he Legislature’s good faith belief that drawing a

second majority-[B]lack district would unconstitutionally segregate voters based on

race, and that ‘the authority to conduct race-based districting cannot extend

indefinitely into the future,’ . . . are obvious justifications for the 2023 Plan other

than invidious discrimination.” Id. ¶ 834.

      To support its argument about partisan goals, the State asserts that the


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Plaintiffs “fail to disentangle race from the obvious alternative explanation of

‘securing partisan advantage.’” Id. ¶ 842. The State asserts that “finding legitimate

ways to avoid the adoption of a map that would likely swing an additional

congressional district to Democrats is a reasonable (and obvious) non-racial goal for

Republican legislators to pursue,” as is the protection of Alabama’s incumbent

Representatives (including Congresswoman Sewell). Id. ¶¶ 847–48, 851. The State

warns that we will clearly err if we simply “credit[] the less charitable conclusion

that the legislature’s real aim was racial.” Id. ¶ 854 (quoting Alexander, 602 U.S. at

22).

       Finally, the State argues that even if the Singleton and Milligan Plaintiffs

establish a prima facie case of intentional discrimination, their claim still fails

because the 2023 Plan would have been enacted for two independent reasons: “so

that Alabama’s congressional delegation would retain its six to one Republican to

Democratic composition,” id. ¶ 859, and “as an attempt to avoid a racial

gerrymandering suit,” id. ¶ 860.

                   d.     Singleton-only Rebuttal on Intentional Discrimination

       Separately, the State argues that the Singleton Plaintiffs’ intentional

discrimination claim fails because the Legislature’s refusal to adopt their Whole

County Plan was not the product of intentional discrimination. Milligan Doc. 481 ¶¶

651–55. The State asserts that “the Singleton Plan does not achieve minimum



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population deviation and departs from the 2023 Plan’s lines,” id. ¶ 652; that “[t]he

‘obvious alternative explanations’ of population equality and core retention better

explain the Legislature’s decision not to enact the Singleton Plan than an invidious

racial motive,” id.; and that “[s]howing the availability of crossover districts does

not establish the preconditions necessary for a claim of vote dilution,” because it

“fails to establish discriminatory effects,” id. ¶ 654.

                    e.     Milligan-only Rebuttal on Intentional Discrimination
      Finally, the State argues that the Milligan Plaintiffs fail to establish intentional

discrimination under Arlington Heights. Id. at 244. First, the State argues that “[p]ast

discrimination is not evidence of a present-day intent to discriminate.” Id. at 245–

53. The State asserts that these Plaintiffs cannot establish “that the 2023 Legislature

intended to harm Black voters by ratifying elements of previous plans themselves

imbued with racially discriminatory motives” because the “absence of any evidence

that any member of the [Alabama] Legislature, much less a majority of its members,

was actually motived by racial discrimination in passing the Enacted Map dooms the

[P]laintiffs’ case for ratification.” Id. ¶¶ 686, 693. The State argues that Dr. Bagley’s

recitation of Alabama’s history of discriminatory redistricting is “unconnected to the

passage of the actual law in question” and “largely irrelevant,” and they describe it

as a “time-traveling ‘cat’s paw’ theory.” Id. ¶¶ 677–79.

      Second, the State argues that “[t]he sequence of events leading to the passage



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of the 2023 Plan does not lead to the inference of discriminatory intent” because the

State “complied with the orders of the Court, which were to refrain from using the

2021 and 2023 Plans in any election while those plans were enjoined.” Id. ¶¶ 707,

709. The State argues it did not “seek to evade this Court’s jurisdiction.” Id. ¶ 711.

The State observes that “the Parties were in the preliminary injunction phase” and

argues that it was entitled to a trial and was “not required to waive that right in order

to participate in the remedial phase.” Id. ¶ 712.

      The State urges us not to “claim we know the mind of the Legislature,”

“acknowledge[s] the possibility that the Legislature understood the language” of our

first preliminary injunction differently than we intended, and asserts that the “record

tells a more innocuous story reflecting the Legislature’s good faith efforts.” Id. ¶¶

713, 715. The State explains its view of the “ground rules” the Supreme Court set

about traditional districting principles and the performance of the 2023 Plan on those

principles. Id. ¶¶ 725–43. The State asserts that the Legislature “deemphasized the

traditional principle of core retention” to “place the Black Belt counties into only

two districts.” Id. ¶¶ 740–41. In this narrative the State makes no mention of whether

those two districts are majority-Black districts – indeed, the State makes no mention

of majority-Black or Black-opportunity districts at all. Id. ¶¶ 725–43.

      The State urges us to be “sympathetic to the Legislature’s plight of trying to

make sense” of a confusing area of the law, and that the Legislature’s actions reflect


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“a good faith effort to enact a redistricting plan in light of Allen’s discussion of

Gingles 1 while simultaneously protecting the rights of all Alabamians not to be

segregated on the basis of race.” Id. ¶¶ 744–45. And the State attempts to distinguish

various precedents on which the Plaintiffs rely for their defiance argument. Id. ¶¶

747–53. In sum, the State asserts that there is “no way” that the 2023 Plan “could

conceivably be considered ‘open defiance.’” Id. ¶ 756.

       Third, the State argues that the Legislature “did not depart from the usual

process of enacting legislation,” and “followed roughly the same procedures” it

followed in 2021, 2011, and 2001. Id. at 267 & ¶ 760. It also argues that the Plaintiffs

“draw special attention to a single, insignificant difference between the Committee’s

Redistricting Guidelines and the legislative findings accompanying the 2023 Plan.”

Id. ¶ 776. More particularly, the State argues that the failure of the findings to

mention nondilution of minority voting strength was simply the elimination of

“redundant,” “superfluous language.” Id. ¶¶ 777–79. The State argues that the

Legislature may have decided to eliminate that language based on Dr. Duchin’s

testimony about it during the preliminary injunction proceedings. Id. ¶ 780. The

State cites no evidence that any legislator knew anything about Dr. Duchin, let alone

her testimony. See id.; Milligan Doc. 459-13 at 13 (Senator Livingston’s testimony

that although he was aware of what our order required before his deposition, he had

not read it until then).


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      Fourth, the State argues that “[n]one of the ‘contemporary statements and

actions of key legislators’ relied upon by Plaintiffs ‘show a racially discriminatory

intent.’” Milligan Doc. 481 ¶ 785. The State argues that the Legislature passed the

2023 Plan for “traditional or partisan reasons.” Id. The State contends that Speaker

Ledbetter’s statement about having a “good shot” at changing the mind of a Supreme

Court Justice “neither states nor suggests an invidious, racial motive.” Id. ¶ 786.

Similarly, the State contends that other legislators’ statements about having “seven

Republican congressman” and a “Republican opportunity plan” “speak to partisan,

not racial, motives.” Id. at ¶ 787. And it argues that Senator Livingston’s reference

to Montgomery as “monkey town” is not racist because Senator Singleton did not

interpret it that way. See id. ¶¶ 789–90.

      Fifth, the State argues that the Legislature could not have foreseen that the

2023 Plan would have any discriminatory effects. Id. ¶ 796. The State argues that

the “Legislature had every reason to believe the 2021 Plan would be ‘race-neutral’

in effect.” Id. ¶ 797. And the State asserts that “Dr. Hood’s performance analysis of

[District 2] in the 2023 Plan did not reveal to the Legislature a discriminatory effect

on account of race.” Id. ¶ 800. Rather, the State says, “[a]ll it showed, on its face, is

‘political defeat at the polls.’” Id. The State also argues that there is no evidence that

any legislator outside the conference committee saw Dr. Hood’s analysis, and argues

that “[b]ecause it is unclear how many legislators even had access to or considered


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the information, it cannot support a finding of discriminatory intent.” Id. ¶ 801.

      Sixth, the State argues that “[t]he Legislature did not refuse to consider

alternative plans that would lessen any potentially discriminatory impact.” Id. ¶ 807.

The State asserts that the Milligan “Plaintiffs have ‘failed to identify viable

alternatives to the [2023 Plan] that would have achieved the same objectives.’” Id. ¶

808. The State argues that “[t]he unalarming fact that Democratic legislators were

not brought into the ‘map drawing room,’ . . . suggests only that party politics were

at play.” Id. ¶ 812.

VII. FINDINGS OF FACT AND CONCLUSIONS OF LAW —
     CONSTITUTION

      A.     Avoidance Canon
      We first explain why we decide the constitutional claim of the Milligan

Plaintiffs. Our previous decisions not to decide the Plaintiffs’ constitutional claims

were based on the canon of constitutional avoidance, see Lyng, 485 U.S. at 445

(collecting cases dating back to Ashwander v. Tennessee Valley Auth., 297 U.S. 288,

341 (1936) (Brandeis, J., concurring)), which has particular salience when a court

considers (as we did) a request for equitable relief, see id., and which is commonly

applied by three-judge courts in redistricting cases that involve both constitutional

and statutory claims, see, e.g., LULAC, 548 U.S. at 442; Gingles, 478 U.S. at 38. See

Milligan Doc 107 at 223; Milligan Doc. 272 at 194–95.




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      Under the avoidance canon, “[c]onsiderations of propriety, as well as long-

established practice, demand that [courts] refrain from passing upon the

constitutionality of an act of Congress unless obliged to do so in the proper

performance of our judicial function, when the question is raised by a party whose

interests entitle him to raise it.” Ashwander, 297 U.S. at 341 (Brandeis, J.,

concurring) (quoting Blair v. United States, 250 U.S. 273, 279 (1919)). The

avoidance canon recognizes the “great gravity and delicacy of [the courts’] function

in passing upon the validity of an act of Congress” and restricts “exercise of this

function by rigid insistence that the jurisdiction of federal courts is limited to actual

cases and controversies; and that they have no power to give advisory opinions.” Id.

at 345–46 (internal quotation marks omitted).

      The canon has numerous substantial justifications:

      The policy’s ultimate foundations, some if not all of which also sustain
      the jurisdictional limitation, lie in all that goes to make up the unique
      place and character, in our scheme, of judicial review of governmental
      action for constitutionality. They are found in the delicacy of that
      function, particularly in view of possible consequences for others
      stemming also from constitutional roots; the comparative finality of
      those consequences; the consideration due to the judgment of other
      repositories of constitutional power concerning the scope of their
      authority; the necessity, if government is to function constitutionally,
      for each to keep within its power, including the courts; the inherent
      limitations of the judicial process, arising especially from its largely
      negative character and limited resources of enforcement; withal in the
      paramount importance of constitutional adjudication in our system.
Rescue Army v. Mun. Ct. of City of Los Angeles, 331 U.S. 549, 571 (1947).



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      In its simplest formulation, the canon holds that “[a] fundamental and

longstanding principle of judicial restraint requires that courts avoid reaching

constitutional questions in advance of the necessity of deciding them.” Lyng, 485

U.S. 439, 445–46.

      Accordingly, we first determine whether a decision on the constitutional

claims could entitle any Plaintiffs to relief beyond that to which they are entitled on

their statutory claims. Id. “If no additional relief [is] warranted, a constitutional

decision [is] unnecessary and therefore inappropriate.” Id.

      Because the Milligan Plaintiffs request bail-in under Section 3(c) of the

Voting Rights Act, which is available only upon a finding of a constitutional

violation, see Milligan Doc. 329 at 77; 52 U.S.C. § 10302(c), we must decide the

constitutional claims of the Milligan Plaintiffs. Because the Singleton Plaintiffs do

not request bail-in and have different constitutional claims, none of which would

involve relief beyond that to which they are entitled on their Section Two claims

(declaratory and injunctive relief), we need not and therefore do not decide the

constitutional claims of the Singleton Plaintiffs. Counsel for the Singleton Plaintiffs

recognized as much at trial. See Tr. 2600–01.

      B.     Presumption of Legislative Good Faith
      We begin our analysis of the Milligan Plaintiffs’ claim of intentional

discrimination, as we must, with a heavy presumption of good faith in favor of the



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Legislature. The presumption of legislative good faith “directs district courts to draw

the inference that cuts in the legislature’s favor when confronted with evidence that

could plausibly support multiple conclusions.” Alexander, 602 U.S. at 10 (citing

Abbott, 585 U.S. at 610–12).

      As the Supreme Court has explained, three reasons justify this presumption:

      First, this presumption reflects the Federal Judiciary’s due respect for
      the judgment of state legislators, who are similarly bound by an oath to
      follow the Constitution. Second, when a federal court finds that race
      drove a legislature’s districting decisions, it is declaring that the
      legislature engaged in “offensive and demeaning” conduct that “bears
      an uncomfortable resemblance to political apartheid.” We should not
      be quick to hurl such accusations at the political branches. Third, we
      must be wary of plaintiffs who seek to transform federal courts into
      “weapons of political warfare” that will deliver victories that eluded
      them “in the political arena.”

Id. at 11 (internal citations omitted).

      We understand the importance of this presumption, we agree with it, and we

have tried to apply it. We have assumed the Legislature’s good faith – and exercised

restraint – throughout these proceedings. In our first preliminary injunction, we

assumed the Legislature’s good faith, conducted our Senate Factors analysis with

restraint, and refused to consider arguments that the Legislature’s conduct was likely

unconstitutional. After we issued that injunction, the Singleton Plaintiffs urged us to

act on their constitutional claims, even if we rejected them, and we refused. Singleton

Docs. 98, 104, 114.

      Perhaps most notably, we assumed the Legislature’s good faith when we


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paused remedial proceedings (which all agreed were time-sensitive) for five weeks

in June and July 2023 to allow the Legislature sufficient time to enact a new plan. In

the second preliminary injunction, despite our serious concern about what the

Legislature did, the posture of the case, and whether the requirements of our orders

would be satisfied, we again assumed the Legislature’s good faith, conducted our

Senate Factors analysis with restraint, and refused to consider the Milligan Plaintiffs’

arguments that the Legislature’s post-affirmance conduct was unconstitutional. Out

of respect for the Legislature’s role and our role, we proceeded in this manner even

as we were acutely aware that any delay might eventually cause the Plaintiffs to

suffer the further deprivation of their voting rights in another congressional election,

even if they ultimately prevailed on the merits of their claim.

      Put simply, for as long as the record in these cases allowed, we did not

consider, comment on, or otherwise confront the allegation that the Legislature’s

intent was unlawful.

      Even now, as we finally confront that claim, we begin our analysis with the

presumption that the Legislature did act in good faith. As we discuss below, we draw

every inference we can in the Legislature’s favor. The problem for the Legislature

is not the inferences we draw – it is that our analysis does not rest only, or in the

main, on inferences. It rests on what the Legislature did, what it said about what it

did in its enacted legislative findings, what key legislators and the legislators’



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cartographer said, and the ultimate act of enacting a map that did not nurture any

ambition to comply with what the Court said the law required. Thus, we have no

occasion to try to read legislators’ minds, and we have not done so.

     The current allegation of intentional discrimination in Milligan is

fundamentally unlike the allegation in 2021 and unlike the typical allegation: it is

not that the Legislature, navigating the twin hazards of constitutional and statutory

liability, considered race too much when it placed district lines. See, e.g., Abbott,

585 U.S. at 607–14; Bethune-Hill, 580 U.S. at 181–86; Callais v. Landry, 732 F.

Supp. 3d 574, 599 (W.D. La. 2024).

      The essential charge is that the Legislature – knowing from both us and the

Supreme Court, after extensive litigation, that a map with only one Black-

opportunity district very likely unlawfully diluted the votes of Black Alabamians –

intentionally passed just such a map. More particularly, it is that the Legislature did

it again – fully knowing from our first preliminary injunction (consistent with more

than a century of redistricting history in Alabama) that the way to crack the Black

vote in South Alabama is to submerge much of the Black Belt in one majority-White

district and submerge the Black Alabamians in Mobile in a different majority-White

district. And it is that the Legislature – having been told in a court order the remedy

that federal law requires – purposefully and admittedly refused to provide that

remedy.


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      As we face a Legislature that admits it intentionally refused to provide the

required remedy, and legislators who admit they understood the requirement, our

work cannot fairly be reduced to uncharitable inferences and accusations.

      Finally, we do not accuse any Legislator of being animated by racism. We see

and credit the evidence that some legislators tried to persuade their colleagues to

provide the remedy federal law requires. As to the lawyers, we well understand their

professional obligations as zealous advocates. We simply review the Legislature’s

own actions, words, and enactments, measure those against the applicable legal test,

and find that the Legislature purposefully diluted Black Alabamians’ opportunity to

participate in the political process, knowing full well what it would accomplish if it

succeeded and intending to do just that. We now turn to that test.

      C.     Arlington Heights and the Eleventh Circuit’s Additional Factors

      To evaluate the Milligan Plaintiffs’ assertion of discriminatory purpose, we

first discuss the Arlington Heights factors, and then we discuss the additional factors

the Eleventh Circuit has identified. See supra Part III.B.

             1.     Historical Background of the 2023 Plan

      We start with “[t]he historical background” of the Legislature’s decision to

enact the 2023 Plan, and we ask whether the background reflects “a series of official

actions taken for invidious purposes.” Arlington Heights, 429 U.S. at 267. We

observe that in its discussion of this factor in Arlington Heights, the Supreme Court



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cited an Alabama voting rights case involving Mobile County: Davis v. Schnell, 81

F. Supp. 872, 880 (S.D. Ala.), aff’d, 336 U.S. 933 (1949), in which a three-judge

court ruled an amendment to the Alabama Constitution unconstitutional in part

because it was passed “in an attempt to obviate the consequences of” a Supreme

Court decision. Id.

      If we review the long-term history of redistricting and voting rights in

Alabama, the record undeniably reflects a series of official actions taken for

invidious purposes: between Dr. Bagley’s undisputed testimony and the relevant

judicial precedents we have cited, see supra Part V.A.4.d, the reality that Alabama

has a long and repugnant history of purposefully discriminating against Black

Alabamians in redistricting and voting rights is well-documented. That said, the

more recent history of redistricting and voting rights in Alabama shows

improvement: official actions in Alabama in the past 30 years have been less tainted

by discriminatory purposes than they were in the 30 years before that, or the 30 years

before that.

      But if we review the immediate history of the Legislature’s decision to enact

the 2023 Plan, and we study carefully the 2023 Special Session, we cannot help but

find that this background weighs in favor of a finding of intentional discrimination.

      The immediate history of the 2023 Plan began in 2022, when we issued a

preliminary injunction finding that the 2021 Plan likely violated Section Two and



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ordering that based on the extensive evidence of intensely racially polarized voting

patterns in these cases, “any remedial plan will need to include two districts in which

Black voters either comprise a voting-age majority or something quite close to it.”

Milligan Doc. 107 at 6. That history continued in June 2023, when the Supreme

Court affirmed our order with no hint, suggestion, or holding that we were mistaken

either about our liability determination or about the remedy we said the law required.

See supra Part I.C (discussing Allen). And that history continued in July 2023 when

the State delayed remedial proceedings for five weeks; enacted a new plan that it

admitted did not include an additional opportunity district; enacted novel legislative

findings that made the additional opportunity district impossible to draw and

materially reconfigured the State’s definition of key terms (which we discuss in

detail below); and then told us we were back at square one, needing to fully relitigate

liability before we could determine anything about remedy or order the State to use

a different map for the 2024 election. See supra Parts I.B–I.E.

      Standing alone, this history weighs in favor of the Plaintiffs because it makes

it difficult to understand the Legislature’s decision to enact the 2023 Plan as anything

other than a deliberate decision to double down on the dilution of Black Alabamians’

votes. After we explained and the Supreme Court affirmed the likely discriminatory

effects of the 2021 Plan, and we unambiguously explained the remedy that the law

requires, the Legislature “came back and [] did precisely what [we] said would not



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be a remedy,” Tr. 2669–70, and diluted minority voting strength on purpose. This

history causes us grave concerns about the Legislature’s good faith.

             2.     Sequence of Events Leading to the Passage of the 2023 Plan

      The sequence of events leading to the passage of the 2023 Plan also

strongly suggests that the Legislature intended to dilute the voting strength of

Black Alabamians. We consider the Legislators’ real-time understanding of what

the law required as the initial event in this sequence, and we credit their testimony

that in the summer of 2023, they well understood what was required by Section

Two of the Voting Rights Act and our preliminary injunction. See Milligan Docs.

459-13 at 6, 14 (Livingston), 459-20 at 5 (Pringle).

      Likewise, we accept Mr. Hinaman’s testimony that he understood that he

needed to draw a second opportunity district, which meant one where Black-

preferred candidates had an opportunity to elect a representative of their choice. See

supra Part I.I.3.a. Mr. Hinaman understood the difference between a second

opportunity district (which he said he attempted to draw) and a second majority-

Black district (which he said he made no attempt to draw), as we would expect of

someone with his level of redistricting cartography experience. See Milligan Doc.

459-7 at 16–17. At the outset then, we discern zero confusion among these key

stakeholders about what would be necessary to satisfy the remedial requirements

that our order laid out.


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      It thus troubles us that from the outset, the Legislators specifically instructed

Mr. Hinaman to keep Mobile and Baldwin Counties whole and together. See id. at

20. As we have already explained at great length, and as all parties readily agreed,

keeping those counties whole and together made it mathematically impossible to

create a second opportunity district. This is particularly troubling since Mr.

Hinaman explained that when he began his work in the summer of 2023, he had

never seen the 2023 legislative findings (or even a draft of them), was told nothing

about them, and ultimately performed all of his 2023 work completely in the dark

about the “non-negotiable” rules and novel definitions they set out. See id. at 23–

24. That Mr. Hinaman was not instructed about the findings and was instructed

to keep Mobile and Baldwin Counties together, suggests that his work was never

seriously intended to generate a map that the Legislature would pass, nor a map

that could have provided a second Black-opportunity district.

      Moreover, at the pre-session hearings, Representative Pringle invited a

historian to testify about the historical connections between Mobile and Baldwin

Counties, but “did not ask anyone to speak on behalf of the need for two districts in

which Black voters could elect candidates of their choice.” Milligan Doc. 485 ¶ 802

(citing Milligan Doc. 459-20 at 12). He also rejected an amendment to the 2023

guidelines offered by Representative England about how to remedy the likely




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Section Two violation we found. Id. ¶ 803 (citing Milligan Doc. 403-4 at 23; Tr.

1328–29).

      Our concerns were deepened by what followed. The parties stipulate that

when Representative Pringle introduced the Community of Interest Plan in the

Committee (with a BVAP of 42.4% in District 2), his explanation for adopting it was

that it preserved the cores of existing districts, and he added that Dr. Hood’s

performance analysis of that Plan showed that the Black-preferred candidate would

have won two of four modeled races. See Milligan Doc. 436 at 19. Mr. Hinaman

understood that both Representative Pringle and Senator Livingston preferred that

plan (out of all the plans he drafted) and would sponsor it in their respective

chambers. See Milligan Doc. 459-7 at 8. Nevertheless, Senator Livingston, Alabama

Senators, and ultimately the entire Legislature turned away from that plan.

      According to Senator Livingston, “[t]he committee members changed [their]

focus” away from the Community of Interest Plan based on “additional information”

they received about “compactness, communities of interest, and making sure that

congressmen are not paired against each other.” Milligan Doc. 459-13 at 17. Senator

Livingston described this “additional information” as a “large hiccup,” but he did

not know what it was, he did not know where it had come from, and he did not know

who received it. Id. He said only that he learned of the “information” in a “committee




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conversation,” but he did not recall from whom and had no “idea at all” of its source.

Id.

        It strains credulity to say that the Committee co-chair was in the dark about

all of this and cannot recall anything about it. Ultimately, the Senate turned to the

Opportunity Plan, which Senator Livingston introduced in the Committee and which

was drafted by Mr. Brown. In that plan, the BVAP in District 2 was 38.31%. Senator

Livingston was a major stakeholder in congressional redistricting in Alabama, and

was apparently so influential that he ultimately navigated the Legislature to the bill

it eventually passed, even as Representative Pringle refused to lend his name to the

bill or assist in its passage. We cannot easily accept that he turned away from a plan

drafted by Mr. Hinaman and to a plan that conflicted with his understanding of the

federal court orders for reasons unknown.

        The record does not tell us what the missing “additional information” was, but

the next sequence of events suggests that it was important – so important that it

ultimately led to the demise of Representative Pringle’s Community of Interest Plan.

Representative Pringle and Mr. Hinaman were fully sidelined from the process of

drafting the 2023 Plan because as they worked on their Community of Interest plan,

Senator Livingston and other Senators met with the Solicitor General behind closed

doors in a different room on a different floor on a different plan. See Milligan Doc.

459-20 at 7; Milligan Doc. 459-7 at 8–10.


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      The record tells us what the “additional information” was not: plainly it was

not information about how to comply with Section Two or satisfy the requirements

of this Court’s orders. After Senator Livingston introduced the Opportunity Plan and

it passed in the Senate, he delivered it to co-chair Representative Pringle, who

refused to pass it in the House, or substitute it for his Community of Interest Plan,

or even attach his name to it. We are particularly struck by his candid testimony that

he broke with Senator Livingston over the Opportunity Plan because he believed it

might not or did not satisfy the Voting Rights Act, and he believed the Community

of Interest Plan had a better chance of meeting the obligations of the law. See

Milligan Doc. 459-20 at 26. Representative Pringle’s real-time doubt that the

Opportunity Plan satisfied the requirements of the Voting Rights Act, which he

communicated to Senator Livingston to no effect, is meaningful.

      Still other evidence drawn from this stage of the sequence underscores

Representative Pringle’s concerns. Senator Livingston testified that during the 2023

Special Session, he relied on talking points about the Livingston Plans that were

prepared by the Solicitor General. See Milligan Doc. 459-13 at 26. And Dr. Bagley

explained that those talking points emphasized communities of interest. Dr. Bagley

quoted the talking points as saying: “The Livingston Plan is a Compact,

Communities of Interest Plan that applies the State’s traditional districting principles

fairly across the State. The 2023 Plan is a historic map that gives equal treatment to


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important communities of interest in the State, including three that have been the

subject of litigation over the last several years – the Black Belt, the Gulf, and the

Wiregrass.” Milligan Doc. 385-1 at 26. The talking points also said: “No map in the

State’s history, and no map proposed by any of the Plaintiffs who challenged the

2021 Plan, does better in promoting any one of these communities of interest, much

less all three.” Id.

       We take from the events in the sequence so far that the “additional

information” was not about how to provide an additional opportunity district, and

the purpose of the Livingston Plan was not to provide an additional opportunity

district. Rather, that plan positioned communities of interest as a trump card to

excuse the Legislature’s refusal to provide an additional opportunity district.

       Even if a State could use communities of interest to trump federal law (and it

cannot, see supra Part V.A.2.e) Senator Livingston’s promotion of the Livingston

Plan as being equally respectful of three communities of interest is wholly

unconvincing. The Livingston Plan homed in on Alabama’s most well-known and

nationally prominent Black community: Selma. In the Community of Interest Plan,

Dallas County was placed entirely in District 2; in the Opportunity Plan, it was

placed entirely in District 7. This made a significant difference to the District 2

BVAP and left Black Alabamians in District 2 in the Opportunity Plan utterly unable

to elect a representative of their choice. Although we doubt that any legislator needed


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an expert to tell them that moving Selma out of District 2 destroyed any chance it

might have had of performing as an opportunity district, the undisputed evidence

from Dr. Hood’s performance analysis told them exactly that. See supra Part I.I.3.

Again, Dr. Hood said that the Black-preferred candidate would have lost all seven

modeled races by approximately seven points in the 2023 Plan’s District 2. Id.; see

also Caster Doc. 352-2 at 14; App. E at 3; Tr. 298–99, 314 (explaining that the 2023

Plan placed nine of the eighteen Black Belt counties in majority-White districts).

      The next event in the sequence came on the morning the 2023 Plan was

enacted, and the Legislators saw for the first time the eight pages of legislative

findings that would be embedded in the bill. We discuss in the next section the many

substantive and procedural departures from the norm in connection with the findings.

For present purposes, we focus on their last-minute appearance in the sequence of

events.

      In fact, the legislative findings came only a week after the Committee had

readopted its 2021 guidelines, and they were materially different from those

guidelines. See supra Part I.D; infra Part VII.C.3. Notably, the findings were not

requested by the Committee chairs, who did not know why they were placed in the

bill, had never seen them before (and thus, had never studied them), and had never

seen anything like them in any redistricting legislation. See Milligan Docs. 459-13

at 26 (Livingston), 459-20 at 23 (Pringle). Based on these undisputed facts, we


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cannot infer that the findings were the ordinary result of the Legislature’s

deliberative process.

      Standing alone, there is nothing wrong with legislative findings, nor with

findings drafted by lawyers. But the last-minute, unsolicited arrival of these

legislative findings forecloses any assertion that in real time, as the Legislature

drafted its plans, there was anything ordinary or usual about the process.

      Whatever else this sequence of events tells us, it leaves precious little doubt

that the Legislature intentionally chose not to satisfy the remedial requirements

found in our order. The Legislature claimed that the 2023 Plan treated the Black Belt

and Gulf Coast equally, knowing full well that (1) half the Black Belt counties were

placed in majority-White districts where those Black Alabamians had zero chance

of electing a representative of their choice, and (2) the BVAP in one of those

majority-White districts was reduced by moving Selma into District 7. This tells us

that the Legislature did not accidentally stumble into a racially discriminatory

districting plan for a second time.

             3.     Substantive and Procedural Departures from the Norm, and
                    Legislative History of the 2023 Plan
      But there is more. We discuss the next two Arlington Heights factors together

because the evidence about departures from the norm dovetails nearly completely

with the evidence about the legislative history of the 2023 Plan: it revolves around

the 2023 legislative findings. Indeed, these legislative findings are at the heart of the


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case.

        We observe that we give the findings substantially more weight than we

ordinarily would assign to legislative history. The Legislature enacted the findings,

so we do not have to wonder whether they reflect the sentiments of a majority of

legislators. They are statutory text, and we are bound to accept that they do.

        Standing alone, the fact of the findings is a severe departure from the norm.

Although the Committee traditionally has passed redistricting guidelines, the

Legislature has never previously enacted findings. Even when the Legislature last

redistricted in connection with a court order (in the 2010 cycle, after the Alabama

Legislative Black Caucus litigation), the Legislature did not enact findings.

        But the fact of the findings is not the only departure from the norm or the most

significant: in substance, the findings are replete with sharp departures from (and

some outright conflicts with) Alabama’s traditional districting guidelines:

        • First, the findings describe some traditional districting principles as “non-
          negotiable,” which the guidelines never did.

        • Second, although the findings elsewhere provide that the districting plan
          must comply with the Voting Rights Act, the Legislature did not include
          the nondilution of minority voting strength on its “non-negotiable” list.
          (And the only reason why the 2023 Plan even exists is because we enjoined
          the 2021 Plan on the ground that it likely diluted minority voting strength.)

        • Third, the Legislature eliminated from the findings any reference to
          nondilution of minority voting strength, which the guidelines expressly
          addressed as a priority consideration.



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  • Fourth, the findings identify specific communities of interest, which the
    guidelines never did.

  • Fifth, although the northern half of Alabama is home to numerous
    universities, a substantial military installation, various engines of
    economic growth, the Tennessee Valley, and two significant metropolitan
    areas (Huntsville and Birmingham), the findings identify zero
    communities of interest in that half of the state and focus exclusively on
    the areas discussed in the prior litigation here.

  • Sixth, the findings materially revised the definition of “community of
    interest” that appeared in the guidelines: the findings stripped race (and
    ethnic, tribal, and social identities) out of the list of “similarities” that may
    support a community of interest. Compare App. A at 4, with App. B. This
    would be a sharp departure from the norm in any circumstance, but it is
    razor sharp in a case involving extensive testimony about a racial
    minority’s shared experience of a long and sordid history of official race
    discrimination.

  • Seventh, the findings exalt and extol one community of interest above
    others, describing the community of interest in the Gulf Coast for pages,
    while describing the longstanding and well-grounded community of
    interest in the Black Belt in a couple of short paragraphs. We are aware of
    no enacted redistricting document that ever has done this.

  • Eighth, in those paragraphs, the Legislature eliminated from the definition
    of the Black Belt that the Legislators previously stipulated in these very
    cases the express recognition that the Black Belt “has a substantial Black
    population because of the many enslaved people brought there to work in
    the antebellum period.” Milligan Doc. 53 ¶ 60.

  • Ninth, the findings describe the “French and Spanish colonial heritage” of
    one community of interest (the Gulf Coast) while remaining silent on the
    heritage of all other communities of interest in Alabama (including the
    Black Belt). App. A at 6. Here again, this would be unusual in any
    circumstance, but it is especially pointed in a voting rights case where one
    of the allegations is that the majority-White community of interest in the
    Gulf Coast is being used to entrench race-based discrimination against the
    majority-Black community of interest in the Black Belt, which shares a

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          heritage of enslavement.

      • Tenth, although the 2023 Plan exists only because we enjoined the 2021
        Plan and ordered that a remedial plan would need to include an additional
        opportunity district, the findings say nothing about an additional
        opportunity district. See Milligan Doc. 385 ¶ 874.

      We are not the only ones who are surprised by these departures from the norm.

As we previously discussed, the Committee co-chairs had no idea they were coming.

      The State has little to say about these differences, and it does not contest that

any of them are substantial departures from the norm. It defends the elimination of

the provision about nondilution of minority voting strength as an “absence of

superfluous language.” See Milligan Doc. 481 ¶¶ 778–79. It defends its silence about

communities of interest in the northern half of the State by reference to these

lawsuits. See id. ¶¶ 668–69. And it says that the reference to the shared “French and

Spanish colonial heritage” in the Gulf Coast was not a reference to White people,

but a reference to “cultural influences in a region that flow from its unique history.”

Id. at 13. To be clear, we do not hold that the reference to “French and Spanish

colonial heritage” is a colormasked reference to White people. We simply recognize

that it stands in stark contrast to the silence about the heritage of the Black Belt,

which is one of enslavement.

      We draw three conclusions about the findings. First, we observe at the

threshold that they presented a rare opportunity for a litigant to make real-time



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evidence to bolster their arguments in court. We repeat that we see no issue with

legislators receiving or following legal advice. But that doesn’t accurately describe

what happened here. The legislative findings appeared out of thin air in the final

moments before the Legislature voted on the 2023 Plan, and we have no evidence

that any legislator requested, anticipated, discussed, or debated them.

      From the State’s drumbeat reminders that we cannot draw an additional

opportunity district without violating the Legislature’s instruction about Mobile and

Baldwin Counties, we gather that the findings were meant to prevent a federal court

from drawing a remedial district. Any such district would run headlong into an

argument that it violated the Legislature’s provisions for communities of interest and

therefore failed to respect traditional districting principles.

      Put differently, we see the legislative findings as the centerpiece of the

Legislature’s effort to intentionally checkmate any remedial order designed to

require a second opportunity district. Not only did the Legislature enact a plan that

refused to provide for an additional opportunity district; what’s more, when they

embedded their findings in that refusal, they inserted a guardrail designed to prevent

a federal court from providing that district. Quite simply, these legislative findings

made it impossible to achieve what federal law required.

      Second, in the context of these cases, we cannot understand the constellation

of departures from the norm as anything other than an intentional official effort to


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entrench the likely vote dilution we found. The combination of (1) the elevation of

communities of interest and incumbent protection to “non-negotiable” status, (2) the

exclusion of nondilution of minority voting strength from not only the “non-

negotiable” list, but also the entire findings, (3) the deletion of shared race-based

experiences from the definition of “community of interest,” (4) the identification of

a specific community of interest (the Gulf Coast) and the exaltation of this majority-

White community of interest above all other communities of interest (and above all

other traditional districting principles), (5) the utter failure even to acknowledge, let

alone name, any community of interest not being litigated in these cases, and (6) the

singular reference to the heritage of the majority-White community of interest,

coupled with the deletion of any description of the race-based heritage of the very

majority-Black community at issue in these cases, leaves little room to conclude that

when the Legislature enacted these findings, it must have had some purpose other

than minority vote dilution in mind.

      We are mindful that the Legislators did not see the findings until the last

minute. But the Legislature enacted the findings anyway, and by a large margin. See

Milligan Doc. 436 at 20. If any Republican legislator objected to the findings in any

way, there is no indication of that anywhere in our voluminous record. Even the

Republican Legislators who might have been most likely to object voted for the

findings. We would badly err if we discounted their meaning or otherwise failed to


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afford them the status they have as statutory text.

      Third, we observe that even if, in extreme service of the presumption of

legislative good faith, we were to discount our concerns about the first two Arlington

Heights factors (historical background and sequence of events), and assume that

perhaps the unusual sequence of events that led to the 2023 Plan was the result of

pure political disagreements, personal grudges between legislators, or other

considerations unknown to us, the extraordinary departures from the norm in the

legislative findings would substantially undermine the presumption of good faith.

As is clear by now, we do not have one data point from the findings, or two, or even

three or four. The findings are inherently a departure from the norm and replete with

departures from the norm, all of which point in the same direction: that the findings

were intended to make the discriminatory vote dilution that we identified impossible

to remedy.

      Finally, we observe one additional departure from the norm in connection

with the 2023 Plan: a purposeful refusal to provide the remedy that a court order

requires is quite uncommon, and definitively not the norm. Occasionally,

legislatures have been unable or unwilling to redistrict after courts enjoin electoral

plans. See Vera v. Bush, 933 F. Supp. 1341, 1346 (S.D. Tex. 1996); Reynolds, 377

U.S. at 586; Bone Shirt v. Hazeltine, 461 F.3d 1011, 1022 (8th Cir. 2006). And

sometimes, legislatures redistrict, but courts later determine that their map does not


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remedy the violation. See Burton, 561 F. Supp. at 1035; North Carolina v.

Covington, 585 U.S. 969, 970–71 (2018); Jeffers v. Clinton, 756 F. Supp. 1195, 1196

(E.D. Ark. 1990), aff’d, 498 U.S. 1019 (1991). But we are aware of no other case,

let alone a trend of other cases, that reflect a legislature’s willingness to act coupled

with its admitted, strategic, and express refusal to provide the required remedy.

             4.     Whether Disparate Impact Was the Natural and Foreseeable
                    Consequence of the 2023 Plan
      We next consider whether the disparate impact we found (see supra Part V)

were the natural and foreseeable result of the 2023 Plan. We find that they were, for

four separate, independent, and substantially undisputed reasons.

      First, our first preliminary injunction made clear that because of the ample

evidence of racially polarized voting in Alabama, the “practical reality” was that

“any remedial plan will need to include two districts in which Black voters either

comprise a voting-age majority or something quite close to it.” Milligan Doc. 107 at

6. That injunction, as affirmed by the Supreme Court, was the only reason the

Legislature was in session to prepare and enact the 2023 Plan. It was therefore

entirely foreseeable that a refusal to provide the additional opportunity district we

ordered would perpetuate rather than remedy the likely vote dilution we found.

      Second, no one disputes that before the Legislature passed the 2023 Plan, Dr.

Hood conducted and shared with legislators a performance analysis that modeled

seven elections and predicted Black-preferred candidates would lose every election


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in District 2 in that Plan. Milligan Doc. 436 at 21 (stipulations). That performance

analysis would have given any legislator who reviewed it actual knowledge of what

they already should have foreseen and expected: that as a plan without a second

opportunity district, the 2023 Plan would perpetuate rather than remedy the likely

vote dilution we found.

      Third, the record establishes (without dispute) that key legislators were

directly told that the 2023 Plan would not satisfy our order and would continue to

dilute votes. We are reminded of Representative Pringle’s conversation with Senator

Livingston, in which Representative Pringle refused to put his name on the 2023

Plan based on his evaluation that his Community of Interest Plan was more likely to

comply with the Voting Rights Act. And we credit Representative Pringle’s

testimony that he saw Dr. Hood’s performance analysis before the Legislature voted

on the 2023 Plan and that it was available to all members of the conference

committee. And we credit (as we must) the parties’ stipulation that Representative

England advised legislators before they voted on the 2023 Plan that in his view, it

was noncompliant with our order and we would reject it. Milligan Doc. 485 ¶ 835.

      Fourth, we credit Mr. Hinaman’s testimony (which no one disputes) that at

least some legislators actually knew from Dr. Hood’s earlier performance analysis

of the Community of Interest Plan that without Dallas County in District 2, Black-

preferred candidates would have no chance of winning in that District. According to


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Mr. Hinaman, the Black-preferred candidate lost every election Dr. Hood modeled

in that District, if Selma was not in the District. We thus find that it was reasonably

foreseeable that the 2023 Plan, which left Dallas County out of District 2, would

afford Black-preferred candidates zero chance of winning there.

      Ultimately, perhaps the strongest indicator about this factor comes from the

Legislature itself: in the light of the Legislators’ acknowledgement in court that the

2023 Plan does not include the additional opportunity district we ordered, we cannot

find that it was unforeseeable that the 2023 Plan would perpetuate rather than remedy

the likely vote dilution we found. No legislator can fairly be surprised that we again

found disparate impact from a districting plan that includes only one majority-Black

or Black-opportunity district.

             5.     Direct Evidence of Intent and Contemporaneous Statements

      We now turn to the final Arlington Heights factor, which calls for us to

analyze whether there is any direct evidence of the Legislature’s intent and

consider relevant contemporaneous statements by legislators.

      At the outset, we reject the Milligan Plaintiffs’ arguments that statements

by the Solicitor General in court are direct evidence (or evidence at all) of

legislative intent. Arguments by lawyers can make concessions (which the

Solicitor General did), but they are not evidence, and we do not treat them as

evidence. See, e.g., Horn, 129 F.4th at 1291.


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         We have focused intensely on the question whether the record before us

contains direct evidence of discriminatory legislative intent. We are mindful that

although discriminatory intent need not be proved by direct evidence, the Supreme

Court has “never invalidated an electoral map in a case in which the plaintiff failed

to adduce any direct evidence.” Alexander, 602 U.S. at 8. We add, however, that

counsel for all of the relevant parties, including counsel for the Secretary, agreed

that a Fourteenth Amendment intentional vote dilution case can be established by

circumstantial evidence alone. See Tr. 2574–77, 2636.

         We regard both the 2023 legislative findings and the contemporaneous public

comments by legislators as including direct evidence. The legislative findings are

the most direct expressions available (to us and the public) of what the Legislature,

as an institution that speaks through its enactments, set out to accomplish. Unlike

the Committee guidelines and legislators’ public comments, the legislative findings

are the product of a vote of the entire body. And they remain in force as legislative

pronouncements unless and until they are amended, repealed, superseded,

invalidated, or otherwise lawfully changed. The Legislature cannot escape

reasonable inferences drawn from them (so long as the appropriate presumptions are

applied). Accordingly, we realize that we draw inferences from the findings, but we

decline to hold that this renders them indirect or otherwise diminishes their probative

value.


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      As we have already explained, see supra Part VII.C.3, the findings are of

immense probative value (as we understand they were intended to be). And they

establish both that and how the Legislature intended the 2023 Plan to discriminate

against Black Alabamians: by perpetuating vote dilution and making it impossible

to remedy.

      Contemporaneous public statements by legislators corroborate this

conclusion. Representative Pringle testified about a media comment after the

enactment of the 2023 Plan in which Speaker Ledbetter explained, “[i]f you think

about where we were, the Supreme Court ruling was five to four. So there’s just one

judge that needed to see something different. And I think the movement that we have

and what we’ve come to compromise on today gives us a good shot.” Milligan Doc.

459-20 at 27–28. We take from this comment that Speaker Ledbetter was not focused

on trying to remedy likely vote dilution.

      Likewise, Dr. Bagley reported numerous public comments from Black

legislators expressing frustration about their belief that Republicans in the

Legislature never intended to pass a map with an additional opportunity district.

According to Dr. Bagley, Representative England told to the media, “[t]here was

never any intent in this building to comply with their court order. There was never

any intent in this building to comply with the Voting Rights Act.” See Milligan Doc.

403-4 at 27. And Representative Juandalynn Givan commented, “I’m ashamed of


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what we did here this week. We’ve chosen to outright, blatantly disobey the law and

to further attempt and vote to bury the Voting Rights Act.” Id. And Senator

Smitherman commented, “I think the process on the other side was set up so that

you could make sure an African-American would not win it. I think it was

intentionally set that way.” Id.

      We accept that these comments are from legislators whose preferences did not

prevail, and they reflect the frustration that naturally flows from that. Although we

therefore do not assign them much weight, we recognize them as contemporaneous

statements, consistent with each other and additional corroborating evidence, from

stakeholders with knowledge of and experience in the workings of the Alabama

Legislature.

      Put differently, all the contemporaneous statements we have also point in the

same direction: that the Legislature was not trying to remedy likely vote dilution,

nor to give Black Alabamians an equal opportunity to elect a candidate of their

choice, but to continue the likely dilution that we and the Supreme Court had found.

      Even if we are wrong that the legislative findings or statements are direct

evidence, our misclassification is not dispositive – we would interpret them in the

same way and assign them the same weight upon their reclassification as

circumstantial evidence. We take our lead from the Supreme Court. For more than

two hundred years, the Supreme Court has recognized that circumstantial evidence


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may be as strong (if not stronger) than direct evidence:

       Although [direct] proof may generally be desirable, we are not to shut
       our eyes on circumstances which sometimes carry with them a
       conviction which the most positive testimony will sometimes fail to
       produce. And if such circumstances cannot well consist with the
       innocence of the party, and arise out of her own conduct, and remain
       unexplained, she cannot complain if she be the victim of them.

The Robert Edwards, 19 U.S. 187, 190 (1821).69 And for decades, the typical

circumstantial-evidence-only redistricting case has been primarily about shapes and

lines: the Supreme Court has, “at least in theory, kept the door open for those rare

instances in which a district’s shape is ‘so bizarre on its face that it discloses a racial

design’ absent any alternative explanation.” Alexander, 602 U.S. at 9 (quoting

Miller, 515 U.S. at 914).

       Alabama is again in unusual territory. The circumstantial evidence in this case

does arise out of the Legislature’s own conduct, see The Robert Edwards, 19 U.S. at

190, and it is not about bizarre shapes, see Alexander, 602 U.S. at 9. In our view, the

circumstantial evidence here (if it be that) is far more telling than shapes are: it

establishes just how far the Legislature was willing to travel from the norm in service

of its intention not only to refuse a remedy for the likely vote dilution we found, but


69
   In criminal cases, where the standard requires proof beyond a reasonable doubt,
courts regularly instruct jurors about direct and circumstantial evidence, and
circumstantial evidence is sufficient to convict. See 11th Cir. Crim. Pattern Instr. B4;
accord, e.g., United States v. Mapson, 96 F.4th 1323, 1336 (11th Cir. 2024). It
cannot be that in a civil case, where the standard requires lesser proof, circumstantial
evidence is less reliable or probative.

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to prevent a remedy altogether.

             6.     Eleventh Circuit’s Additional Factors: Knowledge of
                    Disparate Impact and Availability of Less Discriminatory
                    Alternatives

      We next turn to the two factors that the Eleventh Circuit has identified to

supplement the Arlington Heights analysis. We do not suggest that an Arlington

Heights analysis is insufficient to make findings of intentional discrimination. We

consider these factors out of respect for the gravity of the issues before us and in an

earnest effort to fully understand all relevant dimensions of the evidence. If there is

something to discern about the additional factors that diminishes our findings about

the Arlington Heights factors, we want to consider it.

      When we discussed the foreseeability of disparate impact resulting from the

2023 Plan, see supra Part VII.C.4, we discussed some legislators’ actual knowledge

that the 2023 Plan would disparately impact Black Alabamians. We thus consider

whether the Legislature had a less discriminatory alternative available.

      In the ordinary case, Gingles ensures that a legislature considering remedial

plans has at least one lawful illustrative plan to consider: the first Gingles

precondition requires a Section Two plaintiff to develop, offer, and substantiate that

plan. In these cases, because we have multiple sets of plaintiffs and they offered

multiple illustrative maps, the record contains at least eleven less discriminatory

alternatives that the Legislature could have considered: the four Duchin Plans and



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seven Cooper Plans submitted in connection with the preliminary injunction

proceedings.

      Even if the Legislature refused to consider the Duchin Plans and Cooper Plans

out of its view that race predominated in the preparation of those plans, the

subsequent preparation of a race-blind plan by the Special Master on September 25,

2023 suggests to us how easy it would have been for the Legislature to consider

another plan that complied with the requirements of Section Two. Milligan Doc.

295; see infra Part VIII (discussing the Special Master Plan). We selected the Special

Master in large part because of his extensive Alabama expertise: he is a well-

respected public servant who served alongside four Alabama Attorneys General as

Chief Deputy Attorney General and has a deep familiarity with the local political

landscape in Alabama. He and his team prepared three proposed remedial plans race-

blind without any particular difficulty.

      We acknowledge that although the Special Master Plan hews as closely as

possible to the 2023 Plan while also respecting Alabama’s traditional districting

principles, see infra Part VIII, it still does not achieve all the political goals of the

Legislature, particularly the goal of keeping Mobile and Baldwin Counties whole

and together in one congressional district. We do not see that this aspect of the

Special Master Plan is a failure on the metric before us: because the reason the

Special Master Plan splits Mobile County is to remedy unlawful vote dilution, that


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split is the reason why the Special Master Plan is a less discriminatory alternative,

not a perfect substitute. As a practical matter, the refusal of the 2023 Plan to split

Mobile County is the reason why that Plan entrenches vote dilution, not a political

or partisan goal we owe deference.

                                         ***

      Accordingly, we find that every one of the Arlington Heights and Circuit

factors suggests that the Plaintiffs have rebutted the presumption of legislative good

faith, and that the Legislature acted with discriminatory intent when it passed the

2023 Plan. We see no factor, or even material part of a factor, that tilts in favor of

the State.

      D.     The State’s Efforts To Dispel the Inference
      The State makes seven arguments to rebut a finding of intentional

discrimination. As we see it, none succeed. For starters, we observe that the State

badly misconstrues the Plaintiffs’ position as an assertion that the 2023 Plan is

unconstitutional because the Legislature enacted it “without including two districts

likely to favor Democrats.” Milligan Doc. 481 at 14. The Plaintiffs’ position is that

the Legislature intentionally deprived them of the same chance at electing a

representative of their choice that the Legislature affords White Alabamians, and

that the Legislature did so because they are Black.




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      The State addresses its first four arguments to the effect of our preliminary

injunctions.

      The State’s Assertion that Our Order Was Not Violated

      We reject the State’s first argument that our order “was not violated” because

we “did not order the Legislature to enact any particular map.” Id. This argument

might have some relevance if these were contempt proceedings, but they are not. We

have not suggested, and we do not find, that our order, strictly speaking, was

“violated.” See Aug. 14, 2023 Tr. 75 (Judge Manasco: “I understand the face of the

order did not order the Legislature to do anything.”). Upon a finding of likely

liability for a Section Two violation, we ordered that a particular remedy was due,

we described that remedy precisely, and the Legislature purposefully responded with

an enactment that strategically, deliberately, and admittedly did not provide for that

remedy though it could have done so in multiple ways.

      Ultimately, this argument deepens rather than allays our concerns. As we

explained in our second preliminary injunction, the State’s position is that at the end

of each liability determination, we have no authority to order a remedy if the

Legislature plans and has time to enact a new map. If they enact a new map, the State

says, we return to the first inning in the first ballgame of these proceedings and

consider liability afresh. In essence, the State’s argument that the Legislature was

not ordered to provide a specific remedy creates an endless paradox that only the


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Legislature can break, thereby depriving Plaintiffs of the ability ever to effectively

challenge and the courts of the ability to remedy. It cannot be that the equitable

authority of a federal district court to order full relief for violations of federal law is

always entirely at the mercy of a State electoral and legislative calendar.

       Almost four years into these (not especially complex, although now

exceedingly unusual) cases, we cannot accept that we are living in an infinity loop

that no court order can break. And we refuse to accept that courts are powerless to

effectuate relief under Section Two simply because the only named defendants in a

lawsuit are the Secretary of State and two legislators. It is true both that we cannot

hold the Legislature in contempt for violating our order, and that the Legislature

purposefully and admittedly refused to provide the remedy our order said was

required.

      The State’s Assertion that It Respected Our Order

       Second, we reject out of hand the State’s assertion that it actually

“respect[ed]” our order because the Legislature passed a new plan with time for us

to assess it before it was used. Milligan Doc. 481 at 14. To be sure, it would have

been worse for the State to jam the Court up on time before the 2024 election

(although we did barely beat the deadline by which the Secretary said he needed a

final map). See Caster Doc. 148 at 7. But the reality that the Legislature left us time

to assess whether it satisfied the requirements of our order does not mean that the


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Legislature in any way satisfied the requirements of our order. This is particularly

obvious when, in that limited window of time, the Legislature’s lawyer told us the

Legislature had not and would not provide the remedy our order said was required.

Likewise, the reality that we would assess whether the Legislature satisfied the

requirements of our order does not excuse the Legislature’s purposeful refusal to do

so.

        The State’s Argument that Preliminary Injunctions Are Not Final

        Third, we reject the State’s assertion that because preliminary injunctions are

not final, it “makes no sense to fault the State for curing the alleged ‘inconsistent

treatment’ in [the 2021 Plan] . . . before going to trial.” Milligan Doc. 481 at 14–15.

Preliminary injunctions are preliminary, but they are not advisory. Nor are they

mysterious, especially when the Supreme Court affirms them and does so with great

thoroughness and particularity. The State was of course free to enact a new plan

before trial, and to extol the virtues of that plan as a complete remedy for the likely

violations of federal law that we and the Supreme Court found. But the State had no

basis to expect that it could enact a new plan, admit that the plan did not provide and

could not provide (or even attempt to provide) the remedy we said federal law

required, and still receive our blessing for that plan.

        Furthermore, we reject the false premise of the State’s assertion – that the

2023 Plan somehow “cure[d]” the alleged “inconsistent treatment” of the Black Belt


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and Gulf Coast in the 2021 Plan. Id. at 7 & ¶ 525. The 2023 Plan places “only half

(nine) of the Legislature’s 18 identified Black Belt counties [] in a majority-Black

district,” and it places both Gulf Coast counties, whole and together, in a majority-

White district that submerges the Black Alabamians who live in the City of Mobile.

Caster Doc. 352-2 at 14; App. E at 3; Tr. 298–99, 314. This is just more cracking of

the Black vote, not a cure for the underlying problem. In fact, the State never

seriously contends that it is a cure, arguing instead that splitting the Gulf Coast

intolerably “chop[s] up” Alabama’s most important community of interest, indeed

its so-called most important traditional redistricting criteria. Milligan Doc. 481 ¶¶

146, 196; Tr. 2625–27.

      The State’s Argument that in Summer 2023, the Law Was Unclear

      We also reject the State’s fourth argument, that even if the Milligan Plaintiffs

prevail, “the suggestion” that the law is “so clear” that any interpretation other than

Plaintiffs’ “could only be driven by racial animus” is “baseless” and “divisive.”

Milligan Doc. 481 at 15. Here again, this is a swing at a straw man. When the

Legislature enacted the 2023 Plan, there was no lack of clarity that an additional

opportunity district was necessary in Alabama, nor what an additional opportunity

district meant: we expressly said so, and the Supreme Court affirmed our order

without suggesting or discussing, let alone holding, that we were wrong about that.

And some members of the Legislature may well have believed that “Justice


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Kavanaugh was right to question whether” race-based redistricting can continue in

perpetuity, but at that moment in time, that belief was of no moment: there was no

basis for those legislators to believe that they could ignore our affirmed ruling just

to receive a second bite at the apple only a few weeks later. Id.

      There is a good reason why the law does not work this way: the State’s

suggestion that it could relitigate liability and return to the Supreme Court after each

adjustment to its previous plan on some metric other than the one we ordered (here,

county splits and communities of interest instead of an additional opportunity

district) would thrust both our Court and the Supreme Court into the State’s infinity

loop, with only the 2030 Census as a terminus.

      The State reiterates that even if its legal arguments fail, “it is neither defiant

nor racist to enact a law based on them and then test them in federal court.” Id. We

cannot construe the intentional and admitted refusal to provide the remedy we said

was required as only being a normal and legitimate legal test balloon. If it were

normal, there would be other cases like this one: where a state legislature — faced

with a federal court order declaring that its electoral plan unlawfully dilutes minority

votes and requiring a plan that provides an additional opportunity district —

responded with a plan that the state concedes does not provide that district. The

extremely unusual nature of this case is a clue that this is a novel trick, not a normal

strategy. It is a warning that losing parties who are unwilling to comply with court


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orders will simply try to avoid them by changing the rules of the game.

      The federal courts have long held that an attempt to evade a court order is not

legitimate. In the context of vote dilution, even before the passage of the Voting

Rights Act, the Supreme Court rejected attempts to employ a new minority vote

dilution tactic after a prior one had been held unconstitutional. See, e.g., Lane v.

Wilson, 307 U.S. 268 (1939); Guinn v. United States, 238 U.S. 347 (1915). And

in the more modern era, federal courts have refused to allow jurisdictions to

engineer slightly modified remedial plans to skirt the clear mandate of a previous

court order. See, e.g., McMillan v. Escambia County, 559 F. Supp. 720 (N.D. Fla.

1983). As the Supreme Court explained most recently – in its discussion of how a

litigant repackaged a forbidden argument for strategic gain in a congressional

redistricting case – “[o]ur decisions cannot be evaded with such ease.” Alexander,

602 U.S. at 21.

      We likewise reject the State’s suggestion that we should not accept the

Plaintiffs’ arguments because they are divisive. We take seriously the concern that

Section Two “may impermissibly elevate race in the allocation of political power

within the States,” and we do not “diminish or disregard these concerns.” Allen, 599

U.S. at 41–42. We simply say again – based on forty years’ worth of congressional

instructions and controlling precedents, including precedent in this very case – that

they are not borne out here, not on this record.


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      In its final three arguments, the State identifies purported reasons for the 2023

Plan that are not intentional discrimination.

      The State’s Argument that It Was Trying To Avoid a Gerrymandering Claim

      Fifth, we reject the State’s assertion that its desire to avoid a racial

gerrymandering claim explains the 2023 Plan. The State stakes this argument in part

on the Legislature’s possible supposed awareness of simulations run by one of the

Plaintiffs’ experts in the preliminary injunction proceeding, Dr. Kosuke Imai. But

the Legislature cites no evidence that any legislator is aware of Dr. Imai’s existence,

let alone his simulations or testimony. See Milligan Doc. 481 ¶ 825. The other piece

of the State’s argument in this regard is about Singleton, see id. ¶ 828, but Singleton

does not argue that the remedial district designed to cure vote dilution (District 2) is

racially gerrymandered; Singleton’s theory of liability is that Jefferson County, in

Districts 6 and 7, is racially gerrymandered (and has been for a very long time). See

Singleton Doc. 288 at 10–11 (pretrial order).

      Further, we find it implausible that in the unique circumstances of this case,

concerns about racial gerrymandering claims drove the 2023 Special Session. We

had already ruled that there were eleven lawful ways to remedy the vote dilution that

we found, all of which revolved around a common, critical feature: they split Mobile

County to join Black Alabamians living in Mobile with parts of the Black Belt in a

majority-Black district. Accordingly, although the Legislature could have been alert


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to potential gerrymandering liability in 2021, there was no basis for the Legislature

in 2023 to have been concerned that splitting Mobile County exposed it to a racial

gerrymandering claim.

      In any event, we have no evidence that the Legislature was specifically

concerned about potential gerrymandering liability when it enacted the 2023 Plan.

The only evidence in the record suggests they were not: when the Legislators

testified about the 2023 Special Session, they were both asked repeatedly about why

the Legislature moved away from the Community of Interest Plan, and neither one

of them cited a concern that it was a gerrymander. See Milligan Doc. 459-13 at 16–

17, 21–23 (Livingston); Milligan Doc. 459-20 at 25–27 (Pringle). Even

Representative Pringle, who testified that he would evaluate any draft map prepared

by Mr. Hinaman to determine whether it was a gerrymander, cited no concern that

the Community of Interest Plan, Opportunity Plan, or any other specific plan under

consideration, was a gerrymander. See Milligan Doc. 459-20 at 10, 20, 24–27. We

have scoured the record and found no evidence that during the 2023 Special Session,

any legislator considered a map that would provide an additional Black-opportunity

district and refused to support it out of a concern that it would trigger a lawsuit based

on a gerrymandering claim.

      The State’s Argument that It Was Merely Pursuing a Legal Strategy

      Sixth, we reject the State’s argument “[t]he Legislature’s good faith belief that



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drawing a second majority-[B]lack district would unconstitutionally segregate

voters based on race, and that ‘the authority to conduct race-based districting cannot

extend indefinitely into the future,’ . . . are obvious justifications for the 2023 Plan

other than invidious discrimination.” Milligan Doc. 481 ¶ 834. We reject these

arguments for the same reason we earlier refused to construe the Legislature’s

response to our order as a normal and legitimate legal test balloon.

      We also find an additional fact. Justice Kavanaugh’s observation that “the

authority to conduct race-based redistricting cannot extend indefinitely into the

future,” was issued in June 2023 and paired with (1) an express refusal to consider

that argument because Alabama had not raised it, and (2) a vote to affirm

redistricting in this very case. Allen, 599 U.S. at 45 (Kavanaugh, J., concurring in

part) (citations omitted). Justice Kavanaugh did not say anything to suggest that our

authority would expire in a matter of weeks, almost immediately upon the return of

the case to our Court. It is inconceivable to us that it could have worked that way, in

this very case, with zero warning or instruction on remand. Accordingly, although

we expect the State to make that legal argument as an attack on Section Two (as it

does), we find it wholly unpersuasive as an explanation for why the Legislature

intentionally passed a plan that it admitted did not provide the remedy we said was

required.




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      The State’s Argument that This Was Party Politics

      Seventh, we reject the State’s assertion that partisan goals rather than racial

animus motivated the 2023 Plan. The State asserts that “finding legitimate ways to

avoid the adoption of a map that would likely swing an additional congressional

district to Democrats is a reasonable (and obvious) non-racial goal for Republican

legislators to pursue,” as is the protection of Alabama’s incumbent representatives

(including Congresswoman Sewell). Milligan Doc. 481 ¶¶ 847–48, 851. The State

warns that we will err if we simply “credit[] the less charitable conclusion that the

legislature’s real aim was racial.” Id. ¶ 854 (quoting Alexander, 602 U.S. at 22).

      As an initial matter, there is precious little evidence to support the State’s

claim. The only evidence in the record that any legislator considered partisan

advantage in 2023 is the testimony from the Legislators about the calls they received

from former Speaker McCarthy about the slim Republican majority in the United

States House, and the testimony from Representative Pringle and Senator Livingston

that they spoke with various congressional and political party staff. See Milligan

Doc. 459-13 at 24 (Livingston); Milligan Doc. 459-3 at 25–26 (Livingston);

Milligan Doc. 459-20 at 6 (Pringle). But neither Legislator testified that they acted

on those conversations, or even that they seriously considered acting on them. See

Milligan Doc. 459-13 at 24 (Livingston); Milligan Doc. 459-20 at 6 (Pringle).

      Further, when the Legislators were asked why the Senators moved away from


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the Community of Interest Plan, both professed not to know, and neither testified

that they did it (or even might have done it) to benefit Republicans. Senator

Livingston testified that the Senators received some new information about the

attention they should pay to incumbents, but the State is quick to say in its proposed

order that by “incumbents,” the State means all incumbents, including

Congresswoman Sewell, who is a Democrat. Milligan Doc. 459-13 at 17; Milligan

Doc. 481 ¶¶ 583, 847. The State’s suggestion of partisan advantage is just that – a

suggestion of a familiar reason, but one that the evidence does not bear out here.

      In any event, this argument might have served the Legislature well in 2022

during the earlier stage of this litigation, but it is of no moment now. The Legislature

may well have drawn the 2021 Plan the way it did for partisan reasons – we did not

decide that then, do not decide it now, and do not know. But even if it did, after we

told the Legislature that the 2021 Plan likely diluted Black Alabamians’ votes in

violation of Section Two of the Voting Rights Act and ordered the remedy that

Section Two requires, the law did not allow the Legislature to use partisan gain as a

free pass to evade the requirements of Section Two.

      If such a free pass were available, partisan advantage would be the ultimate

trump card, both against Section Two and the Constitution. A legislature could evade

liability under Section Two by passing a plan that utterly refused to provide the

required remedy but entrenched or improved the partisan advantage of the majority


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party, and a legislature could defend against liability under the Constitution by

arguing that its refusal to provide the statutory remedy was based on party rather

than race.

       We do not hold that the Legislature could not consider partisan advantage as

it deliberated about a remedial plan. Plainly it could. We simply hold under the

circumstances of this case that it could not use those considerations as an excuse for

its strategic, purposeful, and admitted failure to provide the remedy federal law

requires for the likely vote dilution we found.

       Accordingly, we can discern no inconsistency between our ruling and

Alexander. Alexander was a round-one case (a case that involved a legislature’s first

attempt to redistrict after receiving new census data, free of judicial intervention),

and this is a round-two case (a case that involves a legislature’s second attempt to

redistrict after federal court orders told it both that and why the first attempt was

likely discriminatory, and that the required remedy is an additional opportunity

district).

                                         ***

       When a legislature both purposefully refuses to satisfy the remedial

requirements unambiguously found in a federal court order and then intentionally

takes steps to make them mathematically impossible to satisfy, reality overwhelms

the presumption of good faith. If the reality of this case does not rebut the


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presumption, we seriously doubt that it is rebuttable absent a clear and direct

expression of invidious discrimination in the statutory text of a bill or official

arguments in support of its passage. See, e.g., Peterson v. City of Greenville, 373

U.S. 244 (1963) (statutory text); Davis, 81 F. Supp. at 878–79 (official arguments

for passage of bill).

      Ultimately, we do not regard the presumption of legislative good faith, nor the

requirement to disentangle party and race as drivers of legislative action, as free

passes for state legislatures to evade court orders or invisibility cloaks that obscure

searching judicial review. They are appropriate guardrails on the work of federal

courts that we understand and have not infringed.

      We have examined each of the Plaintiffs’ arguments and the State’s defenses

exhaustively and as best we can, and from every angle we have been offered and can

conceive, and we hold that when the Legislature enacted the 2023 Plan, it

intentionally refused to create an additional Black-opportunity district for the

purpose of entrenching what it knew from federal court orders was very likely

discriminatory vote dilution. We further find that the Legislature’s intentional

refusal (1) purposefully deprived Black Alabamians of the same opportunity to elect

a candidate of their choice that White Alabamians enjoy, and (2) attempted to

prevent us from ordering an appropriate remedy for that discriminatory vote dilution,

(3) on the basis of race.


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      Although we have approached this issue exhaustively, we acknowledge that

our holding is a rare one in the modern era, and we are painfully aware of the gravity

of our ruling, but we do not find the issue particularly complex or close.

      Lest our rulings be assigned meaning and force we do not intend, we state

clearly their limitations. We do not hold that if SB5 had been originally adopted in

2021, the Milligan Plaintiffs would have prevailed on a claim of intentional

discrimination at that time. We have not considered that question. As the foregoing

analysis makes clear, the Milligan Plaintiffs prevail on their claim now not merely

because SB5 dilutes Black Alabamians’ votes, but also because of the substantial

evidence that the Legislature knew as much when it passed the plan and enacted it

for that reason.

      Nor do we hold that when a state legislature works diligently to balance

competing hazards of liability while redistricting, it violates the Constitution if the

balancing act fails. That is not what happened here. Nor do we hold that when a

legislature simply refuses to redistrict after a preliminary injunction, or tries and fails

to pass a lawful remedial plan, that sequence of events reflects intentional

discrimination. That too is not what happened here.

      Nor do we hold that when a state legislature exercises its appellate rights after

a preliminary injunction instead of immediately providing the remedy the injunction

requires, that decision violates the Constitution. That does not even begin to cover


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what happened here. The State was free to exercise its appellate rights and free to

make any arguments it likes at trial and in a successive appeal. But the State was not

free to simply double down and try to checkmate our order after it appealed and lost.

      Nor do we hold that when a state legislature redistricts after a preliminary

injunction and includes in the remedial map a district that the legislature maintains

is an additional opportunity district, but which is later determined by a court not to

be an opportunity district, a constitutional violation occurs. The State admits that is

not what happened here.

      Nor do we even hold that when a Legislature redistricts after a preliminary

injunction and expressly and admittedly fails to include the additional opportunity

district the injunction requires, a constitutional violation necessarily occurs. That is

closer to what happened here, but still not the same.

      We hold that when (1) a Legislature redistricts a State’s congressional

electoral map; (2) a federal court enters a preliminary injunction ruling that the

State’s map likely dilutes minority votes and unambiguously requiring an additional

opportunity district as a remedy; (3) the State exhausts its appellate rights as to that

ruling; (4) the ruling is affirmed by the Supreme Court; (5) on remand, the

Legislature enacts a new map that it admits does not include an additional

opportunity district; (6) the Legislature enacts (as part of that map) legislative

findings that all agree make an additional opportunity district mathematically


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impossible to draw; and (7) key legislators admit their understanding of the remedy

that was required and refused, then the Legislature may subject itself to a finding

that it has enacted a map for the purpose of discriminating against minority voters

by diluting their voting strength. After an exhaustive review of all the evidence, we

have made just that finding.

VIII. REMEDY
       Remedial proceedings lie ahead, both as to the map(s) Alabama will use for

the rest of this census cycle and the Milligan Plaintiffs’ request for bail-in through

2032. 70 We comment now about the record on remedy only to say that it tells us

something important about our finding of liability. We had no doubt in 2021 or 2023,

and we have no doubt now, that a lawful district easily may be drawn to remedy the

Section Two violation we find. In addition to the fourteen maps offered by Dr.

Duchin and Mr. Cooper, we have the Special Master Plan. See supra Part I.F.

       Preparing the Special Master Plan was an unwelcome task for this Court

because “reapportionment is primarily the duty and responsibility of the State.”

Miller, 515 U.S. at 915 (quoting Chapman v. Meier, 420 U.S. 1, 27 (1975)). “Quite

apart from the risk of acting without a legislature’s expertise, and quite apart from



70
   We are mindful that as a matter of state law, the Legislature may redraw
Alabama’s congressional districting plan at any time. The Alabama Constitution
prohibits mid-decade redistricting for state legislative seats, but makes no such
provision for congressional seats. See Ala. Const. art. IX, §§ 198, 200.

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the difficulties a court faces in drawing a map that is fair and rational, the obligation

placed upon the Federal Judiciary is unwelcome because drawing lines for

congressional districts is one of the most significant acts a State can perform to

ensure citizen participation in republican self-governance.” LULAC, 548 U.S. at

415–16 (citation omitted). “That Congress is the federal body explicitly given

constitutional power over elections is also a noteworthy statement of preference for

the democratic process. As the Constitution vests redistricting responsibilities

foremost in the legislatures of the States and in Congress, a lawful, legislatively

enacted plan should be preferable to one drawn by the courts.” Id. at 416.

      Preparing the Special Master Plan was a most unwelcome task for us because

(1) the Legislature spent its opportunity to provide a lawful remedy trying to have a

second bite at the apple on liability on arguments it had lost not only in our Court,

but also in the Supreme Court; (2) the record in these cases provides not just one

illustrative remedial map, but (at the time of the 2023 Special Session), eleven such

maps, giving the Legislature extensive guidance on how to provide a lawful remedy;

and (3) because we and the Supreme Court had found at least one of those maps

lawful, and they all split Mobile County, the Legislature was not navigating

confusion, uncertainty, or a legitimate concern about liability for racial

gerrymandering if it split Mobile County. (It should be clear enough by now that all

stakeholders know that all paths to cracking and packing minority votes in South



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Alabama run through Mobile County, and all paths to remedying such dilution

revolve around Mobile County.)

      Nevertheless, preparing the Special Master Plan served an important purpose

above and beyond providing a lawful remedy for the 2024 election (which was

important enough): it confirmed for us that a lawful remedial plan may be prepared

race-blind.

      Indeed, the Special Master prepared all three plans that he recommended race-

blind. See Milligan Doc. 436 ¶ 143. And when the Special Master confirmed that the

Special Master Plan satisfied all constitutional and statutory requirements while

hewing as closely as reasonably possible to the 2023 Plan, see Milligan Doc. 295,

supra Part I.F, the Special Master provided data for every available metric to support

the point:




Milligan Doc. 436 ¶ 146.



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      The parties have since stipulated that: (1) Mr. Ely “drafted the [Special

Master] Plan without reference to any illustrative or proposed plan,” id. ¶ 140; (2)

“[a]ccording to the Special Master’s report, Mr. Ely did not display racial

demographic data within the mapping software, Maptitude, while drawing his

remedial proposals (including the [Special Master] Plan) or while he examined

proposed remedies submitted by others,” id. ¶ 143; and (3) according to the Special

Master’s report, “Mr. Ely drew his proposals . . . based on other nonracial

characteristics and criteria related to communities of interest and political

subdivisions,” id.

      Although federal law does not require a Section Two remedial plan to be

prepared race-blind, the ability of the Special Master to do it that way (on a very

short timetable) confirms for us that it is not only possible, but relatively easy. We

thus have no concern that race will predominate in the preparation of a remedial

plan, nor that a remedial plan will segregate Alabama voters on the basis of race.

IX.   EVIDENTIARY RULINGS

      During the trial, the Court accepted into evidence the overwhelming majority

of the exhibits that the parties offered; most were stipulated, and the Court ruled on

some evidentiary objections and reserved ruling on others. We make explicit note of

one ruling from trial. The Milligan and Caster Plaintiffs filed a joint motion in limine

to exclude part of Dr. Reilly’s testimony about communities of interest. Milligan



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    APPENDIX A – COMMITTEE GUIDELINES (2021 and 2023)




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   APPENDIX B – LEGISLATIVE FINDINGS (2023 PLAN/SB-5)




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       APPENDIX C – CONGRESSIONAL MAP (2023 PLAN)




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       APPENDIX D – COMMUNITY OF INTEREST PLAN
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   APPENDIX E – EXCERPTED FIGURES FROM MR. COOPER




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Caster Doc. 352-2 at 26–28 figs. 14 & 15.




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Caster Doc. 352-2 at 18 fig. 9.




Caster Doc. 352-2 at 14 fig. 6.




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